       Case: 22-2003    Document: 46    Page: 1    Date Filed: 06/30/2022




             Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
             22-2008, 22-2009, 22-2010, 22-2011 (Consolidated)


United States Court of Appeals for the Third Circuit

                       IN RE LTL MANAGEMENT, LLC,
                                                  Debtor.

          OFFICIAL COMMITTEE OF TALC CLAIMANTS, et al.,
                                                  Petitioners-Appellants,
                                       v.
                         LTL MANAGEMENT, LLC,
                                                  Debtor-Appellee.

 Direct Appeal from the United States Bankruptcy Court for the District of New
          Jersey in Ch. 11 No. 21-30589 and Adv. Pro. No. 21-03032

                  BRIEF FOR APPELLANT
         OFFICIAL COMMITTEE OF TALC CLAIMANTS
     AND JOINT APPENDIX VOLUME 1 OF 20 (Pages A1 to A272)


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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rules 26.1 of the Federal Rules of Appellate Procedure and 26.1

of the Third Circuit Local Appellate Rules, counsel for Appellant hereby state that

the Official Committee of Talc Claimants is not a corporate entity. The Committee

consists of ten natural persons and Blue Cross and Blue Shield of Massachusetts

(“BCBSMA”).       BCBSMA is composed of Blue Cross and Blue Shield of

Massachusetts, Inc. (“BCBS Inc.”) and Blue Cross and Blue Shield of Massachusetts

HMO Blue, Inc. (“HMO Inc.”). BCBS Inc. and HMO Inc. are not-for-profit medical

services corporations organized as charitable organizations. BCBS Inc. is organized

under M.G.L. cc.176A and 176B, and HMO Inc. is organized under M.G.L. c.180.

BCBS Inc. is the parent of HMO Inc.

      Counsel for Appellant further state that Johnson & Johnson is the parent

company of Debtor-Appellee, LTL Management LLC. Johnson & Johnson is a

publicly owned corporation with a financial interest in this litigation. Among other

things, Johnson & Johnson asserts that it has indemnification rights against the

Debtor and has obligations to the Debtor under a Funding Agreement. This appeal

also involves an order entered by the bankruptcy court halting talc-related litigation

against Johnson & Johnson and other entities.



June 30, 2022                                        /s/ Angelo J. Genova
                                                     Angelo J. Genova
              Case: 22-2003          Document: 46                Page: 4       Date Filed: 06/30/2022




                                         TABLE OF CONTENTS
                                                                                                                      Page
PRELIMINARY STATEMENT ...............................................................................1

JURISDICTION.........................................................................................................4
STATEMENT OF ISSUES PRESENTED................................................................ 4

STATEMENT OF RELATED CASES ..................................................................... 5
STATEMENT OF THE CASE ..................................................................................5

I.       Background of Talc Litigation ........................................................................ 5

         A.       J&J’s Tortious Conduct ......................................................................... 5

         B.       J&J and Old JJCI Satisfy Talc Liabilities in the Ordinary
                  Course ....................................................................................................7
II.      J&J Orchestrates LTL’s Creation and Immediate Bankruptcy ....................... 8
         A.       J&J Assigns Operating Assets to New JJCI and Talc Liabilities
                  to LTL....................................................................................................9
         B.       LTL Files for Bankruptcy ...................................................................12

III.     Proceedings Below ........................................................................................13
SUMMARY OF ARGUMENT ...............................................................................16
ARGUMENT ...........................................................................................................18

I.       The Bankruptcy Court’s Decision Denying the Motion To Dismiss
         Was Legal Error .............................................................................................20

         A.       The Bankruptcy Court Erred in Holding LTL’s Petition Had a
                  Valid Bankruptcy Purpose ..................................................................21

                  1.       Bankruptcy’s Supposed Litigation Advantages Cannot
                           Justify a Good-Faith Filing .......................................................22




                                                             i
           Case: 22-2003        Document: 46             Page: 5         Date Filed: 06/30/2022




              2.       The Bankruptcy Court Exceeded Its Proper Role by
                       Making Ad Hoc Policy Judgments About Bankruptcy’s
                       Supposed Advantages over the Ordinary Civil Justice
                       System .......................................................................................26

              3.       The Bankruptcy Court’s Assessment Rests on Flawed
                       Assumptions ..............................................................................29

      B.      The Scheme Defies the Code’s Structure and Principles ....................31

              1.       LTL’s Structure Evades Traditional Bankruptcy
                       Protections .................................................................................31
              2.       The Scheme Threatens the Public Interest and Raises
                       Serious Constitutional Questions ..............................................38
      C.      The Bankruptcy Court’s Finding of “Financial Distress” Was
              Reversible Error ..................................................................................39
              1.       Old JJCI’s Financial Situation Was Irrelevant .........................39
              2.       The Bankruptcy Court Applied the Wrong Legal
                       Standard ....................................................................................40
              3.       No Finding of Financial Distress Is Sustainable as to LTL ...... 42

      D.      The Court’s “Unusual Circumstances” Holding Was Erroneous ....... 43
II.   The Bankruptcy Court Committed Legal Error in Freezing Tens of
      Thousands of Suits Against Hundreds of Non-Debtors ................................44
      A.      The Bankruptcy Court Lacked “Core” Jurisdiction To Enjoin
              Tens of Thousands of Suits Against Non-Debtors..............................45
      B.      The Bankruptcy Court Lacked “Related-To” Jurisdiction To
              Enjoin Cases Against Non-Debtors ....................................................49
              1.       Manufactured Grounds for “Related-To” Jurisdiction
                       Cannot Support Jurisdiction......................................................50
              2.       Putative Effects of Suits Against Non-Debtors Fall Short ....... 52

              3.       Claims Against Non-Debtors Would Not Liquidate
                       Claims Against LTL .................................................................54
                                                       ii
             Case: 22-2003          Document: 46            Page: 6          Date Filed: 06/30/2022




                 4.       Allegations of Shared Insurance Cannot Establish
                          “Related-To” Jurisdiction .........................................................56

        C.       The Bankruptcy Court Failed To Apply the Correct Legal
                 Standard ...............................................................................................57

CONCLUSION ........................................................................................................62




                                                          iii
            Case: 22-2003           Document: 46           Page: 7        Date Filed: 06/30/2022




                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)
                                                     CASES
A.H. Robins Co. v. Piccinin,
  788 F.2d 994 (4th Cir. 1986) ................................................................................58
Amchem Prods., Inc. v. Windsor,
 521 U.S. 591 (1997) .............................................................................................27
Armstrong v. Exceptional Child Ctr., Inc.,
  575 U.S. 320 (2015) .............................................................................................37
CAE Indus. LTD v. Aerospace Holdings Co.,
 116 B.R. 31 (S.D.N.Y. 1990) ...............................................................................58
Carl v. Johnson & Johnson,
 237 A.3d 308 (N.J. App. Div. 2020), cert. denied,
 244 A.3d 270 (N.J. 2021) .......................................................................................7
Carolin Corp. v. Miller,
 886 F.2d 693 (4th Cir. 1989) ................................................................................19
Case v. L.A. Lumber Prods. Co.,
 308 U.S. 106 (1939) .............................................................................................35
Chesapeake Crossing Assocs. v. TJX Cos.,
 Civ. A. 2:92CV631, 1992 WL 469801 (E.D. Va. 1992) ......................................58
Czyzewski v. Jevic Holding Corp.,
 137 S. Ct. 9739 (2017)............................................................................. 32, 37, 38
Dunphy v. Ryan,
 116 U.S. 491 (1886) .............................................................................................62
Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,
  561 U.S. 477 (2010) .............................................................................................27
Georgine v. Amchem Prods., Inc.,
 83 F.3d 610 (3d Cir. 1996) ...................................................................................27
Georgine v. Amchem Prods., Inc.,
 878 F. Supp. 716 (E.D. Pa. 1994).........................................................................27
                                                         iv
           Case: 22-2003          Document: 46           Page: 8       Date Filed: 06/30/2022




Gold v. Johns-Manville Sales Corp.,
 723 F.2d 1068 (3d Cir. 1983) ........................................................................ 56, 60
In re 15375 Mem’l Corp. v. BEPCO, L.P.,
  589 F.3d 605 (3d Cir. 2009) ......................................................................... passim
In re 15375 Mem’l Corp. v. BEPCO, L.P.,
  382 B.R. 652 (Bankr. D. Del. 2008).....................................................................23
In re A.H. Robins Co.,
  89 B.R. 555 (Bankr. E.D. Va. 1988) ....................................................................41
In re Combustion Engineering, Inc.,
  391 F.3d 190 (3d Cir. 2004) ......................................................................... passim
In re Cont’l Airlines,
  203 F.3d 203 (3d Cir. 2000) .................................................................................45
In re Dow Corning Corp.,
  244 B.R. 673 (Bankr. E.D. Mich. 1999) ..............................................................36
In re Federal-Mogul Glob. Inc.,
  300 F.3d 368 (3d Cir. 2002) .......................................................................... 49, 54
In re Federal-Mogul Glob. Inc.,
  684 F.3d 355 (3d Cir. 2012) .................................................................................30
In re Integrated Telecom Express, Inc.,
  384 F.3d 108 (3d Cir. 2004) ......................................................................... passim
In re Ira Haupt & Co.,
  361 F.2d 164 (2d Cir. 1966) .................................................................................18
In re Johns-Manville,
  36 B.R. 727 (Bankr. S.D.N.Y. 1984) ............................................................ 36, 41
In re Johnson & Johnson Talcum Powder Prods. Mktg.,
  Sales Pracs. & Prods. Litig., 509 F. Supp. 3d 116 (D.N.J. 2020) .........................7
In re Maislin Indus., U.S., Inc.,
  66 B.R. 614 (E.D. Mich. 1986) ............................................................................50
In re Mallinckrodt PLC,
  — B.R. —, No. 20-12522, 2022 WL 404323
  (Bankr. D. Del. Feb. 8, 2022) ...............................................................................36

                                                       v
            Case: 22-2003           Document: 46           Page: 9         Date Filed: 06/30/2022




In re Primestone Inv. Partners L.P.,
  272 B.R. 554 (D. Del. 2002) ................................................................................37
In re Resorts Int’l, Inc.,
  372 F.3d 154 (3d Cir. 2004) .................................................................................48
In re SGL Carbon Corp.,
  200 F.3d 154 (3d Cir. 1999) ......................................................................... passim
In re SGL Carbon Corp.,
  233 B.R. 285 (D. Del. 1999) ......................................................................... 23, 41
In re Venoco LLC,
  998 F.3d 949 (3d Cir. 2021) .................................................................................32
In re W.R. Grace & Co.,
  13 F.4th 279 (3d Cir. 2021) ..................................................................................61
In re W.R. Grace & Co.,
  591 F.3d 164 (3d Cir. 2009) .............................................................. 47, 48, 49, 54
Ingham v. Johnson & Johnson,
  608 S.W.3d 663 (Mo. Ct. App. 2020), cert. denied,
  141 S. Ct. 2716 (2021).................................................................................. passim
Ins. Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee,
  456 U.S. 694 (1982) .............................................................................................50
Johnson & Johnson Talcum Powder Cases,
  249 Cal. Rptr. 3d 642 (Cal. Ct. App. 2019) ...........................................................7
Kieffer v. Best Buy,
  14 A.3d 737 (N.J. 2011) .......................................................................................54
Kimbrough v. United States,
  552 U.S. 85 (2007) ...............................................................................................27
Local Loan Co. v. Hunt,
  292 U.S. 234 (1934) ...............................................................................................1
Maritime Elec. Co. v. United Jersey Bank,
 959 F.2d 1194 (3d Cir. 1991) ........................................................................ 48, 57
Mazurek v. Armstrong,
 520 U.S. 968 (1997) .............................................................................................58

                                                         vi
           Case: 22-2003           Document: 46           Page: 10         Date Filed: 06/30/2022




McCartney v. Integra Nat’l Bank N.,
 106 F.3d 506 (3d Cir. 1997) .......................................................................... 48, 51
Norwest Bank Worthington v. Ahlers,
 485 U.S. 197 (1988) .............................................................................................61
Olson v. Brenntag N. Am., Inc.,
 No. 190328/2017, 2020 WL 6603580 (N.Y. Sup. Ct. Nov. 11, 2020) ................55
Pacor, Inc. v. Higgins,
 743 F.2d 984 (3d Cir. 1984) .................................................................... 49, 54, 56
Patton v. Bearden,
 8 F.3d 343 (6th Cir. 1993) ....................................................................................49
Pepper v. Litton,
  308 U.S. 295 (1939) .............................................................................................38
Prudencio v. Johnson & Johnson,
  No. RG20061303 (Cal. Super. Ct. Aug. 27, 2021) ..............................................55
Stanford v. Foamex L.P.,
  Civ. A. 07-4225, 2009 WL 1033607 (E.D. Pa. Apr. 15, 2009) ...........................48
Stern v. Marshall,
  564 U.S. 462 (2011) ...................................................................................... 22, 39
Stoe v. Flaherty,
  436 F.3d 209 (3d Cir. 2006) .......................................................................... 46, 48
Temple Univ. Hosp., Inc. v. Sec’y U.S. Dep’t of Health & Hum. Servs.,
  2 F.4th 121 (3d Cir. 2021) ............................................................................. 45, 46
Wellness Int’l Network, Ltd. v. Sharif,
 575 U.S. 665 (2015) .............................................................................................39
Winter v. Nat. Res. Def. Council, Inc.,
 555 U.S. 7 (2008) .................................................................................................58
Zadvydas v. Davis,
  533 U.S. 678 (2001) .............................................................................................39

                         CONSTITUTIONAL PROVISIONS AND STATUTES
U.S. Const., amend. VII ................................................................................... passim

                                                         vii
           Case: 22-2003            Document: 46            Page: 11          Date Filed: 06/30/2022




11 U.S.C. § 105 ................................................................................................ passim
11 U.S.C. § 105(a) ................................................................................. 31, 47, 48, 49
11 U.S.C. § 301(b) ....................................................................................................30
11 U.S.C. § 362 ................................................................................................ passim
11 U.S.C. § 362(a) ....................................................................................... 45, 48, 57
11 U.S.C. § 363 ................................................................................................. 32, 33
11 U.S.C. § 521 ........................................................................................................32
11 U.S.C. § 524(g) ................................................................................. 29, 30, 31, 61
11 U.S.C. § 524(g)(2)(B)(i)(I) ..................................................................................30
11 U.S.C. § 524(g)(2)(B)(ii)(IV)(bb) .......................................................................30
11 U.S.C. § 726(a)(6) ...............................................................................................32
11 U.S.C. § 1104(a) ..................................................................................................32
11 U.S.C. § 1112(b) ....................................................................................... 3, 14, 18
11 U.S.C. § 1112(b)(2) .............................................................................................43
11 U.S.C. § 1112(b)(2)(A) .......................................................................................43
11 U.S.C. § 1112(b)(2)(B)(i) ....................................................................................44
11 U.S.C. § 1112(b)(2)(B)(ii) ...................................................................................44
11 U.S.C. § 1129(a)(7) .............................................................................................32
11 U.S.C. § 1129(b)(2) .............................................................................................32
11 U.S.C. § 1129(b)(2)(A)(iii) .................................................................................35
28 U.S.C. § 157(a) ......................................................................................................4
28 U.S.C. § 158(d)(2)(A)(i) ........................................................................................4
28 U.S.C. § 158(d)(2)(A)(iii) .....................................................................................4
28 U.S.C. § 1334(a) ....................................................................................................4
28 U.S.C. § 1334(b) ........................................................................................... 46, 49
                                                          viii
            Case: 22-2003            Document: 46            Page: 12          Date Filed: 06/30/2022




28 U.S.C. § 1359 ......................................................................................................50
28 U.S.C. § 1452 ......................................................................................................46
T.B.O.C. §§ 10.0001 et seq. .......................................................................................9
                                             OTHER AUTHORITIES
2022 First Quarterly Dividend Announcement, Johnson & Johnson
  (Jan. 4, 2022) ........................................................................................................34
Individual Characteristics of Mass Torts Case Congregations, A Report to
  the Mass Torts Working Group, Fed. Jud. Ctr. (Jan. 1999) .................................29
Ovarian Cancer: Stage 4, Minnesota Ovarian Cancer Alliance
 (last visited June 28, 2022) ...................................................................................60
Thomas E. Plank, The Constitutional Limits of Bankruptcy,
 63 Tenn. L. Rev. 487 (1996) ................................................................................32
Hon. Eduardo C. Robreno, The Federal Asbestos Product Liability Multidistrict
 Litigation (MDL-875): Black Hole or New Paradigm?,
 23 Widener L.J. 97 (2013) ....................................................................................29
Summary Statistics, United States District Court Judicial Panel on
  Multidistrict Litigation (June 30, 2019) ...............................................................29
Survival Rates for Mesothelioma, American Cancer Society
  (Mar. 2, 2022) .......................................................................................................60
Written Testimony of Hon. Judith Fitzgerald, Sheldon Whitehouse U.S. Senator
 for Rhode Island (Feb. 8, 2022)............................................................................37




                                                            ix
        Case: 22-2003     Document: 46     Page: 13    Date Filed: 06/30/2022




                         PRELIMINARY STATEMENT

      The courts have “again and again emphasized” bankruptcy law’s fundamental

“purpose”: To give a fresh start to “the honest but unfortunate debtor who surrenders

for distribution the property which he owns at the time of bankruptcy.” Local Loan

Co. v. Hunt, 292 U.S. 234, 244-45 (1934). Companies facing financial distress from

mass-tort liabilities, like Johns-Manville, thus have placed themselves in bankruptcy

while accepting bankruptcy law’s concomitant requirements: They subjected their

operations, assets, and transactions to court supervision, accepted the bankruptcy

system’s priority scheme for distributions, and complied with disclosure require-

ments. This appeal concerns an effort to do the opposite—to obtain the benefits of

bankruptcy while evading the corresponding obligations, and to convert bankruptcy

into a claims-resolution mechanism for the benefit of non-debtors.

      Johnson & Johnson (“J&J”) is one of the world’s largest and most financially

stable corporations, with a better credit rating than the United States. J&J—together

with its subsidiary Johnson & Johnson Consumer Inc. (“Old JJCI”)—confronted

adverse court judgments for ovarian cancer and mesothelioma caused by their

JOHNSON’s Baby Powder and talc-related products. Rather than declare bank-

ruptcy themselves, they engaged in a maneuver termed the “Texas Two-Step.” First,

at J&J’s instruction, Old JJCI transferred its talc-related tort liabilities to a newly

created shell entity, “LTL Management LLC,” but its operating assets to another
        Case: 22-2003    Document: 46      Page: 14   Date Filed: 06/30/2022




new company, “New JJCI.” Second, within 48 hours of its creation, LTL alone

declared bankruptcy, leaving Old JJCI’s productive operations and trade creditors

outside bankruptcy.

      That scheme contravenes the Bankruptcy Code’s structure. Far from being an

“honest but unfortunate” debtor with a pre-existing business, LTL is a contrived

entity selectively assigned specific liabilities to help affiliates evade bankruptcy

requirements. For example, under the Two-Step, the talc-claimant creditors J&J and

Old JJCI targeted are relegated to bankruptcy, where their claims can be reduced.

But Old JJCI’s former shareholders and other creditors sit outside the bankruptcy,

able to enjoy payments New JJCI generates from the operating assets it received

from Old JJCI. That circumvents bankruptcy’s priority system, including the

requirement that creditors be paid ahead of shareholders. The Bankruptcy Code also

requires that debtors “surrender” their assets, placing their management under the

bankruptcy court’s power. The Two-Step evades that requirement. Despite having

received Old JJCI’s operating businesses, New JJCI—along with J&J and its

affiliates—stands outside bankruptcy. The bankruptcy court is thus left to process

mass-tort claims, but without control over the assets and management of the business

whose conduct precipitated those claims.




                                           2
        Case: 22-2003     Document: 46     Page: 15    Date Filed: 06/30/2022




      That effort to seek bankruptcy’s benefits, while evading its obligations, cannot

satisfy 11 U.S.C. § 1112(b)’s requirement that bankruptcy be filed in objective good

faith. LTL’s bankruptcy lacks any valid bankruptcy purpose. With no employees

or pre-existing business, LTL has nothing to “reorganize.” An abbreviation for

“Legacy Talc Litigation,” LTL was created solely to resolve talc claims in bank-

ruptcy, away from juries. The resulting bankruptcy operates for the benefit of non-

debtors, who sit outside the bankruptcy in control of the business—while suits by

rapidly dying victims are halted.

      Separately, the bankruptcy court granted further relief to complete the Two-

Step scheme: It halted litigation against some 670 non-debtors, including J&J, New

JJCI, insurers, and retailers, freezing (sometimes mid-trial) more than 38,000 talc-

related tort actions by ill claimants, hundreds of whom have died during the bank-

ruptcy already. Those actions seek to hold J&J directly liable for its independent

wrongdoing, as confirmed by courts. The bankruptcy court had neither jurisdiction,

nor legal or factual bases, for so broad an injunction. If J&J or Old JJCI needed

bankruptcy protection—and were in financial distress—either was free to file. Mass

tortfeasors, however, should not so easily make a sham of the Bankruptcy Code’s

calibrated architecture to circumvent the civil tort system and the claimants’ right to

jury trials otherwise guaranteed by the Seventh Amendment.



                                          3
         Case: 22-2003   Document: 46    Page: 16     Date Filed: 06/30/2022




                                JURISDICTION

      On April 4, 2022, the bankruptcy court certified for direct appeal its orders

denying motions to dismiss LTL’s petition (“MTD Order”), App.57-58 , and

freezing actions against non-debtors (“PI Order”), App.194-201, under 28 U.S.C.

§ 158(d)(2)(A)(i), (iii). On May 11, 2022, this Court accepted the case. App. 268-

72 (No. 22-8015, Dkt. 12).

      The bankruptcy court had jurisdiction over the bankruptcy under 28 U.S.C.

§§ 1334(a) and 157(a), but as explained below, lacked jurisdiction to issue the PI

Order.

                   STATEMENT OF ISSUES PRESENTED

      1.     Whether LTL’s bankruptcy petition must be dismissed because (a) the

petition lacks a valid bankruptcy purpose; (b) the petition contravenes the Bank-

ruptcy Code’s structure and foundational principles; and/or (c) LTL did not face the

requisite financial distress. App.15, 40 (Opinion Denying Motions To Dismiss

(“MTD Op.”)).

      2.     Whether LTL’s bankruptcy petition, even if not filed in good faith, can

be sustained because of “unusual circumstances.” App.13 n.8 (MTD Op.).

      3.     Whether the bankruptcy court’s PI Order, halting litigation against

more than 670 non-debtors, was void for lack of subject-matter jurisdiction or



                                         4
        Case: 22-2003     Document: 46   Page: 17    Date Filed: 06/30/2022




otherwise inconsistent with the Code. App.193 (Opinion Granting Preliminary

Injunction (“PI Op.”)).

                     STATEMENT OF RELATED CASES

      This case has not previously been before this Court. Related appeals of the

bankruptcy court’s MTD Order and PI Order are stayed before the district court

(D.N.J. Nos. 22-1280, 22-1289, 22-1292, 22-1296, 22-1303, 22-1339, 22-1350, 22-

1387, 22-1620). In February 2019, Old JJCI’s talc supplier, Imerys Talc America,

Inc. and affiliates Imerys Talc Vermont, Inc. and Imerys Talc Canada, Inc., filed

Chapter 11 petitions. In re Imerys Talc Am., Inc., D. Del. Bankr. 19-10289-LSS. In

February 2021, talc miner Cyprus Mines Corporation also filed for Chapter 11. In

re Cyprus Mines Corp., D. Del. Bankr. 21-10398-LSS.

                          STATEMENT OF THE CASE

I.    BACKGROUND OF TALC LITIGATION

      A.    J&J’s Tortious Conduct

      J&J manufactured talc-based JOHNSON’S Baby Powder until 1979. Since

then, various J&J subsidiaries and ultimately Old JJCI produced it. App.2-3 (MTD

Op.). J&J retained responsibility for health-and-safety policy decisions for Baby

Powder: It had the power to require product warnings or stop selling talc products,

but failed to do so. App. 6058-59 (52:22-53:10), 6061 (55:1-12), 6907-08 (7751:23-

7752:15), 6912 (7833:12-18) (Hopkins Testimony). Instead, in 2018 and 2019, J&J,

                                         5
        Case: 22-2003    Document: 46     Page: 18    Date Filed: 06/30/2022




including its CEO Alex Gorsky, issued public statements assuring consumers that

its talc products were safe. App. 6913-23 (Trial Exhs.).

      In December 2018, Health Canada identified a causal connection between

genital exposure to talc and ovarian cancer. App.7061 (2018 Assessment); App.

7077 (2021 Assessment). In October 2019, the FDA detected asbestos, the only

known cause of mesothelioma, in J&J’s Baby Powder. App.2643 (53:11-19) (Kim

Testimony). From November 2019 to October 13, 2021 (one day before LTL’s

bankruptcy), seven mesothelioma plaintiffs won trials against J&J and Old JJCI. Id.

at 2644-45 (54:14-55:9); see App.364 (Debtor Info Brief 49). Juries also found J&J

and Old JJCI liable for ovarian cancer caused by their talc products. App.457-

58 (Kim Decl. ¶¶ 36-39); Ingham v. Johnson & Johnson, 608 S.W.3d 663, 724-25

(Mo. Ct. App. 2020), cert. denied, 141 S. Ct. 2716 (2021).

      Although J&J had long known talc could cause cancer, App. 6893-94 (45:20-

46:13) (Hopkins Testimony), it did not stop selling talc-based Baby Powder in the

U.S. and Canada until May 2020, App. 456-57 (Kim Decl. ¶ 33). Today, J&J sells

only baby powder made of cornstarch in the U.S. and Canada, a product it has sold

for decades. App.6896 (37:1-22) (Hopkins Testimony).

      By the time LTL (or “Debtor”) filed its bankruptcy petition, J&J and Old JJCI

faced more than 38,000 ovarian cancer claims—about 35,000 in a Multi-District



                                         6
        Case: 22-2003    Document: 46     Page: 19     Date Filed: 06/30/2022




Litigation proceeding (“MDL”) in the District of New Jersey, roughly 2,200 claims

consolidated in California and New Jersey state courts, and another 1,100 claims in

other state courts. App. 439 (Debtor Info Brief 124). J&J and Old JJCI also faced

more than 400 mesothelioma cases, with more than 250 in one New Jersey state

court. Id. at 440.

      J&J disputes the causal link between its talc-related products and cancer.

After hearing extensive evidence, however, the MDL court admitted (with limited

exceptions) expert testimony establishing a causal relationship between talc products

and ovarian cancer. See In re Johnson & Johnson Talcum Powder Prods. Mktg.,

Sales Pracs. & Prods. Litig., 509 F. Supp. 3d 116, 198 (D.N.J. 2020). Trial and

appellate courts have repeatedly rejected J&J’s position on talc’s safety. See, e.g.,

Ingham, 608 S.W.3d at 718; Carl v. Johnson & Johnson, 237 A.3d 308, 311 (N.J.

App. Div. 2020), cert. denied, 244 A.3d 270 (N.J. 2021); Johnson & Johnson

Talcum Powder Cases, 249 Cal. Rptr. 3d 642, 676 (Cal. Ct. App. 2019).

      B.     J&J and Old JJCI Satisfy Talc Liabilities in the Ordinary Course

      Until this bankruptcy, J&J and Old JJCI satisfied talc and other liabilities in

the ordinary course. In May 2020, J&J told a bankruptcy court in a different talc-

liability case that it was “absurd” to suggest that “J&J may lack the financial where-

withal to meet its obligations.” App.4700 (Diaz Report 7). J&J boasted being “one



                                          7
        Case: 22-2003     Document: 46      Page: 20       Date Filed: 06/30/2022




of the top 10 companies in the United States by market value,” which “can provide

the claimants far greater protection than . . . the bankruptcy claims trust ever could.”

Id.

      J&J is one of the world’s most liquid companies: As of October 2021, it had

roughly $30 billion in annual earnings before interest, taxes, and amortization,

App.3424 (36:13-14) (Kaplan Dep.); over $41 billion in cash, marketable securities,

and credit lines; and, despite talc liabilities, a credit rating better than the United

States, App.4699 (Diaz Report 6); App.4662-75 (Burian Report 25-38).

II.   J&J ORCHESTRATES LTL’S CREATION AND IMMEDIATE
      BANKRUPTCY

      On July 19, 2021, J&J’s corporate treasurer told Standard & Poor’s that J&J

“feel[s] failed by courts,” and might “seek to cap [talc] liability”—through a scheme

involving a “re-org,” a “split,” and a “Texas corp.” App. 7115 (Kaplan Notes 1).

She told Moody’s: “We are looking at a number of ways of capping our talc liability,

especially” in light of the denial of certiorari in Ingham, 141 S. Ct. 2716 (2021).

App.4469 (email). “One scenario being considered,” she elaborated, “would be to

capture the liability in one subsidiary, and fund that subsidiary for current and future

losses, and then basically bankrupt that subsidiary.” Id. She never suggested J&J

or any existing affiliate confronted financial distress.




                                           8
        Case: 22-2003    Document: 46     Page: 21    Date Filed: 06/30/2022




      In October 2021, J&J executed on that plan through the “Texas Two-Step” at

issue here. Step one was a corporate restructuring under the Texas divisive merger

statute, T.B.O.C §§ 10.0001 et seq. See App. 448, 450-53 (Kim Decl. ¶¶ 16, 22-23).

Through “labyrinthine” transactions the bankruptcy court found “somewhat over-

whelming,” App.5 (MTD Op.), J&J effectively extinguished Old JJCI and divided it

into two new companies—“New JJCI” to hold Old JJCI’s productive assets, and

“LTL” to receive talc-related liabilities. See App. 477 (Kim Decl.) (org chart); see

also App. 4712-22 (Diaz Report 19-29) (diagrams). Step two, effectuated two days

later, was to place LTL, but not New JJCI and thus no operating business, into

bankruptcy. As LTL chief legal officer John Kim—who previously managed talc

litigation for J&J—testified, “the whole purpose of the restructuring was to enable

LTL, the company, to file for bankruptcy without subjecting the rest of the assets

of JJCI to the bankruptcy procedure.” App.2481 (201:12-15) (emphasis added);

see App.445 (Kim Decl. ¶ 2).

      A.     J&J Assigns Operating Assets to New JJCI and Talc Liabilities to
             LTL
      In the restructuring, Old JJCI’s business assets, including a range of well-

known brands (such as Tylenol, Band-Aid, and Neutrogena), together with non-talc

liabilities (e.g., trade claims), were assigned to New JJCI. App. 448-49, 451-53 (Kim

Decl. ¶¶ 16, 19, 23-24); App. 2321 (41:7-22) (Mongon Testimony). As LTL’s chief


                                         9
        Case: 22-2003      Document: 46     Page: 22     Date Filed: 06/30/2022




legal officer explained, “the entity that was formerly JJCI and the entity that is the

new JJCI were . . . virtually identical except for it no longer had the talc liabilities.”

App.2481 (201:16-19) (Kim Testimony).

      The talc liabilities went to LTL (“Legacy Talc Litigation”). App. 3417 (13:18-

23) (Kaplan Dep.). LTL was given no operating business. App.4737-38 (Diaz

Report 44-45). LTL has no employees of its own. Its board, management, and pro-

fessionals are paid by J&J and work (or worked) for J&J. Id. at 4731-33, 4737-38.

LTL’s office is “hoteling” space in a J&J building. App.2116 (125:8-23) (Wuesthoff

Testimony). As of its bankruptcy petition, LTL’s bank account was not in its own

name. See Bankr. Dkt. 548 (Debtor’s Chapter 11 Monthly Operating Report 14, ¶ 8).

LTL has no bonds, trade creditors, or pension liabilities. App. 2117-18 (126:23-

127:13) (Wuesthoff Testimony); App.3479(36:23-24, 37:5-13, 45:15-18, 45:21-23)

(Kim Dep.). Its sole purpose is resolving talc liabilities.

      LTL was funded with a $6 million bank account and the rights to royalty

streams valued at $367.1 million as of the petition date. App.7 (MTD Op.). J&J and

New JJCI jointly and severally committed, under a Funding Agreement, to fund

LTL’s expenses (i.e., to resolve talc liabilities assigned to LTL) outside of bank-

ruptcy, up to the value of New JJCI. Id. at 44 n.27. The bankruptcy court accepted




                                           10
        Case: 22-2003    Document: 46    Page: 23    Date Filed: 06/30/2022




LTL’s assertions that the Funding Agreement provided $61 billion in potential

liquidity. Id. at 35; App. 2641 (51:13-24) (Kim Testimony).

      If LTL filed for bankruptcy, the Funding Agreement provided that J&J and

New JJCI would fund a trust under a confirmed plan to resolve talc liabilities.

App.44 n.27 (MTD Op.). Thus, before bankruptcy, LTL faced no restrictions on

paying talc liabilities on a current basis up to the Funding Agreement cap.

App.4725 (Diaz Report 32). After bankruptcy, LTL would receive nothing under

the Funding Agreement to satisfy a single talc claim until entry of a final non-

appealable order confirming a reorganization plan with a trust for victims. Id.;

App.4234 (Funding Agreement 6).

      J&J drove and controlled those transactions. An October 11, 2021 memoran-

dum outlining the restructuring sought approval only from J&J officials. App. 4444-

55; see App.2296-97 (16:19-22, 17:2-7) (Mongon Testimony). Old JJCI’s president

did not see it before approving the restructuring. App. 2273-75 (282:24-283:4,

284:1-19) (Goodridge Testimony). Advised by a J&J attorney, she signed the re-

structuring documents without changing a word.          App. 3388-89 (34:14-36:4)

(Goodridge Dep.) ; App. 2194 (203:7-17) (Goodridge Testimony). The record does

not show negotiations regarding any material term of the transaction between LTL




                                        11
          Case: 22-2003   Document: 46   Page: 24    Date Filed: 06/30/2022




and J&J, much less arms-length negotiations.        App. 4651 (Burian Report 14);

App.2135 (144:6-16) (Wuesthoff Testimony); App. 4733-37 (Diaz Report 40-44).

         B.   LTL Files for Bankruptcy

         On October 14, 2021, two days after LTL’s creation, LTL’s board met and

authorized LTL to file for bankruptcy.        App.2 (MTD Op.); App.4456 (Board

Minutes). Only lawyers—no businesspeople—presented. App. 4456-62. When

LTL filed for bankruptcy that same day, it had paid no bills and had never en-

countered difficulty satisfying any obligations. App. 3495 (195:10-196:4) (Kim

Dep.).

         There is no evidence LTL’s board understood that the bankruptcy petition

eliminated LTL’s ongoing access to billions in liquidity under the Funding

Agreement. App. 4725 (Diaz Report 32). Nor is there evidence the board had suffi-

cient information to understand LTL’s assets and liabilities. Id. LTL’s president

(Robert Wuesthoff ) and chief financial officer (Richard Dickinson)—both recruited

by J&J—had no experience with bankruptcy or talc litigation. App. 2094-95 (103:9-

104:4), 2101-02 (110:24-111:1), 2118 (127:14-16) (Wuesthoff Testimony); App.

3357 (88:12-19), 3348 (25:19-26:4), 3372 -73 ( 230:6-19) (Dickinson Dep.). Before

the LTL board meeting, no written analysis was provided to the board regarding a

bankruptcy filing. App. 2120 (129:13-16) (Wuesthoff Testimony). The board had



                                         12
        Case: 22-2003     Document: 46    Page: 25     Date Filed: 06/30/2022




no projection of future talc expenses, verdicts, or settlements. App. 2139 (148:21-

23) (Wuesthoff Testimony); App.3358 (92:15-20) (Dickinson Dep.). It did not

discuss whether insurance coverage was available. App.2141-42 (150:24-151:10)

(Wuesthoff Testimony). It did not know the value of the Funding Agreement: J&J

never told the board; the board never asked.         Id. at 2133-35 (142:10-144:5);

App.3355 (75:10-76:18) (Dickinson Dep.); App.2599-2606 (9:14-16:13) (Kim

Testimony).

       A critical goal of the bankruptcy was to freeze pending actions against J&J

and other non-debtors, putting an end to jury trials. J&J announced that “all pending

cosmetic talc cases will be stayed,” and that J&J and its affiliates “will continue to

operate their business as usual,” before such relief had even been sought in the

bankruptcy case. App.6925 (J&J Oct. 19, 2021 8-K). According to LTL, absent an

injunction halting talc litigation against J&J and other non-debtors, “[t]he entire

purpose of this” bankruptcy “would be thwarted.” App.4219 (Omnibus Reply in

Support of PI 51).

III.   PROCEEDINGS BELOW

       LTL filed its Chapter 11 petition in the Western District of North Carolina, a

forum perceived as having a more lenient good-faith standard for bankruptcy filings.

The court transferred the case to New Jersey, where J&J is headquartered. LTL’s



                                         13
        Case: 22-2003     Document: 46      Page: 26     Date Filed: 06/30/2022




assets, it found, “were all set up primarily for the purpose of filing bankruptcy in this

district,” and none were “involved in any further business in North Carolina.”

App.1511 (Transfer Order 6). LTL was “trying to manufacture venue and . . .

outsmart the purpose of the statute.” Id. at 1515.

      The Motions To Dismiss. On December 1, 2021, the Official Committee of

Talc Claimants (“TCC” or “Committee”)—Appellant here—and others moved to

dismiss the bankruptcy proceeding under § 1112(b) of the Code for (among other

reasons) lack of a valid bankruptcy purpose. App.1730-31 (TCC MTD); App.1 n.2

(MTD Op.). The U.S. Trustee supported dismissal, or appointment of a Chapter 11

trustee. App.3012 (96:1-4) (hearing transcript).

      The U.S. Trustee emphasized that LTL’s officers had performed no

“independent functions” and merely “capitulated and signed off on the decisions and

strategy of J&J.” App.3013 (97:11-13). The “desire to exploit bankruptcy powers

for non-debtor affiliates” like J&J “is decidedly not a legitimate bankruptcy

purpose.” Id. at 3016 (100:20-22). J&J, moreover, had shifted “adjudication of its

tort litigation . . . away from the solvent business of J&J” to a shell company in

bankruptcy, while keeping “extraordinary and extensive resources”—all productive

business assets—outside bankruptcy, free from “the burdens of bankruptcy” and

beyond “the Code’s commands.” Id. at 3016-17 (100:19-101:13).



                                           14
        Case: 22-2003      Document: 46      Page: 27     Date Filed: 06/30/2022




      The bankruptcy court denied the motions. The court did not find bankruptcy

was necessary to preserve LTL as a “going concern.” App. 15 (MTD Op.). And it

nowhere found that J&J or Old JJCI had difficulty paying tort claims in the ordinary

course before LTL’s bankruptcy. But it ruled that LTL’s petition would “maximize

the property available to satisfy creditors,” because “the court-administered claims

assessment process” “will dramatically reduce costs” compared to the civil justice

system. Id. It asserted that “[t]he tort system has struggled to meet the needs of

present claimants in a timely and fair manner [and] is ill-equipped to provide for

future claimants.” Id. at 24. It emphasized its “strong conviction that the bankruptcy

court is the optimal venue” for talc liability disputes. Id. at 19.

      Recognizing that a good-faith filing requires “some” showing of “financial

distress,” id. at 37, the court found that requirement met because “J&J and Old JJCI

were . . . facing a torrent of significant talc-related liabilities for years to come,” id.

at 40. The court rejected the argument that, if Old JJCI or J&J needed relief in

bankruptcy, they—not an artificial construct like LTL—should petition for bank-

ruptcy. Those entities, the court stated, had “too much value to be wasted,” id. at

47, if subjected to the Code’s requirement for “full transparency of all assets,

liabilities and financial conduct,” as well as “judicial oversight,” id. at 48.




                                            15
            Case: 22-2003   Document: 46   Page: 28     Date Filed: 06/30/2022




       Stay/Preliminary Injunction. The same day, the bankruptcy court granted

LTL’s motion for a sweeping order that halted litigation against some 670 non-

debtors, including J&J, hundreds of its affiliates, around 145 retailers (groceries,

drugstores, sporting-goods stores, etc.), and 105 insurance companies that deny

liability. App.196 (PI Order 3); App.3842-60 (PI Motion, App. B). The court noted

an “unsettled” issue of subject-matter jurisdiction, App. 150 (PI Op. 11), but ruled

that it could extend stay relief to non-debtors because “a lawsuit asserting talc-

related claims against” those non-debtors “is essentially a suit against Debtor,” id. at

158, and because such suits would have an “undeniable impact on Debtor’s estate,”

id. at 160.

                            SUMMARY OF ARGUMENT

       I.       The bankruptcy court’s refusal to dismiss LTL’s bankruptcy petition

was error.

       A.       LTL’s bankruptcy petition lacks a valid bankruptcy purpose. LTL is

not a going concern and the bankruptcy will not maximize value for creditors. The

heart of the bankruptcy court’s decision—a policy-driven argument for the superi-

ority of bankruptcy over tort—contravenes this Court’s precedents. It invades

Congress’s role and ignores critical values like the Seventh Amendment and the role

of state courts. A desire to resolve claims in bankruptcy court cannot establish good



                                           16
        Case: 22-2003     Document: 46     Page: 29    Date Filed: 06/30/2022




faith. It seeks litigation advantage. The court also ignored that the bankruptcy was

designed to benefit non-debtors. And it erroneously considered the desire for bank-

ruptcy remedies as evidence of good faith.

      B.     The scheme here defies the Bankruptcy Code’s structure. The Code

imposes important obligations on debtors, empowering the bankruptcy court to over-

see assets, operations, and non-ordinary-course sales. It establishes priority among

claimants. Far from effectuating those purposes, the Two-Step scheme is designed

to defeat them. By placing talc liabilities in LTL and operating assets in another

company just before LTL’s bankruptcy, the scheme circumvents those critical pro-

tections: It leaves only talc creditors encumbered in bankruptcy, but all productive

operations outside it. It affords non-debtors J&J and New JJCI the benefits of

bankruptcy while evading its obligations. By converting bankruptcy courts’ limited

jurisdiction into a mass-tort processing machinery for entities not in financial

distress, the scheme raises significant constitutional questions.

      C.     The bankruptcy court erroneously looked to the financial situation of

an extinct non-debtor, Old JJCI, to justify LTL’s bankruptcy. The bankruptcy

court’s outlandish estimate of defense costs was unsupported and contradicted J&J’s

own statements.




                                          17
        Case: 22-2003    Document: 46     Page: 30    Date Filed: 06/30/2022




      II.    Separately, the bankruptcy court’s unprecedented decision to stay or

enjoin actions against some 670 non-debtors—freezing more than 38,000 talc-victim

lawsuits asserting direct liability against J&J and hundreds of other non-debtors—

cannot be sustained. The court lacked subject-matter jurisdiction to halt cases

against non-debtors; eve-of-bankruptcy transactions cannot manufacture jurisdic-

tion. J&J’s own representations regarding the Funding Agreement preclude any

finding that talc litigation against non-debtors would impede LTL’s reorganization.

Even if jurisdiction exists, the bankruptcy court applied an incorrect legal standard

and exceeded its powers. As Judge Friendly observed, “[t]he conduct of bankruptcy

proceedings not only should be right but must seem right.” In re Ira Haupt & Co.,

361 F.2d 164, 168 (2d Cir. 1966). Shutting down the claims of more than 38,000 ill

and dying talc claimants for the benefit of non-debtors—based on 11th-hour asset

shifting—contravenes that principle.

                                  ARGUMENT

      Time and again, this Court has enforced the rule that “a Chapter 11 petition is

subject to dismissal for ‘cause’ under 11 U.S.C. § 1112(b) unless it is filed in good

faith.” In re SGL Carbon Corp., 200 F.3d 154, 162 (3d Cir. 1999); see In re

Integrated Telecom Express, Inc., 384 F.3d 108, 119-20 (3d Cir. 2004). This Court

does not require “subjective bad faith . . . to warrant dismissals for want of good



                                         18
        Case: 22-2003     Document: 46     Page: 31     Date Filed: 06/30/2022




faith.” In re 15375 Mem’l Corp. v. BEPCO, L.P., 589 F.3d 605, 618 n.7 & n.8 (3d

Cir. 2009) (quoting Carolin Corp. v. Miller, 886 F.2d 693, 700-01 (4th Cir. 1989)).

The good-faith inquiry focuses “more on objective analysis”; good faith is absent

where, in view of “totality of facts and circumstances,” the petition does not serve

“a valid bankruptcy purpose” or seeks “a tactical litigation advantage.” Id. at 618 &

n.8; see SGL, 200 F.3d at 162.

      LTL failed to meet its burden of proving good faith. See Integrated Telecom,

384 F.3d at 118. As the U.S. Trustee explained, LTL is a shell staffed by officers

“enmeshed in the J&J family” who perform no function except to “capitulate[ ] and

sign[ ] off on” J&J’s strategy. App.3013 (97:9-12) (hearing transcript). LTL func-

tions to “exploit bankruptcy powers for non-debtor affiliates,” which is “decidedly

not a legitimate bankruptcy purpose.” Id. at 3016 (100:21-22). The bankruptcy court

found a valid bankruptcy purpose based on its policy judgment that bankruptcy

processes are more efficient than traditional tort suits. But the desire to shift claims

against the debtor and others from traditional fora—circumventing the jury trials the

Seventh Amendment guarantees and the traditional role of non-bankruptcy courts—

is not a valid bankruptcy purpose.

      Rooted in equity, the good-faith requirement demands that debtors conform

“with the Code’s underlying principles.” SGL, 200 F.3d at 161. Created just 48



                                          19
        Case: 22-2003    Document: 46    Page: 32    Date Filed: 06/30/2022




hours before the bankruptcy filing, LTL evades those principles by design. By

isolating talc liabilities in the made-for-bankruptcy LTL, but placing productive

assets elsewhere, J&J and its affiliates seek the benefits of bankruptcy while

circumventing its protections and requirements. As the U.S. Trustee put it, J&J and

its affiliates demand that courts freeze and then absolve them of “tens of thousands

of claims” while they “remain on the sidelines” “without placing [their] assets

subject to the Code’s commands.” App.3017 (101:10-14) (hearing transcript). The

bankruptcy court’s injunction against non-debtors—enjoining suits filed by dying

claimants—to implement that scheme exceeded its jurisdiction and defies Code

principles.

I.    THE BANKRUPTCY COURT’S DECISION DENYING THE
      MOTION TO DISMISS WAS LEGAL ERROR

      This Court has vigorously, strictly, and repeatedly enforced the Bankruptcy

Code’s equitable command of objective good faith. In SGL, the Court reversed a

good-faith determination and overturned lower-court findings. 200 F.3d at 159, 162-

63. In Integrated Telecom, it overturned good-faith findings by the district and

bankruptcy courts. 384 F.3d at 118, 129-30. And in BEPCO, the Court affirmed a

district court’s dismissal, even though the bankruptcy court had denied the motion.

589 F.3d at 616-18. The Court should enforce that command once again.




                                        20
          Case: 22-2003    Document: 46      Page: 33     Date Filed: 06/30/2022




       Standard of review. This Court reviews denials of motions to dismiss Chapter

11 petitions for an abuse of discretion and fact-findings for clear error. SGL, 200

F.3d at 159. However, “whether the . . . facts of a case support the conclusion of

good faith . . . , i.e., whether the application of law to fact was proper . . . is subject

to plenary review because it is, essentially, a conclusion of law.” BEPCO, 589 F.3d

at 616.

       A.     The Bankruptcy Court Erred in Holding LTL’s Petition Had a
              Valid Bankruptcy Purpose
       A petition serves a “valid bankruptcy purpose” where bankruptcy will

(i) “preserv[e] a going concern” or (ii) “maximiz[e] the value of [its] estate.” BEP-

CO, 589 F.3d at 619. Here, the court did not identify any interest in preserving LTL,

the made-for-bankruptcy debtor, as a “going concern.” App. 15 (MTD Op.). LTL is

the opposite of a “going concern”—a shell formed only to resolve talc claims. It has

“no going concerns to preserve—no employees, offices, or business other than the

handling of litigation.” BEPCO, 589 F.3d at 619.

       The bankruptcy court found a valid bankruptcy purpose because bankruptcy

supposedly “serve[d] to maximize the property available to satisfy creditors.”

App.15 (MTD Op.). None of LTL’s assets, however, were “maximized” by bank-

ruptcy: Its $6 million bank account and royalty rights remain the same. And its

rights under the Funding Agreement were diminished by bankruptcy: LTL lost its


                                            21
        Case: 22-2003     Document: 46      Page: 34     Date Filed: 06/30/2022




right to draw on that agreement to pay talc claims on a current basis; as a result of

bankruptcy, the agreement’s funding is largely unavailable until there is a confirmed

plan after appeals are exhausted, perhaps years down the line. See p. 11, supra.

      The bankruptcy court’s holding to the contrary was based on its “strong con-

viction that the bankruptcy court is the optimal venue” to fairly and efficiently

resolve mass-tort litigation. App.19 (MTD Op.). “In the [court’s] eyes . . . the tort

system produces an uneven, slow-paced race to the courthouse . . . . Present and

future talc claimants should not have to bear the sluggish pace and substantial risk

. . . .” Id. at 27. The court opined that “which judicial system” is “best” for resolving

the claims—tort or bankruptcy—was a “far more significant issue” than the “valid

reorganizational purpose” inquiry this Court’s precedents require. Id. at 12-13. This

Court’s cases foreclose that rationale.

             1.     Bankruptcy’s Supposed Litigation Advantages Cannot
                    Justify a Good-Faith Filing

      The Bankruptcy Code is properly invoked to effect reorganizations or disso-

lutions of distressed debtors. It is not an alternative dispute resolution system for

debtors who—otherwise lacking a valid bankruptcy purpose—deem litigation too

expansive or expensive. “[T]he fact that a given law or procedure is efficient,

convenient, and useful” cannot justify the claims being adjudicated in bankruptcy.

Stern v. Marshall, 564 U.S. 462, 501 (2011).


                                           22
        Case: 22-2003      Document: 46     Page: 35     Date Filed: 06/30/2022




      This Court has repeatedly made that clear. In SGL, the debtor confronted

antitrust lawsuits, including a class action. 200 F.3d at 156-57. The district court

allowed the bankruptcy to proceed because “the Debtor ha[d] expressed its hope that

its Chapter 11 filing will facilitate a speedy and efficient resolution to the pending

litigation.” 233 B.R. 285, 290-91 (D. Del. 1999). This Court reversed, explaining

that the “[b]ankruptcy provisions are . . . not intended to be used as a mechanism to

orchestrate pending litigation.” 200 F.3d at 165.

      In Integrated Telecom, the debtor argued that its bankruptcy would avoid “the

costs and delay inherent in litigation.” Appellee’s Br., No. 04-2411, 2004 WL

5020971 (3d Cir. July 7, 2004). This Court rejected that argument and explained

that it could “identify no value . . . that was threatened outside of bankruptcy . . . but

that could be preserved or maximized” under Chapter 11. 384 F.3d at 122.

      In BEPCO, the debtor likewise argued that its “valid bankruptcy purpose[ ]”

was “to efficiently and cost effectively resolve and liquidate . . . pending and future

claims” and to distribute “assets on a fair and equitable basis.” Appellants’ Br., Nos.

09-1391, 09-1432, 09-1608, 2009 WL 5635433 (3d Cir. May 6, 2009). Agreeing,

the bankruptcy court held that “[l]itigating these, and other claims, in Bankruptcy

Court is the most efficient way to resolve them.” 382 B.R. 652, 686 (Bankr. D. Del.

2008). This Court again rejected that theory: The “creation of a central forum to



                                           23
        Case: 22-2003     Document: 46     Page: 36    Date Filed: 06/30/2022




adjudicate claims against the Debtors is not enough to satisfy the good faith inquiry.”

589 F.3d at 622.

      As in those cases, the bankruptcy court here invoked the putative superiority

of bankruptcy as a means of resolving litigation claims. App.23-27 (MTD Op.). In

its view, “which judicial system—the state/federal court trial system, or . . . chapter

11 reorganization”—“best” serves “the interests of this bankruptcy estate” was a “far

more significant issue” than the considerations this Court has identified. Id. at 12-

13. Once again, this Court should reject that rationale. Congress has not authorized

bankruptcy courts to extend their authority based on distaste for traditional judicial

mechanisms or preference for alternatives. The bankruptcy court’s contrary decision

elevated its policy preferences over the will of Congress.

      While the absence of a bankruptcy purpose alone dooms the petition, the effort

to move cases to bankruptcy court to avoid ordinary tort procedures is at the extreme

end of the “spectrum,” SGL, 200 F.3d at 162—an impermissible effort to achieve a

“litigation advantage,” Integrated Telecom, 384 F.3d at 120. In SGL, this Court held

that unequal treatment of litigation creditors (compared to other creditors) shows the

petition was “filed solely to gain tactical litigation advantages.” 200 F.3d at 167.

Here, J&J’s scheme leaves only talc creditors encumbered by the bankruptcy; all




                                          24
        Case: 22-2003      Document: 46     Page: 37     Date Filed: 06/30/2022




other creditors are preferred and can pursue payment outside bankruptcy from New

JJCI. More blatant inequality is hard to imagine.

      In SGL, the Court explained that a “petition may be dismissed” if “the timing

of the filing” leaves “no doubt that the primary, if not sole, purpose of the filing was

a litigation tactic.” 200 F.3d at 165; see BEPCO, 589 F.3d at 625. Here, J&J’s Two-

Step scheme was a direct response to litigation setbacks, “especially” the Supreme

Court’s denial of certiorari in Ingham. App. 4469 (J&J Treasurer email); pp. 8-9,

supra. And LTL filed for bankruptcy 48 hours after its creation, without any con-

sideration for whether bankruptcy made sense. As the U.S. Trustee has explained,

LTL’s officers simply did as J&J directed. App. 3013 (97:8-16) (hearing transcript);

pp. 12-13, supra.

      This case is thus like BEPCO, where “the Debtors’ representative was pri-

marily concerned with protecting the [non-debtor parents], not the Debtors.” 589

F.3d at 624. There, the debtors’ decisionmakers were “employed by” the non-debtor

parent; “the Debtors’ decision to file for bankruptcy was not their own”; and the non-

debtor parent “was ultimately in control of whether the Debtors filed.” Id. at 624-

25. The same is true here.

      J&J has made clear that the goal is to protect J&J, not creditors. Unless the

preliminary injunction against further litigation covers J&J and its affiliates, it urged,



                                           25
        Case: 22-2003     Document: 46     Page: 38    Date Filed: 06/30/2022




“[t]he entire purpose of this case” “would be thwarted.” App.4219 (Debtors’ Omni-

bus Reply in Support of PI 51). J&J’s control dwarfs the non-debtor’s role in

BEPCO:

      • J&J orchestrated the restructuring and bankruptcy, without meaningful
        participation by Old JJCI. See pp. 11-12, supra.

      • The bankruptcy was to “cap[ ]” J&J’s “talc liability” while avoiding
        “impact on [its] credit rating.” App. 4469 (J&J Treasurer email).

      • LTL’s board and management were all former and current J&J employees
        who, in the U.S. Trustee’s words, were “enmeshed” in J&J’s operations.
        App. 3013 (97:9-11) (hearing transcript).

      • LTL’s board did not receive basic information about LTL’s liquidity, such
        as the scope of talc liabilities or the value of the Funding Agreement. See
        p. 13, supra.

      • The LTL board voted to file for bankruptcy, even though that denied it
        access to billions of dollars in liquidity until a bankruptcy plan is con-
        firmed. See p. 11, supra.

BEPCO makes this an a fortiori case. The bankruptcy here operates to benefit non-

debtors by design.

             2.      The Bankruptcy Court Exceeded Its Proper Role by Making
                     Ad Hoc Policy Judgments About Bankruptcy’s Supposed
                     Advantages over the Ordinary Civil Justice System
      By invoking the supposed superiority of bankruptcy processes over traditional

litigation, the bankruptcy court exceeded its institutional role. Such policy decisions

are for Congress. Courts lack “professional staff with appropriate expertise” in


                                          26
        Case: 22-2003    Document: 46     Page: 39     Date Filed: 06/30/2022




gathering and analyzing “empirical data and national experience.” Kimbrough v.

United States, 552 U.S. 85, 109 (2007). There are critical institutional values beyond

efficiency, including the centrality of the Seventh Amendment jury-trial right and

the importance of state-court trials in our federal system. “[C]onvenience and

efficiency are not the primary objectives—or the hallmarks—of democratic govern-

ment.” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 499 (2010).

The bankruptcy court overlooked those other values entirely.

      This Court has recognized that Congress must make the policy choices about

how to resolve mass-tort claims. In Georgine v. Amchem Prods., Inc., 878 F. Supp.

716 (E.D. Pa. 1994), the district court approved an asbestos class-action settlement

because claims resolution under that court-approved compensation scheme would

“lower costs, shorten delays, produce consistent results, and provide assurance that

compensation will be available.” Id. at 723-24. This Court reversed, holding such

considerations irrelevant:

             The desirability of innovation in the management of mass
             tort litigation does not escape the collective judicial ex-
             perience of the panel. But reform must come from the
             policy-makers, not the courts.
Georgine v. Amchem Prods., Inc., 83 F.3d 610, 634 (3d Cir. 1996). The Supreme

Court agreed. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 628-29 (1997). This

case calls for the same conclusion.


                                         27
        Case: 22-2003     Document: 46     Page: 40    Date Filed: 06/30/2022




      The bankruptcy court admitted that the relative merits of bankruptcy and

traditional tort systems have been “the subject of academic, judicial, and policy

debates for years.” App.13 (MTD Op.). J&J itself has switched its views. In

Imerys’s talc-related bankruptcy in 2019, J&J touted “the process of efficient adjudi-

cation by the MDL court” in handling talc litigation. App. 7094 (J&J Brief 3). It

rejected any suggestion that litigation would require “individual trials ad infinitum,”

dismissing that “parade of horribles” as “ill-conceived and disproven by the fact that

thousands of state-law claims are currently centralized in the MDL court.”

App.7114 (J&J Reply Brief 38). Only after J&J lost its motion to exclude talc

claimants’ scientific testimony in the MDL in April 2020, and the Supreme Court

declined review of Ingham in June 2021, did J&J’s opposition to the civil justice

system materialize. See pp. 7-8, supra.

      The Article I bankruptcy court’s denigration of the congressionally estab-

lished Article III MDL process, see App. 23-24, 55 (MTD Op.), illustrates the dan-

gers of ad hoc judicial assessments. MDL proceedings have successfully resolved

mass torts, centralizing nearly 1 million lawsuits without depriving claimants of

traditional rights. See App.1938 (Law Professors’ Amicus Br. 7). Ninety percent

involved product-liability mass-tort claims. Id. at 1939. MDLs resolved nearly

14,000 cases in 2019 alone. Id. at 1942. Bellwether cases can establish facts



                                          28
        Case: 22-2003    Document: 46     Page: 41    Date Filed: 06/30/2022




regarding liability, causation, and damages, making settlement parameters clear.

MDL-875 has resolved over 186,000 asbestos cases since 2006 without a global

settlement.1 As the Federal Judicial Center noted, even though asbestos involves

“latent claims,” “[a]s symptoms of those injuries become manifest, the cases are

routinely filed and, apparently, settled.” 2 See Hon. Eduardo C. Robreno, The

Federal Asbestos Product Liability Multidistrict Litigation (MDL-875): Black Hole

or New Paradigm?, 23 Widener L.J. 97, 100 (2013). While the debate has two sides,

the propriety of a bankruptcy petition cannot depend on a bankruptcy court’s ad hoc

policy views about the benefits of claims processing in bankruptcy.

             3.    The Bankruptcy Court’s Assessment Rests on Flawed
                   Assumptions
      The bankruptcy court’s assessment of the virtues of the bankruptcy system

suffered from other fatal flaws. For example, the court invoked the availability of a

settlement trust and channeling injunction for present and future asbestos claimants

under 11 U.S.C. § 524(g). App. 28-29 (MTD Op.). But the “desire to take advantage




1
 Summary Statistics, United States District Court Judicial Panel on Multidistrict
Litigation (June 30, 2019), https://www.paed.uscourts.gov/documents/MDL/
MDL875/MDL-875.jun30.2019.pdf.
2
 Individual Characteristics of Mass Torts Case Congregations, A Report to the Mass
Torts Working Group at 12, Fed. Jud. Ctr. (Jan. 1999), https://www.uscourts.
gov/sites/default/files/masstapd_1.pdf.


                                         29
        Case: 22-2003      Document: 46     Page: 42     Date Filed: 06/30/2022




of ” any “particular provision in the Bankruptcy Code, standing alone,” does not

establish good faith. Integrated Telecom, 384 F.3d at 127. Section 524(g) is a reme-

dy in connection with a confirmed plan. See In re Federal-Mogul Glob. Inc., 684

F.3d 355, 359-62 (3d Cir. 2012). The “question of good faith is . . . antecedent to

the operation” of any bankruptcy remedy. Integrated Telecom, 384 F.3d at 128.

      Moreover, the bankruptcy court did not establish that § 524(g) would be

available. A § 524(g) trust and injunction require a plan approved by 75% of the

debtor’s asbestos claimants. See In re Combustion Engineering, Inc., 391 F.3d 190,

201 n.4 (3d Cir. 2004) (citing § 524(g)(2)(B)(ii)(IV)(bb)). The bankruptcy court

cannot predict such support. And § 524(g) relief is limited to debtors who, “at the

time of entry of the order for relief ”—i.e., as of the petition date3—were “named as

. . . defendant[s]” in an asbestos lawsuit. See § 524(g)(2)(B)(i)(I); Combustion Engi-

neering, 391 F.3d at 234 n.45. For the unusual debtor here—LTL—that was not the

case. When it filed for bankruptcy, it had existed for 48 hours; it was named in no

asbestos suits. App. 1020-21 (244:24-245:1) (Kim Testimony). Suits against Old

JJCI, a distinct entity with different assets, do not qualify.




3
  11 U.S.C. § 301(b) (“The commencement of a voluntary case under a chapter of
this title constitutes an order for relief under such chapter.”).


                                           30
        Case: 22-2003        Document: 46   Page: 43   Date Filed: 06/30/2022




      The bankruptcy court opined that, if § 524(g) did not apply, it could enter a

channeling injunction under § 105. App.9, 18, 29 (MTD Op.). But this Court has

already held that § 105(a) cannot sustain “a channeling injunction to non-debtors in

an asbestos case where the requirements of § 524(g) are not otherwise met.” Com-

bustion Engineering, 391 F.3d at 233-34.

      B.     The Scheme Defies the Code’s Structure and Principles

      To meet the good-faith requirement, “[a] debtor who attempts to garner shelter

under the Bankruptcy Code . . . must act in conformity with the Code’s underlying

principles.” SGL, 200 F.3d at 161. A petition that “objective[ly]” seeks “to step

outside the ‘equitable limitations’ of Chapter 11,” BEPCO, 589 F.3d at 618 n.8, is

not a good-faith petition.

      That describes LTL’s petition precisely. Far from effectuating the Code’s

requirements, it evades them by design. As the U.S. Trustee pointed out, the Two-

Step scheme—by which J&J put Old JJCI’s talc liabilities but not Old JJCI’s

operations into bankruptcy—eviscerates the Code’s protections. It gives New JJCI

and its owners the benefits of bankruptcy without the corresponding obligations.

             1.     LTL’s Structure Evades Traditional Bankruptcy Protections
      The Bankruptcy Code reflects a “careful balancing of interests.” Integrated

Telecom, 384 F.3d at 119. “Chapter 11 vests petitioners with considerable powers—



                                            31
        Case: 22-2003    Document: 46     Page: 44     Date Filed: 06/30/2022




the automatic stay, . . . the discharge of debts, etc.—that can impose significant

hardship on particular creditors.” SGL, 200 F.3d at 165. Concomitantly, the Code

imposes important obligations on debtors. As the bankruptcy court explained, the

Code “requires full transparency of all assets, liabilities and financial conduct

through scheduling and reporting.” App.48 (MTD Op.); see 11 U.S.C. § 521. The

Code provides “judicial oversight over all non-ordinary course of business conduct,”

such as asset sales and distributions. App. 48 (MTD Op.); see § 363. It imposes an

“absolute priority rule” under which equity holders can “receive nothing until all

previously listed creditors have been paid in full.” Czyzewski v. Jevic Holding Corp.,

137 S. Ct. 973, 979 (2017) (citing §§ 726(a)(6), 1129(a)(7), 1129(b)(2)). And it vests

courts with power to control all the debtor’s non-exempt property and ongoing

operations. See In re Venoco LLC, 998 F.3d 94, 99 (3d Cir. 2021); § 1104(a) (power

to appoint trustee); Thomas E. Plank, The Constitutional Limits of Bankruptcy, 63

Tenn. L. Rev. 487, 526 (1996).

      The Two-Step scheme here end-runs those protections. J&J and its affiliates

faced mass-tort liability for their misconduct. But they now seek “to cleanse” them-

selves of that “liability without enduring the rigors of bankruptcy.” Combustion

Engineering, 391 F.3d at 237. They created LTL, assigned LTL talc liabilities, and

promptly placed LTL alone in bankruptcy—while keeping Old JJCI’s valuable



                                         32
        Case: 22-2003     Document: 46     Page: 45     Date Filed: 06/30/2022




operating assets outside bankruptcy in New JJCI. By doing so, they defeated any

transparency into virtually all of Old JJCI’s “assets, liabilities and financial conduct

through scheduling and reporting.” App. 48 (MTD Op.).

      The Two-Step scheme likewise frustrates bankruptcy-court supervision over

assets, including non-ordinary-course sales under § 363. That bankruptcy encum-

brance now applies only to LTL, which received no operating assets. By contrast,

“[t]he funding agreement [was] structured in a way that [New] JJCI can ‘spin out’

the [consumer-health] assets up the chain or to a new [legal entity] and be un-

encumbered going forward.”        App. 4634 (J&J email); see App. 4463 (J&J press

release). By allocating talc liability to LTL but operational assets to New JJCI, the

Two-Step puts operating assets—the ones responsible for liability here—beyond

bankruptcy court supervision.

      The scheme also upends the “absolute priority” rule, which gives creditors

priority over equity. Under the Two-Step, New JJCI—holding Old JJCI’s assets—

remains outside bankruptcy-court control and can freely distribute its substantial

earnings to parent companies and shareholders (principally J&J). J&J, in turn, has

paid on average $10-11 billion in shareholder dividends in the six years before LTL’s

bankruptcy, and continues to pay hefty dividends.          App. 3570 (11:9-16) (Ryan




                                          33
        Case: 22-2003     Document: 46      Page: 46     Date Filed: 06/30/2022




Dep.). 4 By contrast, talc claimants are mired in LTL’s bankruptcy. The good-faith

inquiry “is particularly sensitive where, as here, the petition seeks to distribute value

directly from a creditor to a company’s shareholders.” Integrated Telecom, 384 F.3d

at 128-29. Even same-level creditors are treated unequally. Talc claimants are

frozen in bankruptcy, while Old JJCI’s trade creditors and non-talc unsecured

creditors remain outside bankruptcy.

      LTL’s scheme removes judicial control over going-concern management.

New JJCI—holding Old JJCI’s businesses—remains outside bankruptcy, making

management decisions free from bankruptcy-court supervision. That destroys a

critical incentive for debtors to emerge from bankruptcy proceedings promptly:

avoiding the constraints of operating in bankruptcy. App. 4678 (Burian Report 41).

Operating Old JJCI’s business units outside bankruptcy, New JJCI is indifferent to

the bankruptcy’s duration; LTL has no business and no purpose outside bankruptcy.

They lack any incentive to negotiate or press forward. Indeed, other Two-Step

debtors have yet to emerge from bankruptcy. See In re Bestwall LLC, No. 17-31795




4
  2022 First Quarterly Dividend Announcement, Johnson & Johnson (Jan. 4, 2022),
https://www.jnj.com/johnson-johnson-announces-quarterly-dividend-for-first-quar
ter-2022.


                                           34
        Case: 22-2003     Document: 46     Page: 47     Date Filed: 06/30/2022




(Bankr. W.D.N.C.) (petition filed 11/2/2017); In re DBMP LLC, No. 20-30080

(Bankr. W.D.N.C.) (petition filed 1/23/2020).

      The bankruptcy court’s invocation of the Funding Agreement as a substitute

for placing Old JJCI’s business assets into bankruptcy, see App.31-32, 43-45 (MTD

Op.), compounds the error. It does not cure the evasion of the protections discussed

above. And the Code expects debtors to surrender control of their assets to the court.

It does not license them to evade that requirement, and move all productive assets

beyond bankruptcy, by offering an unsecured funding promise in their stead.

Contrast 11 U.S.C. §1129(b)(2)(A)(iii) (plan can provide for “indubitable equiva-

lent” of secured claims). The Funding Agreement, a contractual obligation of New

JJCI and J&J, App. 44 n.27 (MTD Op.), is no substitute regardless. Before the Two-

Step scheme, talc claimants had property rights in Old JJCI, enforceable by judgment

lien. The Two-Step leaves them with a right against a different party, LTL, that

holds an unsecured promise it would have to enforce against the original tortfeasors

(which control LTL).

      “A debtor . . . who invokes the aid of the federal courts in reorganization or

rehabilitation . . . assumes all of the consequences which flow from that jurisdiction.”

Case v. L.A. Lumber Prods. Co., 308 U.S. 106, 125 (1939). Where the debtor was

created to evade bankruptcy’s statutory scheme—to circumvent rather than “con-



                                          35
          Case: 22-2003     Document: 46      Page: 48      Date Filed: 06/30/2022




form[ ] with the Code’s underlying principles”—the equitable requirement of good

faith is absent. SGL, 200 F.3d at 161.

         This case is fundamentally different from other mass-tort bankruptcies where

debtors, facing liability for their own conduct, themselves filed for bankruptcy. See,

e.g., In re Johns-Manville, 36 B.R. 727, 738 (Bankr. S.D.N.Y. 1984) (“a real busi-

ness with real creditors in pressing need of economic reorganization”); In re Dow

Corning Corp., 244 B.R. 673, 677 (Bankr. E.D. Mich. 1999) (“ ‘a real company with

real debt, real creditors and a compelling need to reorganize’ ”); In re Mallinckrodt

PLC, — B.R. —, No. 20-12522, 2022 WL 404323, at *1 (Bankr. D. Del. Feb. 8,

2022). LTL is a shell created by wealthy tortfeasors to move talc liabilities into

bankruptcy, while keeping themselves, their productive assets, and other liabilities

outside bankruptcy.

         Former bankruptcy judge Judith Fitzgerald, who presided over more asbestos

bankruptcies during her tenure than any other bankruptcy judge, made precisely that

point:

               If the pre-merger company is so inundated with claims
               from victims of the company’s wrongdoing that it faces
               economic ruin, it should use the statute that Congress has
               passed and file its own bankruptcy—put its assets and its
               liabilities up for public scrutiny and court supervision . . . .
               The bankruptcy system should not be used by a non-debtor
               as an artifice or stratagem to escape the requirements



                                             36
        Case: 22-2003     Document: 46     Page: 49    Date Filed: 06/30/2022




             Congress has instituted to relieve the honest but unfor-
             tunate debtor from true financial woes.

Written Testimony of Hon. Judith Fitzgerald at 9, Sheldon Whitehouse U.S. Senator

for Rhode Island (Feb. 8, 2022), https://www.whitehouse.senate.gov/imo/media/

doc/Fitzgerald%20Testimony.pdf.

      The bankruptcy court acknowledged the Code’s requirements, from the listing

of assets to court supervision of non-ordinary-course conduct. App.48-49 (MTD

Op.). It nowhere denied that the Two-Step scheme sidestepped those requirements.

Id. But the court questioned their value given “the attention this case is receiving”

from media and counsel. Id. The court assailed the consequences of placing the

actual tortfeasors into bankruptcy as administratively costly and risking “too much

value.” Id. at 47. But “courts cannot deviate from the procedures ‘specified by the

Code,’ even when they sincerely ‘believ[e] that . . . creditors would be better off.’ ”

Jevic, 137 S. Ct. at 987. Nor can they license circumvention of legislative choices.

See Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 328 (2015). Supposed

compliance with the Texas merger statute cannot answer the “good faith” question

either. App. 42, 51 (MTD Op.). How Old JJCI accomplished its line-item bank-

ruptcy cannot license efforts to “step outside” Chapter 11’s “equitable limitations.”

BEPCO, 589 F.3d at 618 n.8; see In re Primestone Inv. Partners L.P., 272 B.R. 554,

558 (D. Del. 2002) (affirming dismissal where there was “nothing inherently


                                          37
        Case: 22-2003     Document: 46     Page: 50        Date Filed: 06/30/2022




improper” about debtor’s form). In bankruptcy, “substance will not give way to

form.” Pepper v. Litton, 308 U.S. 295, 305 (1939).

             2.     The Scheme Threatens the Public Interest and Raises Serious
                    Constitutional Questions
      As the bankruptcy court acknowledged, its decision has implications for

“restructurings beyond” this case. App. 3764-65 (74:21-75:8) (hearing transcript).

Under the Two-Step blueprint, any company could shed tort or other liabilities in

bankruptcy while avoiding Bankruptcy Code requirements.

      Addressing concerns about “ ‘open[ing] the floodgates’ to similar machina-

tions,” the bankruptcy court suggested that “maybe the gates indeed should be

opened.” App.52. Alternatively, it speculated that only sophisticated corporations

could engineer Two-Step transactions. Id. But Congress did not create a two-tier

Bankruptcy Code, with one set of rules for well-heeled companies able to afford

evasive maneuvers, and another for everyone else. Besides, “[o]nce the floodgates

are opened” and the model is established, “debtors . . . can be expected to make

every case that ‘rare case.’ ” Jevic, 137 S. Ct. at 986.

      The scheme raises serious constitutional questions. Because “bankruptcy

courts possess no free-floating authority to decide claims traditionally heard by

Article III courts,” “their ability to resolve such matters is limited to a narrow class

of common law claims as an incident to [their] primary . . . adjudicative function” of


                                          38
         Case: 22-2003      Document: 46      Page: 51      Date Filed: 06/30/2022




handling bankruptcies. Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665, 679-80

(2015); see Stern, 564 U.S. at 494-95. The Two-Step scheme tests those consti-

tutional limits: It transfers traditional state-law claims to bankruptcy court using a

shell entity manufactured for bankruptcy. Talc claimants are deprived of their

“Seventh Amendment right to try [their] . . . claims before a jury” without a

corresponding bankruptcy justification. SGL, 200 F.3d at 169 n.23. The canon of

constitutional avoidance requires courts to avoid so testing constitutional limits.

Zadvydas v. Davis, 533 U.S. 678, 689 (2001).

       C.     The Bankruptcy Court’s Finding of “Financial Distress” Was
              Reversible Error

       A valid bankruptcy purpose exists, moreover, only if the debtor is experi-

encing “serious financial and/or managerial difficulties at the time of filing.” SGL,

200 F.3d at 164.

              1.     Old JJCI’s Financial Situation Was Irrelevant

       The bankruptcy court found financial distress because non-debtors “J&J and

Old JJCI were . . . facing a torrent of significant talc-related liabilities . . . .” App. 40;

id. at 14, 33-40 (MTD Op.). But any financial distress of non-debtors is irrelevant.

What matters is the debtor’s situation. In SGL, for example, this Court repeatedly

referred to the bankruptcy “petitioner” (11 times) and “debtor” (29 times); “if a

petitioner has no need to rehabilitate or reorganize,” the Court emphasized, “its


                                             39
        Case: 22-2003       Document: 46   Page: 52   Date Filed: 06/30/2022




petition cannot serve [Chapter 11’s] rehabilitative purpose.” 200 F.3d at 166

(emphasis added). Likewise, BEPCO found that running a bankruptcy to protect

non-debtors supports dismissal. 589 F.3d at 609, 620-24.

      Here, the bankruptcy court found that talc litigation could have “threaten [ed]

Old JJCI’s ability to sustain the marketing, distribution, and R&D expenditures

needed to compete in the U.S. market.” App.33 (MTD Op.) (emphasis added). But

Old JJCI no longer exists. App.448 (Kim Decl. ¶ 16). The debtor here, LTL, faces

none of those risks. It engages in no marketing, distribution, R&D, or manu-

facturing. Either LTL’s financial circumstances should be judged independently or

Old JJCI should have filed for bankruptcy itself. Old JJCI’s situation cannot justify

putting a different debtor into bankruptcy while keeping Old JJCI’s productive

assets—held by New JJCI—beyond bankruptcy control.               Characterizing the

restructuring and the bankruptcy as “a single, pre-planned, integrated transaction,”

App.14 (MTD Op.), does not convert an effort to evade bankruptcy requirements

into a good-faith filing.

             2.     The Bankruptcy Court Applied the Wrong Legal Standard

      Invoking out-of-circuit precedent, the bankruptcy court stated that the “Code

does not ‘require any particular degree of financial distress . . . .’ ” App. 38. But

this Court has emphasized that there must be “immediate” and “serious financial . . .



                                           40
          Case: 22-2003    Document: 46     Page: 53     Date Filed: 06/30/2022




difficulties at the time of filing.” SGL, 200 F.3d at 164. In Johns-Manville, the

debtor faced the prospect of “book[ing] a $1.9 billion reserve thereby triggering

potential default on a $450 million debt.” 200 F.3d at 164. In A.H. Robins, “Robins’

financial picture had become so bleak that financial institutions were unwilling to

lend it money.” In re A.H. Robins Co., 89 B.R. 555, 558 (Bankr. E.D. Va. 1988);

see SGL, 200 F.3d at 164 n.15.

      SGL reversed a finding of financial distress, even though antitrust plaintiffs

there sought “hundreds of millions of dollars in damages, before trebling, an amount

well in excess of the Debtor’s ability to pay.” 233 B.R. at 287. That “potential

liability,” the district court had found, “could very well force [the debtor] out of

business.” Id. at 291. While acknowledging “that a debtor need not be insolvent,”

this Court reversed. SGL, 200 F.3d at 163. “Whether or not [debtor] faces a po-

tentially crippling antitrust judgment, it is incorrect to conclude it had to file when it

did. As noted, [debtor] faces no immediate financial difficulty.” Id. (emphasis

added).

      The requirement of “serious” and “immediate” financial distress confines

federal bankruptcy jurisdiction to its constitutionally circumscribed role—adjusting

rights and liabilities for genuinely distressed debtors. It prevents wealthy companies

facing only speculative risks from converting bankruptcy into an alternative claims-



                                           41
        Case: 22-2003     Document: 46     Page: 54       Date Filed: 06/30/2022




processing regime at the cost of Seventh Amendment rights and federalism

principles.

              3.    No Finding of Financial Distress Is Sustainable as to LTL

      The bankruptcy court made no finding of “immediate” and “serious” financial

distress for LTL. When LTL filed for bankruptcy, it had not been presented with a

single talc judgment to pay. The Funding Agreement recited that LTL had “financial

capacity sufficient to satisfy its obligations as they become due in the ordinary course

of business, including any Talc Related Liabilities.” App.4229-30 (Funding Agree-

ment 1-2). LTL told the bankruptcy court that the Funding Agreement provides $61

billion in liquidity and that there is no “imminent or even likely need of the Debtor

to invoke the Funding Agreement to its maximum amount or anything close to it.”

App.3747 (Debtor’s Obj. to Mots. for Certification 22); see p. 11, supra. Those

representations, if assumed correct, require dismissal.

      LTL’s board, moreover, lacked sufficient information to make a judgment of

“financial distress” when it filed for bankruptcy. For example, the board was never

provided with estimates of talc liabilities or analyses of the Funding Agreement’s

value. See pp. 12-13, supra. The assertion of financial distress was manufactured

during bankruptcy. It rested on speculation that “[d]efending just the over 38,000

pending ovarian cancer claims through trial would cost up to $190 billion,” assuming



                                          42
        Case: 22-2003    Document: 46     Page: 55    Date Filed: 06/30/2022




costs between $2 million and $5 million to try each case. App. 37 (MTD Op.). But

J&J never tried every case; there is no evidence LTL would. J&J’s treasurer told

Standard & Poor’s in October 2020 that the “worst case” talc liability was between

$7 billion and $7.5 billion. App.3423 (35:10-36:19) (Kaplan Dep.); see App. 4766-

67 (S&P Oct. 13, 2020 Notes).

      D.     The Court’s “Unusual Circumstances” Holding Was Erroneous

      The bankruptcy court asserted that “unusual circumstances” preclude dis-

missal under § 1112(b)(2), invoking “the interests of current tort creditors and the

absence of viable protections for future tort claimants outside of bankruptcy.”

App.13 n.8 (MTD Op.). Whether dismissal is in creditors’ best interests, however,

is best answered by creditors—virtually all of whom sought dismissal.            See

App.1726-1804, 1864-71 (Claimants’ Motions to Dismiss).5 When this Court finds

good faith absent, it orders dismissal. SGL, 200 F.3d at 159 n.8.

      The bankruptcy court also failed to address § 1112(b)(2)’s other requirements.

Neither LTL nor any other party established “a reasonable likelihood that a plan will

be confirmed” within the statutory period. § 1112(b)(2)(A). Even the bankruptcy

court found the “success of Debtor’s reorganization [was] speculative.” App.186 (PI



5
 An opposition, App.1968-69, was filed on behalf of the proposed representative of
an uncertified Canadian class-action.


                                         43
           Case: 22-2003   Document: 46    Page: 56    Date Filed: 06/30/2022




Op. 47).     There is no “reasonable justification” for the LTL act supporting

dismissal—filing a petition without a valid bankruptcy purpose while seeking to

evade the Code’s requirements. § 1112(b)(2)(B)(i). And those circumstances cannot

be “cured within a reasonable period of time.” § 1112(b)(2)(B)(ii).

      Regardless, the bankruptcy court’s preference for bankruptcy over traditional

handling of mass torts, App. 13 n.8 (MTD Op.), is not the type of “objective analy-

sis” courts can consider. Cf. BEPCO, 589 F.3d at 618 n.8; see p. 19, supra. If that

sufficed, “unusual circumstances” would encompass any policy preferences for

dispute resolution in bankruptcy.

II.   THE BANKRUPTCY COURT COMMITTED LEGAL ERROR IN
      FREEZING TENS OF THOUSANDS OF SUITS AGAINST
      HUNDREDS OF NON-DEBTORS

      After structuring their eve-of-bankruptcy transactions to put only LTL into

bankruptcy—and to exclude J&J and New JJCI—J&J and New JJCI asked the

bankruptcy court to stay actions against J&J, New JJCI, and some 670 other non-

debtors in view of LTL’s bankruptcy. Even though the automatic stay under § 362

extends only to actions against the debtor, the bankruptcy court granted the request,

halting more than 38,000 talc lawsuits asserting direct liability claims against

hundreds of non-debtors (where the debtor was not a named defendant). It froze

cases in a federal MDL and state courts across the country, even during trial, shutting



                                          44
        Case: 22-2003     Document: 46      Page: 57     Date Filed: 06/30/2022




down relief for rapidly failing and now-deceased plaintiffs. See, e.g., App.597-

99 (Vanklive Objection). Over 300 talc claimants represented by TCC firms have

died since that order issued, never having had their day in court. App.3775 (TCC

Statement 9).

      No court of appeals has ever approved such a sweeping extension of relief.

The bankruptcy court here found it had jurisdiction under bankruptcy provisions

governing “core” and “related-to” proceedings but overlooked precedent foreclosing

those theories. And the court lacked a factual or legal basis for an injunction of that

magnitude.

      Standard of review. This Court exercises plenary review over subject-matter

jurisdiction. Combustion Engineering, 391 F.3d at 224 n.34. The Court reviews

“legal determinations de novo, . . . factual findings for clear error, and . . . exercise

of discretion for abuse thereof.” In re Cont’l Airlines, 203 F.3d 203, 208, 213 (3d

Cir. 2000).

      A.      The Bankruptcy Court Lacked “Core” Jurisdiction To Enjoin
              Tens of Thousands of Suits Against Non-Debtors

      The sine qua non for federal court action is subject-matter jurisdiction.

Temple Univ. Hosp., Inc. v. Sec’y U.S. Dep’t of Health & Hum. Servs., 2 F.4th 121,

130 (3d Cir. 2021). Here, the bankruptcy court asserted authority to freeze actions

against non-debtors under § 362(a)—which authorizes stays of actions against the


                                           45
        Case: 22-2003     Document: 46     Page: 58     Date Filed: 06/30/2022




debtor—together with its authority under § 105 to enter “necessary or appropriate”

relief. See App. 147-52 (PI Op.8-13). The court recognized that this Court had “not

addressed” how the Code’s jurisdictional provision, 28 U.S.C. § 1334(b), would

cover such relief. App.152 (PI Op. 13).

      1.     The bankruptcy court first held that § 1334(b)’s provisions relating to

“ ‘core’ proceedings” gave it jurisdiction over actions against non-debtors.

App.151 (PI Op. 12). Those provisions provide jurisdiction over “(1) cases ‘under’

title 11; (2) proceedings ‘arising under’ title 11; [and] (3) proceedings ‘arising in’ a

case under title 11.” Id. (quoting Stoe v. Flaherty, 436 F.3d 209, 216 (3d Cir. 2006)).

Efforts “to extend an automatic stay and injunction to non-debtor third parties

pursuant to sections 362 and 105,” the court ruled, “qualify as ‘core’ proceedings”

over which it “can exercise jurisdiction.” Id. at 152-53 (PI Op.13-14).

      That was error. “Whether a proceeding is a ‘core’ proceeding that ‘arises

under’ title 11 depends upon whether the Bankruptcy Code creates the cause of

action or provides the substantive right invoked.” Stoe, 436 F.3d at 217. In Stoe,

this Court held there was no “core” jurisdiction over state-law claims removed to

federal court under 28 U.S.C. § 1452, because the underlying claims arose under

state law, “not under the Bankruptcy Code.” Id. “The Bankruptcy Code did not

create [plaintiff] Stoe’s cause of action.” Id. That reasoning applies here. Talc



                                          46
        Case: 22-2003    Document: 46     Page: 59    Date Filed: 06/30/2022




litigation against non-debtors arises under state law, App. 5242-5284 (MDL Second

Amended Complaint), not the Bankruptcy Code.

      The bankruptcy court erroneously looked to the statutory provision LTL in-

voked to support its claim for stay relief—the fact that §§ 362 and 105 are

bankruptcy provisions—while ignoring the basis for the state-court and federal MDL

talc cases LTL sought to enjoin. This Court rejected that approach in In re W.R.

Grace & Co., 591 F.3d 164 (3d Cir. 2009). There, the debtor argued that “the

Bankruptcy Court does not need related-to jurisdiction over the [state-court] Actions

in order to enjoin them, because the Court’s jurisdiction over the adversary pro-

ceeding in [debtor’s] Chapter 11 case is sufficient to provide it with a basis for

expanding the § 105(a) injunction” to non-debtors. Id. at 174. This Court rejected

that argument because it would give “a bankruptcy court . . . power to enjoin any

action, no matter how unrelated to the underlying bankruptcy it may be, so long as

the injunction motion was filed in the adversary proceeding.” Id.

      The bankruptcy court made the same mistake here. The question is not the

statutory basis for requested bankruptcy relief. It is the court’s subject-matter

jurisdiction over the cases LTL seeks to enjoin. The court invoked the facts that the

relief was sought “under the Bankruptcy Code” and that bankruptcy stay pro-

ceedings “arise only in the context of a bankruptcy case.” App. 152-53 (PI Op. 13-



                                         47
        Case: 22-2003     Document: 46     Page: 60     Date Filed: 06/30/2022




14). If that sufficed, bankruptcy courts would have jurisdiction to stay any case,

with or without any relation to bankruptcy. See W.R. Grace, 591 F.3d at 174.

“Neither the Bankruptcy Code nor . . . the [bankruptcy] Plan” is the “source of the

bankruptcy court’s subject matter jurisdiction.” In re Resorts Int’l, Inc., 372 F.3d

154, 161 (3d Cir. 2004). Determining jurisdiction based on the relief sought would

impermissibly allow LTL to write its “own jurisdictional ticket.” Id. Stoe and W.R.

Grace foreclose that extravagant extension of “core” bankruptcy jurisdiction.

      2.     Nor can expansive relief for non-debtors be characterized as an appli-

cation of § 362’s automatic stay. “[T]he clear language of section 362(a) indicates

that it stays only proceedings against a ‘debtor’—the term used by the statute itself .”

Maritime Elec. Co. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir. 1991); see

McCartney v. Integra Nat’l Bank N., 106 F.3d 506, 509 (3d Cir. 1997) (similar).

Insofar as the question is “unsettled,” App. 150 (PI Op. 11), that statutory text should

control. To stay tens of thousands of cases against non-debtors, the bankruptcy

court had to invoke § 105 authority for “necessary or appropriate” orders.

      Indeed, the “courts cited by McCartney . . . relied on 11 U.S.C. § 105(a), not

§ 362(a), to enjoin the actions against the non-bankrupt parties.” Stanford v. Foamex

L.P., Civ. A. 07-4225, 2009 WL 1033607, at *1 n.7 (E.D. Pa. Apr. 15, 2009). Such

orders, “although referred to as extensions of the automatic stay, were in fact



                                          48
        Case: 22-2003    Document: 46     Page: 61    Date Filed: 06/30/2022




injunctions issued by the bankruptcy court” under § 105. Patton v. Bearden, 8 F.3d

343, 349 (6th Cir. 1993). Section 105(a), however, is not about “core” proceedings

and “does not provide an independent source of federal subject matter jurisdiction”;

that jurisdiction must be established separately. Combustion Engineering, 391 F.3d

at 225. Enjoining state-law actions against non-debtors is not a “core proceeding”

under the Code.

      B.     The Bankruptcy Court Lacked “Related-To” Jurisdiction To
             Enjoin Cases Against Non-Debtors

      The bankruptcy court alternatively invoked “related-to” jurisdiction under

§ 1334(b). App.153-54 (PI Op.14-15). Four times—in Pacor, Inc. v. Higgins, 743

F.2d 984, 986 (3d Cir. 1984), In re Federal-Mogul Glob. Inc., 300 F.3d 382 (3d Cir.

2002), Combustion Engineering, and W.R. Grace—this Court has enforced strict

limits on “related-to” bankruptcy jurisdiction. Four times, this Court has rejected

efforts to enjoin asbestos suits against non-debtors under “related-to” jurisdiction,

even where the suits might trigger indemnification claims against the debtor. Id.

      “Related-to” jurisdiction depends on “whether the allegedly related lawsuit

would affect the bankruptcy without the intervention of yet another lawsuit.”

Federal-Mogul, 300 F.3d at 382 (emphasis added). In Combustion Engineering, the

Court rejected the argument that the debtor and non-debtors had a “unity of interest”

based on “joint operations at single sites leading to the asbestos personal injury


                                         49
        Case: 22-2003    Document: 46     Page: 62     Date Filed: 06/30/2022




claims at issue” and “extensive financial inter-dependence.” 391 F.3d at 213, 230.

Any “potential indemnification and contribution claims by non-debtors” are

insufficient for “related-to” jurisdiction because they “would require another lawsuit

before they could affect” the debtor’s estate. Id. at 227. Shared insurance cannot

provide a basis for “related-to” jurisdiction absent “findings regarding the terms and

operation of the subject policies.” Id. at 232-33. And made-for-bankruptcy agree-

ments between the parties, like those here, are insufficient. Subject-matter juris-

diction “cannot be conferred by consent of the parties” or “agreement even in a plan

of reorganization.” Id. at 228. The bankruptcy court’s finding of “related-to” juris-

diction here defies Combustion Engineering.

             1.    Manufactured Grounds for “Related-To” Jurisdiction
                   Cannot Support Jurisdiction
      “[N]o action of the parties can confer subject-matter jurisdiction upon a

federal court.” Ins. Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S.

694, 702 (1982); see 28 U.S.C. § 1359; In re Maislin Indus., U.S., Inc., 66 B.R. 614,

617 (E.D. Mich. 1986). Here, the bankruptcy court found “related-to” jurisdiction

because LTL “is liable for the talc claims as the result of pre-petition corporate

transactions, including the 2021 Corporate Restructuring, and various contractual

indemnification obligations.”    App.153 (PI Op. 14).     But the bankruptcy court

accepted the premise that LTL’s indemnity obligations were “ ‘based solely on the


                                         50
        Case: 22-2003    Document: 46     Page: 63   Date Filed: 06/30/2022




allocation of agreements to the debtor on the eve of the bankruptcy filing for the

very purpose of extending the stay.’ ” Id. at 159 (emphasis added). LTL’s assets

“were all created to effectuate a bankruptcy filing and have no other business

purpose.” App. 1514 (Transfer Order 9).

      Such efforts to fabricate subject-matter jurisdiction—through related-party

transactions on the bankruptcy courthouse steps—cannot suffice. In Combustion

Engineering, the parties sought to support a channeling injunction by invoking the

non-debtors’ agreement to provide financial support to the debtor. This Court re-

jected the effort. 391 F.3d at 228. If such made-for-bankruptcy agreements were

sufficient, “a debtor could create subject matter jurisdiction over any non-debtor

third party” by agreement. Id.; contrast McCartney, 106 F.3d at 509 (considering

pre-existing, longstanding business connections). The court below accepted such

made-for-bankruptcy allocations as creating jurisdiction nonetheless.

      That defect cuts across the bankruptcy court’s opinion. The court invoked

indemnification agreements, shared insurance coverage, and related connections

between LTL and non-debtors. App.153 (PI Op. 14). But LTL never signed any

indemnification agreements, insurance policies, or other agreements. It never manu-

factured or sold baby powder. J&J unilaterally allocated all that to LTL via deal

documents when LTL was created on the eve of bankruptcy for bankruptcy



                                          51
        Case: 22-2003     Document: 46     Page: 64    Date Filed: 06/30/2022




purposes. Precedent and equity forbid such efforts to manipulate the scope of federal

jurisdiction (or manufacture an identity of interest) on the courthouse steps.

             2.     Putative Effects of Suits Against Non-Debtors Fall Short

      Any LTL indemnification obligations do not create the required effect on the

reorganization regardless. App.153, 159-60 (PI Op.14, 20-21). First, when non-

debtors (or carriers using shared insurance) pay talc claimants, that at worst reduces,

dollar-for-dollar, claims against LTL. Liquidating claims against non-debtor joint-

tortfeasors merely replaces the personal-injury claims of talc claimants with

indemnity claims by affiliates and commercial partners.

      Second, the Funding Agreement prevents any impact on reorganization (even

assuming indemnification occurs). Under the Funding Agreement, LTL has the

“contractual right to look to J&J and New JJCI as primary obligors”—“without

having to establish independent liability”—to fund claims against LTL, including

talc-related indemnification claims. App. 44 (MTD Op.). As a result, if J&J or New

JJCI were to tender an adverse talc judgment to LTL, LTL would simply tender that

liability back under the Funding Agreement—a circular flow that avoids any impact

on reorganization (and shows how contrived the indemnity is).

      The bankruptcy court opined that LTL’s estate could be affected because,

under “the Funding Agreement, Debtor must first use its own assets to fund the



                                          52
        Case: 22-2003     Document: 46     Page: 65     Date Filed: 06/30/2022




trust.” App. 160 (PI Op. 21). However, when LTL filed for bankruptcy, all its assets

other than the Funding Agreement (i.e., rights to royalty streams valued at $367.1

million and a $6 million bank account, App.7 (MTD Op.)), were spoken for; they

represented a fraction of the talc liabilities assigned to LTL, id. at 36 . Any indemni-

fication claims against LTL based on continued litigation cannot affect already-

spoken-for LTL assets.

      The indemnity theory fails for yet another reason. J&J had no right to

indemnity from LTL’s predecessor, Old JJCI; as a result, LTL could not have

inherited such an obligation. The bankruptcy court interpreted a 1979 agreement as

having transferred J&J’s talc-related liabilities to Old JJCI. App. 164 (PI Op.25).

But the 1979 Agreement stated that Baby Products Company (Old JJCI’s prede-

cessor) would assume “all the indebtedness, liabilities and obligations of every kind

and description which are allocated on the books or records of J&J as pertaining to

its BABY Division.” Id. (emphasis added). The record is devoid of evidence that

any talc claims were “allocated on the books or records of J&J” in 1979. The first

talc-related tort case was not filed against J&J until 1982. App.360 (Debtor Info

Brief 45). The bankruptcy court found the indemnity provision “ambiguous,”

App.167 (PI Op.28), but failed to construe that ambiguity against the indemnitee




                                          53
           Case: 22-2003   Document: 46    Page: 66     Date Filed: 06/30/2022




(here J&J), as New Jersey law requires. See Kieffer v. Best Buy, 14 A.3d 737, 743

(N.J. 2011).

               3.    Claims Against Non-Debtors Would Not Liquidate Claims
                     Against LTL
       The bankruptcy court held that claims against non-debtors would “liquidate”

claims against LTL, as LTL owes them “contractual, common law, and statutory

indemnification obligations.” App.153, 169 (PI Op.14, 30). This Court has rejected

such theories. Because LTL would not be a party to talc lawsuits against non-

debtors, it could litigate its own liability later. See, e.g., W.R. Grace, 591 F.3d at

172 (debtor “will not be bound by any judgment against the third party in question”).

That LTL’s liability could not be established without a separate proceeding against

LTL negates “related-to” jurisdiction. Federal-Mogul, 300 F.3d at 382. If such a

later proceeding were brought against LTL, the bankruptcy court could stay that

action. But enjoining tens of thousands of suits against non-debtors in advance goes

too far.

       For the same reason, “principles of res judicata, collateral estoppel, and record

taint” cannot support such relief. App. 173-180 (PI Op.34-41); Pacor, 743 F.2d at

995 (“Since Manville is not a party . . . , it could not be bound by res judicata or

collateral estoppel.”). The bankruptcy court, moreover, nowhere determined that

collateral estoppel, res judicata, or record taint would result. App. 176 (PI Op.37)


                                          54
        Case: 22-2003      Document: 46     Page: 67     Date Filed: 06/30/2022




(“collateral estoppel may not adversely impact Debtor in subsequent litigation”)

(emphasis added); id. at 179 (“there exists a risk that . . . res judicata could adversely

impact Debtor”); id. at 180 (record taint “could prejudice Debtor”) (emphasis

added). Speculation is not enough.

      The bankruptcy court insisted that talc claims against J&J would “involve the

same products, same time periods, same alleged injuries, and same evidence as

claims against the Debtor.” App. 158 (PI Op.19). But talc claims against J&J rest

on J&J’s own tortious conduct and culpability. Courts and juries have held J&J and

Old JJCI independently liable.        App.4706-07 (Diaz Report 13-14); App. 4952

(Summary of Talc Verdicts). Courts have instructed juries to consider the liability

of J&J and Old JJCI separately and to differentiate between them for each claim.

App.4549-4629 (Verdict Forms and Transcripts). Numerous courts have affirmed

J&J’s independent talc liability. E.g., Ingham, 608 S.W.3d at 714-19, 723 (J&J

“engaged in reprehensible conduct of its own”).6




6
  See Olson v. Brenntag N. Am., Inc., No. 190328/2017, 2020 WL 6603580, at *49
(N.Y. Sup. Ct. Nov. 11, 2020) (punitive liability 2/3 to J&J, 1/3 to Old JJCI,
compensatory damages joint) (appeal pending); App. 4623-29 (Verdict Forms),
Prudencio v. Johnson & Johnson, No. RG20061303 (Cal. Super. Ct. Aug. 27, 2021)
(punitive and non-economic damages 85% to J&J, 15% to Old JJCI, remainder
joint).


                                           55
           Case: 22-2003   Document: 46    Page: 68     Date Filed: 06/30/2022




      Evidence, claims, time periods, and products overlap in every case involving

joint tortfeasors. The bankruptcy court’s reasoning would allow joint tortfeasors to

benefit from bankruptcy stays as a matter of course, contradicting Pacor and its

progeny. See Gold v. Johns-Manville Sales Corp., 723 F.2d 1068, 1076 (3d Cir.

1983). 7

               4.    Allegations of Shared Insurance Cannot Establish “Related-
                     To” Jurisdiction

      The bankruptcy court’s invocation of shared insurance, App.153 (PI Op.14),

was less persuasive still. The court acknowledged “the message from In re Combus-

tion”—“that a court must make adequate factual findings before staying proceedings

against nondebtor co-insureds on the theory that asbestos-related personal injury

claims against the nondebtors will automatically deplete the insurance proceeds

available to the debtor.” Id. at 183. But the bankruptcy court nowhere made the

“record findings regarding the terms and operation of the [insurance policies]” that

Combustion Engineering requires. 391 F.3d at 232-33.

      Disputing coverage, J&J’s insurers have never paid a penny to any J&J entity

for talc-liability defense costs, settlement, or judgment. App.462 (Kim Decl. ¶ 53).



7
  Because the actions against non-debtors do not sufficiently affect LTL’s estate,
there is also no “identity of interest” to justify stay relief under §§ 362 and 105. See
pp. 57-58, infra.


                                          56
        Case: 22-2003    Document: 46     Page: 69     Date Filed: 06/30/2022




Moreover, if coverage exists, LTL failed to show that the $2 billion policy limit,

App.182 (PI Op. 43), was not already overtopped by the $3.5 billion in talc

judgments and settlements J&J paid in the five years before LTL filed for

bankruptcy, App.34 n.22 (MTD Op.). The bankruptcy court admitted that “certain

coverage is disputed, and no definitive determination has been made as to ex-

haustion.” App.182 (PI Op. 43). The court nowhere explained how it could find that

pending lawsuits threatened to draw down insurance available to LTL, as Com-

bustion Engineering requires, without addressing whether such insurance exists or

is already spoken for.

      C.     The Bankruptcy Court Failed To Apply the Correct Legal
             Standard

      Jurisdiction aside, the bankruptcy court failed to apply the proper legal

standard when enjoining tens of thousands of cases against non-debtors.

      1.     The bankruptcy court erred insofar as it purported to extend relief to

non-debtors under § 362. Section 362(a) stays actions “against the debtor,” not non-

debtors. See pp. 48-49, supra. “[T]he automatic stay is not available to non-

bankrupt co-defendants . . . even if they are in a similar legal or factual nexus with

the debtor.” Maritime Electric, 959 F.2d at 1205. Efforts to extend relief to suits

against non-debtors must invoke §105.         Any supposed “identity of interest,”

App.158 (PI Op.19), should bear on whether an injunction can be granted under


                                         57
        Case: 22-2003     Document: 46     Page: 70     Date Filed: 06/30/2022




§ 105. See pp. 49-50, supra. And such an “identity” of interest cannot be manu-

factured artificially on the eve of bankruptcy. See pp. 51-52, supra.

      Extension of the stay to a non-debtor, moreover, is typically inappropriate

where it is “independently liable,” as in the case of “joint tortfeasors or where the

nondebtor’s liability rests upon his own breach of a duty.” A.H. Robins Co. v.

Piccinin, 788 F.2d 994, 999 (4th Cir. 1986); see CAE Indus. LTD v. Aerospace

Holdings Co., 116 B.R. 31, 33 (S.D.N.Y. 1990); Chesapeake Crossing Assocs. v.

TJX Cos., Civ. A. 2:92CV631, 1992 WL 469801, *4 (E.D. Va. 1992). For J&J, that

is the situation here. See p. 55, supra.

      2.     The bankruptcy court’s invocation of § 105 was error as well. To obtain

a preliminary injunction, plaintiffs must show threatened harm that is concrete and

imminent, not remote or speculative. Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 22 (2008). Under § 105, the debtor must also satisfy the traditional 4-factor

test, demonstrating: (i) a reasonable likelihood of a successful reorganization plan;

(ii) irreparable harm to the debtor’s ability to reorganize absent the requested relief;

(iii) a balance-of-harms weighing in favor of relief; and (iv) that the requested relief

would serve the public interest. App.185 (PI Op.46). Injunctive relief “should not

be granted unless the movant, by a clear showing, carries the burden of persuasion.”

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997).



                                           58
        Case: 22-2003      Document: 46     Page: 71     Date Filed: 06/30/2022




      The bankruptcy court never required that “clear showing,” much less concrete

and imminent harm. Instead, it invoked conjecture and inverted the burden of proof:

      • For likelihood of a successful reorganization plan, the court admitted “the
        success of Debtor’s reorganization is speculative.” App. 186 (PI Op.47).
        Ignoring Debtor’s burden to show likelihood of success, the court sub-
        stituted a finding that “nothing in the record . . . suggest[s] that Debtor does
        not have a reasonable likelihood of reorganization.” Id.

      • For irreparable harm to LTL, the court again indulged speculation, saying
        LTL “could” face “risks” of preclusion and record taint, id. at 173, 179,
        180, without finding any J&J entity, in any talc case, has ever been subject
        to preclusion or “record taint” based on a judgment against a different
        entity.

      • For indemnification, the court declined to require a “clear showing” and
        instead reversed the burden, finding “nothing in the record” proved that
        LTL would not face automatic indemnification obligations. Id. at 172.

      • For shared insurance, the court failed to require a “clear showing” that
        lawsuits against non-debtors risked insurance proceeds, ignoring disputes
        about availability and evidence that any coverage is spoken-for already.
        See pp. 56-57, supra.

      • The court enjoined cases against nearly 150 third-party retailers despite
        LTL’s failure to show an actual indemnification obligation for each.
        App.173 (PI Op.34) (quoting LTL’s assertion it had “provided a summa-
        ry” and “exemplars” of J&J tender agreements). Nor did Debtor certify
        indemnification rights for each. The court instead put the burden on
        claimants to disprove such agreements later: “[T]his Court would be
        willing at a later date to review continuance of the stay if a record exists
        establishing the lack of a Tender Agreement or other contractual
        obligation.” Id. (emphasis added).

      The harm to claimants and the public interest is plain. “[T]he clear damage

to the plaintiffs is the hardship of being forced to wait for an indefinite and, if recent


                                           59
          Case: 22-2003    Document: 46     Page: 72     Date Filed: 06/30/2022




experience is any guide, a lengthy time before their causes are heard . . . . [P]laintiffs

and crucial witnesses are dying, often from the very diseases that have led to these

actions.” Johns-Manville, 723 F.2d at 1076. In the Bestwall talc bankruptcy, for

example, all the original creditors’ committee representatives have died without

having their day in court. See Appellants’ Br. at 8, In re Bestwall LLC, 22-1127,

Dkt. 30 (4th Cir. May 18, 2022). Here, over 300 plaintiffs have died while their

cases were frozen by the bankruptcy court. See p. 45, supra.

      The bankruptcy court’s view, App. 187-89 (PI Op. 48-50), that talc claimants

will benefit from having their cases frozen for years—as they decline and die—is

absurd.     No witness, not even Debtor’s experts, denied that claimants suffer

irreparable harm. Many have Stage 4 ovarian cancer, with a 5-year survival rate of

17%.8 Others have mesothelioma, a fatal cancer with a 5-year relative survival rate

of 12%. 9




8
 Ovarian Cancer: Stage 4, Minnesota Ovarian Cancer Alliance (last visited June 28,
2022), https://www.mnovarian.org/stage-4/#:~:text=In%20Stage%204%2C%20can
cer%20has,considered%20Stage%204%20ovarian%20cancer.&text=Most%20wo
men%20diagnosed%20with%20Stage,survival%20rate%20of%20approximately%
2017%25.
9
  Survival Rates for Mesothelioma, American Cancer Society (Mar. 2, 2022),
https://www.cancer.org/cancer/malignant-mesothelioma/detection-diagnosis-stagin
g/survival-statistics.html.


                                           60
        Case: 22-2003     Document: 46     Page: 73     Date Filed: 06/30/2022




      The extraordinary nature of the injunction also militates against it. The bank-

ruptcy court effectively awarded some 670 non-debtors the kind of channeling

injunction available for confirmed plans under § 524(g). For non-debtors to be

protected under § 524(g), however, the plan must be approved by more than 75% of

asbestos claimants and, even then, relief is limited to “derivative liability” where

“statutory relationship” requirements are met. See In re W.R. Grace & Co., 13 F.4th

279, 283-84 (3d Cir. 2021). The bankruptcy court here awarded such far-reaching

relief at the outset without regard to § 524(g)’s prerequisites. It froze non-derivative

direct-liability claims against non-debtor J&J and claims against non-debtor retailers

not eligible for relief under § 524(g). Injunctive relief “can only be exercised within

the confines of the Bankruptcy Code”—not to circumvent its requirements. Norwest

Bank Worthington v. Ahlers, 485 U.S. 197, 206 (1988).

                                     * * * * *

      If J&J or Old JJCI had chosen to declare bankruptcy in good faith, it would

have been entitled to the benefit of an automatic stay and other bankruptcy relief.

But they structured LTL and its bankruptcy to make LTL the debtor and to keep

themselves and their operations outside bankruptcy. They cannot demand that

equity save them from the consequences of that choice by granting them statutory

relief from which they deliberately excluded themselves. Equity will not “relieve



                                          61
        Case: 22-2003    Document: 46     Page: 74    Date Filed: 06/30/2022




parties from the consequences of their own negligence or folly,” much less strategic

choices. Dunphy v. Ryan, 116 U.S. 491, 498 (1886).

                                  CONCLUSION

      For the foregoing reasons, the Committee respectfully requests that the Court

(i) reverse the MTD Order and dismiss the case, or alternatively, (ii) reverse the PI

Order and vacate the stay and injunctive relief granted therein.




                                         62
 Case: 22-2003   Document: 46      Page: 75   Date Filed: 06/30/2022




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        Case: 22-2003    Document: 46    Page: 76    Date Filed: 06/30/2022




                   CERTIFICATE OF BAR MEMBERSHIP

      Pursuant to Third Circuit Local Rule 28.3(d), I certify that I am a member of

the Bar of this Court.




       June 30, 2022                      /s/ Angelo J. Genova
                                          Angelo J. Genova
        Case: 22-2003     Document: 46     Page: 77    Date Filed: 06/30/2022




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       Case: 22-2003     Document: 46    Page: 78     Date Filed: 06/30/2022




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      I certify that today, June 30, 2022, I electronically filed the foregoing Brief

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Case: 22-2003   Document: 46   Page: 79   Date Filed: 06/30/2022




      JOINT APPENDIX VOLUME 1
       Case: 22-2003   Document: 46   Page: 80    Date Filed: 06/30/2022




                           JOINT APPENDIX
                         TABLE OF CONTENTS

                          VOLUME 1
             IN COMPLIANCE WITH LOCAL RULE 32.2(c)

      VOLUME 1 – IN COMPLIANCE WITH LOCAL RULE 32.2(c)

          D.I.                                                    APPENDIX
ITEM                              DESCRIPTION
          NO.                                                        PAGE
                       VOLUME 1
    DOCUMENTS FILED IN CASE NO. 21-30589-MBK (MAIN
                   BANKRUPTCY CASE)
 1.   1572 Memorandum Opinion (Denying Motions to A1
           Dismiss)
 2.      1603    Order Denying Motions to Dismiss                 A57
 3.      1651    Notice of Appeal (related documents: 1603,       A59
                 1572, 1635, and Adv. Proc. 184). Filed by
                 Aylstock, Witkin, Kreis & Overholtz, PLLC
 4.      1652    Joint Notice of Appeal (related                  A66
                 document:1603). Filed by Official Committee
                 of Talc Claimants II
 5.      1653    Joint Notice of Appeal (related document:        A77
                 1635). Filed by Official Committee of Talc
                 Claimants II
 6.      1696    Notice of Appeal (related documents:1572,        A87
                 1603). Filed by Official Committee of Talc
                 Claimants I
 7.      1710    Notice of Appeal (related document:1603).        A96
                 Filed by Arnold & Itkin LLP
 8.      1746    Amended Joint Notice of Appeal (related          A103
                 document: 1603). Filed by Official
                 Committee of Talc Claimants II
       Case: 22-2003   Document: 46    Page: 81    Date Filed: 06/30/2022




      VOLUME 1 – IN COMPLIANCE WITH LOCAL RULE 32.2(c)

          D.I.                                                     APPENDIX
ITEM                               DESCRIPTION
          NO.                                                         PAGE
 9.      1747    Amended Joint Notice of Appeal (related           A114
                 document: 1635). Filed by Official
                 Committee of Talc Claimants II
 10.     1803    Notice of Appeal (related document: 1635).        A125
                 Filed by Official Committee of Talc Claimants
                 I
 11.     1955    Order Certifying Direct Appeal to the United      A135
                 States Court of Appeals for the Third Circuit
                 of Order Denying Motions to Dismiss
 DOCUMENTS FILED IN CASE NO. 21-03032-MBK (ADVERSARY
                    PROCEEDING)
 12. 184 Opinion Granting Preliminary Injunction and A140
         Resolving Adversary Proceeding in Debtor’s
         Favor
 13.      187    Order (I) Declaring that Automatic Stay           A194
                 Applies to Certain Actions Against Non-
                 Debtors and (II) Preliminarily Enjoining
                 Certain Actions
 14.      189    Notice of Appeal to Third Circuit Court.          A202
                 (related documents: 184,187). Filed by
                 Aylstock, Witkin, Kreis & Overholtz, PLLC
 15.      190    Joint Notice of Appeal to District Court.         A209
                 (related document: 187). Filed by Official
                 Committee of Talc Claimants II
 16.      201    Notice of Appeal to District Court. (related      A219
                 documents: 184, 187). Filed by Official
                 Committee of Talc Claimants I
 17.      202    Exhibits C and D to Notice of Appeal (related     A229
                 document: 201) [excerpt: pages 1-2; 672-690]




                                       2
       Case: 22-2003    Document: 46    Page: 82    Date Filed: 06/30/2022




   VOLUME 1 – IN COMPLIANCE WITH LOCAL RULE 32.2(c)

          D.I.                                                      APPENDIX
ITEM                                DESCRIPTION
          NO.                                                          PAGE
 18.      210     Amended Joint Notice of Appeal. (related          A251
                  document: 187). Filed by Official Committee
                  of Talc Claimants II
 19.      231     Order Certifying Direct Appeal to the United      A262
                  States Court of Appeals for the Third Circuit
                  of Order Extending Automatic Stay and
                  Issuing Preliminary Injunction
   DOCUMENTS FILED IN THIRD CIRCUIT CASE NO. 22-8015
 20.  12  Order Granting Petitions for Permission to A268
          Appeal Pursuant to 28 U.S.C. Section
          158(d)(2)

                       VOLUMES 2 - 8
           DOCUMENTS FILED IN CASE NO. 21-30589-MBK

           DOCUMENTS FILED IN CASE NO. 21-30589-MBK

         D.I.                                                      APPENDIX
ITEM                              DESCRIPTION
         NO.                                                          PAGE
                                 VOLUME 2
 21.      --     Docket Sheet                                     A273
 22.      1      Voluntary Petition Under Chapter 11              A291
 23.      3      Informational Brief of LTL Management LLC        A313
 24.      5      Declaration of John K. Kim in Support of         A445
                 First Day Pleadings
 25.      8      Debtor's Motion for an Order Authorizing         A499
                 Establishment of a Qualified Settlement Fund
                 for Payment of Talc Claims
 26.      34     Ex Parte Order (I) Scheduling an Expedited       A539
                 Hearing on Certain First Day Pleadings and



                                       3
       Case: 22-2003   Document: 46    Page: 83     Date Filed: 06/30/2022




           DOCUMENTS FILED IN CASE NO. 21-30589-MBK

         D.I.                                                      APPENDIX
ITEM                              DESCRIPTION
         NO.                                                          PAGE
                (II) Approving the Form and Manner of
                Limited Notice Thereof
 27.      44    Debtor’s Emergency Motion to Enforce the         A542
                Automatic Stay Against Talc Claimants Who
                Seek to Pursue Their Claims Against the
                Debtor and Its Non-Debtor Affiliates
 28.      94    Order on Debtor’s Ex Parte Motion for Entry      A595
                of an Order Scheduling an Emergency
                Hearing on the Motion to Enforce the
                Automatic Stay and MDL Plaintiffs Steering
                Committee Ex Parte Motion to Shorten
                Notice
 29.     102    Nedelka Vanklive’s (I) Response/Objection        A597
                to Debtor’s Emergency Motion to Enforce
                the Automatic Stay Against Talc Claimants
                Who Seek to Pursue Their Claims Against
                the Debtor and its Non-Debtor Affiliates, or,
                in the Alternative (II) Motion for Abstention
                as to Pending California Action, and (III)
                Objection to Debtor’s Ex Parte Motion
                Requesting Authority to Exceed Maximum
                Page Limit [excerpt: pages 1-3]
 30.     178    Transcript for Hearing/Trial held on             A600
                10/20/21
                                VOLUME 3
 31.     344    Exhibit List from Hearing Held on                A825
                11/05/2021
 32.     390    Transcript for Hearing/Trial held on 11/4/21     A849
                [excerpt: pages 73-295]
 33.     391    Transcript for Hearing/Trial held on 11/5/21     A1072




                                       4
      Case: 22-2003   Document: 46     Page: 84     Date Filed: 06/30/2022




                               VOLUME 4
34.     392    Transcript for Hearing/Trial held on              A1348
               11/10/21
35.     416    Order Transferring Case to the District of        A1506
               New Jersey
36.     417    Inter district transfer case from other court     A1518

37.     495    [Amended] Initial Statement of Official           A1578
               Committee of Talc Claimants Respecting
               Chapter 11 Case
38.     545    Transcript regarding Hearing Held 11/22/21        A1600
39.     547    Application For Retention of Professional         A1666
               Bates White, LLC, Effective as of October
               14, 2021
40.     632    Motion of the Official Committee of Talc          A1726
               Claimants to Dismiss Debtor’s Chapter 11
               Case
41.     766    [Arnold & Itkin LLP’s] Motion to Dismiss          A1765
               Bankruptcy Case [exhibits omitted]
42.     918    Debtor’s Motion for Entry of an Order             A1805
               Authorizing the Filing Under Seal of Certain
               Confidential Exhibits from North Carolina
               Preliminary Injunction Hearing
43.     948    Order for Entry of Agreed Protective Order        A1834
               Governing Confidential Information by and
               Between the Talc Creditors’ Committee and
               the Debtor Pursuant to D.N.J. LBR 9021-1(b)
44.     956    Debtor’s Objection to Motion to Dismiss           A1863.1
               Chapter 11 Case [excerpt: pages 14-17]
45.    1003    Motion of Aylstock, Witkin, Kreis &               A1864
               Overholtz, PLLC to Dismiss Bankruptcy
               Case and Joinder in Related Filings
46.    1092    Joinder of Claimants Represented by the           A1870
               Barnes Law Group to Motions Filed by
               Official Committee of Talc Claimants and


                                       5
      Case: 22-2003   Document: 46   Page: 85      Date Filed: 06/30/2022




               Arnold & Itkin LLP to Dismiss the Debtor’s
               Chapter 11 Case
47.    1226    Joint Stipulation and Agreed Order Between       A1872
               the Official Committee of Talc Claimants I
               and the Official Committee of Talc
               Claimants II Regarding Pleadings Previously
               Filed
48.    1354    [Arnold & Itkin’s] Reply in Support of           A1877
               Motion to Dismiss Bankruptcy Case [exhibits
               omitted]
49.    1380    Letter to The Hon. Michael B. Kaplan from        A1914
               John A. Morris on behalf of Arnold & Itkin
               (Motion in Limine)
                               VOLUME 5
50.    1396    Memorandum of Law of Amicus Curiae by            A1917
               Erwin Chemerinsky in Support of Motion of
               the Official Committee of Talc Claimants to
               Dismiss Debtor’s Chapter 11 Case
51.    1410    Memorandum of Law of Amici Curiae by             A1932
               Certain Complex Litigation Law Professors
               in Support of Motion of the Official
               Committee of Talc Claimants to Dismiss
               Debtor’s Chapter 11 Case
52.    1432    Canadian Class Action Plaintiffs’ Opposition     A1968
               to Motions to Dismiss Chapter 11 Case
               [excerpt: pages 1-2]
53.    1454    Order Denying Motions in Limine                  A1970

54.    1465    [Corrected] Memorandum of Law of Amici           A1972
               Curiae by Certain Law Professors in Support
               of Motion of the Official Committee of Talc
               Claimants to Dismiss Debtor’s Chapter 11
               Case
55.    1481    Transcript regarding Hearing Held                A1992
               02/14/22




                                     6
      Case: 22-2003   Document: 46    Page: 86      Date Filed: 06/30/2022




56.    1494    Transcript regarding Hearing Held                 A2281
               02/15/22
57.    1497    Joint Stipulation and Agreed Order Between        A2493
               Movants and Debtor Regarding the
               Admission of Exhibits at Motion to Dismiss
               Trial
                                VOLUME 6
58.    1516    Joint Stipulation and Agreed Order Between        A2584
               the Official Committee of Talc Claimants I,
               the Official Committee of Talc Claimants II,
               and the Debtor Regarding the Evidentiary
               Record in Preliminary Injunction Adversary
               Proceeding and Trial on Motions to Dismiss
59.    1518    Transcript regarding Hearing Held 02/16/22        A2591
60.    1528    Transcript regarding Hearing Held 02/17/22 -      A2789
               AM Session
61.    1529    Transcript regarding Hearing Held 02/17/22 -      A2917
               PM Session
                                VOLUME 7
62.    1553    Transcript regarding Hearing Held                 A3028
               02/18/22
63.    1566    Joint Stipulation and Agreed Order                A3284
               Between Movants and Debtor
               Regarding the Admission of
               Deposition Designations at Motion to
               Dismiss Trial [includes deposition
               transcript excerpts]
                                VOLUME 8
64.    1573    Memorandum Opinion (Granting                      A3659
               Preliminary Injunction and Resolving
               Adversary Proceeding in Debtor’s
               Favor)
65.    1635    Order (I) Declaring that Automatic                A3713
               Stay Applies to Certain Actions
               Against Non-Debtors and (II)




                                      7
      Case: 22-2003   Document: 46    Page: 87   Date Filed: 06/30/2022




               Preliminarily Enjoining Certain
               Actions
66.    1835    Debtor’s Omnibus Objection to Motions for      A3720
               Certification of Direct Appeal
67.    1926    Transcript regarding Hearing Held 3/30/22      A3760
               [excerpt: pages 70 to 76]
68.    2566    Statement of the Official Committee of Talc    A3767
               Claimants in Support of the Court’s
               Modifying Upon Revisiting of the PI Order




                                     8
        Case: 22-2003   Document: 46   Page: 88     Date Filed: 06/30/2022




                    VOLUME 8 (Cont’d)
         DOCUMENTS FILED IN CASE NO. 21-03032-MBK
(LTL MANAGEMENT LLC VS. THOSE PARTIES LISTED ON APPENDIX A
                  TO COMPLAINT, ET AL.)

            DOCUMENTS FILED IN CASE NO. 21-03032-MBK
          D.I.                                                    APPENDIX
ITEM                           DESCRIPTION
          NO.                                                        PAGE
                           VOLUME 8 (Cont’d)
  69.      --      Docket Sheet                                   A3789
  70.       1      Debtor's Complaint for Declaratory and         A3798
                   Injunctive Relief (I) Declaring That the
                   Automatic Stay Applies to Certain
                   Actions Against Non-Debtors or, (II)
                   Preliminarily Enjoining Such Actions and
                   (II) Granting a Temporary Restraining
                   Order Pending a Final Hearing [pages 2 to
                   670 omitted from Appendix A]
  71.       2      Debtor's Motion for an Order (I)               A3843
                   Declaring That the Automatic Stay
                   Applies to Certain Actions Against Non-
                   Debtors or (II) Preliminarily Enjoining
                   Such Actions and (III) Granting a
                   Temporary Restraining Order Pending a
                   Final Hearing [pages 2 to 670 omitted
                   from Appendix A]
  72.       3      Supplemental Declaration of John K. Kim        A3961
                   in Support of Debtor's Complaint for
                   Declaratory and Injunctive Relief and
                   Related Motions
  73.      17      Transcript for Hearing/Trial held on           A3975
                   10/22/2021
  74.      23      Transcript for Hearing/Trial held on           A4143
                   10/25/2021
  75.      28      Order Regarding Debtor's Motion for an         A4184
                   Order (I) Declaring the Automatic Stay


                                       9
       Case: 22-2003   Document: 46   Page: 89    Date Filed: 06/30/2022




           DOCUMENTS FILED IN CASE NO. 21-03032-MBK
         D.I.                                                   APPENDIX
ITEM                          DESCRIPTION
         NO.                                                       PAGE
                  Applies to Certain Actions Against Non-
                  Debtors or (II) Preliminarily Enjoining
                  Such Actions, and (III) Granting A
                  Temporary Restraining Order Pending a
                  Final Hearing
 76.      71      Order Granting Motion to Restrict Public      A4190
                  Access (related document: 66)

 77.      72      Order Granting Motion to Restrict Public      A4192
                  Access (related document: 67)

 78.     102      Order Granting the Debtor’s Request for       A4194
                  Preliminary Injunctive Relief
 79.     103      Inter District Transfer Case from Other       A4206
                  Court
 80.     146      Debtor’s Omnibus Reply in Support of          A4218
                  Motion for an Order (A) Declaring that
                  the Automatic Stay Applies to Certain
                  Actions Against Non-Debtors or (B)
                  Preliminarily Enjoining Such Actions and
                  (C) Granting a Temporary Restraining
                  Order Pending a Final Hearing [excerpt:
                  pages 1, 51-53]
 81.     157      Bridge Order Extending Termination            A4222
                  Date of Order Granting the Debtors
                  Request for Preliminary Injunctive Relief
 82.     175      Order Granting Debtor’s Motion to Seal        A4226
                  Document




                                      10
            Case: 22-2003   Document: 46   Page: 90      Date Filed: 06/30/2022




                               VOLUMES 9 - 18
                        EXHIBITS ADMITTED AT TRIAL1

                        EXHIBITS ADMITTED AT TRIAL

             TRIAL                                                       APPENDIX
    ITEM                             DESCRIPTION
             EX. NO.                                                        PAGE
                       MOVANTS’ EXHIBTS
                            VOLUME 9
       CLOSING BINDER, DEPOSITION EXHBITS, AND JUDICIAL
                      NOTICE DOCUMENTS
      83.  1.20  Funding Agreement                A4229
      84.       1.24    Plan of Divisional Merger (LTL0001327-29) A4249
      85.       1.52    Amended and Restated Funding Agreement          A4313
      86.       1.53    Divisional Merger Support Agreement             A4334
      87.       1.54    Services Agreement                              A4341
      88.       1.56    Secondment Agreement                            A4357
      89.        2      Form 10-Q for the period ending 10.3.2021       A4368
      90.        9      Approval Request for Restructuring of JJCI      A4444
                        – Memo of Approval
      91.        23     Minutes of Board of Managers                    A4456
      92.        26     J&J Press Release Re: Johnson & Johnson         A4463
                        Announces Plans to Accelerate Innovation,
                        Serve Patients and Consumers, and Unlock
                        Value through Intent to Separate Consumer
                        Health Business
      93.       110     Email re: Litigation follow-up                  A4469
      94.       113     J&J Form 10-Q as of 7.4.21                      A4472


1
  Per the Joint Stipulation and Agreed Order Regarding the Admission of Exhibits
at the Motion to Dismiss Trial (Dkt. 1497), Movants’ and Debtor’s exhibits were
admitted on February 16, 2022; certain exhibits were admitted for a limited purpose
or remain under seal, as noted herein.

                                           11
        Case: 22-2003   Document: 46    Page: 91    Date Filed: 06/30/2022




                    EXHIBITS ADMITTED AT TRIAL

         TRIAL                                                      APPENDIX
ITEM                              DESCRIPTION
         EX. NO.                                                       PAGE
  95.       161     Debtor’s Supplemental Response to Official     A4548
                    Committee of Talc Claimants’ RPD No. 40
  96.       251     Verdict, Estate of Fox v. Johnson &            A4549
                    Johnson, Missouri 22nd Judicial Circuit, St.
                    Louis City, No. 1422-CC09012; February
                    22, 2016.
  97.       252     Verdict Form, Gloria Ristesund v. Johnson      A4553
                    & Johnson, et al., Missouri 22nd Judicial
                    Circuit, St. Louis City, No. 1422-CC09012-
                    01; May 2, 2016.
  98.       254     Verdict Form, Lois Slemp v. Johnson &          A4557
                    Johnson, Missouri 22nd Judicial Circuit, St.
                    Louis City, No. 1422-09326; May 4, 2017.
  99.       259     Verdict Form, Teresa Leavitt v. Johnson &      A4561
                    Johnson et al, California Superior Court,
                    Alameda Co., Case No. RG17882401;
                    March 13, 2019.
 100.       260     Verdict Transcript, Donna and Robert Olson     A4571
                    v. Johnson & Johnson Consumer Inc., et al,
                    Supreme Court of New York County, New
                    York, Index No. 19038/2017; May 21, 2019.
                    [excerpt: pages 9517-9520]
 101.       263     Jury Verdict Sheets - Amended, Douglas and A4575
                    Roslyn Barden, et al v. Johnson & Johnson
                    et al., New Jersey Superior Court, Middlesex
                    County, Docket No.: MID-L-1809-17 AS;
                    September 11, 2019.
 102.       265     Phase 2 Verdict Transcript, Douglas and        A4594
                    Roslyn Barden, et al., v. Brenntag North
                    America, et al., New Jersey Superior Court,
                    Middlesex County, Docket No.: MID-1809-
                    17AS; February 2, 2020.


                                       12
       Case: 22-2003   Document: 46   Page: 92    Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                     APPENDIX
ITEM                             DESCRIPTION
        EX. NO.                                                      PAGE
 103.      267     Verdict Form, Christina Prudencio v.          A4623
                   Johnson & Johnson, et al., California
                   Superior Court, Alameda Co., Case No.
                   RG20061303; August 23, 2021.
 104.      268     Verdict on Punitive Damages, Christina        A4629
                   Prudencio v. Johnson & Johnson, et al.,
                   California Superior Court, Alameda Co.,
                   Case No. RG20061303; August 27, 2021.
 105.      284     J&J Worldwide Financial Procedures            A4630
 106.      300     Email re: Plato                               A4634
 107.      332     Expert Report of Saul E. Burian               A4638
 108.      377     Expert Report of Matthew Diaz (01.28.2022) A4694
 109.      384     10/13/2020 JNJ Internal Conversation          A4766
 110.      385     10/27/2020 S&P Global Ratings Periodic        A4768
                   Review of Johnson & Johnson
                                  VOLUME 10
                          ADDITIONAL EXHIBITS
 111.      558     Compilation Exhibit reflecting verdicts in    A4952
                   talc litigation
    NORTH CAROLINA PRELIMINARY HEARING EXHIBITS
 112. 600.002 Agreement for Transfer of Assets and Bill of A4953
              Sale, dated January 1, 1979, between
              Johnson & Johnson and Johnson & Johnson
              Baby Products Company (LTL 0000561)
 113. 600.003      Agreement for Transfer of Assets and Bill of A4961
                   Sale, dated January 1, 1979, between
                   Johnson & Johnson and Johnson & Johnson
                   Baby Products Company
 114. 600.006      December 12, 1978 Board of Directors          A5006
                   Meeting Minutes



                                      13
       Case: 22-2003   Document: 46    Page: 93    Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                      APPENDIX
ITEM                             DESCRIPTION
        EX. NO.                                                       PAGE
 115. 600.008      FRE 1006 Insurance Coverage Evidence            A5020
                   Summary
 116. 600.013      Insurance Agreement: North River JU 0802        A5032
 117. 600.015      1989 Agreement with Safeway for                 A5071
                   indemnification
 118. 600.016      2020 Agreement with HEB for                     A5074
                   indemnification
 119. 600.017      FRE 1006 Tender Agreement Evidence              A5081
                   Summary
 120. 600.018      Tender Agreement wherein Johnson &              A5163
                   Johnson Consumer Inc. agrees to tender
                   defense and indemnify Safeway for claims
                   by Abbott, Richard, dated May 13, 2019
 121. 600.019      Tender Agreement wherein Johnson &              A5168
                   Johnson Consumer Inc. agrees to tender
                   defense and indemnify Albertson for claims
                   by Lane, Ardys, dated October 8, 2018
 122. 600.020      MDL Second Amended Master Complaint,            A5173
                   MDL NO. 16-2738 (D.N.J. Dec. 22, 2020)
                                  VOLUME 11
 123. 600.021      Cadagin, et al v. Johnson & Johnson, et al.,    A5287
                   No. 18-L-572 In the Circuit Court of the
                   Twentieth Judicial Circuit St. Clair County,
                   Illinois, (Jul. 28, 2021 Trial Transcript and
                   Verdict form)
 124. 600.022      Anderson et al. v. Borg Warner Corp. et al.,    A5441
                   No. BC666513, in the Superior Court for the
                   State of California, County of Los Angeles
                   (Jun. 27, 2017)
 125. 600.023      Barden v. Johnson & Johnson, et al., MID-L- A5491
                   1809-17AS, Superior Court of New Jersey,


                                      14
       Case: 22-2003   Document: 46   Page: 94    Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                     APPENDIX
ITEM                             DESCRIPTION
        EX. NO.                                                      PAGE
                   Middlesex County (Feb. 6, 2021 Trial
                   Transcript)
 126. 600.024      Prudencio v. Johnson & Johnson, No.            A5685
                   RG20061303, in the Superior Court of
                   California, Alameda County (Aug. 13, 2021
                   Trial Transcript)
                               VOLUME 12
 127. 600.025      Vanklive v. Johnson & Johnson, No.             A5829
                   RC20062734, Superior Court of California,
                   County of Alameda (Oct. 22, 2021 Trial
                   Transcript & Oct. 26, 2021 Trial Transcript)
 128. 600.026      McBride et al. v American International        A5929
                   Industries, Inc., et al., No. 49D13-2110-MI-
                   034781, Marion County Superior Court for
                   the State of Indiana (Oct. 15, 2021)
 129. 600.027      McBrayer, et al. v. Acme et al., No. 2020-     A5950
                   CP10-03946, County of Charleston for the
                   State of South Carolina (October 28, 2021
                   Trial Transcript)
 130. 600.028      Transcript of July 30, 2019 proceeding in      A6055
                   Hayes v. Colgate Palmolive Co., Case No.
                   16-CI-03503 (Ky. Cir. Ct. Jefferson Jul. 30,
                   2019), Testimony of Dr. John Hopkins
                   [excerpt: pages 49-56]
 131. 600.029      Settlement Facility Agreement by and among A6063
                   Johnson & Johnson, Johnson & Johnson
                   Consumer Inc., LTL Management LLC, and
                   U.S. Bank National Association, as the
                   Trustee, Funding Agreement Documents
                   (Dkt. 8 – 1, Ex. A)
 132. 600.031      Expert report of Charles H. Mullin PhD         A6092
                   dated September 13, 2021


                                      15
       Case: 22-2003   Document: 46    Page: 95     Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                       APPENDIX
ITEM                             DESCRIPTION
        EX. NO.                                                        PAGE
 133. 600.032      List of Protected Parties (Adv. Pro. Dkt. 1 -1, A6245
                   Appendix B; Adv. Pro. Dkt. 2-1, Appendix
                   B)
 134. 600.034      Plan and Agreement of Reorganization        A6284
                   between Eastern Magnesia Talc Co., Inc.,
                   and Johnson & Johnson, dated July 30, 1965.
 135. 600.035      Acquisition of the assets and Liabilities of    A6306
                   Eastern Magnesia Talc Co., Inc. by a
                   Wholly-Owned Subsidiary of Johnson &
                   Johnson, dated July 30, 1965
 136. 600.043      Johnson & Johnson Medical Safety Counsel        A6308
                   Charter, dated April 19, 2013
 137. 600.044      Johnson & Johnson Medical Safety Counsel        A6318
                   Charter, dated April 10, 2014
 138. 600.045      Johnson & Johnson Medical Safety Counsel        A6329
                   Charter, dated July 27, 2015
 139. 600.046      Consumer Medical Safety Counsel                 A6339
                   Operational Charter, dated June 26, 2017
 140. 600.047      Consumer Medical Safety Counsel                 A6350
                   Operational Charter, dated June 28, 2018
 141. 600.048      Consumer Medical Safety Counsel                 A6361
                   Operational Charter, dated March 6, 2019
 142. 600.049      Declaration of Susan Schirger-Ward              A6372
 143. 600.050      Declaration of Adam Lisman                      A6376
 144. 600.051      Letter from A.J. Huetteman to A. Marinaro,      A6382
                   dated October 31, 1977
 145. 600.052      Johnson & Johnson Baby Products Company A6383
                   Action Authorized by Unanimous Consent of
                   Shareholder, dated July 21, 1981, attaching
                   Agreement for Transfer of Assets and Bill of


                                      16
       Case: 22-2003   Document: 46    Page: 96     Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                       APPENDIX
ITEM                             DESCRIPTION
        EX. NO.                                                        PAGE
                   Sale, dated July 27, 1981, between Johnson
                   & Johnson Baby Products Company and
                   Omni Education Corporation
 146. 600.053      Certificate of Merger of Personal Products      A6391
                   Company into Johnson & Johnson Baby
                   Products Company, dated July 27, 1981
 147. 600.054      Agreement for Transfer of Assets and Bill of A6394
                   Sale, dated January 3, 1988, between
                   Johnson & Johnson Baby Products Company
                   (renamed Johnson & Johnson Orthopaedics)
                   and Johnson & Johnson Dental Products
                   (renamed Johnson & Johnson Consumer
                   Products, Inc.)
 148. 600.055      Johnson & Johnson Consumer Companies,           A6399
                   Inc. Certificate of Incorporation, dated July
                   1, 1997
 149. 600.056      Incorporation of Personal Products, dated       A6401
                   October 9, 1970
 150. 600.057      Certificate of Merger between McNeil            A6465
                   Consumer Products Company and Personal
                   Products Company, dated November 28,
                   1988
 151. 600.058      Certificate of Merger, dated June 25, 2015,     A6469
                   between Neutrogena, LLC, Johnson &
                   Johnson Consumer Companies LLC,
                   Johnson & Johnson Sales and Logistics
                   Company, LLC, and McNEIL-PPC, Inc.
                                 VOLUME 13
 152. 600.059      Certificate of Merger between Johnson &         A6473
                   Johnson Consumer Companies, LLC and
                   Johnson & Johnson Consumer Companies,
                   Inc., dated June 25, 2015


                                      17
       Case: 22-2003   Document: 46   Page: 97    Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                     APPENDIX
ITEM                            DESCRIPTION
        EX. NO.                                                      PAGE
 153. 600.061      Agreement and Plan of Merger dated, dated      A6477
                   June 25, 2015, between Neutrogena, LLC,
                   Johnson & Johnson Consumer Companies
                   LLC, Johnson & Johnson Sales and
                   Logistics Company, LLC, and McNEIL-
                   PPC, Inc.
 154. 600.062      Johnson & Johnson Consumer Inc. Talc           A6482
                   2021 Accounting Entry Sample –
                   Confidential
 155. 600.064      Johnson & Johnson Worldwide Financial          A6484
                   Procedures, 330Ba - Legal Fees, last revised
                   March 2005
 156. 600.065      Johnson & Johnson 10-K, dated January 2,       A6488
                   1977
 157. 600.066      Johnson & Johnson 10-K, dated December         A6532
                   30, 1979
 158. 600.067      1986 Johnson & Johnson Annual Report           A6572
 159. 600.068      Johnson & Johnson 10-K, dated January 1,       A6640
                   1978
 160. 600.069      Johnson & Johnson 10-K, dated December         A6684
                   31, 1978
 161. 600.070      Excerpt from 1985 Annual Report                A6745
 162. 600.071      Excerpt from 1986 Annual Report                A6746
 163. 600.072      Excerpt from 1989 Annual Report                A6747
 164. 600.073      Agreement between Johnson & Johnson       A6748
                   Consumer Companies, Inc. and PTI Royston,
                   LCC regarding Talc Sanitization Project,
                   dated March 15, 2011
 165. 600.076      Executive Committee Actions, Dated July 18 A6771
                   to September 11, 1986


                                      18
       Case: 22-2003   Document: 46    Page: 98     Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                       APPENDIX
ITEM                             DESCRIPTION
        EX. NO.                                                        PAGE
 166. 600.077      Figure 1 from the Expert Report of Dr.          A6772
                   Charles Mullin of October 29, 2021
 167. 600.078      Figure 2 from the Expert Report of Dr.          A6774
                   Charles Mullin of October 29, 2021
 168. 600.079      Figure 3 from the Expert Report of Dr.          A6776
                   Charles Mullin of October 29, 2021
 169. 600.080      Trial outcome chart                             A6778
 170. 600.081      Johnson & Johnson Medical Safety Standard A6780
 171. 600.083      Notice of Bankruptcy Filing in Hill v. J&J et   A6803
                   al., dated Oct. 26, 2021
 172. 600.086      Richards v. Johnson & Johnson et al.            A6819
                   Complaint
 173. 600.087      Plant Inspection Report                         A6885
 174. 600.088      Years of Exposure & Compensation Table          A6887
 175. 601.001      Barden et al. v. Brenntag et al. Transcript     A6889
                   7/22/2019 [excerpt: pages 41-47]
 176. 601.003      Transcript of Deposition of John Hopkins in A6896
                   In re LAOSD Asbestos Cases, Superior
                   Court of Los Angeles County, California;
                   J.C.C.P. No. 4674; 4/11/2018 [excerpt: pages
                   37-39]
 177. 601.006      Transcript of Proceeding in Olson v. J&J et A6899
                   al., Supreme Court of New York County,
                   New York; Index No. 190328/2017; May 3,
                   2019 [excerpt: pages 7743-7753; 7831-7833]
 178. 601.012      J&J “What We Know” Advertisement                A6913
                   Review Email 12/17/2018
 179. 601.013      J&J Letter to U.S. House Subcommittee           A6915
                   3/11/2019



                                      19
       Case: 22-2003   Document: 46   Page: 99   Date Filed: 06/30/2022




                   EXHIBITS ADMITTED AT TRIAL

        TRIAL                                                    APPENDIX
ITEM                            DESCRIPTION
        EX. NO.                                                     PAGE
 180. 601.014      J&J CEO Alex Gorsky Twitter Video            A6919
                   December 2018
 181. 601.015      CNN “Mad Money” Screenshot Featuring         A6920
                   J&J CEO Alex Gorsky
 182. 601.132      J&J Form 8-K, dated October 19, 2021         A6924
 183. 601.150      J&J 1986 Annual Report                       A6927
 184. 601.161      Plaintiffs’ First Amended Master Long Form A6995
                   Complaint and Jury Demand, MDL No. 16-
                   2738 (FLW) (LHG), Doc. 132, Filed March
                   16, 2017
                               VOLUME 14
 185. 601.173      2018 Draft Screening Assessment on Talc -    A7059
                   Health Canada [excerpt: pages i-v; 1-10]
 186. 601.174      2021 Final Screening Assessment on Talc -    A7074
                   Health Canada [excerpt: pages i-v; 1-5]
 187. 603.017      Memorandum of Law in Support of J&J’s       A7085
                   and Johnson & Johnson Consumer Inc.’s
                   Motion to Fix Venue for Claims Related to
                   Imery’s Bankruptcy filed on April 18, 2019
                   in In re Imerys Talc America, Inc., et al.,
                   Civ. Action No. 19-mc-00103 (MN) (D. Del.
                   2019) [Imerys Civ. Action Dkt. No. 2]
 188. 603.018      Reply Memorandum of Law in Further           A7113
                   Support of J&J’s and JJCI’s Motion to Fix
                   Venue for Claims Related to Imery’s
                   Bankruptcy [Imerys Civ. Action Dkt. No.
                   81] filed on May 28, 2019 [excerpt: page 38]
                           SPGI DOCUMENTS
 189.      746     David Kaplan Notes re: Johnson & Johnson     A7115
                   (7.19.21)




                                      20
   Case: 22-2003     Document: 46    Page: 100    Date Filed: 06/30/2022




                           DEBTOR’S EXHIBTS
190.     2         Expert Report of Gregory K. Bell, Ph.D.,       A7117
                   offered January 28, 2022
191.     3         Expert Report of John R. Castellano, offered   A7219
                   January 28, 2022
192.     4         Expert Report of Charles H. Mullin, Ph.D.,     A7259
                   offered October 29, 2021
193.    15         Johnson & Johnson Reconciliation of Non-       A7300
                   GAAP Financial Measures, Fourth Quarter
                   2020
194.    16         Johnson & Johnson Reconciliation of Non-       A7306
                   GAAP Financial Measures, Fourth Quarter
                   2021
195.    18         Minutes of the October 14, 2021 Meeting of     A7312
                   the Board of Managers of LTL Management
                   LLC
196.    19         Exhibit 14 to the deposition of Robert         A7313
                   Wuesthoff, taken December 22, 2021 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK)
197.    20         Exhibit 15 to the deposition of Robert         A7315
                   Wuesthoff, taken December 22, 2021 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK)
198.    21         October 20, 2017 email to numerous             A7335
                   individuals including Robert Wuesthoff with
                   the subject line, “California Talc Verdict
                   reversed”
199.    22         Exhibit 17 to the deposition of Robert         A7337
                   Wuesthoff, taken December 22, 2021 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK)
200.    23         Exhibit 20 to the deposition of Robert         A7351
                   Wuesthoff, taken December 22, 2021 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK)
201.    25         Johnson & Johnson v. Ingham, Petition for      A7353
                   Writ of Ceriorari, 141 S. Ct. 2716 (2021)




                                     21
   Case: 22-2003     Document: 46    Page: 101    Date Filed: 06/30/2022




202.    26         Exhibit 62, entitled, “Johnson & Johnson       A7406
                   Consumer Inc. Talc 2021 Accounting Entry
                   Sample – Confidential”
203.    55         Exhibit 107 to the deposition of Michelle      A7408
                   Ryan, taken January 27, 2022 in the matter
                   of In re LTL Management LLC, No. 21-
                   30589 (MBK)
204.    56         Project Plato Memorandum of Approval,          A7410
                   sent on and dated October 11, 2021
205.    57         Michelle Ryan’s Consent to the Project Plato   A7421
                   Memorandum of Approval, emailed October
                   11, 2021
206.    58         Valuation of Old JJCI                          A7422
207.    59         Exhibit 34 to the deposition of Thibaut        A7427
                   Mongon, taken January 19, 2022 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), entitled, “Johnson &
                   Johnson’s (JNJ) Management Presents at
                   Barclays Global Consumer Staples
                   Conference (Transcript),” dated September
                   10, 2021
208.    60         Exhibit 39 to the deposition of Thibaut        A7439
                   Mongon, taken January 19, 2022 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), entitled, “Johnson &
                   Johnson (JNJ) Q3 2021 Results – Earnings
                   Call Transcript,” dated October 19, 2021
209.    61         February 23, 2016 Email from D. Bass to J.     A7463
                   Mesquita et al. re: “URGENT: Talc Update”
210.    62         October 28, 2016 Email from T. Mongon to       A7466
                   Consumer AP Employees et al. re: “Talc
                   Update”
211.    63         December 4, 2019 Email from K. Wengel to       A7467
                   JJCUS Enterprise Supply Chain Leadership
                   Team re: “Bernstein Analyst Report for
                   Investor Visit to Consumer Skillman R&D
                   Site,” and attachment
212.    64         Exhibit 31 to the deposition of Thibaut        A7488
                   Mongon, taken January 19, 2022 in the


                                     22
   Case: 22-2003     Document: 46    Page: 102    Date Filed: 06/30/2022




                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), a January 31, 2020 Email
                   from D. Lorenson to M. Sneed et al. re:
                   “INFORM: Talc News next week”
213.    65         May 7, 2020 Email from K. Widmer to T.        A7489
                   Mongon re: “Talc Reco,” and attachments
214.    67         Exhibit 26 to the deposition of Thibaut       A7578
                   Mongon, taken January 19, 2022 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), entitled, “Johnson &
                   Johnson Announces Plans to Accelerate
                   Innovation, Serve Patients and Consumers,
                   and Unlock Value through Intent to Separate
                   Consumer Health Business,” dated
                   November 12, 2021
215.    68         Exhibit 44 to the deposition of Thibaut       A7584
                   Mongon, taken January 19, 2022 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), an October 11, 2021
                   Email from C. Andrew to T. Mongon re:
                   “Project Plato Approval Memorandum for
                   Approval Today”
216.    69         Exhibit 9 to the deposition of Thibaut        A7596
                   Mongon, taken January 19, 2022 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), an October 11, 2021
                   Approval Request for the Restructuring of
                   Johnson & Johnson Consumer Inc.
217.    70         Exhibit 36 to the deposition of Thibaut       A7607
                   Mongon, taken January 19, 2022 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), an October 11, 2021
                   Email from C. Andrew to T. Mongon re:
                   “Project Plato Approval Memorandum for
                   Approval Today”
                                VOLUME 15
218.    73         October 21, 2017 Email from M. Saitzyk to     A7609
                   C. Goodrich and A. Scavazzini re:
                   “California Talc Verdict Reversed”



                                     23
   Case: 22-2003     Document: 46    Page: 103    Date Filed: 06/30/2022




219.    76         Debtor’s Supplemental Memorandum of            A7611
                   Law in Support of Preliminary Injunction
                   Motion, including Second Supplemental
                   Declaration of John K. Kim in Support of
                   Debtor’s Supplemental Memorandum of
                   Law in Support of the Preliminary Injunction
                   Motion, filed 12-08-2021 in In re LTL
                   Management LLC, No. 21-30589 (MBK)
                   and Exhibits A – P cited therein
                                VOLUME 16
220.    77         Debtor’s Omnibus Reply in Support of           A8075
                   Motion for an Order (A) Declaring that the
                   Automatic Stay Applies to Certain Actions
                   Against Non-Debtor or (B) Preliminarily
                   Enjoining Such Actions and (C) Granting a
                   Temporary Restraining Order Pending a
                   Final Hearing, including Third Supplemental
                   Declaration of John K. Kim in Support of
                   Debtor’s Omnibus Reply in Support of the
                   Preliminary Injunction Motion, filed 01-05-
                   2022 in In re LTL Management LLC, No. 21-
                   30589 (MBK) and Exhibits A – U cited
                   therein
221.    86         Exhibit 10 to the deposition of Michelle       A8456
                   Goodridge, taken December 20, 2021 in the
                   matter of In re LTL Management LLC, No.
                   21-30589 (MBK), a May 19, 2020 Email
                   from K. Wallace to L. Deo et al. re:
                   “CONFIDENTIAL: Final Materials for
                   Today”
222.    88         Supplemental Declaration of John K. Kim in     A8464
                   Support of Debtor’s Complaint for
                   Declaratory and Injunctive Relief and
                   Related Motions, filed October 21, 2021
                                VOLUME 17
223.    91         Request for Judicial Notice, filed by the      A8478
                   Official Committee of Talc Claimants II on
                   February 8, 2022 [cont’d in Vol. 18]




                                     24
   Case: 22-2003     Document: 46    Page: 104     Date Filed: 06/30/2022




                                VOLUME 18
224.    98         Publication entitled, “Financial Accounting    A9165
                   Standards Board, Statement of Financial
                   Accounting Concepts No. 5,” dated
                   December
                   1984
225.    99         Publication entitled, “Financial Accounting    A9210
                   Standards Board, Statement of Financial
                   Accounting Concepts No. 6,” dated
                   December
                   1985
226.   100         Exhibit 234 to the deposition of Adam          A9335
                   Lisman, taken February 8, 2021 in the matter
                   of In re LTL Management LLC, No. 21-
                   30589 (MBK), Johnson & Johnson
                   Consumer Inc. Balance Sheet for the period
                   ending September 2021
227.   101         Exhibit 235 to the deposition of Adam          A9336
                   Lisman, taken February 8, 2022 in the matter
                   of In re LTL Management LLC, No. 21-
                   30589 (MBK), Johnson & Johnson
                   Consumer Inc. Income Statement for the
                   period ending September 2021
228.   102         Exhibit 284 to the deposition of Adam          A9338
                   Lisman, taken February 8, 2022 in the matter
                   of In re LTL Management LLC, No. 21-
                   30589 (MBK), a document entitled,
                   “Worldwide Financial Procedures, 330Ba –
                   Legal Fees”
229.   103         Publication entitled, “Financial Accounting    A9342
                   Standards Board Conceptual Framework,
                   Statement of Financial Accounting Concepts
                   No. 8, Conceptual Framework for Financial
                   Reporting, Chapter 4, Elements of Financial
                   Statements,” dated December 2021
230.   107         Royalty A&M DCF Analysis                       A9393
231.   108         April 30, 2019 Email from P. Kwan to D.        A9399
                   Kaplan re: “Talc”



                                     25
   Case: 22-2003     Document: 46      Page: 105     Date Filed: 06/30/2022




232.   109         Praedicat Inc. article entitled, “Talc: the next   A9404
                   wave of asbestos litigation?”
233.   110         Johnson & Johnson Form 10-K for the fiscal         A9406
                   year ended January 3, 2021
234.   112         Ingham Verdict Media Monitoring Report             A9426
235.   113         Email re: Loss in Ingham Appeal, Talc              A9434




                                       26
   Case: 22-2003    Document: 46    Page: 106    Date Filed: 06/30/2022




                        VOLUMES 19 - 20
                   EXHIBITS FILED UNDER SEAL


                   EXHIBITS FILED UNDER SEAL

       TRIAL                                                     APPENDIX
ITEM                           DESCRIPTION
       EX. NO.                                                     PAGE
                     MOVANTS’ EXHIBTS
    NORTH CAROLINA PRELIMINARY HEARING EXHIBITS
                         VOLUME 19
 236. 600.009 Johnson & Johnson Insurance Coverage A9436
              Chart [SEALED]
 237. 600.010    Insurance Agreement: Aetna #38 AL 12880         A9452
                 SR(Y) 1-1-1967 to 1-1-1970 [SEALED]
 238. 600.011    Insurance Agreement: Aetna 38 XN 07 SCA         A9601
                 [SEALED]
 239. 600.012    Insurance Agreement: Home HEC 4764031           A9610
                 [SEALED]
 240. 600.014    Insurance Agreement: Aetna Primary 38 PK        A9633
                 15 SCA [SEALED]
 241. 600.036    Asset Purchase Agreement between Johnson        A9654
                 & Johnson Consumer Companies, Inc. and
                 Pharma Teach Industries, Inc., dated Apr. 4,
                 2005 [SEALED]
 242. 600.037    Manufacturing and Supply Agreement           A9780
                 between Johnson & Johnson Consumer
                 Companies, Inc. and Pharma Teach Industries,
                 Inc., dated Aug. 29, 2005 [SEALED]
 243. 600.038    2008 Amendment to Manufacturing and             A9855
                 Supply Agreement between Johnson &
                 Johnson Consumer Companies, Inc. and
                 Pharma Teach Industries, Inc., dated Aug. 29,
                 2005 – Confidential [SEALED]
 244. 600.039    2013 Amendment to Manufacturing and             A9861
                 Supply Agreement between Johnson &


                                    27
   Case: 22-2003    Document: 46    Page: 107    Date Filed: 06/30/2022




                   EXHIBITS FILED UNDER SEAL

       TRIAL                                                    APPENDIX
ITEM                           DESCRIPTION
       EX. NO.                                                     PAGE
                 Johnson Consumer Companies, Inc. and PTI
                 Royston, LLC, dated Aug. 29, 2005 –
                 Confidential [SEALED]
                             VOLUME 20
 245. 600.040    2017 Amended and Restated Supply               A9886
                 Agreement between Johnson & Johnson
                 Consumer Companies, Inc. and PTI Royston,
                 LLC, dated Aug. 29, 2005 – Confidential
                 [SEALED]
 246. 600.041    Indemnification agreement between Bausch       A9998
                 Health Companies (f/k/a Valeant
                 Pharmaceuticals International, Inc.) and
                 Johnson & Johnson Consumer, Inc., dated
                 Sept. 9, 2012 [SEALED]
 247. 600.060    Asset Purchase Agreement among Johnson &       A10006
                 Johnson Consumer Companies, Inc. and
                 Valeant Pharmaceutics International, Inc.,
                 dated September 9, 2012 [SEALED]
 248. 600.063    Talc 2007-2021 Other Income & Expense          A10102
                 Details – Confidential [SEALED]
 249. 600.074    Asset Purchase Agreement between Johnson       A10104
                 & Johnson Consumer Companies, Inc. and
                 Valeant Pharmaceuticals International, Inc.,
                 dated Sept. 9, 2012 [SEALED]




                                    28
         Case: 22-2003              Document: 46             Page: 108           Date Filed: 06/30/2022

  Case 21-30589-MBK             Doc 1572  Filed 02/25/22  Entered 02/25/22 10:07:14                         Desc Main
                                        Document     Page 1 of 56




FOR PUBLICATION


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
                                                                        Case No. 21-30589 (MBK)
Caption in Compliance with D.N.J. LBR 9004-2(c)

                                                                        Chapter 11
In re:
                                                                        Hearing Date: February 14-18, 2022
LTL MANAGEMENT, LLC,
                                                                        Judge: Michael B. Kaplan,
                         Debtor.                                               Chief Judge



    All Counsel c
                fRecord

                                           MEMORANDUM OPINION



             This matter comes before the Court upon motions (collectively, "Motions") filed by the

     Official Committee of Talc Claimants' (ECF No. 632) and the law firm of Arnold & Itkin, LLP, on

    behalf of certain talc personal injury claimants (ECF No. 766) (together, "Movants" or

    "Claimants"), 2 seeking an order of the Court dismissing the within bankruptcy proceeding



    1 On November 8, 2021, prior to transferring venue of the Case to this Court, the United States Bankruptcy Court for

    the Western District of North Carolina entered an order appointing the Official Committee of Talc Claimants (the
    "Original TCC") (ECF No. 355). On December 23, 2021, subsequent to the filing of the Motions, the United States
    Trustee for Region 3docketed aNotice of the United States Trustee's Filing of Reconstituted and Amended: (i) Notice
    of Appointment of Official Committee of Talc Claimants I; and (ii) Notice of Appointment of Official Committee of
    Talc Claimants II (ECF No. 965) ("Amended Notice"). The Amended Notice effectively divided the membership of
    the Original TCC into two committees—the Official Committee of Talc Claimants I ("TCC I"), consisting of ovarian
    cancer claimants, and the Official Committee of Talc Claimants II ("TCC II"), consisting of mesothelioma claimants—
    and appointed additional members to each such committee. Each committee has expressed support for the within
    Motions. At ahearing held on January 20, 2022, this Court granted the motions filed by Debtor and the law firm of
    Arnold & Itkin, LLP, challenging the validity of the Amended Notice, and struck the Amended Notice, effectively
    reinstating the Original TCC.

    2 A separate motion and joinder to the Motions has been filed on behalf of Aylstock, Witkin, Kreis & Overholtz,
    PLLC, ("AWKO") (ECF No. 1003), as well as ajoinder by the Barnes Law Group (ECF No. 1092). In addition, three
    amici curie briefs have been filed on behalf of Certain Bankruptcy Law Professors (ECF No. 1384), on behalf of
    Complex Litigation and Mass Torts Professors (ECF No. 1410), and on behalf of Erwin Chemerinsky, who is Dean
    of the University of California, Berkeley School of Law (ECF No. 1396). At the hearing held on February 17, 2022,
    the United States Trustee read astatement into the record supporting either dismissal of the case or the appointment
    of achapter 11 trustee. Besides Debtor's objection to the Motions, the Court has also reviewed the Canadian Class




                                                           Al
      Case: 22-2003            Document: 46            Page: 109          Date Filed: 06/30/2022

Case 21-30589-MBK          Doc 1572  Filed 02/25/22  Entered 02/25/22 10:07:14                      Desc Main
                                   Document     Page 2 of 56




 pursuant to § 1112(b) as not having been filed in good faith. For the reasons expressed below, the

 Court denies the Motions in their entirety. The Court issues the following findings of fact and

 conclusions of law as required by FED. R.BANKR. P.7052. 3 The Court has jurisdiction over this

 contested matter under 28 U.S.C. §§ 1334(a) and 157(a) and the Standing Order of the United

 States District Court dated July 10, 1984, as amended September 18, 2012, referring all bankruptcy

 cases to the Bankruptcy Court. This matter is acore proceeding within the meaning of 28 U.S.C.

 §157(b)(2)(A). Venue is proper in this Court pursuant to 28 U.S.C. § 1408.

 I.   Background & Procedural History


         On October 14, 2021, LTL Management, LLC ("LTL" or "Debtor") filed avoluntary

 petition for chapter 11 relief (ECF No. 1) in the United States Bankruptcy Court for the Western

 District of North Carolina (the "North Carolina Bankruptcy Court"). LTL is an indirect subsidiary

 of Johnson & Johnson ("J&J") and traces its roots back to Johnson & Johnson Baby Products,

 Company ("J&J Baby Products"), aNew Jersey company incorporated in 1970 as awholly- owned

 subsidiary of J&J. See Declaration cfdohn K. Kim in Support cfFirstDay Pleadings ("Kim Decl. ")

 ¶¶ 9-10, ECF No. 5. J&J, a New Jersey company incorporated in 1887, first began selling

 JOHNSON'S® Baby Powder ("Johnson's Baby Powder") in 1894, launching its baby care line of

 products. Id. at ¶¶ 10-14. In 1972, J&J established aformal operating division for its baby products

 business, including Johnson's Baby Powder. Id. In 1979, J&J executed atransaction (the " 1979




 Action Plaintiffs' Opposition to Motions to Dismiss Chapter 11 Case (ECF No. 1432) (the "Canadian Plaintiffs'
 Opposition").

 sTo the extent that any of the findings of fact might constitute conclusions of law, they are adopted as such.
 Conversely, to the extent that any conclusions of law constitute findings of fact, they are adopted as such.




                                                       2




                                                      A2
      Case: 22-2003         Document: 46          Page: 110         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                 Desc Main
                                 Document    Page 3of 56



 Agreement") transferring all assets associated with the Baby Products division to J&J Baby

 Products. Id. In connection with this transfer, J&J Baby Products assumed all liabilities associated

 with the Baby Products division. Id. J&J no longer manufactured or sold baby products, such as

 Johnson's Baby Powder after this transaction. Id. Today, J&J is aglobal company primarily

 focused on products relating to human health and wellbeing. See Expert Report cfSaul E. Burian,

 Ph.D., ("Burian Report") at 25. J&J is composed of three business segments, including Consumer

 Health, Pharmaceutical, and Medical Devices. Id.


        Prior or to October 12, 2021, one of J&J's corporate subsidiaries was Johnson & Johnson

 Consumer Inc. ("Old JJCI"). See Kim Decl. ¶¶ 10-14, ECF No. 5. As the result of aseries of

 intercompany transactions, Old JJCI assumed responsibility for all claims alleging that J&J's talc-

 containing Johnson's Baby Powder caused ovarian cancer and mesothelioma. Id. at ¶¶ 15, 32. In

 the talc lawsuits, claimants contend generally that multiple scientific studies have repeatedly found

 (1) that samples of Johnson's Baby Powder contain amphibole asbestos and fibrous talc; (ii) that

 perineal or genital application of talcum powder increases the risk of and can cause ovarian cancer;

 and (iii) that exposure to asbestos- contaminated talcum powders can cause mesothelioma. Original

 TCC's Motion to Dismiss ¶ 16, ECF No. 632. Despite this product being sold since 1894, prior to

 2010, there were alimited number of isolated cases involving cosmetic talc filed against Old JJCI

 and J&J, asserting arange of claims including talcosis, mesothelioma, dermatitis, and rashes. Kim

 Decl. ¶ 34, ECF No. 5. Litigation escalated after the 2013 trial Deane Berg v. J&J, wherein plaintiff

 alleged she had developed ovarian cancer as aresult of genital exposure to Old JJCI's talc-based

 product. Id. at ¶ 35. The jury found for the plaintiff but awarded no damages. Following that




                                                  3




                                                 A3
      Case: 22-2003            Document: 46            Page: 111           Date Filed: 06/30/2022

Case 21-30589-MBK           Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                       Desc Main
                                    Document    Page 4 of 56



 verdict, over thirteen hundred ovarian cancer lawsuits were filed against Old JJCI and J&J by the

 end of 2015. Id. Since 2016, talc-related lawsuits have grown to over 38,000 cases. Burian Report

 at 35. In May 2020, Old JJCI announced their discontinuation of talc-based baby powder in the

 United States and Canada. Expert Report cf Gregory K. Bell, Ph.D. ("Bell Report") ¶ 17. Debtor

 contends that from January 2020 to today, the company has been served on average with one or

 more ovarian cancer complaint every hour of every day, every single day of the week. Debtor's

 Irformational Brief 125, ECF No. 3. The $ 4.69 billion verdict reached in the Ingham case (the

 total award was reduced on appeal to $2.25 billion) certainly raised the stakes for all concerned.


         The increase in talc-related litigation imposed afinancial burden on Old JJCL In the seven

 quarters of operations preceding the bankruptcy filing, the talc litigation led to financial statement

 charges totaling $ 5.6 billion and cash payments totaling $ 3.6 billion. Bell Report at ¶ 8. Talc

 litigation charges—otherwise referred to as "probable costs"—accounted for 51 percent of sales,

 and the talc litigation payments—or costs previously paid—accounted for 122 percent of the pre-

 tax cashflows estimated to be generated by operations. Id. Old JJCI's income before tax for the

 business segment dropped from a $2.1 billion profit in 2019 to a $ 1.1 billion loss in 2020. Id. Much

 of the reverse in profits, of course, were attributable to the Ingham charge and payment.


         On October 12, 2021, Old JJCI engaged in aseries of transactions (the "2021 Corporate

 Restructuring") through which it ceased to exist, and two new companies, LTL and Johnson &

 Johnson Consumer Inc. ("New JJCI"), ultimately were formed. Kim Decl. ¶¶ 16, 22-23, ECF No.




 4Robert Ingham v. Johnson & Johnson, 608 S.W.3d 663 (Mo. Ct. App. 2020), reh'g and/or transfer denied (July 28,
 2020), transfer denied (Nov. 3, 2020), cent. denied, 141 S. Ct. 2716, 210 L. Ed. 2d 879 (2021).




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                                                      A4
       Case: 22-2003         Document: 46           Page: 112         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                   Desc Main
                                  Document    Page 5of 56



 5. The labyrinthine progression toward the creation of Debtor is somewhat overwhelming. First,

 Old JJCI's then-direct parent, Janssen Pharmaceuticals, Inc., organized Currahee Holding

 Company Inc. ("Currahee") to become the new direct parent of Old JJCI. Currahee organized

 Chenango Zero LLC, aTexas limited liability company, as its wholly- owned subsidiary. After

 this, Old JJCI merged with Chenango Zero LLC, leaving Chenango Zero LLC as the surviving

 entity. A funding agreement, as discussed below, was agreed to by J&J and Currahee as payors

 and Chenango Zero LLC as payee. Using the Texas Business Organizations Code, Chenango Zero

 (Old JJCI) effected adivisional merger where Old JJCI was dismantled, leaving two new Texas

 limited liability companies—Chenango One LLC and Chenango Two LLC—to divide all the

 assets and liabilities of Old JJCI. Chenango Two LLC merged with and into Currahee. As the

 surviving entity, Currahee then changed its name to Johnson and Johnson Consumer Inc. ("New

 JJCI"). Chenango One LLC converted from a Texas limited liability company into aNorth

 Carolina limited liability company and changed its name to LTL Management, LLC. Id. at ¶¶ 22-

 23.


         The supposed purpose of this restructuring was to "globally resolve talc-related claims

 through a chapter 11 reorganization without subjecting the entire Old JJCI enterprise to a

 bankruptcy proceeding." Id. at ¶ 21. As aresult of the 2021 Corporate Restructuring, LTL assumed

 responsibility for Old JJCI's talc-related liabilities. Id. at ¶¶ 16, 24. Through the restructuring, LTL

 also received Old JJCI's rights under afunding agreement (the "Funding Agreement"). Id. at ¶ 24.

 Under the Funding Agreement, J&J and New JJCI, on ajoint and several basis, are obligated to




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      Case: 22-2003              Document: 46             Page: 113            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                     Document    Page 6of 56



 pay "any and all costs and expenses" up to the value of New JJCI 5 excluding the talc liability that

 LTL incurs during its bankruptcy case, "including the costs of administering the Bankruptcy Case"

 to the extent necessary. Funding Agreement 6, Annex 2to Kim Decl. ECF No. 5. In addition, the

 Funding Agreement obligates New JJCI and J&J to fund amounts necessary:


         (a) to satisfy the Debtor's talc-related liabilities at any time when there is no
         bankruptcy case and (b) in the event of achapter 11 filing, to provide the funding
         for atrust, in both situations to the extent that any cash distributions received by
         the Debtor from Royalty A&M are insufficient to pay such costs and expenses and
         further, in the case of the funding of atrust, the Debtor's other assets are insufficient
         to provide that funding.


 Id. at ¶ 27. Debtor has no repayment obligation as the Funding Agreement does not establish a

 loan. Id.


          The 2021 Corporate Restructuring also lays out Debtor as the direct parent of aNorth

 Carolina limited liability company, Royalty A&M LLC ("Royalty A&M"), which owns aportfolio

 of royalty revenue streams, including royalty revenue streams based on third-party sales of

 LACTAID®, MYLANTA® / MYLICON® and ROGAINE® products. Burian Report at 15.

 Debtor asserts that it intends to review royalty monetization opportunities in the healthcare

 industry and grow its business by reinvesting the income from these existing royalty revenue

 streams into both the acquisition of additional external royalty revenue streams, as well as

 financings to third parties secured by similar royalty streams. Kim Decl. ¶ 18. On October 11,

 2021, Old JJCI organized Royalty A&M as adirect subsidiary of LTL and—in exchange for full



 sAs explained at trial by Debtor's Counsel, the "floor" of the Funding Agreement is the value of Old JJCI at the time
 of the merger, minus the talc liability. The value of the Funding Agreement increases, however, as the value of New
 JJCI post-transaction increases.




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      Case: 22-2003         Document: 46          Page: 114         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572  Filed 02/25/22  Entered 02/25/22 10:07:14               Desc Main
                                 Document     Page 7 of 56




 ownership of Royalty A&M's equity—contributed $ 367.1 million. Id. at ¶ 22. Subsequently,

 Royalty A&M used those funds to acquire certain royalty streams from Old JJCI and certain of its

 affiliates. Id. Debtor estimates that the fair market value of its interest in Royalty A&M was

 approximately $ 367.1 million as of the petition date. Together with the $ 6 million in cash it

 received for its bank account after the merger, Debtor's value is approximately $ 373.1 million, not

 including the Funding Agreement with New JJCI and J&J. Id. at ¶ 26. Thereafter, on October 14,

 2021, LTL filed avoluntary petition for chapter 11 relief in the North Carolina Bankruptcy Court.

        On December 1, 2021, the Original TCC filed amotion to dismiss Debtor's chapter 11

 bankruptcy case with prejudice pursuant to § 1112(b) of the Bankruptcy Code (ECF No. 632).

 Shortly thereafter, the law firm of Arnold & Itkin LLP ("A&I") filed its own motion (ECF No.

 766) also seeking dismissal of Debtor's case. Debtor filed opposition to the Motions (ECF No.

 956). Two law firms representing talc claimants filed joinders to the Motions (ECF Nos. 1003 and

 1092). A&I, TCC I, and TCC II (collectively, the "Movants") filed separate replies (ECF Nos.

 1354, 1357 and 1358, respectively). The Canadian Class Action Plaintiffs opposed the Motions

 (ECF No. 1432). The Court approved abriefing schedule that allowed for the filing of sur-replies

 by Debtor and Movants (ECF Nos. 1444 and 1457, respectively). On February 14, 2022, the Court

 commenced afive-day trial to address the Motions and the related Preliminary Injunction Motion

 in the pending Adversary Proceeding (ECF No. 2in Adv. Pro. No. 21-03032). Both sides made

 oral argument and introduced fact and expert witnesses. Specifically, the Court considered

 testimony from the following fact witnesses:

     • John H. Kim, Chief Legal Officer of LTL Management LLC
     • Adam Lisman, Vice President and Assistant Corporate Controller of Johnson & Johnson




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      Case: 22-2003         Document: 46          Page: 115         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                 Desc Main
                                 Document    Page 8of 56




    • Thibaut Mongon, Executive Vice President and Worldwide Chair of Johnson & Johnson
      Consumer Health
    • Michelle Ryan, former Treasurer of Johnson & Johnson (via recorded deposition
      testimony)
    • Michelle Wang Goodridge, President of U.S. Self- Care with Johnson & Johnson Consumer
      Health and President of Johnson & Johnson Consumer Inc.
    • Robert O. Wuesthoff, President of LTL Management, LLC and President of Royalty A&M
      LLC

 The Court also heard testimony from five expert witnesses including:

    • Gregory K. Bell, PhD, Group Vice President of Charles River Associates for Debtor
    • John R. Castellano, Managing Director at Alix Partners for Debtor
    • Charles H. Mullin, PhD, Managing Partner at Bates White Economic Consulting for Debtor
    • Saul E. Burian, Managing Director at Houlihan Lokey for Movants
    • Matthew Diaz, Senior Managing Director at FTI Consulting, Inc. for Movants

        To the extent the Court finds the expert testimony helpful, reference has been made in this

 opinion to the applicable report or testimony. In rendering its decision, the Court also has reviewed

 declarations submitted by Rebecca J. Love, D.D.S., amember of TCC I, and Kristie Doyle, a

 member of the TCC 11. Finally, the Court has considered brief statements offered by the United

 States Trustee and counsel for the Canadian Class Action Plaintiffs on the final day of trial,

 February 18, 2022.

 II. Discussion

        A. Overview

        By way of brief overview, the Movants and other talc claimants, in their own words, view

 their tasks as amoral and legal imperative to vigorously oppose the efforts of both J&J and Old

 JJCI to utilize the bankruptcy system as alitigation tactic to address their talc-related litigation

 liabilities through this Debtor. Movants point to the fact that LTL was created within hours before

 the chapter 11 filing, as aspecial purpose vehicle, with the stated purpose of filing chapter 11 to




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       Case: 22-2003             Document: 46             Page: 116            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                     Document    Page 9of 56



 employ the bankruptcy's automatic stay and asbestos resolution schemes for the benefit of its

 solvent operating parent and affiliated entities, as well as certain third parties ("Protected Parties"),

 without such entities filing for chapter 1L6 Movants further note that Debtor has no business

 purpose, no employees apart from those seconded by J&J, and that LTL's board, management and

 employees all work for J&J and owe 100% fealty to J&J. Movants assert that Debtor has no trade

 creditors, lenders, bondholders, customers, suppliers, vendors, landlords, tax creditors, etc., and,

 in general, the chapter 11 process offers nothing of value to this estate and its creditors. Moreover,

 Movants contend that Debtor's creation through the pre-petition restructuring mechanism—the

 divisional merger under the Texas Business Corporation Act widely referred to as the "Texas Two-

 Step" ("2021 Corporate Restructuring")—was intended to force talc claimants to face delay and

 to secure a "bankruptcy discount"; in Movants' words, "an obvious legal maneuver to impose an

 unfavorable settlement dynamic on talc victims." TCC IReply Mem. 3, ECF No. 1357.

         Not unexpectedly, Debtor takes afar more positive view of the chapter 11 foundation and

 its purposes: to produce an equitable resolution of both current and future talc claims by means of

 asettlement trust, established pursuant to § 105 or § 524(g), that can promptly, efficiently, and

 fairly compensate claimants. Indeed, from the very outset of the case, Debtor acknowledges

 through John Kim's First Day Declaration that the 2021 Corporate Restructuring was implemented

 to enable Debtor to fully resolve talc-related claims though achapter 11 reorganization, without

 subjecting the entire enterprise to abankruptcy proceeding. Debtor makes no effort to conceal its



 6 In the Committees' words, the bankruptcy lacks aproper purpose because LTL is a "dummy" corporation with "no


 business, no operations, no employees, no funded debt," limited "assets," and no need for a "fresh start." Comm. Mot.
 ¶¶ 4-5, 41, ECF No. 632.




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      Case: 22-2003           Document: 46           Page: 117         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                    Desc Main
                                 Document     Page 10 of 56



 reservations regarding redress through the tort system, which Debtor views as creating

 inefficiencies, inequities, and delay. Debtor characterizes the jury system as alottery in which a

 few plaintiffs have obtained recoveries ranging from tens of millions to multiple billions in dollars,

 while others have been denied recoveries completely. Unsurprisingly, Debtor also disputes the

 negative portrayal of the intent and impact of the restructuring, noting that neither Debtor, nor any

 of its affiliated entities have escaped liability and also emphasizing that all of the assets and funding

 sources extant pre-restructuring, remain available through this proceeding. Debtor highlights that

 the Funding Agreement, which provides funding up to at least the fair market value of Old JJCI

 (pegged by Debtor's management at approximately $60 billion) serves to eliminate any prejudice

 to creditors and overcome fraudulent transfer challenges.

         B. Applicable Legal Standard

         The Third Circuit has held that "aChapter 11 petition is subject to dismissal for ` cause'

 under 11 U.S.C. § 1112(b) unless it is filed in good faith." In re SGL Carbon Corp., 200 F.3d 154,

 162 (3d Cir. 1999). At its most fundamental level, the good faith requirement ensures that the

 Bankruptcy Code's careful balancing of interests is not undermined by petitioners whose aims are

 antithetical to the basic purposes of bankruptcy:

        [A good faith standard] furthers the balancing process between the interests of
        debtors and creditors which characterizes so many provisions of the bankruptcy
        laws and is necessary to legitimize the delay and costs imposed upon parties to a
        bankruptcy. Requirement [ sic] of good faith prevents abuse of the bankruptcy
        process by debtors whose overriding motive is to delay creditors without benefitting
        them in any way ....

 SGL Carbon, 200 F.3d at 161-62 (quoting Little Creek Dev. Co. v. Commonwealth Mortgage

 Corp. (In re Little Creek Dev. Co), 779 F.2d 1068, 1072 (5th Cir. 1986)); see also Carolin Corp.




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       Case: 22-2003              Document: 46              Page: 118            Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572  Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                     Document      Page 11 of 56




 v. Miller, 886 F.2d 693, 698 (4th Cir. 1989) (holding that the good faith requirement is

 "indispensable to proper accomplishment of the basic purposes of Chapter 11 protection"). Once

 the movant establishes that there is an issue regarding good faith,' the debtor bears the burden of

 proving that apetition was filed in good faith. NMSBPCSLDHB, L.P. v. Integrated Telecom

 Express, Inc. (In re Integrated Telecom Express, Inc), 384 F.3d 108, 118 (3d Cir. 2004); In re

 GVS Por folio IB, LLC, No. 21-10690 (CSS), 2021 WL 2285285, at * 5 (Bankr. D. Del. June 4,

 2021) (quoting Tamecki v. Frank (In re Tamecki), 229 F.3d 205, 208 (3d Cir. 2000) ("[ O]nce a

 debtor's good faith is appropriately put at issue, it is the burden of the debtor to produce evidence

 of good faith.")); In re Cloudeeva, Inc., No. 14-24874, 2014 WL 6461514, at * 4 (Bankr. D.N.J.

 Nov. 18, 2014). The debtor bears the burden of proving good faith by apreponderance of the

 evidence. In re Vascular Access Centers, L.P., 611 B.R. 742, 761 (Bankr. E.D. Pa. 2020).

          The good faith inquiry is based on "` the totality of facts and circumstances."' In re

 Integrated Telecom, 384 F.3d at 118 (quoting In re SGL Carbon, 200 F.3d at 162). In determining

 whether achapter 11 petition was filed in good faith, the court must undertake a "fact intensive

 inquiry" to determine where the petition "falls along the spectrum ranging from the clearly

 acceptable to the patently abusive." Id.; see also Perlin v. Hitachi Cap. Am. Corp., 497 F.3d 364,




 7 Debtor contends that amovant must first establish aprima facie case of "bad faith" before the burden shifts to the
 Debtor and cites to In re Walden Ridge Dev. LLC, 292 B.R. 58, 62 (     Bankr. D. N.J. 2003). While this case, and others
 in fact so hold, this line of cases traces this proposition all the way back to Matter cf Century City, Inc., 8B.R. 25
 (Bankr. D.N.J. 1980), in which Judge DeVito simply noted that unlike chapter X of the Bankruptcy Act of 1898, the
 Bankruptcy Code does not explicitly require filings to be undertaken in good faith, and thus required the movant to
 make aprima facie showing of lack of good faith. The bulk of the case law in this Circuit has evolved in the past 42
 years without employing this prima facie showing requirement. Notwithstanding, even if the Court were to do so,
 Movants have raised the issue of Debtor's good faith sufficiently to shift the burden upon Debtor. See In re Mottilla,
 306 B.R. 782, 789 (   Bankr. M.D. Pa. 2004) ("After scrutinizing the Tamecki decision, Ican only conclude that the
 Circuit requires amovant to produce relatively little evidence to place adebtor's good faith at issue. ").




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      Case: 22-2003         Document: 46          Page: 119         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572  Filed 02/25/22  Entered 02/25/22 10:07:14               Desc Main
                                Document      Page 12 of 56




 372 (3d Cir. 2007). The focus of the inquiry is whether the petitioner sought "to achieve objectives

 outside the legitimate scope of the bankruptcy laws." In re SGL Carbon Corp., 200 F.3d at 165

 (internal quotations omitted). The question of adebtor's good faith "depends on an amalgam of

 factors and not upon aspecific fact." Id. (
                                           quoting Idaho Dept (fLands v. Arnold (In re Arnold),

 806 F.2d 937, 939 (9th Cir. 1986)). "[T]he courts may consider any factors which evidence ` an

 intent to abuse the judicial process and the purposes of the reorganization provisions."' Phoenix

 Piccadilly, Ltd. v. Lfe Ins. Co. cf Va. (In re Phoenix Piccadilly, Ltd.), 849 F.2d 1393, 1394 ( 11th

 Cir. 1988) (quoting Albany Partners, Ltd. v. Westbrook (In re Albany Partners, Ltd), 749 F.2d

 670, 674 ( 11th Cir. 1984)); In re JERIdameson Mezz Borrower II, LLC, 461 B.R. 293, 297-98

 (Bankr. D. Del. 2011); see also In re Schcjfer, 597 B.R. 777, 791 (Bankr. E.D. Pa. 2019), cjf'd sub

 nom. Matter cfSchcjfcr, 606 B.R. 228 (E.D. Pa. 2019), cjf'd sub nom. In re Schcjfer, No. 19-3664,

 2020 WL 2529371 (3d Cir. Jan. 24, 2020).

        All parties acknowledge that the general focus must be "( 1) whether the petition serves a

 valid bankruptcy purpose and (2) whether the petition is filed merely to obtain atactical litigation

 advantage." 15375 Mem'l Corp. v. BEPCO, L.P. (In re 15375 Mem'l Corp), 589 F.3d 605, 618

 (3d Cir. 2009) (citing In re SGL Carbon, 200 F.3d 154,165 (3d Cir. 1995)). "[T]he ` good faith'

 filing requirement encompasses several, distinct equitable limitations that courts have placed on

 Chapter 11 filings ... to deter filings that seek to achieve objectives outside the legitimate scope

 of the bankruptcy laws." SGL Carbon, 200 F.3d at 165 (quoting In re Marsch, 36 F.3d 825, 828

 (9th Cir. 1994)). In evaluating the legitimacy of Debtor's bankruptcy filing, this Court must also

 examine afar more significant issue: which judicial system—the state/federal court trial system,




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       Case: 22-2003               Document: 46              Page: 120             Date Filed: 06/30/2022

Case 21-30589-MBK              Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                               Desc Main
                                      Document     Page 13 of 56



 or atrust vehicle established under achapter 11 reorganization plan structured and approved by

 the United States Bankruptcy Court—serves best the interests of this bankruptcy estate, comprised

 primarily of present and future tort claimants with serious financial and physical injuries. s It goes

 without saying that this and related inquiries have been the subject of academic, judicial, and policy

 debates for years. In ruling today, however, this Court considers only the facts and applicable law

 relevant to this case, and this case only, and there is no expectation that this decision will be the

 final word on the matters.

          As will be discussed below, the Court is unwilling to dismiss this case as abad faith filing.

 The Court employs the standards cited above and followed by other courts within the Third Circuit.

 On aside, the Court acknowledges there is amuch more stringent standard for dismissal of acase

 for lacking good faith in the Fourth Circuit, which would have governed adecision by Judge

 Whitley in North Carolina. The Court cannot help but ponder how abankruptcy filing, which took

 place in North Carolina and most likely satisfied the good faith standards under the applicable law

 in that jurisdiction, suddenly morphs post-petition into abad faith filing simply because the case

 travels 400 miles up I-95 to Trenton, New Jersey. Notwithstanding, the Court rules today that the

 chapter 11 filing also satisfies the standards this Court must apply under Third Circuit precedent.




 sWhile Movants may take issue with the Court's decision to assess the merits of the competing judicial systems as
 part of the totality of circumstances underlying the chapter 11 filing, these issues are likewise relevant as to whether
 § 1112(b)(2) provides an alternative to dismissal. "[E]ven if ` cause' exists, § 1112(b)(2) precludes dismissal or
 conversion if `unusual circumstances' exist such that that conversion or dismissal of the case is not in the best interests
 of the creditors or the bankruptcy estate and there is areasonable likelihood that achapter 11 plan will be confirmed
 within either areasonable time or applicable statutory deadlines." In re: 1121 Pier Village LLC, et al., No. 21-11466
 (ELF), 2022 WL 102622 (Bankr. E.D. Pa. Jan. 11, 2022). As discussed ir,fra, the Court finds that Debtor has pursued
 the chapter 11 filing in good faith. Even if this were not the case, the Court holds that the interests of current tort
 creditors and the absence of viable protections for future tort claimants outside of bankruptcy would constitute such
 "unusual circumstances" as to preclude either dismissal or conversion of the case.




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                                                           A13
      Case: 22-2003         Document: 46          Page: 121         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                 Desc Main
                                Document     Page 14 of 56




                1. Valid Bankruptcy Purpose Underlying LTL Management LLC's Decision to
                   File Chapter 11

        To be filed in good faith, a chapter 11 petition must be supported by "a valid

 reorganizational purpose." In re SGL Carbon, 200 F.3d at 165-66. When acompany "seek[s] the

 protections of bankruptcy when faced with pending litigation that pose[s] aserious threat to [ a]

 compan[y's] long term viability," avalid reorganizational purpose exists only if the company is

 experiencing "serious financial and/or managerial difficulties at the time of filing ... to establish

 the good faith of its present petition." In re SGL Carbon, 200 F.3d at 164. As the Supreme Court

 has explained, the two main functions of the bankruptcy law are ( 1) "preserving going concerns"

 and (2) "maximizing property available to satisfy creditors." In re Integrated Telecom Express,

 Inc., 384 F.3d 119 (quoting Bank cfAm. Nat'l Trust & Say. Assn v. 203 N. LaSalle St. P'ship, 526

 U.S. 434, 453, 119 S. Ct. 1411, 143 L.Ed.2d 607 ( 1999)). "If neither of these purposes can be

 demonstrated, the petition will be dismissed." In re Am. Cap. Equip., LLC, 296 F. App'x 270, 274

 (3d Cir. 2008) (citation omitted) (emphasis added). In their oral and written arguments, Movants

 urge the Court to restrict its examination to the valid business purpose held by the Debtor, LTL,

 as opposed to the reorganizational needs of Old JJCI. The Court certainly agrees that it is the

 Debtor's good faith at issue. Yet, even the Movants' experts testified that the 2021 Corporate

 Restructuring and the ensuing bankruptcy filing should be viewed by this Court as "asingle, pre-

 planned, integrated transaction" comprised of interdependent steps. See Burian Report at 8; Expert

 Report cf Matthew Diaz ("Diaz Report") at 19. This Court must undertake an analysis that

 considers the totality of the circumstances and consider the financial risks and burdens facing both

 Old JJCI and Debtor.




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                                                A14
      Case: 22-2003          Document: 46          Page: 122          Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                  Desc Main
                                 Document     Page 15 of 56



        While the parties may debate whether as aresult of the 2021 Corporate Restructuring, LTL

 continues as a "going concern," this Court has little trouble finding that the chapter 11 filing serves

 to maximize the property available to satisfy creditors by employing the tools available under the

 Bankruptcy Code to ensure that all present and future tort claimants will share distributions

 through the court- administered claims assessment process. Movants' challenge to the manner the

 estate is to be maximized does not alter the fact that a successful reorganization and

 implementation of asettlement trust will dramatically reduce costs and ensure balanced recoveries

 for present and future claimants. See, e.g., In re Am. Cap. Equip., LLC, 296 F. App'x at 274 ("As

 the District Court explained, while Appellants make anumber of arguments that Debtors' plan

 does not maximize the value of the estate, what these arguments actually take issue with is ` how

 the value was maximized.' What is clear is that under Debtors' plan, both the asbestos claimants

 and the unsecured creditors will be able to share in the assets of the estate").

        From the outset, J&J and Debtor have been candid and transparent about employing

 Debtor's chapter 11 filing as avehicle to address the company's growing talc-related liability

 exposure and costs in defending the tens of thousands of pending ovarian cancer claims and

 hundreds of mesothelioma cases, as well as future claims. As Movants' own experts have

 acknowledged, the use of the Texas divisional merger statute and subsequent filing by the newly

 formed LTL constituted asingle integrated transaction designed to allow "New JJCI to continue

 to operate Johnson & Johnson's Consumer Health business in the United States without

 interruption and provide LTL with the opportunity to pursue process to resolve current and future

 [cl]aims in an equitable and efficient manner." Debtor's Exhibit D-56.




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                                                 A15
       Case: 22-2003             Document: 46             Page: 123            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                           Desc Main
                                    Document     Page 16 of 56



          Let's be clear, the filing of achapter 11 case with the expressed aim of addressing the

 present and future liabilities associated with ongoing global personal injury claims to preserve

 corporate value is unquestionably aproper purpose under the Bankruptcy Code. See, e.g., In re

 Bestwall LLC, 605 B.R. 43, 49 (Bankr. W.D.N.C. 2019) ("Attempting to resolve asbestos claims

 through 11 U.S.C. § 524(g) is avalid reorganizational purpose, and filing for Chapter 11, especially

 in the context of an asbestos or mass tort case, need not be due to insolvency); 9In re SGL Carbon,

 200 F.3d at 163-64, 169 (distinguishing confined nature of litigation in SGL Carbon with efforts

 to resolve thousands of mass tort claims) (citing ALAN N. RESNICK, Bankruptcy as a Vehicle for

 Resolving Enterprise—Threatening Mass Tort Liability, 148 U.PA. L. REV. 2045, 2050-51 (June

 2000j); In re Muralo, Co. Inc., 301 B.R. 690, 706 (Bankr. D.N.J. 2003) (finding debtor's "sudden

 high-risk exposure to thousands of seemingly random and unmanageable asbestos ... cases" a

 "significant factor evidencing the good faith of Debtors' filings"). At the time of filing, Debtor—

 as did its immediate predecessor—faced nearly 40,000 pending tort claims, with thousands of

 additional claims expected annually for decades to come. Bell Report at 10. As of the petition

 date, Debtor also anticipated billions of dollars in talc-related liability and defense costs. Id.

 Indeed, in the first nine months of 2021, more than 12,300 new lawsuits were filed. Id.

 Additionally, there were pending (although contested) indemnification obligations owing to talc

 suppliers Imerys Talc America, Inc. and Cyprus Mines Corporation estimated at anywhere

 between $ 25 billion to $ 118.2 billion in damages. Bell Report at 12. These anticipated liabilities



 9 Movants contend that the Court should not rely upon Bestwall since that court was considering dismissal under the
 far more stringent Carolin standard of "objective futility." However, adetermination as to the existence of a "valid
 business purpose" is separate and apart from the futility of adebtor's reorganization efforts and the court's opinion
 retains relevance.




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                                                        A16
      Case: 22-2003         Document: 46          Page: 124         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                 Desc Main
                                Document     Page 17 of 56



 are not merely speculative, given the history of actual defense spending and verdicts rendered to

 date. Since June of 2018, there have been 13 mesothelioma verdicts awarding $ 320.6 million in

 punitive damages and $ 155.2 million in compensatory damages for atotal of $ 475.8 million. See

 Diaz Report at 13. By this Court's math, that averages to approximately $ 36.6 million per claim.

 With approximately 430 mesothelioma claims filed as of the chapter 11 petition date, one could

 argue that the Debtor's financial exposure exceeded $ 15 billion, not including the tens of thousands

 of ovarian cancer claims and all future cancer claims. Debtor's efforts to address the financially

 draining mass tort exposure through abankruptcy is wholly consistent with the aims of the

 Bankruptcy Code.

        The Court is cognizant of the Third Circuit's admonition, as pointed out by Movants, that

 "a desire to take advantage of aparticular provision in the Bankruptcy Code, standing alone ...

 does not ... establish[] good faith." In re Integrated Telecom, 384 F.3d at 127-128 ("Just as a

 desire to take advantage of the protections of the Code cannot establish bad faith as amatter of

 law, that desire cannot establish good faith as amatter of law. Given the truism that every

 bankruptcy petition seeks some advantage offered in the Code, any other rule would eviscerate

 any limitation that the good faith requirement places on Chapter 11 filings. "). However, Debtor

 here has demonstrated an intent to make use of the Bankruptcy Code as awhole, apart from any

 single Code section, to address its financial needs. There is no question as to the import and value

 to Debtor of implementing an asbestos trust under § 524(g). Nonetheless, this tool does not operate

 in avacuum. Rather, the Debtor seeks to take advantage of the centrality of the bankruptcy forum,

 the breathing spell available under § 362, the efficiencies found in the claims allowance and




                                                  17




                                                A17
      Case: 22-2003          Document: 46          Page: 125         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                  Desc Main
                                Document     Page 18 of 56



 estimation processes, and most significantly the opportunity to negotiate aglobal resolution to

 torrents of talc-related litigation as to present and future cancer victims. Moreover, the creation of

 asettlement trust is not wholly dependent upon § 524(g)—numerous non- asbestos mass tort cases

 have established trust mechanisms under confirmed plans bottomed on other Code provisions.

        All Code sections are not equal in import or impact. In Integrated Telecom, anonoperating

 liquidating debtor desired to take advantage of the § 502(b)(6) cap on the landlord's claim and

 argued that this purpose, in and of itself, established good faith. See In re Integrated Telecom, 384

 F.3d 108. Integrated involved an effort to file achapter 11 to reduce asingular type of claim for

 an isolated creditor. In contrast, Congress added 11 U.S.C. § 524(g) to the Bankruptcy Code to

 "help asbestos victims receive maximum value" from bankrupt entities. 140 Cong. Rec. 514,461

 (Sept. 12, 1994) (statement of Sen. Heflin); see also In re Am. Cap. Equip., LLC, 688 F.3d 145,

 159 (3rd Cir. 2012) ("[T]he [bankrupt] company remains viable ... [and] continues to generate

 assets to pay claims today and into the future. In essence, the reorganized company becomes the

 goose that lays the golden egg by remaining aviable operation and maximizing the trust's assets

 to pay claims." (alterations in original)); In re ACandS, Inc. 311 B.R. 36, 42 (Bankr. D. Del. 2004).

 Section 524(g) was meant to "strengthen ... trust/injunction mechanisms," 140 Cong. Rec. 20, 27,

 692 ( 1994), and, to the extent possible, account for "the interests of future claimants," H.R. Rep.

 No. 103-835, 3349 ( 1994). Quite simply, this Court will not equate the use of this provision with

 merely an effort to cap alandlord's rent.

        Determining whether Debtor is pursuing avalid bankruptcy purpose through this chapter

 11 proceeding also requires the Court to examine afar more difficult issue—whether there is




                                                  18




                                                 A18
      Case: 22-2003              Document: 46             Page: 126            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                           Desc Main
                                    Document     Page 19 of 56



 available to Debtor and the tort claimants amore beneficial and equitable path toward resolving

 Debtor's ongoing talc-related liabilities. For the reasons which follow, this Court holds astrong

 conviction that the bankruptcy court is the optimal venue for redressing the harms of both present

 and future talc claimants in this case—ensuring ameaningful, timely, and equitable recovery.

          There is no question that, over time, our bankruptcy courts have witnessed serious abuses

 and inefficiencies, striking at the heart of the integrity of our bankruptcy courts. For instance, the

 approval of overly broad nonconsensual third-party releases, and the propriety/necessity for

 twenty-four hour accelerated bankruptcy cases have drawn deserved scrutiny. Likewise, the

 selection of case venue, as in the matter at hand, has warranted critical attention and debate. 10 In

 point of fact, there has been adeluge of critical commentary in recent months by academics,

 commentators, and even policymakers ii challenging the shortfalls of the bankruptcy system and

 calling for reform. Some have even employed such distasteful, click-generating insidious phrases

 as "morally corrupt" or "lawless" in reference to the bankruptcy courts. No one can deny that there

 are situations in which tools and strategies have been abused and warrant critical review.

 Unfortunately, however, these commentators choose to focus on the limited failings of the system,

 as opposed to its innumerable successes. Every one of the Court's 370 plus colleagues on the




 " This case is venued now where it should be. The appropriateness of the original filing in North Carolina can be
 debated, but that discussion should not color the primary inquiry as to whether the case at this point should proceed
 in the bankruptcy court.

 11 By way of example, upon direct and cross examination, Mr. Kim was shown correspondence dated November 10,


 2021, from certain members of Congress taking issue with the Debtor's approach in this bankruptcy proceeding. As
 these policymakers have not had the benefit of reading the briefs, examining the evidence, or listening to oral
 arguments, the correspondence holds no weight. As is well-established, Congress speaks with one voice through
 enacted legislation Cf. MICHAEL. B. W .SINCLAIR, Guide to Statutoty Interpretation 103 (2000) ("[O]ur legislatures
 speak only through their statutes; statutes are their only voice....")




                                                          19




                                                        A19
      Case: 22-2003          Document: 46         Page: 127         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                Desc Main
                                 Document     Page 20 of 56



 bankruptcy bench can point to successful case outcomes where large and small businesses are

 reorganized, productive business relationships are maintained, jobs preserved and, most

 importantly, meaningful returns distributed to creditors—all in situations where outside of the

 bankruptcy system there would be fewer if any identifiable benefits, and the parties left to

 expensive and time-consuming litigation. This holds especially true for mass tort situations,

 including asbestos bankruptcies, in which § 524(g) trusts and comparable non-asbestos trust

 vehicles have been established to ensure meaningful, timely recoveries for present and future

 suffering parties and their families.

        While this Court recognizes and appreciates the passion and commitment of the Committee

 members and every one of the attorneys advocating for the interests of the injured cosmetic talc

 claimants in this case, the Court simply cannot accept the premise that continued litigation in state

 and federal courts serves best the interest of their constituency. Many of these cases, both in the

 United States and abroad, have been pending for ahalf dozen or more years and remain years away

 from trial dates, not to mention the substantial delays they face in the inevitable appeals process.

 Notably, since 2014, there have been only 49 trials that have proceeded to verdict. True, in this

 same period, there have been approximately 6,800 cases which have settled outside of court.

 Movants' Exhibit 161. This number is dwarfed, nonetheless, by the projected 10,000 new cases to

 be filed each year going forward. See Expert Report cf Charles H. Mullin, PhD ("Mullin Report")

 at 5. As noted in her amici curiae brief, Professor Maria Glover acknowledges there is no perfect

 solution to the problems with mass tort litigation: "But no mechanism for handling the thorny

 challenges of mass torts is perfect, including bankruptcy. Indeed, it is the nature of mass torts to




                                                  20




                                                A20
      Case: 22-2003          Document: 46          Page: 128         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                  Desc Main
                                Document     Page 21 of 56



 present different combinations of challenges, and those challenges follow mass torts wherever they

 go." Memorandum cf Law cf Amici Curiae by Certain Complex Litigation Law Professors

 ("Glover Brhf') 25, ECF No. 1410.

        For instance, aclass action is not usually suitable for mass tort cases, since there typically

 exists too much variation concerning claimants' injuries, illnesses, and related losses. In the 1990s,

 the United States Supreme Court issued two decisions that effectively terminated the use of class

 actions, at least for product liability cases. In Georgine v. Amchem Prods., Inc., 521 U.S. 591, 138

 L.Ed.2d 689 ( 1996), an asbestos case, the Supreme Court held that class actions under FED. R.
                                                                                              Civ.

 P. 23 could not be used to manage mass tort cases. The cases were too dissimilar, and there were

 also some "future" plaintiffs, individuals exposed to asbestos, but not yet manifesting disease.

 Likewise, in Ortiz v. Fibreboard Corp., 527 U.S. 815, 144 L.Ed. 715 ( 1999), the Supreme Court

 shut the door with respect to class actions for mass tort cases involving a "limited fund," where

 the parties attempted to structure the settlement as amandatory class—that is, without opt- out

 rights for class members—on the theory that a "limited fund" existed. The Supreme Court took

 issue with the settlement class in Ortiz for failing to assure the necessary level of cohesiveness of

 interests among absent class members, the representative plaintiffs, and class counsel to justify

 class treatment. The Court held that the class failed to provide structural protections against the

 likely conflicts of interests among class members. Ortiz, 527 U.S. at 856-57. The attempt to

 describe the litigation as alimited fund also received minimal sympathy. In the Court's view, a

 limited fund class had to demonstrate both necessity and equitable distribution. See id. at 850-53




                                                  21




                                                 A21
      Case: 22-2003          Document: 46          Page: 129        Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                 Desc Main
                                Document     Page 22 of 56



 (admonishing lower courts for accepting, without investigation, the litigants' attempt to create a

 limited fund by discounting the value of assets available for payment to class members).

         Significantly, as Debtor points out, the Ortiz Court highlighted the difference between due

 process concerns in representative suits (
                                          e.g. class actions) versus bankruptcy cases. Id. at 846; see

 also Debtor's Omnibus Response to the Amicus Brhfs 20-21, ECF No. 1554. The Supreme Court

 rejected the use of class actions under FED. R. Civ. P. 23 to aggregate unliquidated tort claims

 under alimited fund rationale and, in examining commentary to the Rule, observed that if such

 action were allowed, "in mass torts, (b)(1)(B) ` limited fund' classes would emerge as the

 functional equivalent to bankruptcy by embracing ` funds' created by the litigation itself[.]" Ortiz,

 527 U.S. at 843 (quoting HENRY PAUL MONAGHAN, Antisuit Irjunctions and Preclusion Against

 Absent Nonresident Class Members, 98 COLUM. L. REV. 1148, 1164 ( 1998). Thus, in Ortiz, the

 Supreme Court recognizes bankruptcy as asound and appropriate approach to addressing mass

 tort claims. Id.

         As further noted by Professor Troy A. McKenzie:

         The Court's strict formalism in Amchem and Ortiz also derived from an unhidden
         skepticism about the use of the Federal Rules of Civil Procedure as license to
         undertake essentially legislative reforms. The question presented in Amchem, as
         Justice Ginsburg phrased it, was "the legitimacy under Rule 23 of the Federal Rules
         of Civil Procedure of aclass action certification sought to achieve global settlement
         of current and future asbestos claims." The unspoken assumption in both cases,
         then, was that methods of global resolution that did not invoke the Federal Rules of
         Civil Procedure could escape the rigid strictures placed on the class action by the
         Court.

 TROY A. McKENzIE, Toward aBankruptcy Model for Non- Class Aggregate Litigation, 87 N.Y.U.

 L. Rev. 960, 977 (2012) (emphasis in original).




                                                   22




                                                A22
      Case: 22-2003          Document: 46          Page: 130        Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                Desc Main
                                Document     Page 23 of 56



        Addressing mass torts through a legislative scheme enacted by Congress within the

 bankruptcy system does not run afoul of the concerns expressed above and provides ajudicially

 accepted means of aggregating and resolving mass tort claims. There is no authority to the contrary

 ruling that use of § 105 or § 524(g) settlement trusts contravene Amchem and Ortiz. Moreover,

 there is no evidence before this Court that Debtor or its predecessor, Old JJCI, manufactured a

 limited fund by undervaluing or limiting assets. Rather, the Court finds that any such limited fund

 is the product of overwhelming potential talc liabilities, which far exceed Debtor's (and Old

 JJCI's) capacity to satisfy through current available assets.

        The multi-district litigation ("MDL") poses its own set of significant challenges and

 inefficiencies. Here in New Jersey, for instance, the MDL being handled by Chief Judge Wolfson

 —which does not include mesothelioma cases, the Canadian class actions, state court proceedings,

 or the claims of future tort victims—will at best produce ahandful of bellwether trials later in

 2022, offering some insight into the strength of the cases, but will also necessarily return nearly

 40,000 cases to federal courts across the country to await pre-trial proceedings and eventual trials

 and appeals. Notwithstanding the pre-trial work undertaken through the MDL, the fact remains

 that plaintiffs and defendants will be forced to relitigate causation, and damages, and apportion

 liability among defendants in every case, which will be both costs prohibitive and "burden the tort

 system with unnecessarily drawn-out litigation." Mullin REport at 9.

        Again, in her amici curiae submission, Professor Glover touts the "flexibility and

 adaptiveness" of MDL in facilitating settlements and global resolutions by experienced MDL

 judges. Glover Brhf at 24. The Court has no doubt that talented federal judges have produced




                                                  23




                                                 A23
         Case: 22-2003             Document: 46             Page: 131            Date Filed: 06/30/2022

Case 21-30589-MBK               Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                             Desc Main
                                       Document     Page 24 of 56



 significant settlements though MDL devices. To be sure, this Court knows of no better jurist at

 bringing about settlements than Chief Judge Wolfson. Yet, in nearly six years, there has been no

 progress toward a global resolution through the current MDL. The Court is unaware of any

 meaningful settlement talks apart from the near global settlement in the Imerys bankruptcy.

            The fact remains that since 2014—over seven years ago—only 49 trials have gone to

 verdict, and many of those remain on appeal or have been remanded to retry. Given the pace of

 the litigations to date, as well as the mounting escalation in the number of new actions being

 brought monthly,       12   the vast majority suffering from illness in the existing backlog of cases will

 not see apenny in recovery for years. The tort system has struggled to meet the needs of present

 claimants in atimely and fair manner. 13 The system is ill-equipped to provide for future claimants.

 The Court has no reason to believe this will differ for the talc plaintiffs here.

            This Court is neither blind nor deaf to the stated preferences of plaintiffs who seek to

 remain in the tort system and have their cases tried before ajury. The tort claimants have not

 chosen the bankruptcy forum. Indeed, creditors rarely choose to have their rights vindicated in the

 bankruptcy courts, but our Constitution and the laws passed by Congress countenance such a

 result. Undeniably, there have been sizable multi-million and multi-billion dollar verdicts in favor

 of handful of plaintiffs who were fortunate to have their claims brought in front of ajury. Movants




 12   New ovarian cancer filings have been accruing at more than 10,000 claims per year. Mullin Report at 5.

 "See Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 598 ( 1997) ("[D]ockets in both federal and state courts continue
 to grow; long delays are routine; trials are too long; the same issues are litigated over and over; transaction costs
 exceed the victims' recovery by nearly two to one; exhaustion of assets threatens and distorts the process; and future
 claimants may lose altogether.") (quoting Report cfThe Judicial Cor,ference Ad Hoc Committee on Asbestos Litigation
 2-3 (Mar. 1991)).




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      Case: 22-2003              Document: 46              Page: 132            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572  Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                    Document      Page 25 of 56




 contend that the loss of jury trial rights would violate claimants' Seventh Amendment jury rights.

 Nonetheless, there have been numerous asbestos trusts implemented under § 524(g) which provide

 tort victims with choices between receiving guaranteed compensation under the trusts, or

 alternatively pursuing recovery against the trusts through jury trials.                 14   The trust distribution

 procedures ("TDP") and plans, however, will usually place timing restrictions and caps on

 compensatory and punitive damage recoveries. These limitations are critical to the process since

 one of Congress's primary intentions in creating § 524(g) was to ensure uniform treatment of all

 claimants. In re W.R. Grace & Co., 475 B.R. 34, 171 (D. Del. 2012), GJ'd sub nom. In re WR

 Grace & Co., 729 F.3d 332 (3d Cir. 2013), and cjf'd, 532 F. App'x 264 (3d Cir. 2013), and cjf'd,

 729 F.3d 311 (3d Cir. 2013), and cjf'd sub nom. In re WR Grace & Co., 729 F.3d 332 (3d Cir.

 2013). If the talc claimants were not subject to such acap on jury verdicts and judgments, they

 would be receiving preferential treatment in comparison to other similarly situated claimants.




 14 By way of example, § 7.6 of the Trust Distribution Procedures in the Duro Dyne National Corp. bankruptcy case


 provides:

         7.6 Suits in the Tort System. If the holder of adisputed claim disagrees with the Asbestos Trust's
         determination regarding the Disease Level of the claim or the claimant's exposure history, and if
         the holder has first submitted the claim to non-binding arbitration as provided in Section 5.8 above,
         the holder may file alawsuit against the Asbestos Trust in the Claimant's Jurisdiction as defined in
         Section 8.3 below. Any such lawsuit must be filed by the claimant in his or her own right and name
         and not as amember or representative of aclass, and no such lawsuit may be consolidated with any
         other lawsuit. All defenses (including, with respect to the Asbestos Trust, all defenses which could
         have been asserted by aDebtor) shall be available to both sides at trial; however, the Asbestos Trust
         may waive any defense and/or concede any issue of fact or law. If the claimant was alive at the time
         the initial pre-petition complaint was filed or on the date the proof of claim form was filed with the
         Asbestos Trust, the case shall be treated as apersonal injury case with all personal injury damages
         to be considered even if the claimant has died during the pendency of the claim.

 Trust Distribution Procedures 43, Exhibit F to Third Amended Plan, ECF No. 1-2 in Case No. 19-cv-15433
 (also available at ECF No. 784-3 in Bankr. Case No. 18-27963).




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                                                        A25
       Case: 22-2003             Document: 46             Page: 133            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                           Desc Main
                                    Document     Page 26 of 56



 Critically important is that § 524(g) ensures that present claimants do not exhaust the debtor's

 assets before future claimants have even manifested injuries. Id. The Seventh Amendment jury

 rights of talc plaintiffs would remain intact under aproperly drafted and approved plan and TDP,

 and no case cited to the Court provides otherwise.

          This Court also has factored into its decision the substantial risks facing the talc claimants

 in the tort system. There have been countless plaintiffs denied any recovery and many of the

 plaintiffs' verdicts have been reversed ultimately on appeal. 15 "The results of the 49 [t]alc

 [l]itigation cases to proceed to trial are inconsistent in terms of liability and damages awards.

 Defendants prevailed in 18 cases; plaintiffs prevailed in 17 cases; eight cases resulted in mistrials;

 and six cases settled during trial." Bell Rcport at 14. It is inarguable that continued litigation of

 talc claims in the state and federal tort system comes with ameaningful risk of recovery. Debtor

 points to prior multiple litigation successes by J&J and Old JJCI over the years by securing

 dismissals of roughly 1,300 ovarian cancer cases and over 250 mesothelioma cases without

 payment and trying sixteen cases to defense verdicts. See Kim Decl. ¶38. ECF No. 5. Old JJCI

 secured reversal of numerous plaintiff verdicts. Id. Of equal concern to this Court is the capacity

 for the state and federal courts to protect future claimants, whose claims may surface in the next

 half century given the acknowledged latency period for the types of cancer at issue. The needs of

 these victims are wholly ignored by the current rush to secure judgments against Debtor in the




 is See Hrg. Tr. 34:11-12, Oct. 20, 2021, ECF No. 178 ("Old JJCI ... ultimately prevailed in most of the talc cases it
 tried."); Hrg. Tr. 15:16-17, Dec. 15, 2021, ECF No. 846 ("[T]he company was prevailing in the majority of cases ...
 ."); Hrg. Tr. 75:8-11, Jan. 11, 2022, ECF No. 1118 ("And most of the cases ended up with adefense verdict, and even
 where there's aplaintiff verdict most of them are reversed on appeal. ").




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                                                        A26
      Case: 22-2003              Document: 46          Page: 134           Date Filed: 06/30/2022

Case 21-30589-MBK           Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                       Desc Main
                                   Document     Page 27 of 56



 federal and state courts. In the eyes of this Court, the tort system produces an uneven, slow-paced

 race to the courthouse, with winners and losers. Present and future talc claimants should not have

 to bear the sluggish pace and substantial risk if there exists another viable option.

         The Court's comments are not intended to dismiss or discredit the inarguable benefits of

 our tort system and the essential work of our plaintiffs' bar in bringing about corporate

 transparency and vindicating the rights of those victims who are ill-equipped to pursue their rights

 against large corporate defendants. In this vein, we can all point to concrete illustrations where

 such litigation has been responsible for necessary safety reforms and health measures. What the

 Court regards as folly is the contention that the tort system offers the only fair and just pathway

 of redress and that other alternatives should simply fall by the wayside. It is manifestly evident

 that Congress did not share this narrow view in developing the structure of asbestos trusts under

 §524(g). There is nothing to fear in the migration of tort litigation out of the tort system and into

 the bankruptcy system.     16   Rather, this Court regards the chapter 11 process as a meaningful

 opportunity for justice, which can produce comprehensive, equitable, and timely recoveries for

 injured parties. The bankruptcy courts offer aunique opportunity to compel the participation of all

 parties in interest (insurers, retailers, distributors, claimants, as well as Debtor and its affiliates) in

 asingle forum with an aim of reaching aviable and fair settlement. As the Third Circuit noted in

 In re Federal-Mogul Global, Inc.:

         Bankruptcy has proven an attractive alternative to the tort system for corporations
         [facing mass tort claims] because it permits aglobal resolution and discharge of


 16 But cf. BRUBAKER, RALPH, Mandatory Aggregation cf Mass Tort Litigation in Bankruptcy (   November 9, 2021).
 The Yale Law Journal Forum, forthcoming, University of Illinois College of Law Legal Studies Research Paper No.
 22-01, Available at SSRN: https:Hssm.com/abstract=3960117.




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                                                     A27
      Case: 22-2003              Document: 46              Page: 135            Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                     Document     Page 28 of 56



         present and future liability, while claimant's interests are protected by the
         bankruptcy court's power to use future earnings to compensate similarly situated
         tort claimants equitably.

 684 F.3d 355, 359 (3d 2012). Indeed, the Third Circuit has taken notice that the asbestos

 bankruptcy trusts achieved Congress's expressed aims in best serving the interests current and

 future asbestos victims," as well as corporations saddled with such liabilities:


         Furthermore, the trusts appear to have fulfilled Congress's expectation that they
         would serve the interests of both current and future asbestos claimants and
         corporations saddled with asbestos liability. In particular, observers have noted the
         trusts' effectiveness in remedying some of the intractable pathologies of asbestos
         litigation, especially given the continued lack of aviable alternative providing a
         just and comprehensive resolution. Empirical research suggests the trusts
         considerably reduce transaction costs and attorneys' fees over comparable rates in
         the tort system.

 In re Federal-Mogul Glob., Inc., 684 F.3d at 362 (citing studies).


          The Court acknowledges that Movants have raised achallenging and interesting issue as

 to whether Debtor can take advantage of a § 524(g) trust: "[B]ecause LTL has never been named

 as adefendant in atalc case, then achanneling injunction and Section 524(g) trust will be

 unavailable under the plain language of the statute." TCC H Reply Mem. at 19 n.11, ECF No.

 1358 (citing 11 U.S.C. § 524(g)(2)(B)(i)(I), which dictates that the injunction, together with the

 trust, must "assume the liabilities of adebtor which at the time of entry of the order for relief has

 been named as a defendant in personal injury, wrongful death, or property-damage actions

 seeking recovery for damages allegedly caused by the presence of, or exposure to, asbestos or



 " The legislative history of § 524(g) is clear that Congress enacted the statute to assist any company facing liability
 that involves asbestos. H.R. REP. 103-835, 41, 1994 U.S.C.C.A.N. 3340, 3350 ("The asbestos trust/injunction
 mechanism established in the bill is available for use by any asbestos company facing a similarly overwhelming
 liability. ").




                                                          28




                                                         A28
      Case: 22-2003         Document: 46          Page: 136         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                Desc Main
                                Document     Page 29 of 56



 asbestos- containing products") (emphasis added). The causes of action held by the talc plaintiffs

 are owing by Debtor as successor in interest to Old JJCI and, consequently, Debtor substitutes

 for Old JCCI in all federal actions as amatter of law. See FED. R.
                                                                  Civ. P. 25(c). At closing during

 the hearing, Debtor's counsel apprised the Court and all parties that Debtor in fact has been

 named in pending suits. Notwithstanding, as we have seen in other non- asbestos mass tort cases,

 referenced below, chapter 11 can still offer the opportunity to reach consensus on aglobal

 resolution of present and future claims without express resort to § 524(g).


        In recent weeks and months, we have seen comprehensive and productive mediated

 settlements, producing hundreds of millions of dollars in funding of settlement trusts. Indeed,

 we need look only at the USA Gymnastics settlement approaching $400 million, the proposed

 Mallinckrodt $ 1.7 billion trust and the Boy Scouts proposed settlement nearing $ 3billion as

 examples. Likewise, settlement trusts are in some stage of negotiation in over thirty Catholic

 Church diocese cases across the country. The Court places these positive results against a

 backdrop of dozens of successful asbestos trust cases created over the years pursuant to § 524(g),

 which continue to fund payments to asbestos victims. Claims reconciliation through these

 bankruptcy trusts place reduced evidentiary and causation burdens on the injured and their

 families, and resolution of claims and payments to victims can be achieved at a far more

 expeditious pace than through uncertain litigation in the tort system. A trust would establish a

 far simpler and streamlined process—both for present and future cosmetic talc claimants—than




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                                                A29
       Case: 22-2003             Document: 46              Page: 137            Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                     Document     Page 30 of 56



 currently available in the tort system. 18 As noted by the court in In re Bestwall LLC, 606 B.R. at

 257: "[A] section 524(g) trust will provide all claimants—including future claimants who have

 yet to institute litigation—with an efficient means through which to equitably resolve their

 claims."


          Through adopted procedures, these trusts establish fixed criteria and common parameters

 for payments to claimants, ensuring alevel playing field for all present and future victims, taking

 into consideration the significance of preserving all due process rights. See In re W.R. Grace &

 Co., 729 F.3d 311, 324 (3d Cir. 2013) ("Therefore, as long as acourt correctly determines that

 §524(g)'s requirements are satisfied, present and future claims can be channeled to a § 524(g)

 trust without violating due process. "). In recent years, state attorneys general and the United

 States Justice Department have undertaken numerous investigations of existing trust funding and

 trust distribution procedures and have brought issues before courts aimed at safeguarding the

 availability of funding for future claimants. In sum, the bankruptcy system, through use of a

 §524(g) trust, will "provide all claimants—including future claimants who have yet to institute

 litigation—with an efficient means through which to equitably resolve their claims." In re

 Bestwall LLC, 606 B.R. at 257. A settlement trust, with proper oversight and funding, can best

 serve the needs of Debtor and talc claimants alike.




 " "A plan of reorganization can implement atrust with administrative procedures to resolve claims with far lower
 transaction costs [attorneys' fees] and in atimelier manner for both the claimants and Debtor than continued litigation
 in the tort system." Mullin Report at 5, 12.




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                                                         A30
       Case: 22-2003              Document: 46              Page: 138             Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                              Desc Main
                                     Document     Page 31 of 56



          Throughout their submissions and oral argument, Movants have decried Debtor's (and its

 affiliated entities') efforts to "cap" the liabilities owing the injured parties. 19 Likewise, there have

 been emotive contentions that the chapter 11 process offers Debtor—as well as J&J and other

 affiliates—an unfair advantage, or upper hand in protecting assets and escaping liabilities and

 exposure. The Court does not share these views. Frankly, it is unsurprising that J&J and Old JJCI

 management would seek to limit exposure to present and future claims. Their fiduciary obligations

 and corporate responsibilities demand such actions. Nonetheless, merely seeking to limit

 liabilities, standing alone, does not demonstrate "bad faith" for purposes of filing under chapter

 11. If that were so, nary adebtor would meet the "good faith' requirements. Rather, the Court finds

 this chapter 11 is being used, not to escape liability, but to bring about accountability and certainty.

          The record before the Court does not reflect assets that have been ring-fenced, concealed,

 or removed. Neither J&J nor New JJCI (nor any J&J affiliate for that matter) are to be released

 from liability, or their assets placed out of reach of creditors, absent anegotiated settlement under

 aplan in which J&J's and New JJCI's roles and funding contributions warrant arelease as amatter

 of both law and fact. True, ahandful of claimants who have secured judgments may be delayed by

 the bankruptcy process, but this Court must act to ensure justice for all the nearly 40,000 current

 claimants and undetermined future injured parties (and families) who face years in litigation. Also,

 it is nonsensical to accept the notion that J&J and Old JJCI would bear the brunt of public and

 judicial scrutiny, as well as the time and costs to implement this integrated transaction, simply to




 "See, e.g., A&I Reply Mem. 23, ECF No. 1354 ("J&J created LTL to file for bankruptcy not only to "cap" the talc
 liabilities of Old JJCI that had been imposed on the Debtor, but also to ` cap' the talc liabilities cf J&J and shield it
 from any talc litigation and any more judgments in favor of talc victims. ").




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                                                          A31
       Case: 22-2003              Document: 46              Page: 139            Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                             Desc Main
                                     Document     Page 32 of 56



 stall claimants or walk away from its financial commitments under the Funding Agreement.

 Moreover, remedial creditor actions addressing the pre-petition divisive merger and restructuring

 remain available for creditors to pursue, if necessary. It is appropriate to note that the true leverage

 remains where Congress allocated such leverage, with the tort claimants who must approve of any

 plan employing a § 524(g) trust by a75% super majority. 20 In filing this chapter 11, Debtor faces

 arisk that good-faith negotiations will not produce the consensus necessary to confirm aplan;

 notwithstanding, the Court hopes and expects the parties to undertake asensible, pragmatic and

 reasonable approach to negotiations.




 2° As noted by Judge   Beyer in In re Bestwall, LLC, 606 B.R. 243, 251 (Bankr. W.D.N.C. 2019), "claimants will be
 afforded due process in this case as aresult of the requirements of the Bankruptcy Code and, in particular, section
 524(g). Section 524(g) contemplates the active participation and support of the Committee, requires the affirmative
 vote of at least 75% of asbestos claimants in connection with confirmation of aplan seeking the benefits of that section
 (see 11 U.S.C. §524(g)(2)(B)(ii)(W)(bb)), and calls for approval of the plan of reorganization by both this Court and
 the District Court (see 11 U.S.C. §524(g)(3)(A))."




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                                                         A32
      Case: 22-2003          Document: 46           Page: 140          Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                   Desc Main
                                 Document     Page 33 of 56




                 2.   Debtor's Financial Distress

         Debtor is the successor to Old JCCI and has been allocated its predecessor's talc-based

 liabilities, including verdicts, settlements, and defense costs, "as reflected in Old JJCI's general

 ledger." Debtor's Sur-Reply 9, ECF No. 1444. As testified in detail by Mr. Adam Lisman,

 Assistant J&J Controller, at both his deposition and during trial, the talc-related expenses were

 charged to Old JJCI because it had legal responsibility for them. Deposition Tr. cfAdam Lisaman

 Lisman Dep. Tr. 117:1-3, Oct. 30, 2021, Ex. H to Toroborg Decl., ECF No. 1444-9 ("[T]hese are

 talc product liability costs that JJCI was ultimately responsible for, which is why it is showing up

 as a [ sic]expense on their account. ,). 21 One cannot distinguish between the financial burdens

 facing Old JCCI and Debtor. At issue in this case is Old JJCI's talc liability (and the financial

 distress that liability caused), now the legal responsibility of Debtor. Absent aglobal settlement,

 neither entity would be able to defend or economically resolve the current and future talc-related

 claims. As Debtor's expert, Dr. Gregory Bell testified, and as reflected in J&J's public filings, talc-

 related litigation was the "primary driver" that caused J&J's entire Consumer Health segment "to

 drop from a$2.1 billion profit ( 14.8 percent of sales) in 2019 to a $ 1.1 billion loss (- 7.6 percent of

 sales) in 2020." Bell Report at 4; see also id. at 6 ("This current and potential future financial drain

 imposed by the Talc Litigation ... was threatening Old JJCI's ability to sustain the marketing,

 distribution, and R&D expenditures needed to compete in the U.S. market ... placing Old JJCI at

 asignificant competitive disadvantage. ").

         This chapter IIfollowed denial of review by the U.S. Supreme Court of amulti-billion

 dollar award in the Ingham litigation, as well as other more recent verdicts for hundreds of millions




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                                                  A33
       Case: 22-2003              Document: 46              Page: 141             Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                              Desc Main
                                     Document     Page 34 of 56



 of dollars. There was also abreak-down of apotential multi-billion dollar global settlement in the

 Imerys bankruptcy. The evidence before the Court establishes that at the time of the chapter 11

 filing, this Debtor, LTL, had contingent liabilities in the billions of dollars and likely would be

 expending annually sums ranging $ 100-200 million in its defense of the tens of thousands of talc

 personal injury cases for decades to come. 22 The evidence confirms that the talc litigation

 payments and expenses forced Old JJCI into aloss position in 2020. Bell Report at 4-5. Indeed, to

 date, the talc-related litigation charges have eradicated all profits earned by Old JJCI from sales of

 talc-based consumer products, since inception, by more than four times over and have displaced

 more than 140% of the cash generated from the sales. Bell Report at 14. As highlighted in Debtor's

 Reply Memorandum, even plaintiffs' attorneys have recognized the substantial exposure facing

 Debtor (as successor to Old JJCI):

                   Mr. Klein: "If the last seven jury awards in mesothelioma trials are any
                   indication, and Isubmit to Your Honor that they are, then my Committee's
                   constituents' claims are worth ten[s] of billions of dollars." [transcript
                   citations omitted]

                   Mr. Finch: "You know, Mr. Rice resolved the tobacco litigation 20 some
                   years ago for $ 250 billion. Ihappen to think that the, the dollar figure here
                   has to be alot closer to 250 billion than the 2billion that Johnson & Johnson
                   has put on the table." [transcript citations omitted]

 Debtor's Sur-Reply at 8, n.12, 13, ECF No. 1444 (citing transcripts of hearings held on Jan. 19,
 2022 and Nov. 4, 2021 ( Toroborg Decl. Ex. E, F, ECF No. 1444-6, 1444-7)).




 21 In the accompanying Memorandum Opinion Declaring That the Automatic Stay Applies to Certain Actions


 Against Non-Debtors and Preliminarily Enjoining Such Actions, dated February 28, 2022, the Court analyzes in
 greater detail the bona fides of W's 1979 transfer of assets to and assumption of liabilities by Old JJCI's
 predecessor, which serves as the basis for the latter's legal responsibility for all talc-related liabilities.
 22 "$ 1billion in defense costs over the prior five years; $3.5 billion in verdicts and settlements over that same


 timeframe; billions more in indemnification claims from Imerys; and (given latency) the immense costs of decades
 more of the same." Debtor's OEj. at 8. "It would cost $ 190 billion in defense costs just to try the current claims." Id.




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                                                          A34
      Case: 22-2003          Document: 46         Page: 142         Date Filed: 06/30/2022

Case 21-30589-MBK          Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14               Desc Main
                                  Document     Page 35 of 56



         Claimants repeatedly have called to the Court's attention the market capitalization ($ 450

 billion) and stellar credit-rating of Debtor's indirect parent, J&J. Nonetheless, apart from

 voluntarily undertaking such an obligation or ajudicial finding as to alter ego status, J&J (like all

 parent corporations) have no legal duty to satisfy the claims against its wholly- owned or affiliated

 subsidiaries. See, e.g., Travelers Indem. Co. v. Cephalon, Inc., 32 F. Supp. 3d 538, 556 (E.D. Pa.

 2014), Gjf'd, 620 F. App'x 82 (3d Cir. 2015) (aparent company is not liable for the actions of its

 subsidiaries unless the parent company itself has engaged in wrongdoing, or exercises control over

 the subsidiary entity).

         It is true that Debtor, under the Funding Agreement, could compel J&J to deplete its

 available cash (amounting to nearly 7% of its entire market cap) or pursue aforced liquidation of

 New JJCI to tap into its enterprise value of $ 61 billion. Needless to say, such actions would have

 ahorrific impact on these companies, with attendant commercial disruptions and economic harm

 to thousands of employees, customers, vendors, and shareholders, and threaten their continued

 viability. The Court is at aloss to understand, why—merely because Debtor contractually has the

 right to exhaust its funding options—the Debtor is not to be regarded as being in "financial

 distress."

         It is of no moment that the Debtor, by virtue of the Funding Agreement, was not insolvent

 on the date of the chapter 11 filing. "As astatutory matter, it is clear that the bankruptcy law does

 not require that abankruptcy debtor be insolvent, either in the balance sheet sense (more liabilities

 than assets) or in the liquidity sense (unable to pay the debtor's debts as they come due), to file a

 chapter 11 case or proceed to the confirmation of aplan of reorganization." Marshall v. Marshall




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                                                A35
         Case: 22-2003               Document: 46       Page: 143       Date Filed: 06/30/2022

Case 21-30589-MBK              Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14              Desc Main
                                      Document     Page 36 of 56



 (In re Marshall), 721 F.3d 1032, 1052 (9th Cir. 2013). Prior to the chapter IIfiling, J&J and Old

 JJCI incurred compensatory damages awards in ovarian cancer cases which ranged from $ 5million

 to $ 70 million, while punitive damage awards ranged from $ 50 million to $ 347 million. Likewise,

 in mesothelioma cases, there were compensatory damages awards ranging from $ 2.5 million to

 $40 million, while punitive damages ranged from $ 100,000 to $ 300 million. As acknowledged by

 all parties, in the Ingham case, ajury awarded $ 4.14 billion in punitive damages, one of the largest

 personal injury verdicts ever seen in the United States, ultimately reversed in part and reduced on

 appeal to $ 2.24 billion .     2'   Even without acalculator or abacus, one can multiply multi-million

 dollar or multi-billion dollar verdicts by tens of thousands of existing claims, let alone future

 claims, and see that the continued viability of all J&J companies is imperiled.

            As Dr. Bell testified at trial,

            Old JJCI was not positioned to continue making substantial Talc Litigation
            payments from working capital or other readily marketable assets. . . . As a
            consequence, it is apparent that Old JJCI had no significant excess net current assets
            available for the satisfaction of future Talc Litigation payments. In addition, Old
            JJCI had no other assets that were readily marketable in order to satisfy liabilities
            associated with the Talc litigation, which could be substantial.

 Bell Report at 19-21, 32. At the time of filing, the prospects of continued monthly $ 10-20 million

 defense expenditures, with rapidly increasing numbers of new claims being filed, warranted

 seeking action in this Court. By comparison, the administrative burdens and costs to oversee the

 trust distributions under a § 524(g) trust represent asmall fraction of the funds being expended

 currently to litigate these cases through the trial and appellate courts.




 23   Debtor's Informational Br. at 119-20.




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                                                      A36
       Case: 22-2003             Document: 46            Page: 144            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                          Desc Main
                                    Document     Page 37 of 56



          Several years ago, Judge Laurie Selber Silverstein noted in In re Rent-A- WreckcfAmerica,

 Inc., 580 B.R. 364 (Bankr. D. Del. 2018), that avalid business purpose assumes an entity in

 distress. Well, such distress is patently apparent in the case at bar. Id. at 375. The Debtor has

 estimated that the costs to try asingle ovarian cancer claim ranges between $ 2 million to $ 5

 million. Defending just the over 38,000 pending ovarian cancer claims through trial would cost up

 to $ 190 billion. In addition, Old JJCI and J&J are facing billions of dollars in indemnification

 claims from their talc supplier, Imerys Talc America, Inc. and two of its affiliates, Imerys Talc

 Vermont, Inc. and Imerys Talc Canada, Inc. (collectively, "Imerys"). 24

          No public or private company can sustain operations and remain viable in the long term

 with juries poised to render nine and ten figure judgments, and with such litigation anticipated to

 last decades going forward. The Court must also factor in the negative impact of ongoing

 regulatory investigations by state attorneys general. The Third Circuit in In re SGL Carbon noted

 that there exists a "need for early access to bankruptcy relief to allow adebtor to rehabilitate its

 business before it is faced with ahopeless situation." 200 F.3d at 163; see also In re Johns-

 Manville, 36 B.R. 727, 736 (Bankr. S.D.N.Y 1984) (holding debtor "should not be required to wait

 until the economic situation is beyond repair in order to file areorganization petition," and noting

 that the "` Congressional purpose' in enacting the Code was to encourage resort to the bankruptcy

 process"). While the Third Circuit requires "some" degree of financial distress, see In re


 za "In its bankruptcy case, Imerys has contended that it has claims against Old JJCI and J&J for indemnification and
 joint insurance proceeds," claims allegedly in the billions of dollars. Kim Decl. ¶ 55, ECF No. 5. Similarly, Cyprus
 Mines Corporation and its parent company, which had owned certain Imerys talc mines, filed an adversary proceeding
 in the Imerys bankruptcy against Old JJCI, J&J, Imerys Talc America, Inc., and Imerys Talc Vermont, Inc. seeking a
 declaration of indemnity under certain contractual agreements. Cyprus Mines Corporation has since filed its own
 bankruptcy case. Id. at ¶ 56.




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                                                       A37
       Case: 22-2003             Document: 46             Page: 145           Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                          Desc Main
                                    Document     Page 38 of 56



 Integrated, supra, the Bankruptcy Code does not "require any particular degree of financial

 distress as acondition precedent to apetition seeking relief." In re Gen. Growth Props., Inc., 409

 B.R. 43, 61 (Bankr. S.D.N.Y. 2009) (quoting United States v. Huebner, 48 F.3d 376, 379 (9th Cir.

 1994) (emphasis added)). Old JJCI need not have waited until its viable business operations were

 threatened past the breaking point. Movants ask the Court to require the highest level of distress, 2s

 for which there is no precedent.

          At the hearing, Movants attempted to make the case that J&J would have continued to fund

 all talc-related obligations of Old JJCI without any bankruptcy filing. This was merely supposition,

 offered without evidentiary support. The focus then shifted to Old JJCI's rising profits, year after

 year, of J&J's Consumer Health Sector, allegedly undermining any claim of financial distress.

 Movants' expert, Saul E. Burian, testified, on both direct and cross examination, that none of the

 entities (LTL, J&J, Old JJCI or New JJCI) needed to file bankruptcy. Burian Rcport at 34-39. To

 be sure, Mr. Burian highlighted that lifer taking out payments and charges relative to the talc

 litigation, the sales and adjusted income before tax for J&J's Total Consumer Health sector have

 grown steadily since 2016; pointedly, the loss experienced in 2020 by Old JJCI is attributable

 primarily to the one-off payment of the Ingham judgment. Id.                 Movants also call to the Court's

 attention Debtor's access to funding through the Funding Agreement:

         Here, the totality of facts and circumstances conclusively show that LTL was not
         in serious financial distress when it filed its bankruptcy petition. To the contrary,
         prior to the bankruptcy, J&J entered into aFunding Agreement with LTL pursuant




 2s "Because those tort claims were not aterminal threat to the company, as detailed above, LTL's intent plainly was

 to use the bankruptcy system to gain advantages that J&J and Old JJCI were unable to obtain in the tort system." TCC
 11 Reply Mem. 28, ECF No. 1358 (   emphasis added).




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                                                       A38
      Case: 22-2003           Document: 46          Page: 146         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                   Desc Main
                                 Document     Page 39 of 56



         to which it and New JJCI agreed to fund LTL's current and future talc liabilities up
         to the value of New JJCI—roughly $ 61 billion.

 TCC 1I Reply Mem. 8, ECF No. 1358. As aresult, Movants contend that "LTL had the ability to

 require that J&J and New JJCI fund up to $ 61 billion to satisfy talc liabilities." Id. at 9. Similarly,

 Movants insist that LTL was not in serious financial distress because it could "have relied on the

 Funding Agreement to [settle its liabilities] before filing for bankruptcy, because at the moment of

 the divisive merger, J&J had approximately $ 31 billion in cash on its balance sheet, and ahalf

 trillion-dollar market cap." Id. at 11, n.7.

         Movants appear to suggest that due to Old JJCI's pre-petition sales revenues, as well as

 Debtor's financial capacity (primarily derivative from funding provided by J&J and New JJCI),

 this Court cannot find that Debtor suffered from financial distress at the time of filing. This

 suggestion, as acorollary, would mean that neither J&J nor Old JJCI (which had an even greater

 asset base than New JJCI) could have filed for chapter 11 in good faith. Yet, this is wholly

 inconsistent with Movants oft repeated contention:

        If the Debtor and/or J&J wanted the Court to focus on the financial condition of
         Old JJCI in evaluating the good faith of this proceeding, Old JJCI should have
        filed for bankruptcy. It did not.... J&J or Old JJCI could have chosen what it
        perceived to be the difficult path of obtaining the benefits and complying with the
        burdens of Chapter 11.

 TCCII Reply Mem. at 23, ECF No. 1358 (emphasis in original).

         More significantly, the Court is troubled by Movants' conflicting positions as to whether

 any chapter 11 filing had to be undertaken at all, as claimants submit that J&J and Old JJCI could

 have satisfied the extant claims without resorting to the bankruptcy court. On the one hand,

 Movants minimize Debtor's true talc-related financial exposure by pointing out that over 6,800




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                                                  A39
      Case: 22-2003          Document: 46           Page: 147       Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14              Desc Main
                                 Document     Page 40 of 56



 ovarian cancer and mesothelioma claims have been settled since 2017 for under $ 1billion.

 Movants' Ex. 161. Similarly, during trial, Movants presented video testimony of two Directors at

 S&P Global, arating agency, as well as supporting documentary evidence (contemporaneous notes

 and emails) reflecting the understanding of these witnesses that J&J allegedly viewed their overall

 talc-related liabilities at no greater than $ 7 billion. These understandings were reached after

 communications with J&J personnel. In sum, Movants press that J&J could have managed its talc-

 related liabilities without resort to the bankruptcy court.

         Yet, on the other hand, Movants' counsel compelled Mr. Kim to acknowledge on cross

 examination that plaintiffs have prevailed in the last seven mesothelioma trials, for verdicts

 totaling over $360 million. Diaz Report at 13. These verdicts average to over $ 50 million for each

 mesothelioma claim and hardly can be characterized as manageable. Movants also highlighted

 significant events in the timeline which point toward greater talc exposure for Debtor:

         • October 2019: FDA finds asbestos in Johnson's Baby Powder
         • June 2020: Missouri Court of Appeals affirms Ingham
         • April 21, 2021: Health Canada confirms its 2018 finding of asignificant association,
           indicative of acausal effect, between exposure to talc and ovarian cancer
         • May/June 2021: Settlement in Imerys falls apart
         • June 2021: U.S. Supreme Court denies certiorari in the Ingham case

 TCCI Closing at 19. Simply put, there is aclear inconsistency in the message to the Court: either

 JJCI was facing increased unmanageable financial risk from the talc litigation, warranting

 bankruptcy consideration, or it was not. At the end of the day, this Court concludes that the weight

 of evidence supports afinding that J&J and Old JJCI were in fact facing atorrent of significant

 talc-related liabilities for years to come. The evidence at trial, including the testimony of S&P

 Global witnesses Arthur Wong and David Kaplan, raise doubts about the intentions underlying the




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                                                 A40
      Case: 22-2003         Document: 46         Page: 148         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14              Desc Main
                                Document     Page 41 of 56



 communications to S&P Global—were they truly projections of amounts necessary to resolve

 current and future talc liabilities, or estimates of anticipated short-term reserves or bankruptcy

 settlements? What is not in doubt are aseries of events which pointed to the need for bankruptcy

 consideration: the $4.16 billion Ingham verdict and ultimate denial of appellate review, the shift

 by claimants to multi-billion dollar damage demands, as well as the failure to reach an accord in

 Imerys. These were triggering events that changed the landscape for future talc settlements and

 litigation. Neither the settlements nor verdicts which predated these events could thereafter serve

 as dependable guideposts for expectations going forward.

                3.   Debtor's Chapter 11 Filing Was Not Undertaken to Secure an Unfair
                     Tactical Advantage

        As noted, in addition to gauging whether achapter 11 filing serves avalid bankruptcy

 purpose, courts must also consider "whether the petition is filed merely to obtain a tactical

 litigation advantage." In re Integrated Telecom Express, Inc., 384 F.3d at 120; SGL Carbon, 200

 F.3d at 165. In this regard, the thrust of Movants' challenge to Debtor's filing appears bottomed

 on the 2021 Corporate Restructuring and the use of the Texas divisional merger statute to create a

 special purpose vehicle in the hours before the filing to accomplish J&J's goals. Pertinently,

 Movants contend that the 2021 Corporate Restructuring "hindered," "delayed," and "prejudiced"

 talc claimants—by "blocking talc creditors from obtaining access" to "Old JJCI's substantial

 business assets" and "remov[ing] Old JJCI's business assets and operations from the reach of its

 talc creditors." Original TCC's Mot. to Dismiss ¶¶ 2-4, 41, 50, ECF No. 632; A&I's Mot. to

 Dismiss ¶¶ 4, 55-63, ECF No. 766. Yet, notwithstanding the barrage of academic and media

 criticism leveled at the use of the divisional merger provisions under the Texas Business




                                                 41




                                               A41
      Case: 22-2003          Document: 46          Page: 149          Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                 Desc Main
                                 Document     Page 42 of 56



 Organizations Code, the Court concludes that there have been no improprieties or failures to

 comply with the Texas statute's requirements for implementation, and that the interests of present

 and future talc litigation creditors have not been prejudiced.

        Debtor was incorporated and domiciled in Texas prior to effectuating the 2021 Corporate

 Restructuring, albeit only days before implementation. The Texas statute "applies to all business

 entities, regardless of when such entities were formed." Phillips v. United Heritage Corp., 319

 S.W.3d 156, 163 n.5 (Tex. Ct. App. 2010). The Texas Business Organizations Code establishes

 the procedures that an entity must follow to effect adivisional merger, including development of

 aplan of merger (specifying, among other things, the allocation of assets and liabilities) and a

 filing with the Secretary of State. See Tex. Bus. Orgs. Code Ann. §§ 10.001(b), 10.002, 10.003,

 10.151. Moreover, under Texas's Business Organizations Code, upon adivisional merger in which

 the dividing entity does not survive, "all liabilities and obligations" of the dividing entity

 automatically "are allocated to one or more of the ... new organizations in the manner provided

 by the plan of merger." Tex. Bus. Orgs. Code Ann. § 10.008(a)(2), (3). So, where the dividing

 entity does not survive (such as Old JJCI), and the plan of merger allocates aparticular liability or

 obligation to asingle new entity, that designated new entity is exclusively liable for that obligation.

 Except as otherwise provided, "no other [ entity] created under the plan of merger is liable for the

 debt or other obligation." Id. § 10.008(a)(4). The record establishes conclusively that Old JJCI

 complied with all requirements under Texas law.




                                                   42




                                                 A42
      Case: 22-2003              Document: 46             Page: 150           Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                          Desc Main
                                    Document     Page 43 of 56



         Movants posit that the 2021 Corporate Restructuring left Debtor undercapitalized from the

 outset and placed the contingent talc creditors at greater risk. 26 Indeed, Movants have raised several

 challenges as to the efficacy of the Funding Agreement, including that: ( 1) J&J and New JJCI may

 refuse to make payments under the Funding Agreement; (2) the Funding Agreement substitutes

 the assets of valuable operating businesses with "an amorphous, artificially capped contract right,

 the value of which would take years to adjudicate;" and (3) enforcement of the agreement rests

 with the Debtor, which is under the control of both Payors under the Funding Agreement. Original

 TCC's Mot. to Dismiss ¶ 23, ECF No. 632. Accordingly, Movants contend that "[t]alc claimants

 have thus been intentionally rendered worse off than they were prior to the divisional merger, an

 outcome prohibited by the statute." Id.

          The divisional merger under the Texas statute, in the absence of any subsequent

 bankruptcy filing by LTL, may possibly have prejudiced creditors by requiring them to await

 LTL's draw upon the Funding Agreement; however, that did not occur and is not the situation

 presented. Rather, abankruptcy filing for the newly created, smaller entity housing the talc

 liabilities was acritical component of the 2021 Corporate Restructuring from the outset. As noted

 above, it is uncontested that the restructuring was intended as asingle integrated transaction.

 Indeed, no one contests that J&J and Old JJCI looked to the Bankruptcy Code for away to globally

 address all talc-related claims. With Debtor's chapter 11 filing, this Court now has jurisdiction and

 oversight over the bankruptcy estate, which controls LTL's rights under the Funding Agreement,

 and can ensure that Debtor pursues its available rights against J&J and New JJCI. It is inexplicable


 26The Court previously raised the inconsistency of Movants' argument, given the repeated contention that neither Old
 JJCI nor the Debtor was in financial distress at the time of the filing.




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                                                       A43
       Case: 22-2003              Document: 46              Page: 151             Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                             Desc Main
                                     Document     Page 44 of 56



 that Movants would want to dismiss this proceeding and lose such leverage and access to an

 immediate enforcement vehicle. The Court is unpersuaded that the tort claimants have been placed

 in aworse position due to either the 2021 Corporate Restructuring or implementation of the

 Funding Agreement.

          The Funding Agreement between Debtor, on the one hand, and J&J and New JJCI (on a

 joint and several basis) on the other, is not intended to—and is unlikely to—impair the ability of

 talc claimants to recover on their claims. See Kim Decl. ¶21, ECF No. 5 ("A key objective of the

 restructuring was to make certain that the Debtor has the same, if not greater, ability to fund the

 costs of defending and resolving present and future talc-related claims as Old JJCI did prior to the

 restructuring.") In this regard, under the Funding Agreement, all creditors, including talc

 claimants, maintain the ability to enforce any liquidated and fixed claims against LTL, with the

 added benefit of having both J&J and New JJCI backstop such obligations, up to the fair market

 value of Old JJCI as afloor amount, along with any additional value in New JJCL 27 Thus, as a

 result of the 2021 Corporate Restructuring, Debtor would have the funding available to satisfy

 present and future claims against Old JJCI, with the added contractual right to look to J&J and

 New JJCI as primary obligors without having to establish independent liability. Moreover, with


 27 Without any corresponding repayment obligation, the Funding Agreement obligates New JJCI and J&J, on ajoint
 and several basis, to provide funding, up to the full value of New JJCI, to pay for costs and expenses of the Debtor
 incurred in the normal course of its business (a) at any time when there is no bankruptcy case and (b) during the
 pendency of any chapter 11 case, including the costs of administering the chapter 11 case, in both situations to the
 extent that any cash distributions received by the Debtor from Royalty A&M are insufficient to pay such costs and
 expenses. Declaration cf John K. Kim in Support cf First Day Pleadings ¶ 27, ECF No. 5. In addition, the Funding
 Agreement requires New JJCI and J&J to, up to the full value of New JJCI, fund amounts necessary (a) to satisfy the
 Debtor's talc-related liabilities at any time when there is no bankruptcy case and (b) in the event of achapter IIfiling,
 to provide the funding for atrust, in both situations to the extent that any cash distributions received by the Debtor
 from Royalty A&M are insufficient to pay such costs and expenses and further, in the case of the funding of atrust,
 the Debtor's other assets are insufficient to provide that funding. Id.




                                                           44




                                                          A44
      Case: 22-2003             Document: 46            Page: 152           Date Filed: 06/30/2022

Case 21-30589-MBK           Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                       Desc Main
                                   Document     Page 45 of 56



 the bankruptcy filing, the bankruptcy estate succeeds to all rights held by Debtor, with the

 oversight and jurisdiction of this Court as needed for enforcement. Significantly, the resources

 under the Funding Agreement will be available upon confirmation of aplan—whether or not the

 plan is acceptable to J&J or New JJCI, and whether or not the plan offers payors protections under

 §524(g).

         This Court agrees with Judge Beyer in In re Bestwall LLC, in analyzing acomparable

 funding agreement facing similar challenges:

         The Court disagrees with the [ c]ommittee's argument [that the divisional merger
         `enabled Old GP to replace the assets against which asbestos creditors had aclaim
         with amuch smaller subset of assets'] for several reasons. First, because of the
         [f]unding [ a]greement, the [d]ebtor's ability to pay valid Bestwall [ a]sbestos
         [c]laims after the 2017 [ c]orporate [r]estructuring is identical to Old GP's ability to
         pay before the restructuring.

 606 B.R. at 252. Debtor, in argument and its submissions, points out that for over thirty years,

 Texas law has permitted divisional mergers that exclusively allocate liabilities (and assets) to a

 new entity created by the transaction, see CURTIS W .HUFF, The New Texas Business Corporation

 Act Merger Provisions, 21 St. Mary's L.J. 109, 110 ( 1989), and that several other states have since

 enacted similar statutes, see, e.g., 15 PA. CONS. STAT. §361; ARIZ. REV. STAT. ANN. §29-2601;

 DEL. CODE ANN. tit. 6, § 18-217(b)-(c). Debtor further underscores that corporate transactions

 similar to the 2021 Corporate Restructuring were effectuated pre-bankruptcy filing in several other

 mass tort bankruptcies—even apart from the other similarly structured filings currently pending in

 the Western District of North Carolina. 28 Indeed, the Court has come to learn that in G-IHoldings,



 28 See, e.g., In re Garlock Sealing Tech., LLC, 10-31607 (Bankr. W.D.N.C. 2017); In re Mid Valley, Inc., No. 03-
 25592 (  Bankr. W.D. Pa. 2003); In re Babcock & Wilcox Co. No. 00- 10992-10995 (
                                                                                Bankr. E.D. La, 2002).




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      Case: 22-2003          Document: 46          Page: 153          Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                   Desc Main
                                Document     Page 46 of 56



 Inc. (
      Case No. 01-30135 (RG)), acase which graced our court's hallways here in New Jersey for

 nearly a decade, was filed by a successor-in-interest entity which assumed liability for over

 100,000 then pending asbestos-related lawsuits. While all of these cases may indeed have factual

 distinctions from the case at bar, the important takeaway is that the 2021 Corporate Restructuring

 was not such anovel ploy and the attention it has received is likely attributable more to the

 significant financial capacity of J&J, the controversial venue effort, and the timing of the

 bankruptcy filing given the uproar surrounding the Purdue Pharma confirmation battle. None of

 these factors, however, bear upon on this Court's resolution of the pending Motions.

        Movants point to the indisputable fact that the current Debtor had no liabilities (and thus

 no need for abankruptcy filing) until the divisional merger was completed hours before the filing.

 The Court fully understands the refrain that if J&J or New JJCI are to obtain the benefits under the

 Bankruptcy Code, they should file their own chapter 11 cases and bear the burdens under the

 Bankruptcy Code. As noted in Movants' Reply Memorandum:

        Under the law, J&J and New JJCI must shoulder burdens commensurate to such
        benefits: " Since adischarge is an extreme remedy, stripping acreditor of claims
        against its will, it is aprivilege reserved for those entities which file apetition under
        the bankruptcy code and abide by its rules. Simply put, ` the enjoyment of the
        benefits afforded by the code is contingent on the acceptance of its burdens. "' In re
        Arrowmill Dev't Corp., 211 B.R. 497, 503 (Bankr. D.N.J. 1997) (citation omitted).
        J&J and New JJCI thus must file for bankruptcy for this kind of benefits package.
        See id. at 506.

 TCCI Reply Mem. at 10, ECF No. 1357. While that argument has facial appeal, it falters when the

 Court reviews and weighs the harm such filings would cause to Debtor, its affiliates, the

 bankruptcy estate, all creditors and claimants, and non-insider third parties. Filings by these

 companies would create behemoth bankruptcies, extraordinary administrative costs and burdens,




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                                                 A46
      Case: 22-2003           Document: 46           Page: 154          Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                  Desc Main
                                 Document     Page 47 of 56



 significant delays and unmanageable dockets. One need only look at the conflict list in this case—

 revealing pages and pages of domestic and global affiliated entities and related parties—to confirm

 that such filings would pose massive disruptions to operations, supply chains, vendor and

 employee relationships, ongoing scientific research, and banking and retail relationshipsjust to

 name afew impacted areas. The administrative and professional fees and costs associated with

 such filings would likely dwarf the hundreds of millions of dollars paid in mega cases previously

 filed—and for what end? Even if Old JJCI had itself filed for bankruptcy, the talc actions would

 still be subject to the automatic stay, the assets available to pay those claims would be no greater,

 and the sole issue in the case would still be the resolution of the talc liabilities.

         Let me be clear, this is not acase of too big to fail... rather, this is acase of too much value

 to be wasted, which value could be better used to achieve some semblance of justice for existing

 and future talc victims. The Court is not addressing the needs of afailing company engaged in a

 forced liquidation. Instead, the J&J corporate enterprise is aprofitable global supplier of health,

 consumer products and pharmaceuticals that employs over 130,000 individuals globally, whose

 families are dependent upon continued successful operations. Why is it necessary to place at risk

 the livelihoods of employees, suppliers, distributors, vendors, landlords, retailers just to name a

 few innocent third parties—due to the dramatically increased costs and risks associated with all

 chapter 11 filings, when there is no palpable benefits to those suffering and their families? Clearly,

 the added hundreds of millions of dollars that would be spent on professional fees alone would be

 better directed to asettlement trust for the benefit of the cancer victims. As acknowledged by other




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                                                  A47
      Case: 22-2003            Document: 46            Page: 155           Date Filed: 06/30/2022

Case 21-30589-MBK           Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                      Desc Main
                                   Document     Page 48 of 56



 courts, bankruptcy filings by J&J, Old JJCI, or New JJCI would pose potential negative

 consequences, without offering apositive change in direction or pathway to success in this case             .21




         And what are the important burdens of bankruptcy that J&J, Old JJCI and New JJCI have

 avoided through use of the Texas divisional merger statute? The Bankruptcy Code requires full

 transparency of all assets, liabilities and financial conduct through scheduling and reporting.

 Moreover, the Code mandates accountability for all assets and expenditures. Likewise, the Code

 requires judicial oversight over all non-ordinary course of business conduct. Finally, the Code

 burdens adebtor with the need to reach aconsensus with its creditor base though the plan process

 and voting requirements. Given what will be required to confirm aplan in this case, as well as the

 attention this case is receiving from the public, media, government regulators, policy makers—let

 alone the Court, the United States Trustee and the dozens of attorneys involved—the Court is

 disinclined to view any of these entities as escaping the scrutiny or burdens.

         There is no question that a fair resolution of this chapter 11 proceeding will require

 extraordinarily large contributions by the J&J corporate family, and likely insurers, toward a

 settlement fund. The sooner we get there, the better all around. Grossly multiplying the costs and

 complexity of this proceeding will not help the process. The J&J corporate family will not attain

 the benefits sought in this proceeding unless and until the parties can reach acourt- approved global

 resolution under a confirmed plan of reorganization. This dynamic does not change whether

 Debtor, as aspecial purpose vehicle, filed the chapter 11 or the J&J family filed independent




 29 See In re Aldrich Pump, LLC, 2021 WL 3729335, at * 8 (acknowledging the " serious negative consequences" of a


 hypothetical bankruptcy filing of Old IRNJ and Old Trane); In re DBN1P LLC, 2021 WL 3552350, at * 8
 (acknowledging adverse effects of hypothetical bankruptcy filing of Old CertainTeed).




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                                                     A48
      Case: 22-2003          Document: 46          Page: 156         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22   Entered 02/25/22 10:07:14                Desc Main
                                 Document     Page 49 of 56



 chapter 11 cases. The potential loss in market value, the disruptions to operations, and the

 excessive administrative costs associated with independent chapter 11 filings justify the business

 decision to employ the divisional merger statute as ameans of entering the bankruptcy system.

         The decision to seek resolution of the present and future talc claims within the bankruptcy

 system, through a § 524(g) asbestos settlement trust in lieu of continued state court litigation, is

 consistent with congressional objectives dating back to implementation of the § 524 asbestos

 provisions, which codified the approach taken in In re Johns-Manville. Congress has not made

 significant modifications to the statute, so we must assume that such mass tort resolutions—at least

 as to asbestos claims—are consistent with public policy. Notwithstanding, Movants and the

 plaintiffs' committees in the cases pending in North Carolina are vigorously challenging the

 chapter 11 process. As noted previously, Congress placed the tort claimants in astrong position

 by implementing a75% super majority class voting requirement to confirm aplan with a § 524(g)

 trust. This leverage comes with responsibility, however, to engage in good faith and pursue the

 best interests of the collective class. In exchange, this Court will endeavor to ensure that those who

 are suffering currently, and in the future, have their day in court—this Court—and receive fair

 compensation under acomprehensive and transparent distribution scheme.

        As to whether the divisional merger or the desired implementation of a § 524(g) trust

 should be regarded as an abusive or unfair "litigation strategy" warranting dismissal of the case

 for bad faith, this Court is tasked to define the permissible parameters of adebtor's pre-petition

 litigation strategy. In doing so, this Court takes into account the totality of circumstances, such as

 litigation posture outside the bankruptcy court, the subjective intent of the debtor and management,




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                                                 A49
      Case: 22-2003          Document: 46          Page: 157          Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                  Desc Main
                                 Document     Page 50 of 56



 the degree of financial distress facing the debtor, the pressures from nonmoving creditors, pre-

 petition litigation conduct, the nature of the creditor body and the extent of assets, the structure

 and formation of the debtor, and—most importantly in this Court's view—the debtor's

 reorganizational purpose and exit strategy. Here, Debtor did not undertake the corporate

 restructuring and bankruptcy filing as litigation tactics designed solely to gain a litigation

 advantage or hinder aplaintiff in any of the thousands of pending tort actions. Rather, Debtor seeks

 to employ the tools provided by Congress under the Bankruptcy Code (the automatic stay and

 §105 or § 524(g) trust) to attain abankruptcy resolution of its mass tort liabilities. Without more,

 merely availing itself of chapter 11 tools does not constitute an improper litigation tactic. See In

 re Am. Cap. Equip., LLC, 296 F. App'x. 270, 274 (3d Cir. 2008) (finding no intent to confer "a

 particular litigation advantage to Debtors, over and above the advantages that atypical debtor may

 properly obtain by availing himself of the bankruptcy system").

        A finding that there exists an abusive litigation strategy, warranting dismissal of the case,

 is made most often in such obvious circumstances as afiling intended to simply delay the inevitable

 entry of judgment, to forestall collection efforts to allow the transfer of assets, afiling without any

 real prospects of confirming aplan or reorganizing, or where there is pointed effort to exploit the

 Bankruptcy Code—to name just afew examples. Certainly, this case differs from the above

 scenarios. The Claimants cite to In re Integrated Telecom Express, Inc., 384 F.3d 108 (3d Cir.

 2004), and In re 15375 Memorial Corp., 589 F.3d 605 (3d Cir. 2009), for the proposition that a

 desire to use aparticular provision in the Bankruptcy Code is "by itself" insufficient to establish




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                                                 A50
       Case: 22-2003              Document: 46             Page: 158            Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                            Desc Main
                                     Document     Page 51 of 56



 good faith .30 Comm. Mot. to Dismiss ¶48, ECF No. 632; Arnold & Itkin Mot. to Dismiss. ¶¶ 51-

 52, ECF No. 766. Yet, Claimants fail to explain how Debtor's filing effectuated any "tactical

 litigation advantage" in any of the tens of thousands of talc claims pending as of the Petition Date.

 It is evident from the record that Debtor filed this case to resolve the potentially crippling costs

 and financial drain associated with defending—over the next several decades—tens of thousands

 (if not hundreds of thousands) of personal injury claims with amulti-billion dollar exposure to

 Debtor and nondebtor affiliates. 31 Indeed, as this Court has emphasized throughout this Opinion,

 far from ameans to "hinder and delay talc claimants," aglobal resolution of these claims though

 the bankruptcy may indeed accelerate payment to cancer victims and their families.

          With respect to the use of the now infamous "Texas Two- Step," the Court finds nothing

 inherently unlawful or improper with application of the Texas divisional merger scheme in a

 manner which would facilitate achapter 11 filing for one of the resulting new entities. This Court

 does not find that the rights of the talc claimants and holders of future demands are materially

 affected by the divisional merger. Certainly, Ican say with some confidence, that the legislature




 " The Court finds many of the other cases cited by Movants to be inapposite, in that they involve efforts by adebtor
 to hinder, delay or disrupt apending two-party disputes, as opposed to the circumstances present in this matter. See
 Marsch v. Marsch (In re Marsch), 36 F.3d 825, 829 (9th Cir. 1994) (finding debtor with clear ability to pay judgment
 filed solely to avoid paying ajudgment or posting appeal bond); In re Ravick Corp., 106 B.R. 834, 851 (Bankr. D.N.J.
 1989) (finding debtor sought to upend previous decision of trial court ordering specific performance against debtor);
 Argus Gtp.1700, Inc. v. Steinman (In re Argus Grp.), 206 B.R. 757, 759-60 (E.D. Pa. 1997) (finding financially health
 debtor filed bankruptcy three days after state appellate court vacated earlier order staying proceeding); Furness v.
 Lilierfield, 35 B.R. 1006, 1007-08 (D. Md. 1983) (finding debtor filed bankruptcy on the eve of trial after repeated
 delays and multiple unsuccessful attempts to postpone trial).

 31 It is uncontested that during the twenty-one months (January 1, 2020 through September 30, 2021) preceding the


 petition date, Old JJCI expended roughly $ 3.6 billion of litigation expenses relating to the Talc Claims- 34% of the
 company's sales, resulting in apre-tax loss of nearly abillion dollars ($ 893.4 million) in the 21 months leading up to
 the petition date. See JJCI Income Statements ( for the periods Jan. 1, 2020 to Dec. 31, 2020 and Jan. 1, 2021 to Sept.
 30, 2021), Torborg Decl. Exhibits C, D, ECF No. 956-4.




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                                                         A51
      Case: 22-2003          Document: 46          Page: 159          Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                  Desc Main
                                 Document     Page 52 of 56



 which passed the statute into law probably did not foresee its current popular use. Notwithstanding,

 the statute makes clear the legislative intent that there be aneutral impact upon creditors. If current

 use of the divisional merger scheme as afoundation for chapter 11 filings conflicts with Texas'

 legislative scheme and goals, it can be repealed or modified. Until such time that there is legislative

 action, Iam not prepared to rule that use of the statute as undertaken in this case, standing alone,

 evidences bad faith.

        Argument has been put forward by Movants, other parties in interest, and the drafters of

 the amici curie brief that allowing this case to proceed will inevitably "open the floodgates" to

 similar machinations and chapter 11 filings by other companies defending against mass tort claims.

 Given the Court's view that the establishment of asettlement trust within the bankruptcy system

 offers apreferred approach to best serve the interests of injured tort claimants and their families,

 maybe the gates indeed should be opened. Nonetheless, for most companies, the complexity,

 necessary capital structure, and financial commitments required to lawfully implement acorporate

 restructuring as done in this case, will limit the utility of the "Texas Two- Step." Not many debtors

 facing financial hardships have an independent funding source willing and capable of satisfying

 the business's outstanding indebtedness. Moreover, the Court notes that in the fifteen years since

 having been appointed to the bankruptcy bench, there have been roughly 60 asbestos case filings

 under chapter 11 across the country, and under 100 filings since the very first case in 1982—hardly

 aflood. There have been, of course, dozens of additional mass tort cases not involving asbestos,

 primarily filings by ahandful of pharmaceutical companies, manufacturers and several dozen

 catholic dioceses. With respect to the latter, the Court doubts very much that the dioceses will be




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                                                 A52
      Case: 22-2003         Document: 46          Page: 160         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                Desc Main
                                Document     Page 53 of 56



 utilizing the Texas Business Code to restructure in advance of filing under the Bankruptcy Code.

 Quite simply, the Court does not anticipate the forecasted parade of horribles.

            4. Application of Equitable Considerations

        Movants urge the Court to exercise its equitable powers in dismissing this proceeding:

        Bankruptcy courts are courts of equity. See, e.g., Young v. United States, 535 U.S.
        43, 50-51 (2002) (   explaining that bankruptcy courts "appl[y] the principles and
        rules of equity jurisprudence") (citation omitted); United States v. Energy Res. Co.,
        495 U.S. 545, 549 ( 1990) ("[B]ankruptcy courts, as courts of equity, have broad
        authority to modify creditor-debtor relationships.") (citation omitted); United
        States v. Energy Res. Co., 495 U.S. 545, 549 ( 1990) ("[B]ankruptcy courts, as
        courts of equity, have broad authority to modify creditor-debtor relationships.");
        Pepper v. Litton, 308 U.S. 295, 304 ( 1939) ("for many purposes ` courts of
        bankruptcy are essentially courts of equity, and their proceedings inherently
        proceedings in equity"' (quoting Local Loan Co. v. Hunt, 292 U.S. 234, 240
        (1934))).... A bankruptcy court can exercise its equitable powers "to the end that
        fraud will not prevail, that substance will not give way to form, that technical
        considerations will not prevent substantial justice from being done." Pepper, 308
        U.S. at 305.

 TCC HReply Mem. at 33, ECF No. 1358. The Court is unsure how this argument aides Movants'

 position. Indeed, the last quote above from the Pepper opinion suggests—and the Court agrees—

 that form should not supplant substance. Such is the very reason the Court is disinclined to dismiss

 this case based on Debtor's 2021 corporate reorganization efforts. At the risk of being labeled

 didactic, the Court observes that notwithstanding the ubiquitous acceptance by courts and

 attorneys, bankruptcy courts are not courts of equity. Rather, bankruptcy courts exercise authority

 granted by statute and may address both legal and equitable claims. See HON. MARICA S.
                                                                                      KREIGER,

  "The Bankruptcy Court is aCourt cfEquity": What does that Mean?, 50 S.C.L. REV. 275 ( 1999).




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                                                A53
         Case: 22-2003              Document: 46               Page: 161   Date Filed: 06/30/2022

Case 21-30589-MBK               Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14            Desc Main
                                       Document     Page 54 of 56



            True, for purposes of jurisdiction and authority, the Bankruptcy Act of 1898 32 granted the

 district courts exclusive bankruptcy jurisdiction at law and equity. A comparable grant of equitable

 jurisdiction is wholly absent in the Bankruptcy Code or Judicial Code. Bankruptcy courts are

 specialized courts with limited jurisdiction that apply statutory law. Included within these statutory

 powers is § 105(a) of the Bankruptcy Code which empowers this Court to "[i]ssue any order,

 process or judgment that is necessary or appropriate to carry out the provisions of 'the
                                                                                      the Bankruptcy

 Code. 11 U.S.C. § 105(a). Pursuant to this provision, the Court has certain authority to fashion any

 order or decree that is in the interest of preserving or protecting the value of adebtor's assets. See

 e.g., In re Morristown & Erie Railroad Co., 885 F.2d 98, 100 (3d Cir. 1990) (noting that § 105(a)

 of the Bankruptcy Code is apowerful and versatile tool).

            In permitting this case to proceed going forward, this Court stands prepared to employ its

 limited equitable authority under § 105(a) to facilitate and assist Debtor and all tort claimants to

 achieve a fair and just result, consistent with the social policies and objectives intended by

 Congress in enacting the Bankruptcy Code. As noted by the late District Judge Jack B. Weinstein,

 the use of equitable concepts is particularly appropriate to address the social needs involved with

 mass tort cases:

            Once the province of common law courts and judges, mass tort cases now forced
            the courts to adopt an equitable posture. Courts of equity traditionally have taken
            into account the equities-the concrete issues of fact and fairness of the particular
            situation-in fashioning remedies. In the mass tort context these include: ( 1) fairly
            and expeditiously compensating numerous victims, and (2) deterring wrongful
            conduct where possible; while (3) preventing over deterrence in mass torts from
            shutting down industry or removing needed products from the market, (4) keeping
            the courts from becoming paralyzed by tens or even hundreds of thousands of


 32   Bankruptcy Act of 1898, ch. 541, 30 Stat. 545 ( 1898).




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                                                           A54
      Case: 22-2003           Document: 46         Page: 162         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14                 Desc Main
                                 Document     Page 55 of 56



          repetitive personal injury    cases,   and (5) reducing transactional costs        of
          compensation.

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                                                    fEquity on Mass Tort Law, 991 U. ILL.

 While class actions offer no pathway for redress with personal injury mass tort litigation and

 MDL's have been employed in the past with only limited success, and neither address the needs

 of future claimants, the use of the tools found within the Bankruptcy Code may well be the key

 here to fashion the remedies envisioned by Judge Weinstein.

   III.    Conclusion

          For the reasons discussed, the Court denies the Motions in their entirety. The Court is aware

 that its decision today will be met with much angst and concern. Nonetheless, the matter before

 the Court is so much more than an academic exercise or public policy debate. These issues impact

 real lives. This Court lives with the distress in the voice of Vincent Hill, amesothelioma plaintiff,

 when he testified about wanting his day in court and the need to care for his family. Sadly, Mr.

 Hill passed away recently and his death reaffirms for this Court the horrible truth that many of

 these cancer victims will not live to see their cases through the trial and appellate systems, but

 certainly deserve the comfort in knowing that their families' financial needs will be addressed

 timely. The Court remains steadfast in its belief that justice will best be served by expeditiously

 providing critical compensation through acourt- supervised, fair, and less costly settlement trust

 arrangement.

          During closing arguments, the U.S. Trustee suggested that if the case were not dismissed,

 the Court should consider the appointment of achapter 11 trustee. This same argument was raised

 by counsel for the Canadian Class Plaintiffs. In apparent response, Debtor offered to consent to




                                                   55




                                                 A55
      Case: 22-2003         Document: 46         Page: 163        Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1572 Filed 02/25/22  Entered 02/25/22 10:07:14               Desc Main
                               Document     Page 56 of 56



 (1) the appointment of an examiner to investigate and (2) derivative standing for the Original TCC

 to pursue any valid claims for possible avoidance actions or other claims relative to the 2021

 Corporate Restructuring. The record does not support afinding of Debtor's pre-petition or post-

 petition malfeasance, or other cause warranting the appointment of achapter 11 trustee and the

 attendant costs. The Court, nonetheless, agrees that there is aneed for independent scrutiny of

 possible claims while the case progresses through the appointment of a Future Talc Claims

 Representative, mediation and towards the plan formulation process. The Court will take up these

 issues at the upcoming March 8, 2022, omnibus hearing. The Court will enter an order consistent

 with this Opinion.




                                                      Michael B. Kaplan, Chief Judge
                                                      U.S. Bankruptcy Court
                                                      District of New Jersey

 Dated: February 25, 2022




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                                               A56
            Case: 22-2003             Document: 46        Page: 164         Date Filed: 06/30/2022

    Case 21-30589-MBK             Doc 1603       Filed 03/02/22  Entered 03/02/2?,          06:44        Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)


                                                                              Order Filed on March 2, 2022
                                                                              by Clerk
                                                                              U.S. Bankruptcy Court
                                                                              District of New Jersey




 In Re:                                                       Case No.:                    21-30589

 LTL MANAGEMENT LLC,                                          Chapter:                          11

 Debtor.                                                      Hearing Date:           February 14, 2022

                                                              Judge:                 Michael B. Kaplan




                               ORDER DENYING MOTIONS TO DISMISS




      The relief set forth on the following pages, numbered two (2) through
            2          is ORDERED.




DATED: March 2, 2022
                                                                             ld-jp16- • •
                                                                            onombfe• Michael S. i•glan
                                                                         United Stattes Bankruptcy Judge




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           Case: 22-2003         Document: 46        Page: 165        Date Filed: 06/30/2022

    Case 21-30589-MBK         Doc 1603     Filed 03/02/22  Entered 03/02/22 13:06:44        Desc Main
                                         Document      Page 2of 2



THIS MATTER comes before the Court upon motions filed by the Official Committee of Talc
Claimants ( ECF No. 632) and the law firm of Arnold & Itkin, LLP, on behalf of certain talc personal
injury claimants (ECF No. 766), seeking an order of the Court dismissing the within bankruptcy
proceeding pursuant to 4 1112(b) as not having been filed in good faith; And the Court having
considered fully the submissions of the parties and the argument of counsel the week of February 14,
2022 - February 18, 2022; and for good cause; IT IS HEREBY

ORDERED that the Motions (ECF Nos. 632 and 766) are DENIED in their entirety for reasons set
forth in the accompanying opinion on the docket (ECF No. 1572).




                                                   A58
      Case: 22-2003             Document: 46             Page: 166            Date Filed: 06/30/2022

Case 21-30589-MBK           Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18                          Desc Main
                                   Document      Page 1 of 130




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004 -
                                             1(b)

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  Attorneys for Aylstock, Witkin, Kreis & Overholtz,
  PLLC

  In re:                                                             Chapter 11

  LTL MANAGEMENT LLC,'                                               Case No.: 21-30589 (MBK)

                                     Debtor.                         Judge: Michael B. Kaplan




                                           NOTICE OF APPEAL

           NOTICE IS HEREBY GIVEN that Aylstock, Witkin, Kreis & Overholtz, PLLC

 ("AWKO"), on behalf of more than three thousand holders of talc claims, hereby appeals,

 pursuant to 28 U.S.C. § 158(a)(1), from (1) the Order Denying Motions to Dismiss [
                                                                                  Docket No.

 1603] (the "MTD Order"), entered on March 2, 2022, and the related Memorandum Cpinion




 ' The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501 George
   Street, New Brunswick, New Jersey 08933.




                                                       A59
     Case: 22-2003          Document: 46          Page: 167       Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18          Desc Main
                                 Document      Page 2 of 130




 [Docket No. 1572] (the "MTD Memorandum"), entered on February 25, 2022 and which the

 Bankruptcy Court referenced in the MTD Order and (ii) the Order (1) Declaring that Automatic

 Stay ATplies to Certain Actions Against Non-Debtors and (11) Preliminarily Erjoining Certain

 Actions [
         Docket No. 1635] ("PI Order" and together with the MTD Order, the "Orders"), entered

 on March 7, 2022, and the related Memorandum Opinion [
                                                      Adv. Pro. No. 21-03032, Docket No.

 184] (the "PI Memorandum" and together with the MTD Memorandum, the "Memoranda"),

 entered on February 25, 2022 and which the Bankruptcy Court referenced in the PI Order.

 Copies of the MTD Order and the MTD Memorandum are attached hereto as Exhibit A and

 Exhibit B respectively and copies of the PI Order and the PI Memorandum are attached hereto

 as Exhibit C and Exhibit D respectively.

         Pursuant to Bankruptcy Rule 8006, AWKO intends to seek certification of the Orders and

 Memoranda for direct review by the United States Court of Appeals for the Third Circuit under

 28 U.S.C. § 158(d)(2).

         Pursuant to Bankruptcy Rule 8003(a)(3) and in accordance with Official Form 417A, the

 names of all parties (other than AWKO) to the Orders and Memoranda and the names, addresses,

 and telephone numbers of their attorneys are:


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                                                 A60
     Case: 22-2003       Document: 46          Page: 168     Date Filed: 06/30/2022

Case 21-30589-MBK     Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18          Desc Main
                             Document      Page 3 of 130




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                                           A61
     Case: 22-2003       Document: 46          Page: 169     Date Filed: 06/30/2022

Case 21-30589-MBK     Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18      Desc Main
                             Document      Page 4 of 130




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                                           A62
     Case: 22-2003     Document: 46      Page: 170       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18    Desc Main
                            Document      Page 5 of 130




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                                       A63
     Case: 22-2003        Document: 46      Page: 171      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18       Desc Main
                              Document      Page 6 of 130




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                                          A64
     Case: 22-2003      Document: 46        Page: 172         Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1651  Filed 03/07/22  Entered 03/07/22 16:51:18        Desc Main
                            Document      Page 7 of 130




 DATED: March 7, 2022              Respectfully submitted,


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                                        A65
      Case: 22-2003          Document: 46        Page: 173        Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34             Desc Main
                                  Document     Page 1 of 14




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                A66
       Case: 22-2003               Document: 46              Page: 174             Date Filed: 06/30/2022

Case 21-30589-MBK              Doc 1652 Filed 03/07/22  Entered 03/07/22 19:00:34                               Desc Main
                                       Document    Page 2of 14



   In re:                                                             Chapter 11


   LTL MANAGEMENT LLC,                                                Case No.: 21-30589 (MBK)


                              Debtor.                                 Honorable Michael B. Kaplan



                                         JOINT NOTICE OF APPEAL

            PLEASE TAKE NOTICE that the Official Committee of Talc Claimants II ("TCC II"),

 together with Patricia Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as estate representative

 of Dan Doyle, Katherine Tollefson, and Tonya Whetsel as estate representative of Brandon

 Whetsel, hereby appeal to the United States District Court for the District of New Jersey' pursuant

 to 28 U.S.C. § 158 and rules 8002 and 8003 of the Federal Rules of Bankruptcy Procedure, from

 the order (D.I. 1603) (the "Order") denying motions to dismiss, entered on March 2, 2022 by the

 United States Bankruptcy Court for the District of New Jersey.

            PLEASE TAKE FURTHER NOTICE that acopy of the Order is attached hereto as

 Exhibit A.

            PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order appealed

 from and the names, addresses and telephone numbers of their respective attorneys are as follows:

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 1 Concurrently herewith, the appellants are filing amotion seeking direct certification of this appeal to the Third Circuit
 Court of Appeals pursuant to 28 U.S.C. § 152(d)(2).

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                                                           A67
     Case: 22-2003     Document: 46      Page: 175      Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34     Desc Main
                             Document     Page 3 of 14




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                                       A68
     Case: 22-2003         Document: 46            Page: 176      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34           Desc Main
                                Document     Page 4 of 14




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                                              A69
     Case: 22-2003        Document: 46         Page: 177     Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34       Desc Main
                                Document     Page 5 of 14




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                                          A70
     Case: 22-2003        Document: 46      Page: 178      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34     Desc Main
                               Document     Page 6 of 14




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                                           A71
     Case: 22-2003       Document: 46          Page: 179      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34           Desc Main
                               Document     Page 7 of 14




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                                              A72
     Case: 22-2003        Document: 46       Page: 180      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34         Desc Main
                               Document     Page 8 of 14




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                                            A73
     Case: 22-2003     Document: 46      Page: 181       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34   Desc Main
                             Document     Page 9 of 14




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                                       A74
     Case: 22-2003       Document: 46      Page: 182       Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34       Desc Main
                              Document      Page 10 of 14




 Date: March 7, 2022                           SHERMAN, SILVERSTEIN, KOHL,
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                                         A75
     Case: 22-2003     Document: 46      Page: 183       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1652  Filed 03/07/22  Entered 03/07/22 19:00:34           Desc Main
                            Document      Page 11 of 14




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                                       A76
      Case: 22-2003          Document: 46        Page: 184        Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05             Desc Main
                                  Document     Page 1 of 18




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                A77
          Case: 22-2003           Document: 46               Page: 185            Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1653 Filed 03/07/22  Entered 03/07/22 19:04:05                               Desc Main
                                      Document    Page 2of 18



     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,                                             Case No.: 21-30589 (MBK)

                              Debtor.                                Honorable Michael B. Kaplan



     LTL MANAGEMENT LLC,                                            Adv. Pro. No.: 21-03032 (MBK)

                              Plaintiff,

     V.


     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-
     1000,

                              Defendants.



                                           JOINT NOTICE OF APPEAL

              PLEASE TAKE NOTICE that the Official Committee of Talc Claimants II ("TCC II"),

 together with Patricia Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as estate representative

 of Dan Doyle, Katherine Tollefson, and Tonya Whetsel as estate representative of Brandon

 Whetsel, hereby appeal to the United States District Court for the District of New Jersey' pursuant

 to 28 U.S.C. § 158 and rules 8002 and 8003 of the Federal Rules of Bankruptcy Procedure, from

 the order (Dkt. 1635) (the "Order") (1) declaring that the automatic stay applies to certain actions

 against non-debtors and (ii) preliminarily enjoining certain actions, entered on March 7, 2022 by

 the United States Bankruptcy Court for the District of New Jersey.

              PLEASE TAKE FURTHER NOTICE that acopy of the Order is attached hereto as

 Exhibit A.

              PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order appealed

 from and the names, addresses and telephone numbers of their respective attorneys are as follows:




 1Concurrently herewith, the appellants are filing amotion seeking direct certification of this appeal to the Third Circuit
 Court of Appeals pursuant to 28 U.S.C. § 152(d)(2).

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                                                          A78
     Case: 22-2003        Document: 46       Page: 186      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05       Desc Main
                               Document     Page 3 of 18




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                                            A79
     Case: 22-2003     Document: 46      Page: 187      Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05    Desc Main
                             Document     Page 4 of 18




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     Case: 22-2003         Document: 46            Page: 188      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05           Desc Main
                                Document     Page 5 of 18




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                                              A81
     Case: 22-2003        Document: 46         Page: 189     Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05        Desc Main
                               Document     Page 6 of 18




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                                           A82
     Case: 22-2003       Document: 46          Page: 190      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05           Desc Main
                               Document     Page 7 of 18




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                                              A83
     Case: 22-2003         Document: 46           Page: 191      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05             Desc Main
                                Document     Page 8 of 18




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     Case: 22-2003       Document: 46      Page: 192       Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05       Desc Main
                               Document     Page 9 of 18




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     Case: 22-2003     Document: 46      Page: 193       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1653  Filed 03/07/22  Entered 03/07/22 19:04:05           Desc Main
                            Document      Page 10 of 18




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     Case: 22-2003         Document: 46         Page: 194       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1696     Filed 03/10/22  Entered 03/10/22 19:32:38        Desc Main
                                   Document      Page 1 of 9




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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  Talc Claimants I




                                               A87
      Case: 22-2003              Document: 46             Page: 195            Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1696       Filed 03/10/22  Entered 03/10/22 19:32:38                     Desc Main
                                          Document      Page 2of 9




  In Re:                                                      Chapter 11

  LTL MANAGEMENT, LLC, 1                                      Case No.: 21-30589 (MBK)

                             Debtor.                          Honorable Michael B. Kaplan




                    NOTICE OF APPEAL AND STATEMENT OF ELECTION



 Part 1: Identify the Appellant(s)

           1.     Names(s) of appellant(s): The Official Committee of Talc Claimants L2

           2.     Position of appellant(s) in the bankruptcy case that is the subject of this

 appeal: Appellant is an official committee of tort claimants in the underlying bankruptcy case.

 Appellant is also amovant with respect to the motion to dismiss the underlying bankruptcy

 proceeding.




 I   The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501 George
     Street, New Brunswick, New Jersey 08933.
 2   The Motion tf the 6,fzeial Committee tf Talc Claimants to Dismiss Debtor's Chapter 11 Case (      Dkt. 632) (the
     "Motion") was filed by the original Official Committee of Talc Claimants (the "Original TCC") on December 1,
     2021. On December 23, 2021, the United States Trustee filed a notice (Dkt. 965) appointing the Official
     Committee of Talc Claimants I("TCC I") and the Official Committee of Talc Claimants 11 ("TCC II") in place
     of the Original TCC. By Stipulation and Order, entered January 21, 2022 (Dkt. 1226), all pleadings and motions
     filed by the Original TCC, including the Motion, were deemed to be filed by each of TCC Iand TCC II, and each
     of TCC Iand TCC II were permitted to prosecute all such pleadings and motions. On January 26, 2022, the
     Bankruptcy Court entered an order (Dkt. 1273) reinstating the Original TCC but staying the effect of its
     ruling through March 8, 2022. On March 8, 2022, the Court issued abench ruling staying the reinstatement of
     the Original TCC and extending the existence of TCC Iand TCC II through and including April 12, 2022. As
     such, TCC Iand TCC II have filed separate notices of appeal. Also during the March 8hearing, the parties agreed
     to stipulate that the filings by TCC Iand TCC II will be deemed to have filed by the Original TCC if the Original
     TCC is reinstated in the future.




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                                                       A88
      Case: 22-2003            Document: 46             Page: 196           Date Filed: 06/30/2022

Case 21-30589-MBK           Doc 1696       Filed 03/10/22  Entered 03/10/22 19:32:38                   Desc Main
                                         Document      Page 3 of 9




 Part 2: Identify the subject of this appeal

         1.       Describe the judgment, order, or decree appealed from: Appellant, pursuant to

 28 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001(a), hereby gives notice of

 appeal to the United States District Court for the District of New Jersey from each and every part

 of the opinion and order of the United States Bankruptcy Court for the District of New Jersey as

 follows:

         (a)      the Memorandum Opinion denying the motions filed by the Official Committee of

         Tort Claimants and Arnold & Itkin LLP 3 to dismiss the Debtor's Chapter 11 case (Dkt.

         1572) (the "Memorandum Opinion", annexed hereto as Exhibit A); and

         (b)      the Order Denying Motions to Dismiss, which denied the motions filed by the

         Official Committee of Tort Claimants 4 and Arnold & Itkin, LLPS to dismiss Debtor's

         Chapter 11 case (Dkt. 1603) (the "Order", annexed hereto as Exhibit B).

         2.       State the date on which the judgment, order, or decree was entered:                        The

 Memorandum Opinion was entered on February 25, 2022 and the Order was entered on March 2,

 2022.

 Part 3: Identify the other parties to the appeal:

 List the names of all parties to the judgment, order, or decree appealed from and the names,

 addresses, and telephone numbers of their attorneys:

                 Party                                                     Attorneys
  Appellant-Movant: the Official                   GENOVA BURNS LLC
  Committee of Talc Claimants I                    Daniel M. Stolz, Esq.
                                                   Donald W. Clarke, Esq.
                                                   Matthew I.W. Baker, Esq.

 3   The Memorandum Opinion notes that, in addition to the motions to dismiss filed by the Official Committee of
     Tort Claimants and Arnold & Itkin, LLP, amotion to dismiss and joinder was filed by Aylstock, Witkin, Kreis
     & Overholtz, PLLC (Dkt. 1003) and ajoinder was filed by the Barnes Law Group (Dkt. 1092).
 4   Dkt. 632.
 5   Dkt. 766.



                                                        3




                                                      A89
     Case: 22-2003     Document: 46          Page: 197      Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1696     Filed 03/10/22  Entered 03/10/22 19:32:38   Desc Main
                                Document      Page 4 of 9




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                                         A90
     Case: 22-2003       Document: 46          Page: 198      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1696       Filed 03/10/22  Entered 03/10/22 19:32:38   Desc Main
                                    Document      Page 5 of 9




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                                             A91
     Case: 22-2003         Document: 46         Page: 199      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1696     Filed 03/10/22  Entered 03/10/22 19:32:38      Desc Main
                                   Document      Page 6 of 9




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                                          Lauren A. Reichardt, Esq.




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                                            A92
     Case: 22-2003     Document: 46        Page: 200       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1696     Filed 03/10/22  Entered 03/10/22 19:32:38    Desc Main
                                Document      Page 7 of 9




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                                         A93
     Case: 22-2003          Document: 46         Page: 201        Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1696     Filed 03/10/22  Entered 03/10/22 19:32:38    Desc Main
                                    Document      Page 8 of 9




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 Part 4: Not Applicable (No BAP in this District)




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                                              A94
     Case: 22-2003       Document: 46       Page: 202          Date Filed: 06/30/2022

Case 21-30589-MBK     Doc 1696     Filed 03/10/22  Entered 03/10/22 19:32:38       Desc Main
                                 Document      Page 9 of 9




 Part 5: Signature



  DATED this 10th day of March 2022.
                                                Respectfully submitted,

                                                GENOVA BURNS, LLC




                                                By:    /
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                                             Local Counsel to the 6,ficial Committee cf
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                                          A95
      Case: 22-2003             Document: 46             Page: 203           Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21                       Desc Main
                                      Document     Page 1 of 67




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in compliance with D.N.J. LBR 9004-1(b)

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  Counsel to Arnold & Itkin LLP

  In re:                                                                  Chapter 11

  LTL MANAGEMENT LLC,                                                     Case No. 21-30589 (MBK)

                                     Debtor. 1




                                           NOTICE OF APPEAL

           NOTICE IS HEREBY GIVEN that Arnold & Itkin LLP ("Arnold & Itkin"), on behalf of

 certain personal injury claimants represented by Arnold & Itkin (the "Movants"), hereby appeals

 to the United States District Court for the District of New Jersey, pursuant to 28 U.S.C. § 158(a)

 and Rules 8002 and 8003 of the Federal Rules of Bankruptcy Procedure, from the Order entered

 on March 2, 2022 [D.I. 1603] (the "Order"), denying the Motion to Dismiss Bankruptcy Case [
                                                                                           D.I.




 1 The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501 George

 Street, New Brunswick, New Jersey08933.




 DOCS DE:238556.1 05471/002




                                                      A96
      Case: 22-2003             Document: 46      Page: 204        Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21      Desc Main
                                      Document     Page 2 of 67




 766] filed on December 9, 2021, which Order is based upon the Opinion, entered February 25,

 2022 [D.I. 1572] (the "Opinion").

         A copy of the Order is attached hereto as Exhibit A and acopy of the Opinion is attached

 hereto as Exhibit B.

          The parties to the Order and Opinion appealed from, and the names, addresses and

 telephone numbers of their respective attorneys are as follows:



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 DOCS DE:238556.1 05471/002




                                                A97
      Case: 22-2003             Document: 46      Page: 205        Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21       Desc Main
                                      Document     Page 3 of 67




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 DOCS DE:238556.1 05471/002




                                                A98
      Case: 22-2003             Document: 46         Page: 206    Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21        Desc Main
                                      Document     Page 4 of 67




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 DOCS DE:238556.1 05471/002




                                                A99
      Case: 22-2003             Document: 46      Page: 207       Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21       Desc Main
                                      Document     Page 5 of 67




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 DOCS DE:238556.1 05471/002




                                               A100
      Case: 22-2003             Document: 46      Page: 208       Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21       Desc Main
                                      Document     Page 6 of 67




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                                               A101
      Case: 22-2003             Document: 46      Page: 209       Date Filed: 06/30/2022

Case 21-30589-MBK             Doc 1710  Filed 03/11/22  Entered 03/11/22 21:51:21    Desc Main
                                      Document     Page 7 of 67




 Dated: March 11, 2022                         PACHULSKI STANG ZIEHL & JONES LLP




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                                               A102
      Case: 22-2003          Document: 46           Page: 210        Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59                Desc Main
                                  Document     Page 1 of 14




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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         Case: 22-2003              Document: 46             Page: 211             Date Filed: 06/30/2022

Case 21-30589-MBK               Doc 1746 Filed 03/16/22  Entered 03/16/22 18:38:59                         Desc Main
                                        Document    Page 2of 14



     In re:                                                           Chapter 11

     LTL MANAGEMENT LLC,                                              Case No.: 21-30589 (MBK)

                                Debtor.                               Honorable Michael B. Kaplan



                                  AMENDED JOINT NOTICE OF APPEAL

              PLEASE TAKE NOTICE that the Official Committee of Talc Claimants II ("TCC II"),

 together with Patricia Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as estate representative

 of Dan Doyle, Katherine Tollefson, Tonya Whetsel as estate representative of Brandon Whetsel,

 Giovanni Sosa, and Jan Deborah Michelson-Boyle, hereby appeal to the United States District

 Court for the District of New Jersey pursuant to 28 U.S.C. § 158 and rules 8002 and 8003 of the

 Federal Rules of Bankruptcy Procedure, from the order (D.I. 1603) (the "Order") denying motions

 to dismiss, entered on March 2, 2022 by the United States Bankruptcy Court for the District of

 New Jersey. 1

              PLEASE TAKE FURTHER NOTICE that acopy of the Order is attached hereto as

 Exhibit A.

              PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order appealed

 from and the names, addresses and telephone numbers of their respective attorneys are as follows:

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 1   This filing is an amendment to the notice of appeal originally filed on March 7, 2022 at D.I. 1652.


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                                                          A104
     Case: 22-2003     Document: 46      Page: 212      Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59     Desc Main
                             Document     Page 3 of 14




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                                         3




                                      A105
     Case: 22-2003     Document: 46      Page: 213      Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59      Desc Main
                             Document     Page 4 of 14




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                                         4




                                      A106
     Case: 22-2003         Document: 46            Page: 214      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59           Desc Main
                                Document     Page 5 of 14




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                                             A107
     Case: 22-2003        Document: 46         Page: 215     Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59        Desc Main
                               Document     Page 6 of 14




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                                               6




                                           A108
     Case: 22-2003       Document: 46      Page: 216      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59       Desc Main
                               Document     Page 7 of 14




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                                        A109
     Case: 22-2003       Document: 46         Page: 217       Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59          Desc Main
                               Document     Page 8 of 14




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                                              8




                                            A110
     Case: 22-2003        Document: 46        Page: 218      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59         Desc Main
                               Document     Page 9 of 14




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     Case: 22-2003        Document: 46      Page: 219       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59       Desc Main
                               Document      Page 10 of 14




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                                           10




                                         A112
     Case: 22-2003     Document: 46      Page: 220       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1746  Filed 03/16/22  Entered 03/16/22 18:38:59           Desc Main
                            Document      Page 11 of 14




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                                      A113
      Case: 22-2003          Document: 46           Page: 221        Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36                Desc Main
                                  Document     Page 1 of 19




  UNITED STATES BANKRUPTCY COURT
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          Case: 22-2003             Document: 46             Page: 222             Date Filed: 06/30/2022

Case 21-30589-MBK               Doc 1747 Filed 03/16/22  Entered 03/16/22 18:42:36                         Desc Main
                                        Document    Page 2of 19



     In re:                                                           Chapter 11

     LTL MANAGEMENT LLC,                                              Case No.: 21-30589 (MBK)

                                Debtor.                               Honorable Michael B. Kaplan



     LTL MANAGEMENT LLC,                                             Adv. Pro. No.: 21-03032 (MBK)

                                Plaintiff,

     V.


     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-
     1000,

                                Defendants.



                                  AMENDED JOINT NOTICE OF APPEAL

              PLEASE TAKE NOTICE that the Official Committee of Talc Claimants II ("TCC II"),

 together with Patricia Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as estate representative

 of Dan Doyle, Katherine Tollefson, and Tonya Whetsel as estate representative of Brandon

 Whetsel, Giovanni Sosa, and Jan Deborah Michaelson-Boyle, hereby appeal to the United States

 District Court for the District of New Jersey pursuant to 28 U.S.C. § 158 and rules 8002 and 8003

 of the Federal Rules of Bankruptcy Procedure, from the order (D.I. 1635) (the "Order") (1)

 declaring that the automatic stay applies to certain actions against non-debtors and (ii)

 preliminarily enjoining certain actions, entered on March 7, 2022 by the United States Bankruptcy

 Court for the District of New Jersey.'

              PLEASE TAKE FURTHER NOTICE that acopy of the Order is attached hereto as

 Exhibit A.

              PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order appealed

 from and the names, addresses and telephone numbers of their respective attorneys are as follows:



 1   This filing is an amendment to the notice of appeal originally filed on March 7, 2022 at D.I. 1653.


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                                                          A115
     Case: 22-2003        Document: 46       Page: 223      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36       Desc Main
                               Document     Page 3 of 19




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                                            A116
     Case: 22-2003     Document: 46      Page: 224      Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36   Desc Main
                             Document     Page 4 of 19




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                                      A117
     Case: 22-2003         Document: 46            Page: 225      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36             Desc Main
                                Document     Page 5 of 19




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                                             A118
     Case: 22-2003        Document: 46         Page: 226      Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36       Desc Main
                                Document     Page 6 of 19




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                                               6




                                         A119
     Case: 22-2003        Document: 46      Page: 227      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36        Desc Main
                               Document     Page 7 of 19




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                                            7




                                           A120
     Case: 22-2003        Document: 46          Page: 228      Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36            Desc Main
                               Document     Page 8 of 19




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                                          A121
     Case: 22-2003         Document: 46           Page: 229       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1747 Filed 03/16/22  Entered 03/16/22 18:42:36              Desc Main
                                Document    Page 9of 19




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                                       [signatures follow]




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                                            A122
     Case: 22-2003        Document: 46      Page: 230       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36       Desc Main
                               Document      Page 10 of 19




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                                         A123
     Case: 22-2003     Document: 46      Page: 231       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1747  Filed 03/16/22  Entered 03/16/22 18:42:36           Desc Main
                            Document      Page 11 of 19




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                                      A124
     Case: 22-2003         Document: 46         Page: 232       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57           Desc Main
                                Document     Page 1 of 10




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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                                               A125
        Case: 22-2003              Document: 46             Page: 233            Date Filed: 06/30/2022

Case 21-30589-MBK              Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57                           Desc Main
                                       Document     Page 2 of 10




     In Re:                                                     Chapter 11

     LTL MANAGEMENT, LLC, 1                                     Case No.: 21-30589 (MBK)

                               Debtor.                          Honorable Michael B. Kaplan




                     NOTICE OF APPEAL AND STATEMENT OF ELECTION 2

 Part 1: Identify the Appellant(s)

              1.    Names(s) of appellant(s): The Official Committee of Talc Claimants L3

              2.    Position of appellant(s) in the adversary proceeding or bankruptcy case that

 is the subject of this appeal: Appellant is an official committee of tort claimants in the underlying

 bankruptcy case. Appellant is an interested party and an objector in the adversary proceeding.

 Part 2: Identify the subject of this appeal

              1.    Describe the judgment, order, or decree appealed from: Appellant, pursuant to

 28 U.S.C. § 158(a) and Federal Rule of Bankruptcy Procedure 8001(a), hereby gives notice of




 t     The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501
       George Street, New Brunswick, New Jersey 08933.
 2     Unless otherwise noted, "Dkt." refers to the docket in the main bankruptcy case, 21-30589 (MBK).
 3     The Objection tf the 6,fzcial Committee tf Talc Claimants to Debtor's Motion for an Order (1) Declaring That
       the Automatic Stay Applies to Certain Actions Against Non-Debtors or (11) Preliminarily Er,joining Such Actions
       and (111) Granting aTemporarily Restraining Order Pending aFinal Hearing (       Adv. Proc. No. 21-03032, Dkt.
       No. 142) (the "Objection") was filed by the original Official Committee of Talc Claimants (the "Original TCC")
       on December 22, 2021. On December 23, 2021, the United States Trustee filed anotice (Dkt. No. 965) appointing
       the Official Committee of Talc Claimants I("TCC I") and the Official Committee of Talc Claimants II ("TCC
       H") in place of the Original TCC. By Stipulation and Order, entered January 21, 2022 (Dkt. 1226), all pleadings
       and motions filed by the Original TCC, including the Objection, were deemed to be filed by each of TCC Iand
       TCC II, and each of TCC Iand TCC II were permitted to prosecute all such pleadings and motions. On January
       26, 2022, the Bankruptcy Court entered an order (Dkt. No. 1273) reinstating the Original TCC but staying the
       effect of its ruling through March 8, 2022. On March 8, 2022, the Court issued abench ruling staying the
       reinstatement of the Original TCC and extending the existence of TCC Iand TCC II through and including April
       12, 2022. As such, TCC Iand TCC II have filed separate notices of appeal. Also during the March 8hearing,
       the parties agreed to stipulate that the filings by TCC Iand TCC II will be deemed to have filed by the Original
       TCC if the Original TCC is reinstated in the future.




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                                                        A126
     Case: 22-2003          Document: 46          Page: 234       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57              Desc Main
                                Document     Page 3 of 10




 appeal to the United States District Court for the District of New Jersey from each and every part

 of the Order (1) Declaring That Automatic Stay ATplies to Certain Actions Against Non-Debtors

 and (11) Preliminarily Er.joining Certain Actions (
                                                   Dkt. No. 1635) (the "Order", annexed hereto as

 Exhibit A) entered by the United States Bankruptcy Court for the District of New Jersey.

        2.      State the date on which the judgment, order, or decree was entered: The Order

 was entered on March 7, 2022.

 Part 3: Identify the other parties to the appeal:

 List the names of all parties to the judgment,order,or decree appealed from and the names,

 addresses,and telephone numbers of their attorneys:




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                                            and




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                                              A127
     Case: 22-2003        Document: 46        Page: 235       Date Filed: 06/30/2022

Case 21-30589-MBK      Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57     Desc Main
                               Document     Page 4 of 10




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                                              4




                                           A128
     Case: 22-2003          Document: 46        Page: 236      Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57    Desc Main
                                 Document     Page 5 of 10




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  Defendants (See Exhibit B)                See Exhibit B


  Interested party: the Protected Parties
  (see Exhibit C)

  Interested party/objector: OnderLaw,      PARKINS LEE & RUBIO LLP
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                                             A129
     Case: 22-2003          Document: 46         Page: 237        Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57       Desc Main
                                 Document     Page 6 of 10




  Interested party/objector: the Objecting   TRIF & MODUGNO, LLC
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  Company (as successor in interest to       Tel: (201) 874-4596
  Drake Insurance Company); AIG
  Property Casualty Company (f/k/a           KATTEN MUCHIN ROSENMAN LLP
  Birmingham Fire Insurance Company          Shaya Rochester, Esq.
  of Pennsylvania); AIG                      Katherine Scherling, Esq.
  Europe S.A. (as successor in interest      shaya.rochester(&katten. com
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  S.A); AIU Insurance Company; ASR           575 Madison Avenue
  Schadeverzekering N.V. (as successor       New York, NY 10022
  in interest to Assurantiekoor Van          Tel: (212) 940-8800
  Wijk & Co.); Granite State Insurance
  Company; The Insurance Company of          MENDES & MOUNT LLP
  the State of Pennsylvania; Lexington       Eileen McCabe, Esq.
  Insurance Company; National Union          Stephen Roberts, Esq.
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  Company ("North River"); Starr             New York, NY 10019
  Indemnity & Liability Company (as          Tel: (212) 261-8000
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  Insurance Company); N.V.
  Schadeverzekeringsmaatschappij Maas
  Lloyd (individually and as successor in
  interest to policies subscribed in favor
  of Johnson & Johnson by N.V.
  Rotterdamse Assurantiekas, n/k/a De
  Ark); and Rheinland Versicherungen
  (as successor in interest only to the
  subscriptions of the former Dutch
  company Rheinland Verzekeringen).




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                                              A130
     Case: 22-2003          Document: 46     Page: 238        Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57   Desc Main
                                 Document     Page 7 of 10




  Interested party/objector: Aylstock,   OFFIT KURMAN, P.A.
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                                           A131
     Case: 22-2003     Document: 46      Page: 239       Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57     Desc Main
                             Document     Page 8 of 10




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                                         s




                                      A132
     Case: 22-2003          Document: 46       Page: 240          Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57           Desc Main
                                 Document     Page 9 of 10




  Interested party: United States Trustee   THE OFFICE OF THE UNITED STATES
                                            TRUSTEE, ANDREW R. VARA,
                                            UNITED STATES TRUSTEE, REGIONS 3 & 9
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                                            Jeffrey M. Sponder, Esq.
                                            Lauren Bielskie, Esq.
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                                            Tel: (973) 645-3014
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 Part 4: Not Applicable (No BAP in this District)

 Part 5: Signature



  DATED this 21 st day of March 2022.
                                                   Respectfully submitted,

                                                   GENOVA BURNS, LLC




                                                   By:   '/      III    V    1
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                                                   Local Counsel to the Official Committee of
                                                   Talc Claimants I




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                                             A133
     Case: 22-2003     Document: 46      Page: 241     Date Filed: 06/30/2022

Case 21-30589-MBK    Doc 1803  Filed 03/21/22  Entered 03/21/22 19:29:57   Desc Main
                            Document      Page 10 of 10




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                                      A134
            Case: 22-2003             Document: 46        Page: 242         Date Filed: 06/30/2022

    Case 21-30589-MBK             Doc 1955       Filed 04/04/22  Entered 04/04/2?,          09:13         Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)


                                                                              Order Filed on April 4, 2022
                                                                              by Clerk
                                                                              U.S. Bankruptcy Court
                                                                              District of New Jersey




 In Re:                                                       Case No.:                     21-30589

 LTL MANAGEMENT, LLC                                          Chapter:                           11

                                                              Hearing Date:


                                                              Judge:                  Michael B. Kaplan




                        ORDER CERTIFYING DIRECT APPEAL TO THE

          UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT OF

                            ORDER DENYING MOTIONS TO DISMISS




      The relief set forth on the following pages, is ORDERED.




DATED: April 4, 2022
                                                                             ld-jp16- ••
                                                                            onombfe• Michael S. i•glan
                                                                         United Stattes Bankruptcy Judge




                                                       A135
     Case: 22-2003         Document: 46         Page: 243       Date Filed: 06/30/2022

Case 21-30589-MBK       Doc 1955     Filed 04/04/22  Entered 04/04/22 13:09:13        Desc Main
                                   Document      Page 2 of 5




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR          BROWN RUDNICK LLP
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                                                 Co- Counsel for the 6,ficial Committee cf
                                                 Talc Claimants I

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                                               A136
      Case: 22-2003             Document: 46              Page: 244           Date Filed: 06/30/2022

Case 21-30589-MBK            Doc 1955       Filed 04/04/22  Entered 04/04/22 13:09:13                     Desc Main
                                          Document      Page 3 of 5
 Page:            2

 Debtor:          LTL Management, LLC

 Case No.:        21-30589(MBK)

 Caption:         Order Certifying Direct Appeal to the United States Court of Appeals for the Third
                  Circuit of Order Denying Motions to Dismiss




  In Re:                                                    Chapter 11

  LTL MANAGEMENT, LLC, 1                                    Case No.: 21-30589 (MBK)

                            Debtor.                         Honorable Michael B. Kaplan




              [PROPOSED] ORDER CERTIFYING DIRECT APPEAL TO THE
           UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT OF
                      ORDER DENYING MOTIONS TO DISMISS

           The relief set forth on the following pages is hereby ORDERED.




 t   The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501 George
     Street, New Brunswick, New Jersey 08933.



                                                          2




                                                      A137
      Case: 22-2003          Document: 46         Page: 245         Date Filed: 06/30/2022

Case 21-30589-MBK         Doc 1955     Filed 04/04/22  Entered 04/04/22 13:09:13          Desc Main
                                     Document      Page 4 of 5
 Page:            3

 Debtor:          LTL Management, LLC

 Case No.:        21-30589(MBK)

 Caption:         Order Certifying Direct Appeal to the United States Court of Appeals for the Third
                  Circuit of Order Denying Motions to Dismiss



           Upon consideration of the Request cf Cjficial Committee cf Talc Claimants Ifor Order

 Certfying Direct Appeal to the United States Court cfAppeals for the Third Circuit (
                                                                                    the "TCC I

 Request") (Dkt. 1709); the Motion cf C.
                                       ;facial Committee cf Talc Claimants H, Patricia Cook, Evan

 Plotkin, Randy Derouen, Kristie Doyle as Estate Representative cf Dan Doyle, Katherine

 Tolhfson, Jan Deborah Michelson-Boyle,          Giovanni Sosa,     and Tonya   Whetsel as Estate

 Representative cf Brandon Whetsel, for Certfication cf Direct Appeal to the United States Court

 cfAppeals for the Third Circuit (
                                 the "TCC 11 Motion") (Dkt. 1654); the Motion cfAylstock, Witkin,

 Kreis & Overholtz, PLLCfor Certfication cfDirect Appeal to the United States Court cfAppeals

 for the Third Circuit (
                       the "AWKO Motion") (Dkt. 1713); and the Request cfArnold & Itkin LLP

 for Certfication cf Direct cf Appeal to the United States Court (fAppeals for the Third Circuit

 (the "A&I Request") (Dkt. 1720) (collectively, the "MTD Certification Requests"); and all papers

 filed in support of and in opposition to the MTD Certification Requests, including the Debtor's

 Omnibus Oljection to Motions for Certfication cf Direct Appeal (
                                                                the "Objection") and all reply

 briefs filed in further support of the MTD Certification Requests (Dkts. 1884, 1887, 1888, 1889);

 and the hearing on the MTD Certification Requests held on March 30, 2022 (the "Hearing"); and

 all prior proceedings herein; the Court hereby finds as follows:

           For the reasons set forth by the Court on the record during the March 30, 2022 Hearing

 (Dkt. 1926 at 70:2-76:17), which portions of the record are incorporated herein by reference, the

 Court finds that the conditions of 28 U.S.C. § 158(d)(2) have been met, and




                                                  3




                                               A138
      Case: 22-2003         Document: 46        Page: 246         Date Filed: 06/30/2022

Case 21-30589-MBK        Doc 1955     Filed 04/04/22  Entered 04/04/22 13:09:13         Desc Main
                                    Document      Page 5 of 5
 Page:          4

 Debtor:        LTL Management, LLC

 Case No.:      21-30589(MBK)

 Caption:       Order Certifying Direct Appeal to the United States Court of Appeals for the Third
                Circuit of Order Denying Motions to Dismiss



           IT IS THEREFORE HEREBY ORDERED THAT:

           1.   The MTD Certification Requests are GRANTED.

           2.   Pursuant to 28 U.S.C. § 158(d)(2) and Rule 8006 of the Federal Rules of

 Bankruptcy Procedure, the Motions to Dismiss Memorandum Opinion (
                                                                 Dkt. 1572) and the Order

 Denying Motions to Dismiss (
                            Dkt. 1603) are hereby certified for direct appeal to the United States

 Court of Appeals for the Third Circuit.




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                                             A139
             Case: 22-2003            Document: 46              Page: 247            Date Filed: 06/30/2022

    Case 21-03032-MBK              Doc 184       Filed 02/25/22  Entered 02/25/22 10:10:35                      Desc Main
                                               Document      Page 1 of 54




FOR PUBLICATION


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)




 LTL MANAGEMENT, LLC,
                                                                           Case No. 21-30589 (MBK)
           Debtor.



LTL MANAGEMENT, LLC,                                                      Adv. Pro. No. 21-03032 (MBK)

                 Plaintiff,                                                Chapter 11

        V.                                                                 Hearing Date: February 18, 2022

THOSE PARTIES LISTED ON APPPENDIX A TO
COMPLAINT and JOHN AND JANE DOES 1-1000,

                 Defendants.




     All Counsel cfRecord




                                              MEMORANDUM OPINION

               This matter comes before the Court by way Debtor's bankruptcy case (Case No. 21-30589)

      and subsequent adversary proceeding (Adv. Pro. No. 21-03032) and motion ("Motion") (ECF No.

      2 in Adv. Pro. No. 21-03032)' filed by Plaintiff LTL Management, LLC ("LTL" or "Debtor")

      seeking an Order (I) Declaring That the Automatic Stay Applies to Certain Actions Against Non-

      Debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting aTemporary Restraining




      1 Unless otherwise specified, all ECF Nos. will refer to docket entries in the Adversary Proceeding, Adv. Pro. No. 21-


      03032.
                                                                  1




                                                            A140
        Case: 22-2003           Document: 46            Page: 248           Date Filed: 06/30/2022

Case 21-03032-MBK            Doc 184      Filed 02/25/22  Entered 02/25/22 10:10:35                   Desc Main
                                        Document      Page 2of 54



 Order Pending aFinal Hearing. The Motion was initially filed in the Western District of North

 Carolina. Debtor filed aSupplemental Brief (ECF No. 128) to incorporate applicable Third Circuit

 law.    The matter was fully briefed and scheduled for a Final Hearing.                  The Court has fully

 considered the submissions of the parties and the arguments set forth on the record at ahearing

 held on February 18, 2022. For the reasons set forth below, the Court grants Debtor's Motion and

 resolves the adversary proceeding in favor of Debtor. The Court issues the following findings of

 fact and conclusions of law as required by FED. R.BANKR. P.7052. 2 Contemporaneously with

 filing this Memorandum Opinion, the Court is filing aseparate Opinion Denying the Motions to

 Dismiss with respect to the pending motions to dismiss this chapter 11 proceeding. These matters

 have been tried collectively at evidentiary hearings held on February 14-18, 2022. The Court also

 adopts and incorporates herein the factual findings and conclusions of law set forth in the separate

 Memorandum Opinion dated February 25, 2022.

 I.       Venue and Jurisdiction

          The Court has jurisdiction over this contested matter under 28 U.S.C. §§ 1334(a) and

 157(a) and the Standing Order of the United States District Court dated July 10, 1984, as amended

 September 18, 2012, referring all Bankruptcy cases to the Bankruptcy Court. As explained in

 detail below, this matter is acore proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A) and

 (G). Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




 2 To the extent that any of the findings of fact might constitute conclusions of law, they are adopted as such.
 Conversely, to the extent that any conclusions of law constitute findings of fact, they are adopted as such.




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                                                     A141
       Case: 22-2003             Document: 46             Page: 249         Date Filed: 06/30/2022

Case 21-03032-MBK             Doc 184      Filed 02/25/22  Entered 02/25/22 10:10:35         Desc Main
                                         Document      Page 3of 54



 II.      Background

          On October 14, 2021, LTL filed avoluntary petition for chapter 11 relief in the United

 States Bankruptcy Court for the Western District of North Carolina (the "North Carolina

 bankruptcy court"). Petition, ECF No. 1in Case No. 21-30589. LTL is an indirect subsidiary of

 Johnson & Johnson ("J&J") and traces its roots back to Johnson & Johnson Baby Products,

 Company ("J&J Baby Products"), aNew Jersey company incorporated in 1970 as awholly owned

 subsidiary of J&J. Declaration cf John K. Kim in Support cf First Day Pleadings ("Kim Decl. ")

 ¶¶ 9-10, ECF No. 5in Case No. 21-30589. J&J, aNew Jersey company incorporated in 1887, first

 began selling JOHNSON'S® Baby Powder in 1894, launching its baby care line of products. Id.

 at ¶¶ 10-14. In 1972, J&J established aformal operating division for its baby products business,

 which included JOHNSON'S® Baby Powder. Id. In 1979, J&J transferred all its assets associated

 with the Baby Products division to J&J Baby Products. Id. In connection with this transfer, J&J

 Baby Products assumed all liabilities associated with the Baby Products division. Supplemental

 Declaration cf John K. Kim in Support cf Debtor's Complaint for Declaratory and Injunctive

 ReliEf and Related Motions ("Kim Supp. Decl. ") ¶ 5, ECF No. 3. Over the next few decades,

 nearly all assets' of the Baby Products division were transferred in aseries of transactions and

 mergers, ultimately resting with one of J&J's corporate subsidiaries, Johnson & Johnson

 Consumer Inc. ("Old JJCI") in 2015. Kim Decl. ¶ 10 -14, ECF No. 5 in Case No. 21-30589.

 Following these intercompany transactions, Old JJCI assumed responsibility for all claims alleging

 that J&J's talc- containing baby powder caused ovarian cancer and mesothelioma. Id. at ¶¶ 15, 32.




 sThe only exception being those assets allocated to its diaper programs.




                                                          3




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      Case: 22-2003         Document: 46          Page: 250         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184     Filed 02/25/22  Entered 02/25/22 10:10:35            Desc Main
                                    Document      Page 4 of 54



 Similarly, through a series of transfers and indemnification agreements, Old JJCI assumed

 responsibility for all claims alleging that another J&J product, " Shower to Shower" caused cancer

 or other diseases. Debtor's Supplemental Memorandum in Support cf Preliminary Injunction

 Motion ("Debtor's Supp. Mem. ") 12-14, ECF No. 128. Old JJCI also agreed to indemnify various

 retailers ("Retailers") who sold Old JJCI's talc- containing products for claims related to the sale

 of such products. Kim Supp. Decl. ¶¶ 8-12, ECF No. 3.

        On October 12, 2021, Old JJCI engaged in aseries of transactions (the "2021 Corporate

 Restructuring") through which it ceased to exist and two new companies, LTL and Johnson &

 Johnson Consumer Inc. ("New JJCI"), were formed. Kim Decl. ¶ 16, 22-23, ECF No. 5in Case

 No. 21-30589.    The alleged purpose of this restructuring was to "globally resolve talc-related

 claims through achapter 11 reorganization without subjecting the entire Old JJCI enterprise to a

 bankruptcy proceeding." Id. at ¶ 21. As aresult of the restructuring, LTL assumed responsibility

 for all of Old JJCI's talc-related liabilities. Id. at ¶¶ 16, 24. Through the restructuring, LTL also

 received Old JJCI's rights under afunding agreement (the "Funding Agreement"). Id. at ¶ 24.

 Under the Funding Agreement, J&J and New JJCI are obligated to pay, inter alia, "any and all

 costs and expenses" LTL incurs during its bankruptcy case, "including the costs of administering

 the Bankruptcy Case" to the extent necessary. Funding Agreement 6, Annex 2to Declaration cf

 John K. Kim in Support cfFirst Day Pleadings, ECF No. 5in Case No. 21-30589.

        Shortly after filing for bankruptcy on October 14, 2021 in the Western District of North

 Carolina, Debtor initiated the instant adversary proceeding, seeking declaratory and injunctive

 relief. Specifically, the Complaint requests an order declaring that the automatic stay applies to




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                                               A143
      Case: 22-2003              Document: 46             Page: 251           Date Filed: 06/30/2022

Case 21-03032-MBK             Doc 184      Filed 02/25/22  Entered 02/25/22 10:10:35                     Desc Main
                                         Document      Page 5of 54



 certain actions against nondebtors (the "Protected Parties") or, in the alternative, asks the Court to

 enjoin such actions and grant atemporary restraining order pending afinal hearing. Complaint,

 ECF No. 1. Debtor simultaneously filed the instant Motion requesting apreliminary injunction

 enjoining the prosecution of actions outside of the chapter 11 case on account of the same talc

 claims that exist against the Debtor in the chapter 11 case. Motion, ECF No. 2. The North Carolina

 bankruptcy court held atwo-day evidentiary hearing on November 4and 5, 2021. On November

 10, 2021, Judge Whitley issued oral findings of fact and conclusions of law and granted the motion

 on a preliminary basis. North Carolina Bankruptcy Court's Order Granting Motion for

 Preliminary Irjunction, ECF No. 102. As the result of Judge Whitley's Order, the defendants were

 "prohibited and enjoined, pursuant to sections 105 and 362 of the Bankruptcy Code, from

 commencing or continuing to prosecute any [talc-related claims] against any of the Protected

 Parties" for aperiod of 60 days. Id. at 7-8. Judge Whitley made clear that his Order was without

 prejudice and was "not intended to bind a subsequent Presiding Court." Id. at 7.                          He then

 transferred the bankruptcy case to the Bankruptcy Court for the District of New Jersey, and, on

 November 17, 2021, this Court assumed exclusive jurisdiction of the adversary proceeding and

 the underlying bankruptcy case. 4




 4 This matter was initially scheduled to be heard on January 11, 2022, three days ahead of the January 14 expiration
 date of the Preliminary Injunction imposed by the North Carolina Order. However, after the case was transferred to
 this Court, the Original TCC filed aMotion for Withdrawal of Reference (ECF No. 110) with the district court.
 Because the district court had not ruled on that motion—and in light of an identity of issues and evidence with the
 pending Motions to Dismiss in the main bankruptcy case—this Court adjourned the hearing date for this Motion to
 February 18, 2022, the final scheduled date for argument on the Motion to Dismiss. Accordingly, On January 15,
 2022, this Court entered aBridge Order (ECF No. 157) extending the Preliminary Injunction entered by the North
 Carolina Bankruptcy Court to February 28, 2022. In the interim, the District Court denied the Motion for Withdrawal
 of the Reference (ECF No. 32 in Case No. 21 -cv-20252).




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                                                      A144
      Case: 22-2003             Document: 46             Page: 252           Date Filed: 06/30/2022

Case 21-03032-MBK            Doc 184      Filed 02/25/22  Entered 02/25/22 10:10:35                    Desc Main
                                        Document      Page 6of 54



         Following the transfer of the case to the District of New Jersey, Debtor supplemented its

 initial brief and amended and restated its arguments in support of the relief sought to reflect Third

 Circuit precedent. At its core, Debtor's argument remains the same and is two-fold. First, Debtor

 cites to 11 U.S.C. § 362 and contends that the automatic stay prohibits prosecution of talc claims

 against the Protected Parties. Second, Debtor asserts that the Court should exercise its authority

 under 11 U.S.C. § 105(a) to enjoin the continuation or commencement of the talc claims against

 the Protected Parties.

          Several interested parties oppose the Motion, including: the Official Committee of Talc

 Claimants (ECF No. 142), certain plaintiff-insurers (the "Objecting Insurers") (ECF No. 141),

 and attorneys for Alystock, Witkin, Kreis & Overholtz, PLLC ("AWKO") (ECF No. 143). The

 Debtor submitted an omnibus reply (ECF No. 146). 6

         In opposition to the Motion, the Original TCC contends that an extension of the stay under

 § 362(a) is not warranted.         Moreover, the TCC asserts that this Court lacks subject matter

 jurisdiction to enjoin actions between nondebtors under § 105(a). AWKO likewise opposes the

 Motion and raises similar arguments.           AWKO asserts that J&J must file its own bankruptcy



 sAt the time it filed its Opposition (ECF No. 142) on December 22, 2021, there existed only one Official Committee
 of Talc Claimants (the "Original TCC"). Soon thereafter, however, the United States Trustee reconstituted the
 Original TCC and appointed two separate committees: the Official Committee of Talc Claimants I (the "Ovarian
 Cancer Claimants Committee" or "TCC I") and the Official Committee of Talc Claimants II (the "Mesothelioma
 Claimants Committee" or "TCC II"). The U.S. Trustee's actions were challenged by way of motions filed in the
 underlying bankruptcy proceeding, which the Court granted in an Opinion dated January 20, 2022 (   ECF No. 1212 in
 Case No. 21-30589). An Order memorializing the Court's ruling was entered on January 26, 2022 (     ECF No. 1273).
 However, given the procedural posture of, and the pending motions in, both the underlying bankruptcy case and the
 instant adversary proceeding, the Court stayed the effect of its ruling, ordering that both TCC Iand TCC II
 (collectively, the "Committees") " shall remain in full force and effect through March 8, 2022." Order Granting
 Motions Challenging United States Trustees'Notice cfAppointment2, ECF No. 1273 in Case No. 21-30589.

 6 On February 1, 2022, TCC II filed aSur-Reply (ECF No. 166); however, that pleading was struck for the reasons
 set forth on the record during the hearing on February 10, 2022.




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                                                     A145
        Case: 22-2003        Document: 46         Page: 253         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184     Filed 02/25/22  Entered 02/25/22 10:10:35            Desc Main
                                    Document      Page 7of 54



 petition to enjoy the benefits and protections of the Bankruptcy Code's automatic stay and argues

 that equitable relief under § 105(a) is not warranted. Finally, the Objecting Insurers object to the

 Motion only to the extent it seeks to enjoin pending litigation in the Superior Court of New Jersey

 (the "New Jersey Coverage Action").

 III.    Discussion

         A. The Automatic Stay

         Section 362(a) of the Bankruptcy Code provides, in relevant part, that

         apetition filed under section 301, 302, or 303 of this title ... operates as astay applicable
         to all entities, of—

                (1) the commencement or continuation, including the issuance or employment of
                process, of ajudicial, administrative, or other action or proceeding against the
                debtor that was or could have been commenced before the commencement of the
                case under this title, or to recover aclaim against the debtor that arose before the
                commencement of the case under this title;




                (3) any act to obtain possession of property of the estate or of property from the
                estate or to exercise control over property of the estate[.]

 11 U.S.C. § 362(a).

         The Third Circuit has explained that the purpose of the automatic stay is "two-fold." In re

 Denby-Peterson, 941 F.3d 115, 122 (3d Cir. 2019).        First, it serves to "protect the debtor, by

 stopping all collection efforts, harassment, and foreclosure actions, thereby giving the debtor a

 respite from creditors and achance to attempt arepayment or reorganization plan or simply be

 relieved of the financial pressures that drove him or her into bankruptcy[.]" Id. (
                                                                                   quotations,

 citations, and alterations omitted).    Second it "protect[s] creditors by preventing particular




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                                               A146
      Case: 22-2003           Document: 46         Page: 254         Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 184     Filed 02/25/22  Entered 02/25/22 10:10:35            Desc Main
                                      Document      Page 8 of 54




 creditors from acting unilaterally in self-interest to obtain payment from adebtor to the detriment

 of other creditors." Id.

          Although the scope of the automatic stay is broad, its protections typically apply only to

 debtors, not nondebtor defendants. ACandS, Inc. v. Travelers Cas. & Sur. Co., 435 F.3d 252, 259

 (3d Cir. 2006) (noting that "the scope of the automatic stay is broad and covers all proceedings

 against adebtor"); McCartney v. Integra Nat. Bank N., 106 F.3d 506, 509 (3d Cir. 1997) (holding

 that "the clear language of section 362(a) stays actions only against a ' debtor."'); see also In re SN

 Liquidation, Inc., 388 B.R. 579 (Bankr. D. Del. 2008). Nevertheless, byway of the Motion, Debtor

 seeks adeclaration that the automatic stay enjoins actions against the Protected Parties, who are

 nondebtor entities.

             1.   Authority for Extension of Stay to Nondebtors

          Prior to engaging in analysis, this Court clarifies the framework within which motions

 seeking this type of relief are evaluated. As with the instant Motion, most motions seeking to

 prevent litigation against nondebtor third parties are premised on both the automatic stay under

 §362(a) and acourt's equitable powers under § 105(a). However,

          [I]t is unclear whether the Third Circuit views staying an action to aid adebtor's
          reorganization the result of extending the § 362(a) stay or the result of issuing a
          separate injunction pursuant to, for example, adistrict court's inherent power to stay
          apending action or abankruptcy court's power under § 105(a).

 Starford v. Foamex L.P., No. CIV. A. 07-4225, 2009 WL 1033607, at * In.7 (E.D. Pa. Apr. 15,

 2009).    Courts in this circuit have recognized that "caselaw concerning the use of authority

 conferred by section 105(a) to implement the substantive powers created by section 362(a) is not

 entirely consistent." In re Philadelphia Newspapers, LLC, 423 B.R. 98, 103 n.8 (E.D. Pa. 2010)




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                                                A147
      Case: 22-2003          Document: 46          Page: 255         Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 184     Filed 02/25/22  Entered 02/25/22 10:10:35           Desc Main
                                      Document      Page 9 of 54




 (citing In re Philadelphia Newspapers, LLC, 407 B.R. 606,611 (E.D. Pa. 2009) (noting that courts

 have often conflated the analysis of sections 362(a) and 105(a), and confused the issue). Indeed,

 many courts have used some iteration of the phrases "extension of the stay" and "injunctive relief '

 interchangeably when discussing whether to permit actions against nondebtor third parties to

 proceed. Additionally, many courts have cited only to § 105(a). See, e.g., In re W.R. Grace & Co.,

 115 F. App'x 565, 568 (3d Cir. 2004) (reviewing a § 105(a) injunction); In re Monroe Well Serv.,

 Inc., 67 B.R. 746, 751 (Bankr. E.D. Pa. 1986) (granting an injunction under § 105(a), without

 discussion of § 362(a)).

        In this Court's view, ample authority exists to conclude that § 362(a), § 105(a), or acourt's

 inherent powers can each serve as independent bases for extension of astay to nondebtor third

 parties. For example, in In re A.H. Robins Co., Inc. — acase which the Third Circuit has cited with

 approval—the Fourth Circuit meticulously set forth the courts' powers, discussing each different

 source of authority in aseparate section of the decision. See In re A.H. Robins Co (A.H Robins

 Co. v. Piccinin), 788 F.2d 994, 1001-1003 (4th Cir. 1986) (cited with approval in McCartney v.

 Integra Nat. Bank N., 106 F.3d 506 (3d Cir. 1997)). The Robins court stated that abankruptcy

 court may preclude lawsuits directly under: ( 1) § 362(a); or (2) by way of an injunction under

 §105(a); or (3) pursuant to its inherent power. 788 F.2d at 1001-003.       The following year, in a

 subsequent case also related to the A.H. Robins bankruptcy, the Fourth Circuit clarified that it held

 in Robins "that the district court had four independent grounds on which it could stay the plaintiffs'

 suit against [the nondebtor third party]." In re A.H. Robins Co. Inc. (A.H Robins Co. vAetna), 828

 F.2d 1023, 1024 (4th Cir. 1987) (referring to § 362(a)(1), § 362(a)(3), § 105(a), and a court's




                                                   9




                                                A148
         Case: 22-2003          Document: 46      Page: 256         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 10 of 54



 inherent powers under 28 U.S.C. § 1334 as independent bases for extension of the automatic stay

 to nondebtor third parties).

          Further, the Third Circuit in McCartney v. Integra Nat. Bank N. recognized "anumber of

 cases where courts have applied the automatic stay protection to nondebtor third parties." 106 F.3d

 506, 510 (3d Cir. 1997). In doing so, the Third Circuit cited to Robins and explicitly acknowledged

 that the Robins court had relied on "both the automatic stay provision and the bankruptcy court's

 equitable powers under 11 U.S.C. § 105 to enjoin actions against nondebtor codefendants." Id.

 (citing Robins, 788 F.2d. 994). In its analysis, the McCartney court held that the plaintiff "was

 stayed from pursuing adeficiency judgment action against the nondebtor third party" because—

 due to the unusual circumstances of the case—doing so would "defeat the purpose of § 362." Id.

 at 511. Thus, the Third Circuit in McCartney upheld extension of the stay to anondebtor solely

 on the basis of § 362, and without mention of § 105(a) in its analysis. To this Court, the decision

 in McCartney appears to be an endorsement of § 362 as an independent basis for extending the

 stay.

          Nevertheless, several courts still view this as an open-ended question. See, e.g., In re

 Philadelphia Newspapers, LLC, 423 B.R. at 103 n.8; In re Philadelphia Newspapers, LLC, 407

 B.R. at 611; Starford v. Foamex L.P., 2009 WL 1033607, at * 1n.7. In their view, however, the

 issue is "academic as the practical effect (i.e., the staying of an action) is the same regardless of

 the means employed." Foamex, 2009 WL 1033607, at * 1 n.7; see also In re Philadelphia

 Newspapers, LLC, 423 B.R. at 103 n.8 (declining to "delve into this analytical quagmire ...

 [regarding] ... whether the order issued by the Bankruptcy Court constituted the extension of the




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                                               A149
      Case: 22-2003          Document: 46          Page: 257          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                 Document    Page 11 of 54



 stay under section 362(a) or an injunction under section 105(a)" because it was "of no moment for

 purposes of this appeal"). This Court disagrees. Although adiscussion of the ultimate Ejfect may

 be purely "academic" because the end result is the same, the proper procedure for getting there

 under each basis employs different methodologies and, thus, cannot be brushed aside as semantics.

 Significantly, if acourt were to determine that § 362(a)(3), alone, serves as aproper basis to extend

 the stay to anondebtor, then the inquiry could end there. However, to the extent acourt wishes to

 rely on § 105(a) to enjoin actions against nondebtors, the court must first decide that it has subject

 matter jurisdiction. See In re W.R. Grace & Co., 591 F.3d 164, 170-71 (3d Cir. 2009) (quoting In

 re Combustion Eng'g, Inc., 391 F.3d 190, 225 (3d Cir.2004)) (holding that, because § 105(a) does

 not provide an independent source of federal subject matter jurisdiction, acourt must establish that

 it has subject matter jurisdiction prior to issuing an injunction under § 105(a)).

        Ultimately, until the Third Circuit provides clearer guidance, this issue remains unsettled.

 Indeed, in several cases out of the Eastern District of Pennsylvania, district courts have used and

 re-used athree- step inquiry to determine whether the bankruptcy court's extension of astay to a

 nondebtor was appropriate: "( 1) whether the Bankruptcy Court had jurisdiction to issue the

 injunction; (2) whether the Bankruptcy Court properly extended the automatic stay under section

 362(a) to the non-debtors; and (3) whether the Bankruptcy Court properly exercised its discretion

 in issuing the injunction." In re Philadelphia Newspapers, LLC, 423 B.R. at 102 (citing

 Philadelphia Newspapers H, 407 B.R. at 611).           Therefore, although this Court maintains that

 application of the stay to nondebtor third parties can be premised on several distinct grounds, this




                                                   11




                                                A150
      Case: 22-2003          Document: 46          Page: 258          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document     Page 12 of 54




 Court will follow the framework established in the In re Philadelphia Newspapers line of cases.

 Accordingly, the Court first addresses its jurisdiction.

        B. Subject Matter Jurisdiction

        `Bankruptcy jurisdiction extends to four types of title 11 matters: ( 1) cases ` under' title 11;

 (2) proceedings ` arising under' title 11; (3) proceedings ` arising in' acase under title 11; and (4)

 proceedings `related to' acase under title 11." Stoe v. Flaherty, 436 F.3d 209, 216 (3d Cir. 2006),

 as amended (Mar. 17, 2006) (citing 28 U.S.C. § 1334(b) and In re Combustion Eng'g, Inc., 391

 F.3d 190, 225 (3d Cir. 2004) (citations omitted)). "The first three categories are considered ` core'

 proceedings, whereas the fourth category, `related to' proceedings, are considered ` non- core'

 proceedings." In re E. Orange Gen. Hosp., Inc., 587 B.R. 53, 71 (D.N.J. 2018) (citing In re Resorts

 Intl, Inc., 372 F.3d 154, 162 (3d Cir. 2004)). A bankruptcy court has the power to hear, decide

 and enter final orders and judgments in the first three categories of proceedings. 28 U.S.C.

 §157(b)(1); In re Roggio, 612 B.R. 655, 660 (Bankr. M.D. Pa. 2020).

        A proceeding "arise [s] under" the Bankruptcy Code when the Bankruptcy Code creates the

 cause of action or provides the substantive right being invoked. Stoe v. Flaherty, 436 F.3d at 217.

 (3d Cir. 2006). A proceeding "arise[s] in" acase when it is aproceeding that, by its nature, could

 arise only in the context of abankruptcy case. Id. at 216 (quoting United States Trustee v. Gryphon

 at the Stone Mansion, Inc., 166 F.3d 552, 556 (3d Cir. 1999) and explaining that aproceeding

 arises in abankruptcy case if it has "no existence outside of the bankruptcy"). Finally, "aclaim

 falls within the bankruptcy court's `related to' jurisdiction if the outcome of that proceeding could

 conceivably have any effect on the estate being administered in bankruptcy." In re Winstar




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                                                A151
      Case: 22-2003          Document: 46          Page: 259          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 13 of 54



 Commc'ns, Inc., 554 F.3d 382, 405 (3d Cir. 2009) (internal quotations and citations omitted); see

 also In re W.R. Grace & Co., 591 F.3d 164 (3d Cir. 2009).

        The Original TCC maintains that this Court lacks subject matter jurisdiction over this issue.

 First, the Original TCC contends that Debtor's request for injunctive relief is not acore proceeding

 because it does not "arise under" or "arise in" the bankruptcy case. The Original TCC does not

 develop this argument and asserts, broadly, that injunctive relief is not unique to bankruptcy cases

 and that "Debtor's mere invocation of § 105 (or § 362, for that matter) is insufficient to establish

 that the injunction it seeks" is acore proceeding. O/jection cf Original TCC 80, ECF No. 142.

 The Original TCC then adds that, "[ e]ven if these statutory provisions fall under the Court's ` core'

 jurisdiction in ageneral sense, the Court is without any jurisdiction to stay actions between non-

 debtors unless those actions could have some conceivable impact on the estate." Id. at 80-81. As

 Debtor points out, the Original TCC is incorrect. To the extent aproceeding is a "core" proceeding,

 the Court has jurisdiction and the inquiry ends there. Courts need not consider the impact on the

 estate unless they are exercising "related-to" jurisdiction. The case law cited by the Original TCC

 in its supporting footnote supports this position. See, e.g., Stoe v. Flaherty, 436 F.3d 209 (finding

 that the court lacked jurisdiction because the matter was not acore proceeding).

        Although "the Third Circuit has not addressed this precise issue, other courts have

 concluded that motions to extend an automatic stay and injunction to non-debtor third parties

 pursuant to sections 362 and 105 qualify as ` core' proceedings." LTL Mgmt., LLC v. Those Parties

 Listed on Appendix A to Complaint, No. 21-cv-20252 (FLW), 2022 WL 190673, at * 4 (D.N.J. Jan.

 21, 2022) (collecting cases). Further, Debtor in this case invokes § 362 to obtain the relief it seeks.




                                                   13




                                                A152
      Case: 22-2003         Document: 46          Page: 260         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 14 of 54



 Because the instant proceeding invokes asubstantive right under the Bankruptcy Code and is a

 proceeding that, by its nature, could arise only in the context of abankruptcy case, the Court

 determines that it is acore proceeding over which this Court can exercise jurisdiction. In denying

 the Original TCC's motion to withdraw the reference, the district court reached the same

 conclusion. Id. ("Here, the Adversary Proceeding is a ` core' proceeding. ").

        In any event, the Court determines that it also has "related to" jurisdiction. The Original

 TCC contends that talc-related claims against the nondebtor Protected Parties have "no

 conceivable effect on the Debtor's bankruptcy estate ...." O/jection cf Original TCC 81, ECF

 No. 142. As discussed in greater detail irfra, this Court disagrees. "What will or will not be

 sufficiently related to abankruptcy to warrant the exercise of subject matter jurisdiction is amatter

 that must be developed on afact- specific, case-by- case basis." In re W.R. Grace & Co., 591 F.3d

 164, 174 n.9 (3d Cir. 2009). Here, the Court concludes that Debtor is liable for the talc claims as

 the result of pre-petition corporate transactions, including the 2021 Corporate Restructuring, and

 various contractual indemnification obligations.      Additionally, although the extent of shared

 insurance coverage is disputed, it remains uncontested that Debtor shares insurance policies—

 which are estate property under 11 U.S.C. § 541(a)—with the Protected Parties.            Therefore,

 continued litigation of talc claims against the Protected Parties has a "conceivable effect" on the

 bankruptcy estate because it effectively seeks to collect and liquidate claims against Debtor and

 could deplete available insurance coverage. The weight of the case law supports this conclusion.

 See, e.g., In re Union Tr. Philadelphia, LLC, 460 B.R. 644, 657 (E.D. Pa. 2011) (finding that

 debtor's potential indemnification obligations and the impact on debtor's reorganization efforts,




                                                  14




                                               A153
       Case: 22-2003              Document: 46             Page: 261            Date Filed: 06/30/2022

Case 21-03032-MBK              Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                           Desc Main
                                      Document    Page 15 of 54



 taken together, provide an adequate basis for the Court to find that the state court proceedings are

 sufficiently "related to" the underlying bankruptcy); In re Philadelphia Newsp6pers, LLC, 423

 B.R. at 103 (finding "related to" jurisdiction where debtor might be obligated to indemnify third

 party in the event of ajudgment); Philadelphia Newspaper, LLC, 407 B.R. at 614-15 (finding

 "related to" jurisdiction due to the impact of the litigation on the debtor's reorganization efforts as

 well as the debtor's practice of indemnifying its employees).

          C. §362(a)(1)

          In support of its position, Debtor first cites to subsection ( 1) of § 362(a).                Specifically,

 Debtor contends that the talc claims are—at their core—an attempt to liquidate and recover claims

 against Debtor. Debtor explains that Old JJCI no longer exists and Debtor, alone, is responsible

 for the talc claims. Debtor also contends that Old JJCI's and J&J's talc-related liabilities were

 transferred to Debtor as the result of the corporate transactions previously discussed. Thus, Debtor

 asserts that talc-related claims against Old JJCI and J&J constitute "action[s] or proceeding[s]

 against the debtor" to collect pre-petition debts and are expressly precluded under § 362(a)(1).

 Debtor's Sapp. Mem. 41, ECF No. 128 (citing In re Heating Oil Partners, No. 08-1976, 2009 WL

 5110838, at * 6-7 (D. Conn. Dec. 17, 2009)).




 7 In afootnote, the Original TCC relies on the Third Circuit's decision in Federal-Mogul for the proposition that
 "related to" bankruptcy jurisdiction "exists only where ` the allegedly related lawsuit would affect the bankruptcy
 proceeding without the intervention of yet another lawsuit.' "Oljection cf Original TCC 81, n.38, ECF No. 142.
 (quoting In re Fed.-Mogul Glob., Inc., 300 F.3d 368, 382 (3d Cir. 2002)). As Debtor points out, however, the court
 in Federal-Mogul did not reach the merits of whether the district court had "related to" jurisdiction. In re Fed.-Mogul
 Glob., Inc., 300 F.3d at 384. Instead, the appellate court reviewed the district court's denial of defendant's transfer
 motion in the context of deciding whether to grant awrit of mandamus. Id. Thus, the Original TCC's reliance on
 Federal-Mogul does not alter this Court's conclusion with respect to subject matter jurisdiction.




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                                                        A154
      Case: 22-2003         Document: 46          Page: 262         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 16 of 54



        Additionally, Debtor points out that it is responsible for claims asserted against the

 Retailers and certain other indemnified parties, including New JJCI and J&J (the "Indemnified

 Parties"). Accordingly, Debtor argues that although talc claims are asserted against these other

 entities, Debtor is the true defendant. Indeed, Third Circuit precedent recognizes that the automatic

 stay under § 362(a)(1) can be extended to third parties where "unusual circumstances" exist. See

 McCartney v. Integra Nat. Bank N., 106 F.3d at 510. Such unusual circumstances may be found

 "where ` there is such identity between the debtor and the third-party defendant that the debtor may

 be said to be the real party defendant and that ajudgment against the third-party defendant will in

 effect be ajudgment or finding against the debtor."' Id. (
                                                          quoting A.H. Robins Co. v. Piccinin, 788

 F.2d 994, 999 (4th Cir. 1986)); see also In re Philadelphia Newsp6pers, LLC, 407 B.R. 606, 616

 (E.D. Pa. 2009) (explaining that unusual circumstances exist warranting extension of the stay to

 nondebtors when: "(i) the non-debtor and debtor enjoy such an identity of interests that the suit of

 the non-debtor is essentially asuit against the debtor; or (ii) the third-party action will have an

 adverse impact on the debtor's ability to accomplish reorganization"); In re W.R. Grace & Co.,

 No. 01-01139 (JKF), 2004 WL 954772, at * 2 (Bankr. D. Del. Apr. 29, 2004).

        The Original TCC and AWOK (collectively, the "Objecting Parties") vehemently object

 to Debtor's request to extend the automatic stay to the Protected Parties. Their primary argument

 in opposition is bottomed on the Objecting Parties' distaste for the 2021 Corporate Restructuring

 and the use of the Texas divisional merger statute to create aspecial purpose vehicle in the hours

 before the bankruptcy filing to accomplish J&J's goals. See O/jection cf Original TCC 49-52,

 ECF No. 142, Oljection cf AWOK ¶12, ECF No. 143. Both Objecting Parties ask this Court to




                                                  16




                                               A155
      Case: 22-2003          Document: 46            Page: 263        Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                  Document     Page 17 of 54




 look beyond the plain statutory language and see the larger picture. See O/jection c
                                                                                    fOriginal TCC

 51-53, ECF No. 142; Oljection cfA WOK 7, ECF No. 143 (asking the Court to "take into account

 all the relevant circumstances"). In short, they contend it would be inequitable—and produce an

 "absurd result"—if courts were to permit nondebtors to "avail themselves of the automatic stay

 simply by unilaterally allocating to the debtor indemnity and other obligations on the eve of the

 bankruptcy filing." Oljection cf Original TCC 53, ECF No. 142.

          This Court recognizes that it is obligated "to construe statutes sensibly and avoid

 constructions which yield absurd or unjust results." Douglass v. Convergent Outsourcing, 765 F.3d

 299, 302 (3d Cir. 2014) (quoting United States v. Fontaine, 697 F.3d 221, 227 (3d Cir. 2012); see

 also United States v. Ron Pair Enters., Inc., 489 U.S. 235, 242, 109 S. Ct. 1026, 103 L.Ed.2d 290

 (1989)). However, as discussed at length in the Opinion Denying the Motions to Dismiss, this

 Court finds no impropriety in the divisional merger used here to create aspecial-purpose vehicle

 to address the talc claims and, thus, perceives no "absurd or unjust result" produced if the automatic

 stay is extended to the Protected Parties to enable Debtor to achieve its ultimate objective. As

 Debtor points out, and as expressly found by Judge Whitley after the initial hearing, if the stay is

 not extended to the Protected Parties, it is difficult to envision how asuccessful reorganization can

 be achieved in this case. See Transcript cfHearing 142:15-17, ECF No. 392 in Case No. 21-30589

 (Nov. 10, 202 1) ("We're not going to have abankruptcy case of any sort if everybody can go sue

 J&J and assert the same claims that they would be asserting there. ").

          The Court acknowledges and appreciates the Objecting Parties' concerns regarding Old

 JJCI's   pre-petition   corporate   restructuring   and   Debtor's   subsequent   bankruptcy   filing.




                                                     17




                                                A156
       Case: 22-2003              Document: 46              Page: 264            Date Filed: 06/30/2022

Case 21-03032-MBK              Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                            Desc Main
                                      Document    Page 18 of 54



 Nevertheless, as detailed in the Opinion Denying the Motions to Dismiss, this Court determines

 that those valid concerns do not change the fact that Debtor was created pursuant to—and in

 compliance with—along-standing Texas statute. Additionally, those concerns do not establish

 bad faith, nor do they undermine the legitimate purpose of this bankruptcy. In so ruling, this Court

 considered the totality of circumstances, including, but not limited to, litigation posture outside the

 bankruptcy court, the subjective intent of Debtor and management, the degree of financial distress

 facing Debtor, the pressures from non-moving creditors, pre-petition litigation conduct, the nature

 of the creditor body and the extent of assets, the structure and formation of Debtor, and Debtor's

 reorganizational purpose and exit strategy. In sum, the Court is not persuaded by the Objecting

 Parties' allegations of gamesmanship or inequity. Those arguments provide neither grounds for

 dismissal, nor asufficient basis to decline to extend the stay to the Protected Parties. The case law

 on which the Original TCC relies is distinguishable.' Therefore—working from the baseline that

 the bankruptcy was filed in good faith—this Court focuses its attention on Third Circuit precedent

 as applied to the facts of this case in resolving the instant Motion.



 sCiting In re Owens Corning, 419 F.3d 195, 212 ( 3d Cir. 2005) and In re Integrated Telecom Express, Inc., 384 F.3d
 108 ( 3d Cir. 2004), the Original TCC contends that " the Third Circuit has rejected similar attempts to ` game' the
 Bankruptcy Code." Oljection cf Original TCC 53, ECF No. 142. However, in In re Owens Corning, the court denied
 substantive consolidation where it was used as ameans of giving debtor(s) an advantage over one group in plan
 negotiations, and the court in In re Integrated found alack of good faith where the bankruptcy was filed with the sole
 purposes of prejudicing one creditor. As discussed at length in this Court's Opinion Denying the Motions to Dismiss,
 the bankruptcy in this case does not provide Debtor with an improper tactical advantage and does not result in prejudice
 to nondebtor creditors. Thus, In re Owens Corning and In re Integrated do not change this Court's analysis. The
 Original TCC also cites multiple cases for the proposition that "feigned" or " collusive" filings should be rejected.
 Oljection cf Original TCC 54, ECF No. 142 (citing Poe v. Ullman, 367 U.S. 497, 505, 81 S. Ct. 1752, 1757, 6L. Ed.
 2d 989 ( 1961); United States v. Johnson, 319 U.S. 302, 303, 63 S. Ct. 1075, 1076, 87 L. Ed. 1413 ( 1943); Muskrat v.
 United States, 219 U.S. 346, 31 S. Ct. 250, 55 L. Ed. 246 ( 1911). Again, this Court has resolved the issue of good
 faith and finds the instant bankruptcy is neither " feigned" nor "collusive" and serves alegitimate bankruptcy purpose.
 Accordingly, the cases cited by the Original TCC are unpersuasive and do not serve as abasis for denying extension
 of the automatic stay.




                                                           18




                                                        A157
      Case: 22-2003          Document: 46          Page: 265          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 19 of 54




                1.   Identify of Interests

        Here, the Court finds that the nondebtor Protected Parties and Debtor enj oy such an identity

 of interests that alawsuit asserting talc-related claims against the Protected Parties is essentially a

 suit against Debtor. Following the two-day evidentiary hearing in the North Carolina Bankruptcy

 Court, Judge Whitley reached the same conclusion. See Transcript cfHearing 141:8-12, ECF No.

 392 in Case No. 21-30589 (Nov. 10, 2021) ("Ibelieve there is, in effect, an identity of interest

 within the meaning of the Robins case and that, notwithstanding the potential that some of the

 claims may be direct, almost all of them, if not all of them, relate to the debtor's operations. "). As

 an initial matter, the talc claims against the Protected Parties involve the same products, same time

 periods, same alleged injuries, and same evidence as claims against Debtor. See id. 138:14-19

 ("They're being sued on, effectively, the same products, the same time periods, etc.).             The

 Objecting Parties do not—and cannot—dispute that Old JJCI no longer exists and that Debtor

 assumed its liabilities. See TEx. Bus. OxGs. CODE ANN. § 10.008(a)(2), (3) (directing that "all

 liabilities and obligations" of the dividing entity automatically "are allocated to one or more of the

 ... new organizations in the manner provided by the plan of merger"). Likewise, the Objecting

 Parties do not—and cannot—deny the corporate transactions and indemnity agreements that left

 Debtor ultimately responsible for talc-related liabilities. Judge Whitley similarly concluded that

 Old JJCI assumed liability associated with the J&J Baby Products Division. Transcript cfHearing

 138:13-17, ECF No. 392 in Case No. 21-30589 (Nov. 10, 2021) ("I believe under the

 circumstances that the language used effectively means that what we had was an assumption of all

 of the liabilities of the debtor and that is broad enough to cover future product liability claims. ").




                                                   19




                                                A158
      Case: 22-2003            Document: 46       Page: 266         Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35              Desc Main
                                   Document    Page 20 of 54



 The Original TCC states in its opposition that "the claim of shared identities of interests is based

 solely on the allocation of agreements to the debtor on the eve of the bankruptcy filing for the very

 purpose of extending the stay." Oljection cf Original TCC 56, ECF No. 14. The Court is willing

 to accept that summarization and views it as avalid basis for extending the stay to the Protected

 Parties—not as areason to decline extension of the stay as advanced by the Original TCC.

                   2.   Impact on Bankruptcy Estate and Reorganization

         The Original TCC additionally argues that "the existence of an indemnification from the

 debtor to anon-debtor ... is an insufficient ground for extension of the automatic stay." Oljection

 cf Original TCC 57, ECF No. 14.        Rather, the Original TCC insists that adebtor must also

 demonstrate that "the indemnification obligation threatens the debtor's assets or reorganization."

 Id. Relevant case law and the underlying purpose of the automatic stay support the Original TCC's

 interpretation.    The court in Robins provided an illustration, noting that asituation in which

 extension of the stay would be warranted "would be asuit against athird-party who is entitled to

 absolute indemnity by the debtor on account of any judgment that might result against them in the

 case [because] ... [t]o refuse application of the statutory stay in that case would defeat the very

 purpose and intent of the statute." A.H. Robins Co. v. Piccinin, 788 F.2d at 999; see also

 McCartney, 106 F.3d at 510. Thus, acritical factor in deciding whether to extend the stay is the

 potential adverse impact on adebtor's estate and prospect of reorganization.


         The Original TCC asserts that Debtor cannot prove that its indemnification obligations

 expose it to adverse consequences because "Debtor is ashell and has no actual estate to be

 impacted." Oljection cf Original TCC 58, ECF No. 142. Again, the Original TCC's argument




                                                  20




                                               A159
      Case: 22-2003         Document: 46          Page: 267         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 21 of 54



 is rooted in its contention that this bankruptcy is a "charade." Id. at 57. The Court has already

 addressed and dispelled this argument in the accompanying Opinion Denying the Motions to

 Dismiss and will not belabor the point here. The bottom line is that Debtor is valid corporate

 entity, created properly and in accordance with Texas statute, with abankruptcy estate comprised

 of assets and liabilities—including talc-related liabilities and indemnity obligations assumed

 from Old JJCL Although the Original TCC attempts to characterize the Funding Agreement as

 acircular exchange of liability and payments that leaves Debtor's estate ultimately unaffected,

 this argument ignores the fact that, pursuant to the terms of the Funding Agreement, Debtor must

 first use its own assets to fund the trust—resorting only to financial contributions from J&J and

 New JJCI as abackstop. Thus, in this Court's view, the talc claims have an undeniable impact

 on Debtor's estate. Moreover, the Original TCC's unsupported allegations that Debtor and J&J

 "will not honor its reimbursement obligations under the Funding Agreement" or intend to

 "maroon [their] liability" represent mere speculation and wholly ignore this Court's role in

 supervising the bankruptcy case, the creation and funding of atrust, and trust distributions.

 Oljection cf Original TCC 58, ECF No. 142. Given Debtor's and J&J's actions in this case—

 which, to date, have been candid and transparent—there is simply no indication that the Funding

 Agreement is a "scheme to hinder, delay, and defraud talc powder creditors" as the Original TCC

 alleges. Id. And, to the extent Debtor's actions drift in that direction, this Court is prepared to

 take swift action and will honor its commitment of ensuring that claimants receive fair and timely

 compensation under acomprehensive and transparent distribution scheme.


        Given the facts of this case, the Court concludes that continued litigation against the




                                                  21




                                               A160
      Case: 22-2003         Document: 46          Page: 268         Date Filed: 06/30/2022

Case 21-03032-MBK        Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                Document    Page 22 of 54



 Protected Parties would liquidate pending tort claims, as well as indemnification claims, against

 Debtor outside of chapter 11 and potentially deplete available insurance coverage—frustrating

 the purpose of the automatic stay. See, e.g., In re Dow Corning Corp., 86 F.3d 482, 494 (6th Cir.

 1996), as amended on denial cf reh'g and reh'g en bane (
                                                        June 3, 1996) ("The potential for Dow

 Coming's being held liable to the nondebtors in claims for contribution and indemnification, or

 vice versa, suffices to establish aconceivable impact on the estate in bankruptcy. "). Moreover,

 continued litigation against the Protected Parties would divert funds and resources toward

 defense costs and potentially disrupt the flow of funds and resources to Debtor's trust pursuant

 to the Funding Agreement. See, e.g. In re MCSi, Inc., 371 B.R. 270, 271-72 (
                                                                            S.D. Ohio 2004)

 (quoting Gray v. Hirsch, 230 B.R. 239, 243 (S.D.N.Y.1999) and collecting cases in which courts

 "stayed actions against non-debtor co-defendants ` where they have found that the bankrupt estate

 would be adversely affected because the creditor's action would prevent the non-debtor from

 contributing funds to the reorganization, or would consume time and energy of the non-debtor

 that would otherwise be devoted to areorganization effort' "). Furthermore, continued litigation

 against the Protected Parties would undoubtedly impair mediation efforts and negotiations within

 this bankruptcy and would complicate estimation hearings, with multiple uncoordinated hearings

 nationwide.


                3. Joint Tortfeasor


        The Original TCC also asserts that J&J is ajoint tortfeasor with direct liability and, thus,

 the automatic stay should not preclude prosecution of those independent and direct claims

 against J&J as anondebtor third party. The Original TCC cites ahost of cases and asserts that




                                                 22




                                               A161
      Case: 22-2003          Document: 46           Page: 269         Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                  Document    Page 23 of 54



 it is "settled law that `joint tortfeasors' are not entitled to the benefit of the automatic stay upon

 aco-defendant's bankruptcy filing." O/jection cf Original TCC 60, ECF No. 142. This assertion

 and the selective portions of underlying case law are misleading.            Indeed, as previously

 discussed, the automatic stay typically applies only to the debtor and, like any other nondebtor

 third party, does not extend to "joint tortfeasors." Also discussed, there exists an exception to

 this general rule in that the stay can be extended when the circumstances so warrant. Thus, even

 assuming direct liability exists, the analysis for whether an extension of the automatic stay is

 warranted based on "unusual circumstances" remains unaffected. The authority upon which the

 Original TCC relies does not convince this Court otherwise. Specifically, the Original TCC cites

 to Will ford v. Armstrong World Indus., Inc., 715 F.2d 124, 128 (4th Cir. 1983) and Gold v.

 Johns-Manville Sales Corp., 723 F.2d 1068, 1076 (3d Cir. 1983), and quotes the Robins court.

 However, in both Johns-Manville and Will ford, the joint tortfeasors sought to stay proceedings

 under the theory that the debtor co-defendants were "indispensable parties." Neither of those

 cases involved the situation presented here, wherein Debtor argues that suits against the

 Protected Parties (the "joint tortfeasors") will have an adverse impact on the bankruptcy estate.

 Additionally, the Original TCC quotes from the Robins decision and asserts that the Robins court

 "opin[ed]" that the automatic stay would "clearly not extend to such non debtor." Robins, 788

 F.2d at 999. However, the language quoted is truly dicta in which the Robins court discusses the

 analysis of abankruptcy court in the District of Connecticut, see In re Metal Or., Inc., 31 B.R.

 458 (Bankr. D. Conn. 1983). Further, in the very next sentence, the Robins court acknowledges

 the exception to the general rule in its continued discussion of the In re Metal opinion, explaining




                                                   23




                                                 A162
      Case: 22-2003         Document: 46          Page: 270           Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                 Document    Page 24 of 54



 that if " adebtor and nondebtor are so bound by statute or contract that the liability of the

 nondebtor is imputed to the debtor by operation of law, then the Congressional intent to provide

 relief to debtors would be frustrated by permitting indirectly what is expressly prohibited in the

 Code.... Clearly, the debtor's protection must be extended to enjoin litigation against others if

 the result would be binding upon the debtor's estate." Robins, 788 F.2d at 999 (
                                                                                quoting In re

 Metal Or., Inc., 31 B.R. at 462).


        For the foregoing reasons, the Original TCC's "joint tortfeasor" argument does not

 preclude extension of the automatic stay to the Protected Parties.


                4.   Challenge to the 1979 Agreement


        The Original TCC disputes Debtor's talc liability by challenging the 1979 transaction in

 which Old JJCI agreed to indemnify J&J (the "1979 Agreement"). Specifically, the Original

 TCC claims there is no legal or factual support in the record. The Court disagrees. The 1979

 Agreement provides, in relevant part:


        WHEREAS, J&J has anumber of operating divisions conducting various lines of
        business; and WHEREAS, one of these operating divisions is named the
        JOHNSON & JOHNSON BABY PRODUCTS COMPANY Division (sometimes
        hereinafter called the " BABY Division"); and

        WHEREAS, the Subsidiary corporation, is wholly- owned by J&J and J&J is
        desirous of transferring to this Subsidiary all assets and liabilities which are
        now allocated to the BABY Division on the books or records of Johnson &
        Johnson; ...

        1979 Agreement (
                       emphasis added), Movants' Ex. 600.02.


        Section 1of the 1979 Agreement clearly provides that J&J Baby Products assumed all




                                                 24




                                               A163
      Case: 22-2003           Document: 46          Page: 271         Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                  Document    Page 25 of 54



 liabilities of every kind and description associated with the Baby Products division and

 indemnified J&J for such liabilities:


         J&J ... does grant, bargain, sell, assign, alien, remise, release, convey, transfer, set
         over and confirm, unto the Subsidiary, its successors and assigns, forever, all the
         businesses, franchises, properties and assets ... which are now allocated on its
         books or records of J&J to its Baby Division ....



         ... Subsidiary agrees to assume ... all the indebtedness, liabilities and obligations
         of every kind and description which are allocated on the books or records of J&J as
         pertaining to its BABY Division and the Subsidiary hereby covenants and agrees
         with J&J that the Subsidiary will forever ... indemnify and save harmless J&J
         against all the indebtedness, liabilities and obligations aforesaid hereby assumed. .




         [T]he covenants and agreements herein contained shall inure to the benefit of and
         shall bind the respective parties hereto and their respective successors and assigns.



 Id. §§ 1, 4.   In interpreting the language of the 1979 Agreement and the relevant circumstances,

 the Court concludes that J&J Baby Products assumed all liabilities, including contingent and

 future product liability claims.    The Original TCC makes much of the fact that the 1979

 Agreement uses the phrase "on the books or records." In the Original TCC's view, the use of

 this phrase has aspecific meaning in the context of corporate law and, thus, limited the scope of

 liability assumed to only those liabilities existing and reported on J&J's books and records at the

 time of the transaction. The Original TCC cites to Deutsche Bank Nat'l Tr. Co. v. Fed. DEposit

 Ins. Corp., 109 F. Supp. 3d 179 (D.D.C. 2015) in support of this position. In Deutsche, the court

 analyzed acontractual provision that provided for the sale of liabilities and used the phrase

 "which are reflected on the Books and Records" to define those liabilities. Deutsche, 109 F. Supp




                                                   25




                                                 A164
      Case: 22-2003             Document: 46       Page: 272         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                 Document    Page 26 of 54



 at 198. When adispute arose as to the amount of the liabilities assumed in the contract, the

 Deutsche court concluded that "the liabilities assumed by [the buyer] do not extend beyond the

 amounts listed [in the seller's] financial accounting records." Id. However, the contractual clause

 at issue in Duetsche is distinguishable from the clause at issue in this case in several respects.

 First, the contract in Duetsche memorialized asale between two unrelated entities as opposed to

 the inter- company transfer in the present case. Second, the contract in Deutsche provided that

 the liabilities were assumed "expressly ... at Book Value." Id. The reference to "Book Value"—

 which is absent from the contract at issue in the instant case—suggests afinite value to the

 liability being transferred.    In contrast, the agreement at issue here does not include such

 definitive language. Instead, it includes the word "forever" and explains that the contract will

 bind the parties as well as their successors and assigns. 1979 Agreement, § 1. Accordingly, it

 appears the 1979 Agreement contemplates continuing and future obligations resulting from the

 transfer of the business. In this respect the Court is persuaded by the decision in Bouton v. Litton

 Indus., Inc., 423 F.2d 643 (3d Cir. 1970), acase relied on by Debtor. Like the parties in Bouton,

 the parties in this case expressed aclear intention of carrying that business forward after the

 transfer. Bouton, 423 F.2d at 651.


        Additionally, the court in Deutsche used extrinsic evidence to determine the meaning of

 the contract. Deutsche, 109 F. Supp at 204-207. The New Jersey Supreme Court "permit[s] a

 broad use of extrinsic evidence to achieve the ultimate goal of discovering the intent of the

 parties." Conway v. 287 Corp. Or. Assocs., 187 N.J. 259, 270, 901 A.2d 341, 347 (2006)

 ("Extrinsic evidence may be used to uncover the true meaning of contractual terms.") (citing Ad.




                                                  26




                                                A165
      Case: 22-2003         Document: 46          Page: 273         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 27 of 54



 N. Airlines v. Schwimmer, 12 N.J. 293, 304, 96 A.2d 652, 657 ( 1953)); see also Caldwell

 Trucking PRP v. Rexon Tech. Corp., 421 F.3d 234, 243-44 (3d Cir. 2005) (stating that "under

 New Jersey law, courts should interpret acontract considering the objective intent manifested in

 the language of the contract in light of the circumstances surrounding the transaction") (internal

 quotations and citations omitted); Pier 541 LLC v. Crab House, Inc., No. 19-00437, 2021 WL

 4438128, at * 3 (D.N.J. Sept. 28, 2021). While the Deutsche court ultimately concluded that the

 contract limited the amount of liability assumed, the factual distinctions between the

 circumstances in Deutsche and the case at hand compel this Court to reach an opposite

 conclusion. The meeting minutes for the J&J Board of Directors Meeting held on December 12,

 1978 provide insight into the purpose of the 1979 Agreement. Specifically, the minutes reflect

 that, in furtherance of J&J's "long standing policy of decentralization of corporate business," the

 1979 Agreement was intended to transfer all assets to subsidiaries who would, in turn, assume

 liabilities. cThus, the construction of the 1979 Agreement advanced by the Original TCC, which

 limits the liability assumed to such reported in the books and records at the time of the

 transaction, is inconsistent with the stated purpose of the transaction as reflected in the Board

 Minutes.


        During oral argument on this Motion, counsel for TCC II asserted that the language of

 the 1979 Agreement was "particular" and "specific," suggesting that the Court should not look

 beyond the plain meaning of the Agreement's terms for purposes of interpretation. However,

 evidence of circumstances is admissible in aid of interpretation of an integrated agreement, even

 though the contract on its face is free from ambiguity. See Conway, 187 N.J. 259 (citing




                                                  27




                                               A166
      Case: 22-2003         Document: 46          Page: 274         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                 Document     Page 28 of 54




 Schwimmer, 12 N.J. 293). In point of fact, this Court finds the 1979 Agreement to be ambiguous

 as to the status and treatment of future liability. Indeed, the 1979 Agreement is silent in this

 respect. "Under New Jersey law, ambiguities in an indemnification agreement are generally

 construed against the indemnitee," which is the party receiving indemnity. Caldwell Trucking

 PRP, 421 F.3d at 244 (3d Cir. 2005) (citing SmithKline Beecham Corp. v. Rohm & Haas Co., 89

 F.3d 154, 161 n.3 (3d Cir. 1996).    Thus, in this case, any ambiguity in the 1979 Agreement

 should be construed in favor of Old JJCI as the indemnitor. The Court need not engage further

 in this analysis as the record demonstrates that both Old JJCI and the Protected Parties share a

 common understanding as to which party was responsible for talc-related liabilities following

 the 1979 Agreement.


        In addition, when faced with the absence of a critical contractual term—here, future

 liability—"courts ` will imply areasonable missing term or, if necessary, will receive evidence

 to provide abasis for such an implication.' "Twp. cf White v. Castle Ridge Dev. Corp., 419 N.J.

 Super. 68, 76-77, 16 A.3d 399, 404 (App. Div. 2011) (quoting Satellite Entm't Or., Inc. v.

 Keaton, 347 N.J. Super. 268, 276, 789 A.2d 662 (App. Div. 2002)). "In particular, courts will

 look to, among other things, all the relevant circumstances surrounding the transaction, as well

 as evidence of the parties' course of dealing, usage and course of performance." Elliott & Frantz,

 Inc. v. IngersollRand Co., 457 F.3d 312, 328 (3d Cir. 2006) (applying New Jersey law); see

 also 49 N.J. PRACTICE PROCEDURE § 7:25 (2010 ed.) (citing RESTATEMENT (SECOND) OF

 CONTRACTS § 202(4) ( 1979)).        Accordingly, the Court considers the parties' course of

 performance since the time of the 1979 Agreement to glean the intent of the parties.




                                                 28




                                               A167
      Case: 22-2003          Document: 46          Page: 275          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 29 of 54



         Debtor represents, and the Original TCC does not dispute, that "all talc-related costs not

 otherwise covered by insurance have been charged to Old JJCI since the assumption of liabilities

 under the 1979 Agreement." Debtor's Omnibus Reply 19, ECF No 146. Although the Original

 TCC attempts to frame this course of action as "purely afunction of accounting policy, not legal

 responsibility," Oljection cf Original TCC 38, ECF No. 142, deposition and trial testimony from

 Adam Lisman—who is the assistant controller for Johnson & Johnson and the Apex Company—

 confirms that the accounting was based on an underlying obligation. Specifically, Mr. Lisman

 confirmed that since the 1979 transaction, Old JJCI is legally responsible for, and has actually

 paid, all talc-related expenses. Trial Tr. 123:21-22, Feb. 16, 2022, ECF No. 1518 ("My

 understanding is that JJCI borne [sic] all financial responsibility [for the talc litigation].");

 Lisman Dep. Tr. 117:1-3, Oct. 30, 2021, Ex. H to Toroborg Decl., ECF No. 1444-9 ("[T]hese

 are talc product liability costs that JJCI was ultimately responsible for, which is why it is showing

 up as an expense on their account."); id at 194:21, 195:10 ("Q: And does that mean that

 accounting follows the legal obligation associated with the expense? ... A: Yes.") (objections

 omitted). Accordingly, the parties' course of performance since the time of the 1979 Agreement

 reinforces this Court's conclusion that Old JJCI was legally responsible for talc-related liabilities

 as aresult of the 1979 Agreement.


         The 1979 Agreement also provides J&J Baby Products with an irrevocable power of

 attorney to substitute itself "for J&J and in its [J&J's] name and stead ... on behalf of and for

 the benefit of the Subsidiary" to, among other things, "defend and compromise any and all

 actions, suits or proceedings in respect of any said Properties"—defined as the Baby Products




                                                   29




                                                A168
      Case: 22-2003          Document: 46          Page: 276         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                 Document    Page 30 of 54



 division's "businesses, franchises, properties and asset." 1979 Agreement § 2, Movants' Ex.

 600.02. Thus, in 1979, J&J Baby Products became the real party in interest for all actions, suits

 or proceedings relating to the talc previously sold by J&J or in any way arising out of the talc

 business that was being transferred. And, as the result of aseries of transactions culminating in

 the 2021 Corporate Restructuring, Debtor assumed that liability and substituted in as the real

 party in interest. This, in turn, weighs in favor of extending the stay.


                5.   Retailers


         The Original TCC next contends that an extension of the stay to the Retailers is

 inappropriate because no identity of interests exists between Debtor and the Retailers. In support

 of this position, the Original TCC revives its argument that the Retailers are j
                                                                                oint tortfeasors who

 may owe direct liability to talc claimants. The Original TCC asserts that "the fact that Old JJCI,

 after the fact, may have entered into Tender Agreements [ or indemnification agreements] with

 the retailers does not eliminate such liability." Oljection cf Original TCC 70, ECF No. 142.

 Nonetheless, as discussed, the existence of joint tortfeasor status or direct liability does not end

 the inquiry as to whether the automatic stay should be extended to anondebtor co-defendant.

 Here, Debtor certifies that it owes contractual, common law, and statutory indemnification

 obligations to the Retailers and the Indemnified Parties. Kim Decl. ¶ 53, ECF No. 5in Case No.

 21- 30589. These obligations—viewed in conjunction with the fact that the claims against the

 Retailers involve the same products, the same time period, the same alleged defect, and the same

 alleged harm as the claims against Debtor—are sufficient to establish the "unusual

 circumstances" warranting extension of the stay. In fact, the Court cannot identify ascenario




                                                  30




                                                A169
     Case: 22-2003          Document: 46         Page: 277         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35             Desc Main
                                 Document     Page 31 of 54




 where aretailer would have liability without some action or inaction by Debtor's predecessor

 also forming the basis of acause of action. There is nothing in the record to demonstrate that

 any single lawsuit—out of the tens of thousands pending—consist of claims against Retailers in

 which J&J or Old JJCI have not been named as adefendant for the manufacture/sale of the

 product.


                6.   Absolute Indemnification


        The Original TCC asserts that Debtor's indemnification obligation must be "absolute" to

 warrant extension of the automatic stay. See, e.g. Robins (
                                                           giving example of "unusual

 circumstance" as where adebtor has "absolute" indemnity obligation to nondebtor); Starford v.

 FoamexL.P., No. CIV. A. 07-4225,2009 WL 1033607, at * 2n.9 (E.D. Pa. Apr. 15, 2009) ("Even

 assuming that Foamex is the real party in interest, Foamex's indemnification obligations do not

 appear absolute, as required by courts extending the stay due to the existence of indemnification

 agreements; id. (
                 collecting cases, including Hess Corp. v. Performance Texaco, Inc., No. 3:08-

 CV- 1426, 2008 WL 4960203 at * 2 (M.D. Pa. Nov. 19, 2008) (reasoning that indemnification

 agreements constitute unusual circumstances only in "actions against non-debtors who are

 entitled to absolute indemnity by the debtor for ajudgment against them") (emphasis added))

 (citing In re Mid-Ad. Handling Sys., LLC, 304 B.R. 111, 128 (Bankr. D.N.J. 2003)). In

 opposition, Debtor cites to In re Dow Corning Corp., for the proposition that "[t]here is no

 requirement that there be ` automatic' liability in respect of indemnification obligations."

 Debtor's Omnibus Reply 31, ECF No. 146 (citing In re Dow Corning, Corp., 86 F.3d 482 (6th

 Cir. 1996), as amended on denial of reh'g and reh'g en bane (
                                                             June 3, 1996)). Notably, in In re




                                                 31




                                              A170
      Case: 22-2003          Document: 46          Page: 278          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 32 of 54



 Dow Corning, the Sixth Circuit observed that "[i]t has become clear following Pacor that

 `automatic' liability is not necessarily aprerequisite for afinding of "related to" jurisdiction." In

 re Dow Corning, Corp., 86 F.3d at 491 (citing Pacor, Inc. v. Higgins, 743 F.2d 984, 987 (3d Cir.

 1984)). Thus, the discussion of "automatic" liability in that case—and in Pacor—was in the

 context of ajurisdictional analysis; not in the context here, in which this Court is considering

 whether an "unusual circumstance" exists warranting extension of the automatic stay to a

 nondebtor third party. Nevertheless, this Court remains unpersuaded that "absolute" indemnity

 is aprerequisite for extension of the automatic stay.


        The Fourth Circuit clarified in the follow-up case related to the A.H. Robins bankruptcy

 that it previously "found that astay was authorized under 11 U.S.C. § 362(a)(3) because Aetna

 might seek indemnification from Robins for any damages it had to pay, thus implicating the

 debtor's property." In re A.H. Robins Co. Inc. (A.H Robins Co. v. Aetna), 828 F.2d 1023, 1025

 (4th Cir. 1987) (emphasis added). The Fourth Circuit's use of the word "might" suggests that

 conditional indemnification is sufficient to trigger extension of automatic stay.      Other courts

 which have addressed this issue likewise indicate that the mere possibility of indemnification

 obligations warrants extension of the automatic stay. See, e.g., In re W.R. Grace & Co., 115 F.

 App'x 565, 568-69 (3d Cir. 2004) (refusing to modify injunction precluding state court action

 against nondebtor third parties because the "prospect of indemnification" warranted astay); In

 re Philadelphia Newspapers, LLC, 423 B.R. 98 (E.D. Pa. 2010) (holding that unusual

 circumstances existed to justify extension of automatic stay where debtor owed potential

 indemnification obligation); In re Philadelphia Newspapers, LLC, 407 B.R. 606, 616 (E.D. Pa.




                                                   32




                                                A171
      Case: 22-2003         Document: 46          Page: 279         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 33 of 54



 2009) (holding that "the ` unusual circumstances' to warrant the extension of the section 362(a)

 stay [were] present ... [in part] because the Debtors owe potential contractual and common law

 duties to indemnify the Non—Debtors").


        Notwithstanding, Debtor asserted during trial that its indemnification obligation is, in

 fact, automatic.   Counsel for Debtor argued that the only prerequisite to the indemnification

 obligation is that Debtor manufactured the product, which its predecessor indisputably did.

 Thus, Debtor concludes that indemnification obligations inarguably exist in this case and are

 automatically triggered by lawsuits involving talc products.      The Objecting Parties did not

 demonstrate—in their briefing or during trial—that Debtor's indemnification obligations are

 conditional or that there exists abasis for Debtor to avoid indemnification liability. Accordingly,

 even assuming absolute indemnification is aprerequisite, or that Debtor's indemnification

 obligations are conditional, nothing in the record provides this Court with aplausible basis for

 concluding that the limitations on Debtor's obligations would come into play.             The Court

 therefore determines that Debtor's indemnification obligations are automatic and, as acorollary,

 rejects the Original TCC's objection premised on absolute indemnification. See, e.g., Gu,fmark

 6filiore, Inc. v. Bender Shipbuilding & Repair Co., No. CIV. A. 09-0249, 2009 WL 2413664,

 at * 2 (S.D. Ala. Aug. 3, 2009) (rejecting party's objection premised on absence of absolute

 indemnification because objecting party "points to no facts or circumstances tending to suggest

 that those conditions [to indemnification liability] would or might be relevant here").




                                                  33




                                               A172
      Case: 22-2003          Document: 46         Page: 280         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                 Document     Page 34 of 54




                7.   Tender Agreements


        The Original TCC further submits that Debtor has not "proven the existence, let alone,

 terms, of all of these claimed Tender Agreements. Scant few are in the record." Oljection cf

 Original TCC 70, ECF No. 142. In response, Debtor counters that "this [ argument] ignores that

 the Debtor has provided asummary of all the Tender Agreements, produced exemplars of many

 such agreements and also has common-law indemnification obligations to the Retailers."

 Debtor's Omnibus Reply 24, ECF No. 146. Moreover, this Court would be willing at alater date

 to review continuance of the stay if arecord exists establishing the lack of aTender Agreement

 or other contractual obligation.


                8.   Res Judicata, Collateral Estoppel, and Evidentiary Prejudice


        The Debtor additionally relies on the principles of res judicata, collateral estoppel, and

 record taint in support of its Motion. Specifically, Debtor contends that permitting continued

 litigation against the Protected Parties "creates risks of binding the Debtor through res judicata

 and collateral estoppel, and creating an evidentiary record that prejudices the Debtor." Debtor's

 Sapp. Mem. 44, ECF No. 128. The Court agrees.


        In Lucky Brand Dungarees, Inc. v. Marcel Fashions Grp., Inc., 140 S. Ct. 1589, 206 L.

 Ed. 2d 893 (2020), the Supreme Court explained the doctrines of res judicata and collateral

 estoppel. "[I]ssue preclusion (sometimes called collateral estoppel) ... precludes aparty from

 relitigating an issue actually decided in aprior case and necessary to the judgment." Id. at 1594

 (citing Allen v. McCurry, 449 U.S. 90, 94, 101 S. Ct. 411, 66 L.Ed.2d 308 ( 1980)) (other citations




                                                  34




                                               A173
      Case: 22-2003          Document: 46         Page: 281         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                 Document     Page 35 of 54




 omitted). Claim preclusion (or res judicata), on the other hand, "prevents parties from raising

 issues that could have been raised and decided in aprior action—even if they were not actually

 litigated." Id; see also Beasley v. Howard, 14 FAth 226, 231-32 (3d Cir. 2021).


                    a.   Collateral Estoppel


        The Court will first address the doctrine of collateral estoppel. In order for collateral

 estoppel to apply, the following four elements must be satisfied: "( 1) the identical issue was

 previously adjudicated; (2) the issue was actually litigated; (3) the previous determination was

 necessary to the decision; and (4) the party being precluded from relitigating the issue was fully

 represented in the prior action." Howard Hess Dental Labs. Inc. v. Dentsply Intl, Inc., 602 F.3d

 237, 247-48 (3d Cir. 2010) (quoting Szehinskyj v. Att'y Gen., 432 F.3d 253, 255 (3d Cir. 2005)).

 Collateral estoppel will also apply to aperson who is not aformal party, to the extent such person

 also had "the opportunity to present proofs and argument" in the previous litigation. Taylor, 553

 U.S. at 895 (quoting RESTATEMENT (SECOND) OF J
                                              UDGMENTS § 39, cmt. a(
                                                                   AM. L.I
                                                                         NST. 1980)).


        In the instant case, the Original TCC contends that Debtor's apprehension regarding

 potential use of collateral estoppel in future litigation is "misplaced." Otjection cf Original TCC

 72, ECF No. 142. The Original TCC argues that collateral estoppel cannot apply when the party

 against whom the earlier decision is asserted did not have afull and fair opportunity to litigate

 that issue in the earlier case. Id. (
                                     citing Allen v. McCurry, 449 U.S. 90, 101 S. Ct. 411, 66 L.Ed.

 2d 308 ( 1980)).   Debtor will not be a party to continued litigation against the nondebtor

 defendants, thus, in the Original TCC's view, Debtor cannot be collaterally estopped from later




                                                  35




                                               A174
      Case: 22-2003          Document: 46          Page: 282         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                 Document    Page 36 of 54



 litigating any issue decided in those actions. The Third Circuit explicitly cautioned against this

 type of logic in In re W.R. Grace & Co., 115 F. App'x 565 (3d Cir. 2004). In that case, adebtor

 sought extension of the automatic stay to aco-defendant and relied, in part, on the theory of

 collateral estoppel. The plaintiff in In re W.R. Grace set forth the same theory that the Original

 TCC advances here: If the debtor is not aparty to the litigation against the nondebtor, the debtor

 will not be collaterally estopped from later litigating those same issues in an action against it.

 The Third Circuit cautioned that this theory should not be tested at the debtor's peril because

 "[i]t is more supposition than certainty at this juncture." Id. at 569. In afootnote, the Third

 Circuit explained that it believed the issue to be "at least unclear," and cited several cases where

 courts had determined that adebtor may be adversely affected by liability determinations or

 witness testimony in suits against nondebtors. Id. at 569 n.4 (citing United Nat7Ins. Co. v. Equip.

 Ins. Managers, No. 95—CV-0116, 1997 WL 241152, at * 11-13 (3d Cir. May 6, 1997); In re

 American Film Technologies, Inc., 175 B.R. 847, 850 (Bankr. D. Del. 1994); In re Johns

 Manville Corp., 40 B.R. 219, 225 (S.D.N.Y. 1984) (discussing the potential effect that witness

 testimony could have on the debtor)). Further, the Third Circuit observed that "the courts have

 never adopted the absence of collateral estoppel as the test for preventing actions from

 proceeding against third parties when the debtor is protected by the automatic stay.        Rather,

 courts employ abroader view of the potential impact on the debtor." In re W.R. Grace & Co.,

 115 F. App'x at 570 (quoting In re A.H. Robins Co., 828 F.2d at 1025) (explaining that aproper

 test for extension of the stay "is generally whether the litigation ` could interfere with the

 reorganization of the debtor' ")).




                                                  36




                                                A175
      Case: 22-2003         Document: 46          Page: 283         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                 Document    Page 37 of 54



        This Court sees no reason to deviate from the prudent course navigated by the Third

 Circuit in In re W.R. Grace. The possibility that collateral estoppel may not adversely impact

 Debtor in subsequent litigation does not outweigh the many reasons why extension of the stay is

 appropriate.   The cases cited by the Original TCC are distinguishable and do not suggest

 otherwise. First, the Second Circuit in Queenie, Ltd. v. Nygard Intl, 321 F.3d 282 (2d Cir. 2003)

 denied extension of the to anondebtor where the basis for doing so was premised "solely" on

 the apprehension of later use against the debtor of offensive collateral estoppel or the

 precedential effect of an adverse decision. Here, Debtor's basis for extending the stay is not

 bottomed "solely" on collateral estoppel concerns.       This Court additionally notes that, in

 Queenie, the Second Circuit observed that the stay can apply to nondebtors if aclaim against the

 nondebtor will have an immediate adverse economic consequence for the debtor's estate and did,

 in fact, extend the stay to adifferent entity because it was wholly- owned by the debtor, and

 adjudication of aclaim against that nondebtor entity would have an immediate adverse economic

 impact on the debtor. Id. at 287-88 (citing A.H. Robins Co. v. Piccinin, 788 F.2d at 999 (4th Cir.

 1986)) (other citations omitted). Thus, the holding Queenie does not support the Original TCC's

 position regarding collateral estoppel and, instead, further buttresses this Court's decision to

 extend the stay in light of the adverse economic impact of the continued litigation on Debtor.


        Next, Intl Union cf Painters & Allied Trades Dist. Council No. 21 Health & We fare

 Fund v. Serv. Painting, Inc., No. CV 18-3480, 2019 WL 2143370 (E.D. Pa. May 16, 2019)—

 another case relied on by the Original TCC—is distinguishable. In that case, the court explained

 that "collateral estoppel concerns arise when the debtor owes an indemnification obligation to




                                                 37




                                               A176
      Case: 22-2003           Document: 46          Page: 284         Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                  Document    Page 38 of 54



 the non-debtor," and the court declined to extend the stay because the nondebtor had neither

 argued nor offered evidence that the debtor owed him an indemnification obligation. Id. at * 9.

 Here, Debtor's indemnification obligations are clearly established. Likewise, In re MCSi, Inc.,

 371 B.R. 270 (S.D. Ohio 2004) offers the Original TCC no help. In that case, third parties sought

 to lift the stay as to certain nondebtor co-defendants who had previously been covered by the

 stay by way court order. The nondebtor co-defendants objected. In its analysis, the MCSi court

 acknowledged that proceedings against nondebtor co-defendants can be properly stayed if

 certain "unusual circumstances" exist. Id. at 271 (citing Party v. Mohawk Motors cf Michigan,

 Inc., 236 F.3d299, 314 (6th Cir.2000), cert. denied, 533 U.S. 951, 121 S. Ct. 2594, 150 L.Ed.2d

 752 (2001); A.H. Robins Company, Inc., 788 F.2d 994). However, the MCSi court rejected each

 and every basis for extending the stay and found no such "unusual circumstances" present. Thus,

 when addressing the nondebtors' concern regarding collateral estoppel, the court observed that—

 although it was avalid concern—"this concern has never been the sole justification for extending

 the stay as to such co-defendants." Id. at 275.     Further, acritical factor in the MCSi court's

 analysis was that the debtor did not oppose lifting the stay as to those nondebtor co-defendants

 and "its silence is deafening." In re MCSi, Inc., 371 B.R. at 275. In the present case, Debtor is

 not silent and instead is explicitly requesting extension of the stay, and, again, collateral estoppel

 is not its sole basis for doing so.


                     b.    Res Judicata


         Res judicata—or claim preclusion—precludes relitigation of claims that could have been

 asserted and decided in aprior action. It bars not only claims that were brought in aprevious




                                                   38




                                                 A177
       Case: 22-2003              Document: 46             Page: 285            Date Filed: 06/30/2022

Case 21-03032-MBK              Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35                          Desc Main
                                      Document     Page 39 of 54




 action, but also claims that could have been brought. Beasley v. Howard, 14 FAth 226, 231 (3d

 Cir. 2021); Post v. Har ford Ins. Co., 501 F.3d 154, 169 (3d Cir. 2007). The Supreme Court has

 explained that "[i]f alater suit advances the same claim as an earlier suit between the same parties

 [or their privies], the earlier suit's judgment `prevents litigation of all grounds for, or defenses

 to, recovery that were previously available to the parties, regardless of whether they were

 asserted or determined in the prior proceeding."' Lucky Brand Dungarees, Inc., 140 S. Ct. at

 1594-95 (quoting Brown v. Felsen, 442 U.S. 127, 131, 99 S. Ct. 2205, 60 L.Ed.2d 767 ( 1979))

 (emphasis added). A party seeking to invoke the res judicata doctrine must demonstrate that

 there has been "( 1) afinal judgment on the merits in aprior suit involving (2) the same parties

 or their privies and (3) asubsequent suit based on the same cause of action." Duhaney v. Atty

 Gen. cf the U.S., 621 F.3d 340, 347 (3d Cir. 2010) (citing In re Mullarkey, 536 F.3d 215, 225

 (3d Cir. 2008)); see also Kenny v. Schrading, No. 20-cv-15786 (MASDEA), 2021 WL 5495898,

 at * 2 (D.N.J. Nov. 23, 2021).


          Although Debtor cites to both collateral estoppel and res judicata in its submissions, the

 substantive argument it presents is focused entirely on collateral estoppel. The cases on which

 Debtor relies in support of its position likewise focus on the potential prejudicial effect of

 collateral estoppel, as opposed to res judicata. 9 Indeed, the parties' briefs devote very little



 9 See, e.g., McCartney v. Integra Nat. Bank N., 106 F.3d 506, 512 (3d Cir. 1997) (no mention of res judicata); A.H.


 Robins Co. v. Piccinin, 788 F.2d 994, 1000 (4th Cir. 1986) (using term "res judicata" only once while quoting another
 case and providing no analysis of the doctrine); In re MallinckrodtPlc, No. AP 20-50850-JTD, 2021 WL 523625, at
 *8 (D. Del. Feb. 11, 202 1) (no mention of res judicata); In re Bestwall LLC, 606 B.R. 243, 256 (Bankr. W.D.N.C.
 2019), Gdfd, No. 3:20-CV-105-RJC, 2022 WL 68763 (W.D.N.C. Jan. 6, 2022) (mentioning the term "res judicata" but
 citing to case law that analyzed risk of prejudice based on collateral estoppel only); In re W.R. Grace & Co., 386 B.R.
 17, 24 (Bankr. D. Del. 2008) (no mention of res judicata); In re Am. Film Techs., Inc., 175 B.R. 847, 850 (Bankr. D.
 Del. 1994) (discussing only doctrine of collateral estoppel); In re Sudbury, Inc., 140 B.R. 461, 464 (Bankr. N.D. Ohio




                                                           39




                                                        A178
      Case: 22-2003              Document: 46             Page: 286            Date Filed: 06/30/2022

Case 21-03032-MBK             Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                           Desc Main
                                     Document    Page 40 of 54



 attention to this doctrine, mentioning the term only afew times without development. It appears

 to this Court that parties in situations similar to Debtor—and courts addressing issues similar to

 those facing this Court—reference both doctrines in the interest of completeness, but do not

 adequately acknowledge their different applications or develop their arguments. Nevertheless,

 this Court acknowledges that res judicata "is an affirmative defense, and ` the party asserting [the

 doctrine] bear[s] the burden of showing that it applies.' "Edwards v. U.S. Dept cf H U.D., 799

 F. App'x 113, 114 (3d Cir. 2020) (quoting United States v. Athlone Indus., Inc., 746 F.2d 977,

 983 (3d Cir. 1984)). It is, therefore, unnecessary for this Court to explore in detail the potential

 preclusive effect of final judgment against the Protected Parties. See, e.g. In re Harang, No. 21-

 8003, 2021 WL 6128992, at * 5 (B.A.P. 6th Cir. Dec. 28, 2021) (noting that the preclusive effect

 of aruling is an "open question for another court in acollateral proceeding"). Rather, it suffices

 to acknowledge that there exists arisk that the doctrine of res judicata could adversely impact

 Debtor in future litigation. This risk weighs in favor of extending the stay under § 362(a)(1).

 See In re W.R. Grace & Co., 115 F. App'x 565 (holding that risk of future preclusive

 consequences was enough to weigh in favor of extending the stay).


                       c.   Record Taint


          Finally, Debtor asserts that continued litigation could create an evidentiary record that

 would negatively impact subsequent litigation—aconcept otherwise known as "record taint." In



 1992) (finding that extension of stay was warranted where debtor had legitimate indemnity and collateral estoppel
 concerns and not discussing res judicata); In re Johns-Manville Corp., 26 B.R. 420, 429 (Bankr. S.D.N.Y. 1983), Gdfd,
 40 B.R. 219 (S.D.N.Y. 1984), and Gppeal allowed, decision vacated in part, 41 B.R. 926 (S.D.N.Y. 1984) (using the
 term "res judicata" only once without analysis and instead finding basis to extend stay where debtor "could be
 collaterally estopped in subsequent suits from relitigating issues determined against its officers and directors").




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                                                       A179
      Case: 22-2003         Document: 46          Page: 287         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 41 of 54



 deciding whether to extend the stay, the Third Circuit has considered the risk of record taint as

 part of its "broad[] view of the potential impact on the debtor." See, e.g., In re W.R. Grace &

 Co., 115 F. App'x 565, 569 n.4 (3d Cir. 2004) (citing In re Johns-Manville Corp., 40 B.R. 219,

 225 (S.D.N.Y. 1984) and acknowledging arisk that the evidentiary record created in acase

 against anondebtor could later be used in acase against the debtor); In re Mallinckrodt PLC,

 Adv. Pro. No. 20-50850-JTD, 2021 WL 5275781, at * 2 (D. Del. Nov. 10, 2021) (denying leave

 to file interlocutory appeal of order extending preliminary injunction because bankruptcy court

 appropriately performed "unusual circumstances" test and held that continued proceedings

 created "significant risk" of, among other thing, record taint); In re W.R. Grace & Co., 386 B.R.

 17, 35 (Bankr. D. Del. 2008) ("Under this `broader view of the potential impact on the debtor,'

 this court takes into account the risks of collateral estoppel and record taint. "). The Original

 TCC acknowledges that the possibility of record taint has been cited as abasis for extension of

 the automatic stay. See Oljection cf Original TCC 73 n.34, ECF No. 142). Nevertheless, the

 Original TCC asserts that the factors supporting such afinding are not present in the instant case.

 The Court disagrees. Because the talc-related claims against the Debtor and the Protected Parties

 implicate the same product, the same time period, the same alleged defect and the same alleged

 harm, it is possible that the evidentiary record developed in continued litigation against the

 Protected Parties could prejudice Debtor—especially considering that Debtor would be absent

 from the continued litigation. As stated previously, the risk that litigation against the Protected

 Parties could result in adverse consequences for Debtor—such as record taint—weighs in favor

 of extending the automatic stay.




                                                  41




                                               A180
      Case: 22-2003            Document: 46         Page: 288         Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                   Document     Page 42 of 54




            A §362(a)(3)


            Debtor also looks to § 362(a)(3) as abasis for staying proceedings against the Protected

 Parties.     Subsection (a)(3) of the statute directs a stay of any action against an entity from

 obtaining possession of or exercising control over the property of the bankruptcy estate. 11

 U.S.C. § 362(a)(3). "It has long been the rule in this Circuit that insurance policies are considered

 part of the property of abankruptcy estate." ACandS, Inc. v. Travelers Cas. & Sur. Co., 435 F.3d

 252, 260 (3d Cir. 2006) (collecting cases); see also In re W.R. Grace & Co., 475 B.R. 34, 148-

 49 (D. Del. 2012), cjfd sub nom. In re WR Grace & Co., 729 F.3d 332 (3d Cir. 2013), and cjfd,

 532 F. App'x 264 (3d Cir. 2013), and cjfd, 729 F.3d 311 (3d Cir. 2013), and cjfd sub nom. In re

 WR Grace & Co., 729 F.3d 332 (3d Cir. 2013).


            Here, Debtor states that "J&J and the Debtor are both covered for talc-related claims

 under various shared insurance policies" and that "[t]he Retailers are named as insureds in many

 such policies." Debtor's Supp. Mem. 45, ECF No. 128. Thus, Debtor asserts that prosecution of

 claims against J&J or the Retailers would deplete insurance proceeds available to Debtor, thereby

 diminishing the bankruptcy estate. The Original TCC concedes that insurance policies are estate

 property. Nevertheless, the Original TCC maintains that § 362(a)(3) does not apply because

 "[e]ither no coverage exists or, if it does, it has been exhausted." O/jection cf Original TCC 76,

 ECF No. 142. With respect to the existence of coverage, the Original TCC points out that the

 insurance carriers are currently disputing coverage.      In the Original TCC's view, it remains

 uncertain whether Debtor is entitled to coverage which, in turn, casts doubt on whether actions

 against co-insureds would actually deplete the policies and affect the bankruptcy estate. The




                                                   42




                                                 A181
       Case: 22-2003              Document: 46              Page: 289             Date Filed: 06/30/2022

Case 21-03032-MBK              Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                             Desc Main
                                      Document    Page 43 of 54



 Original TCC further argues that J&J and its affiliates have already exceeded the limits of

 coverage as the result of past litigation and exhausted any coverage to which Debtor may have

 been entitled. Thus, the Original TCC contends that continued litigation against the co-insureds

 would not affect estate property because there can be no further depletion of exhausted policies.


          Ultimately, it is unquestionable that shared policies exist. Admittedly, certain coverage

 is disputed, and no definitive determination has been made as to exhaustion. However, these

 uncertainties do not change the fact that that the policies are estate property. See In re W.R. Grace

 & Co., 475 B.R. at 81 (collecting cases). Moreover, as Debtor points out, and contrary to the

 Original TCC's assertions, the insurance policies have not yet been exhausted because "only

 payments made by the policyholder's insurers erode or exhaust the limits of the policies."

 Omnibus Reply 37, ECF No. 146. Although Old JJCI and J&J have incurred significant losses

 from the underlying talc claims, no agreement has been reached—nor has acourt ruling been

 issued—regarding the allocation of those talc losses across the policy periods in question. Thus,

 nearly the entire policy coverage of $2billion is potentially still available to Debtor and J&J.


          Furthermore, that there are tens of thousands of talc-related actions pending with

 potential indemnity and that these claims far exceed the $2billion policy limit are facts well-

 established in the record. 10 See A.H. Robins Co., 788 F.2d at 1008 (4th Cir. 1986) ("That there

 are thousands of Dalkon Shield actions and claims pending is afact established in the record and



 10 As detailed in Dr. Bell's expert report, at the time of filing, Debtor faced nearly 40,000 pending tort claims, with


 thousands of additional claims expected annually for decades to come. Expert Report c      fGregory K. Bell, Ph.D.
 ("Bell Report") at 10. Additionally, as of the petition date, Debtor anticipated billions of dollars in talc-related
 liability and defense costs. Id. Indeed, in the first nine months of 2021, more than 12,300 new lawsuits were filed.
 Id.




                                                            43




                                                         A182
      Case: 22-2003          Document: 46          Page: 290          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 44 of 54



 the limited fund available under Robins' insurance policy is recognized in the record. "). To the

 extent suits are permitted to proceed against additional insureds, those parties will incur costs

 that will undoubtedly deplete the insurance potentially available to Debtor for the talc claims.


         This Court acknowledges that that—prior to finding "related to" jurisdiction over a

 nondebtor for purposes of extending the stay under § 105(a)—the Third Circuit has instructed

 that acourt must make factual findings regarding the terms, scope or coverage of the allegedly

 shared insurance policies. In re Combustion Eng'g, Inc., 391 F.3d 190, 232 (3d Cir. 2004), as

 amended (
         Feb. 23, 2005).        As an initial matter, this Court presently is analyzing whether

 extension of the automatic stay is appropriate under § 362(a)(3) and, thus, is not yet invoking its

 equitable powers under § 105(a). However, regardless of the basis for extension of the stay, the

 message from In re Combustion is that acourt must make adequate factual findings before

 staying proceedings against nondebtor co-insureds on the theory that asbestos-related personal

 injury claims against the nondebtors will automatically deplete the insurance proceeds available

 to the debtor and, thus, reduce the assets available to the bankruptcy estate. See id., 391 F.3d at

 232-33 ("Courts finding `related to' jurisdiction over claims against non-debtors based in part

 on shared insurance policies have relied not only on extensive record findings regarding the

 terms and operation of the subject policies, but also on additional evidence of automatic liability

 against the debtor."); see also In re Imerys Talc Am., Inc., No. 19-MC- 103 (MN), 2019 WL

 3253366, at * 5 (D. Del. July 19, 2019) ("Here, Johnson & Johnson also fails to offer asufficient

 record that the terms and operation of the policies establish subject matter jurisdiction."); Kleiner

 v. Rite Aid Corp., 604 B.R. 1, 8 (E.D. Pa. 2019) ("We, like our Court of Appeals in In re




                                                   44




                                                A183
      Case: 22-2003          Document: 46          Page: 291          Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                  Desc Main
                                 Document    Page 45 of 54



 Combustion Engineering, Inc., lack asufficiently developed record of the relevant policies. And

 we decline to rest subject matter jurisdiction solely upon counsel's or acorporate representative's

 say-so. "). Admittedly, the record in the instant case is not as sufficiently developed with respect

 to the insurance policies as in some of the other cases that have extended the stay on this basis.

 However, the existence of shared insurance coverage and tens of thousands of lawsuits that could

 exhaust that coverage is established. See Bell REport at 10. As an illustration of this point, while

 the trial in this matter was ongoing, agroup of insurers filed amotion (ECF No. 1491) seeking

 relief from the automatic stay to proceed with litigation on the very issue of coverage in New

 Jersey state court. Moreover, this Court is mindful that the insurance policies are not Debtor's

 sole basis for extension of the stay to the Protected Parties in the instant case. Finally, the court

 heeds the advice given by the Third Circuit in In re W.R. Grace & Co., discussed supra. 115 F.

 App'x 565 (3d Cir. 2004). In that case, the Third Circuit cautioned that aparty's theory that a

 debtor would not be later adversely affected by collateral estoppel should not be tested at the

 debtor's peril. Id. at 569. Likewise, the Original TCC's theory that Debtor's insurance will not

 be affected—because Debtor is not entitled to it or because it has already been exhausted—will

 not be tested at Debtor's peril. Just as the risk of future preclusive consequences to the debtor

 in W.R. Grace was enough to weigh in favor of extending the stay, the chance that Debtor in this

 case could later prevail with respect to its insurance coverage demands weighs in favor of

 extending the stay.


        E. §105(a) Injunction


        Pursuant to § 105(a) of the Bankruptcy Code, "[t]he court may issue any order, process,




                                                   45




                                                A184
      Case: 22-2003         Document: 46          Page: 292         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35              Desc Main
                                 Document     Page 46 of 54




 or judgment that is necessary or appropriate to carry out the provisions of this title." 11 U.S.C.

 § 105(a). "The issuance of an injunction under section 105(a) is governed by the standards

 generally applicable to the issuance of injunctive relief in non-bankruptcy contexts." In re

 Philadelphia Newspapers, LLC, 423 B.R. at 105. To qualify for injunctive relief, alitigant must

 demonstrate a likelihood of success on the merits, that it will suffer irreparable harm if the

 injunction is denied, that the granting of preliminary relief will not result in even greater harm

 to the non-moving party and that the public interest favors such relief. Kos Pharmaceuticals Inc.

 v. Andrex Corp., 369 F.3d 700 (3d Cir. 2004); In re G-IHoldings Inc., 420 B.R. 216,281 (D.N.J.

 2009) (citing In re Phila. Newspapers, LLC, 407 B.R. 606, 617 (E.D. Pa. 2009); Tencfly Eruv

 Assn, Inc. v. Borough cf Tencfly, 309 F.3d 144,157 (3d Cir. 2002)). However, "[ a] preliminary

 injunction is an ` extraordinary remedy, which should be granted only in limited circumstances.'

 "Kos Pharm., Inc., 369 F.3d at 708 (quoting Instant Air Freight Co. v. C.F. Air Freight, Inc.,

 882 F.2d 797, 800 (3d Cir. 1989)).        In determining whether a preliminary injunction is

 appropriate, the Court considers the following factors:


        (1) whether the movant has shown areasonable probability of success on the merits;
        (2) whether the movant will be irreparably injured by denial of the relief, (3)
        whether granting preliminary relief will result in even greater harm to the
        nonmoving party; and (4) whether granting the preliminary relief will be in the
        public interest.

 McTernan v. City cf York, Pa., 577 F.3d 521, 527 (3d Cir. 2009) (quoting United States v. Bell,

 414 F.3d 474, 478 n.4 (3d Cir. 2005)). "In considering arequest for an injunction, these four

 factors are not weighed simultaneously against one another. Rather, the Court determines

 whether the first two threshold prongs are established, and if so, only then does it proceed to




                                                 46




                                               A185
       Case: 22-2003              Document: 46              Page: 293             Date Filed: 06/30/2022

Case 21-03032-MBK              Doc 184  Filed 02/25/22  Entered 02/25/22 10:10:35                             Desc Main
                                      Document     Page 47 of 54




 consider the third and fourth factors." In re Philadelphia Newspapers, LLC, 423 B.R. at 106 n.l l

 (citing Tencfly, 309 F.3d at 157).


           "In the bankruptcy context, reasonable likelihood of success is equivalent to the debtor's

 ability to successfully reorganize." In re Union Tr. Philadelphia, LLC, 460 B.R. 644, 660 (E.D.

 Pa. 2011) (quoting In re Monroe Well Serv., Inc., 67 B.R. 746, 752 (Bankr. E.D. Pa. 1986)

 (explaining reasonable likelihood of success in terms of asuccessful reorganization)). Here—

 although the success of Debtor's reorganization is speculative at this early stage—there is

 nothing in the record to suggest that Debtor does not have a reasonable likelihood of

 reorganization. To the contrary, Debtor has explained its strategy for reorganization and has

 already executed a Funding Agreement which will aid in the reorganization process. "

 Moreover, to demonstrate areasonable likelihood of success, amovant need only show the

 prospect or possibility that he or she will succeed, and need not prove same with certainty. See

 Conestoga Wood Specialties Corp. v. Sec'y cf U.S. Dept cf Health & Human Servs., 724 F.3d

 377 (3d Cir. 2013) (Jordan, J., dissenting) rev'd and remanded sub nom. Burwell v. Hobby Lobby

 Stores, Inc., 573 U.S. 682, 134 S. Ct. 2751, 189 L. Ed. 2d 675 (2014) (collecting cases). Debtor

 has met its burden here. The Original TCC's arguments in opposition are equally speculative




 "The
    The Original TCC asserts that Debtor has not demonstrated that § 524(g) is available to it because the statute requires
 that, as of the Petition Date, the "debtor" must "be named as adefendant in [a] personal injury" lawsuit. Objection cf
 Original TCC 85, ECF No. 142 (quoting 11 U.S.C. § 524(g)(2#13)(i)(I). Counsel for AWKO echoed this argument
 in closing statements on February 18, 2022. In the Objecting Parties' view, the term "debtor" in the statutory provision
 refers to LTL, who the Objecting Parties assert was not named in any lawsuit. Thus, the Objecting parties conclude
 that LTL cannot utilize § 524(g) and § 105(a) cannot be utilized to afford LTL asubstantive right to which they are
 not entitled under the Code. However, the Original TCC's position ignores the fact that LTL assumed the liabilities
 of Old JJCI—who was the named defendant in personal injury lawsuits—and that Old JJCI ceased to exist. Thus,
 Debtor/LTL, as successor, is substituted under FED. R.  Civ. P. 25(c). In any event, asuccessful plan in this case also
 can be bottomed on atrust established under § 105(a), apart from § 524(g).




                                                            47




                                                         A186
        Case: 22-2003        Document: 46         Page: 294         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 48 of 54



 and, in large part, are again rooted in its general objection to the bankruptcy for lack of good

 faith—an argument which this Court has rejected. See O/jection cf Original TCC 87, ECF No.

 142.


         As to the second factor, the Court determines that Debtor is likely to suffer irreparable

 injury without relief. As previously explained, continued litigation will have an adverse impact

 on the bankruptcy estate, will hinder reorganization efforts, and will serve as aconstant drain on

 resources and time. In reaching this conclusion, the Court considers Debtor's liability as aresult

 of the 2021 Corporate Restructuring, Debtor's contractual indemnification obligations, and the

 potential disruption that continued litigation against New JJCI and J&J could cause to funding

 of Debtor's trust. See In re Union Tr. Philadelphia, LLC, 460 B.R. 644, 660 (
                                                                             E.D. Pa. 2011)

 (affirming bankruptcy court's finding that debtor would suffer harm without preliminary

 injunction because, without "unfettered assistance," the debtor's "ability to reorganize is clearly

 diminished and [its] estate risks substantial harm if it is deprived of [nondebtor's] assistance in

 reorganizing"). For reasons previously discussed, the Original TCC's arguments in opposition

 are not persuasive.


         The Court must next consider whether granting preliminary relief will result in even

 greater harm to the nonmoving party—here, the talc claimants. For reasons expressed in the

 Opinion Denying the Motions to Dismiss, the Court concludes that the talc claimants will not be

 prejudiced through the issuance of apreliminary injunction, and will—in fact—benefit from the

 extension of the automatic stay to the Protected Parties and the handling of their claims through

 the bankruptcy process. This method of dealing with claims also protects the interests of future




                                                  48




                                               A187
      Case: 22-2003         Document: 46          Page: 295         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35               Desc Main
                                 Document    Page 49 of 54



 claimants, prevents arace for proceeds, and promotes equality in distribution. In the state and

 district courts, talc claimants struggle with the sluggish pace of litigation and face alegitimate

 possibility that they will not succeed in proving their claims. Should ajudgment be awarded,

 claimants must then endure the appellate process, where—at worst—their judgment is

 overturned, and—at best—recovery is delayed. Extension of the automatic stay to the Protected

 Parties, on the other hand, ensures that all claims are reconciled through abankruptcy trust,

 which would place reduced evidentiary and causation burdens on claimants.          Resolution of

 claims and payments to claimants can be achieved at afar more expeditious pace in bankruptcy

 than through uncertain litigation in the tort system. A trust would establish afar simpler and

 streamlined process than currently available in the tort system.      Indeed, the Multi-District

 Litigation ("MDL") has been ongoing since 2016, with only ahandful of bellwether trials on the

 horizon. This Court is mindful that—as Professor Maria Glover acknowledges in her amici

 curiae brief—there is no perfect solution to the problems with mass tort litigation: "But no

 mechanism for handling the thorny challenges of mass torts is perfect, including bankruptcy.

 Indeed, it is the nature of mass torts to present different combinations of challenges, and those

 challenges follow mass torts wherever they go." Glover Brief at 25. However, this Court cannot

 ignore the reality that MDL is not meeting the needs of the claimants. The number of settlements

 reached in the talc-related lawsuits is dwarfed by the projected 10,000 new cases to be filed each

 year going forward. See Expert REport cf Charles K Mullin, Ph.D. at 5. And although MDLs

 may be auseful device to facilitate settlements, the MDL in the instant case is far from aglobal

 resolution and is ill-equipped to provide for future claimants. In short, apreliminary injunction




                                                 49




                                               A188
      Case: 22-2003         Document: 46          Page: 296         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                 Document    Page 50 of 54



 will not result in greater harm to the talc claimants.    Instead, it will "remedy[] some of the

 intractable pathologies of asbestos litigation." In re Federal-Mogul Glob., Inc., 684 F.3d at 362.


        In this same vein, the Court finds that granting the preliminary injunction would be in

 the public interest. The Original TCC argues that this bankruptcy serves no interests other than

 J&J's own.   The Court disagrees. As detailed in this Court's Opinion Denying the Motions to

 Dismiss, this Court holds no doubts that claim resolution through the bankruptcy process is in

 the public interest. First, as previously explained, asettlement trust benefits existing claimants—

 whose time is valuable and may be limited due to their illnesses—by streamlining the claim

 recovery process. Additionally, abankruptcy trust protects the needs of future talc claimants—

 aclass of individuals who have not yet developed symptoms or initiated litigation.          These

 individuals will have very real injuries; however, their interests are largely unrepresented in the

 tort system. As noted by the court in In re Bestwall LLC, "asection 524(g) trust will provide all

 claimants—including future claimants who have yet to institute litigation—with an efficient

 means through which to equitably resolve their claims." 606 B.R. 243, 257 (Bankr. W.D.N.C.

 2019). Through adopted procedures, these trusts establish fixed criteria and common parameters

 for payments to claimants, ensuring alevel playing field for all present and future claimants

 while taking into consideration the significance of preserving all due process rights. See In re

 W.R. Grace & Co., 729 F.3d 311, 324 (3d Cir. 2013) ("Therefore, as long as acourt correctly

 determines that § 524(g)'s requirements are satisfied, present and future claims can be channeled

 to a § 524(g) trust without violating due process. "). Indeed, both present and future "claimant's

 interests are protected by the bankruptcy court's power to use future earnings to compensate




                                                  50




                                               A189
      Case: 22-2003         Document: 46         Page: 297         Date Filed: 06/30/2022

Case 21-03032-MBK        Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                Desc Main
                                Document    Page 51 of 54



 similarly situated tort claimants equitably." In re Federal-Mogul Glob., Inc., 684 F.3d at 359.


        The Original TCC asserts that "there is no logical stopping point to the Debtor's

 strategy." Oljection cf Original TCC 92, ECF No. 142. It posits that "any rich company facing

 liabilities could completely stymie them simply by allocating them to anew entity and putting

 the entity into bankruptcy." Id. at 92-93. This argument was repeated at trial and Counsel for

 TCC Icautioned that extending the stay would "open the floodgate" for other companies to spin

 their liabilities off into anew company and then send that new company into bankruptcy. This

 position ignores statutory requirements, existing case law, and the courts' role in overseeing

 bankruptcies.   First, a company—like Debtor—must invoke, and comply with, a statutory

 authority when engaging in corporate restructuring. Here, Debtor utilized the Texas Business

 Organizations Code to effect its divisional merger. While other companies can also utilize this

 statute, or another like it, those other companies must likewise follow procedures and

 requirements set forth in those statutes. Accordingly, a "rich company's" ability to effectuate

 the type of divisive merger present in this case is not unchecked or unregulated. Similarly, a

 company's ability to file for bankruptcy and—more significantly—acompany's ability to extend

 the automatic stay to an affiliate nondebtor company are subject to limitation. See, e.g.,

 McCartney, 106 F.3d 506 (noting that automatic stay can be extended to nonbankrupt

 codefendants where "unusual circumstances" exist); Robins, 788 F.2d 994 (same); In re Irish

 Bank Resol. Corp. Ltd., No. BR 13-12159-CSS, 2019 WL 4740249, at * 5 (D. Del. Sept. 27,

 2019) (collecting cases stating same). Finally, to the extent a "rich company" seeks to enter the

 bankruptcy system in bad faith or without avalid reorganization purpose, the courts serve as




                                                 51




                                              A190
      Case: 22-2003            Document: 46            Page: 298           Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                       Desc Main
                                   Document    Page 52 of 54



 gatekeepers for this type of abusive practice.


         Ultimately, this Court determines that all factors weigh in favor of Debtor's position.

 The Court determines that apreliminary injunction pursuant to § 105(a) that extends the stay to

 the Protected Parties is appropriate given the circumstances of this case.


         F. Public Policy

         At the heart of the Objecting Parties' argument is the allegation that Debtor and J&J have

 unclean hands. The Original TCC alleges both entities have engaged in bad faith and wrongful

 conduct that has caused further insult and injury to already- suffering talc claimants. The Court

 makes no determinations as to Debtor's, Old JJCI's, or J&J's conduct in other proceedings.

 However, as to the case before it, this Court finds no ill-intent or reprehensible behavior. The

 allegations of bad faith are insufficient to preclude Debtor from utilizing the bankruptcy system to

 achieve the goals it seeks—goals which this Court believes will ensure justice for existing and

 future talc claimants.

         The Original TCC urges this Court not to use this case to "set new precedent." Oljection

 cf Original TCC 51, ECF No. 142. However, as discussed in this Court's Opinion Denying the

 Motion to Dismiss, corporate transactions similar to the 2021 Corporate Restructuring were

 effectuated pre-bankruptcy filing in several other mass tort bankruptcies—even apart from the

 other similarly structured filings currently pending in the Western District of North Carolina. 12




 12 See, e.g., In re Garlock Sealing Tech., LLC, 10-31607 (
                                                          Bankr. W.D.N.C. 2017); In re Mid Valley, Inc., No. 03-
 25592 ( Bankr. W.D.Pa. 2003); In re Babcock & Wilcox Co. No. 00- 10992-10995 (
                                                                              Bankr. E.D. La, 2002).




                                                       52




                                                    A191
      Case: 22-2003          Document: 46          Page: 299         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                 Document    Page 53 of 54



 The existence of those cases suggests that aruling in favor of Debtor will not set entirely new

 precedent.

        Moreover, the Court determines that the Original TCC's concerns regarding the

 consequences of aruling in Debtor's favor are unfounded. The Original TCC characterizes a

 ruling in Debtor's favor as providing "ablueprint to transform the Bankruptcy Code into atool for

 unbridled corporate greed and manipulation." O/jection cf Original TCC 3, ECF No. 142. As

 discussed in this Court's Opinion Denying the Motions to Dismiss, the Court does not share the

 Original TCC's outlook. Congress implemented § 524(g) and granted the bankruptcy court broad

 equitable powers under § 105(a) to serve apurpose under aspecific set of circumstances. When

 companies can utilize that statute for their benefit and the benefit of existing and future claimants,

 they should be permitted to do so. Admittedly, the bankruptcy system—like the mass tort system,

 or any tool in the proverbial "toolbox"—is susceptible to abuse. However, this Court does not

 believe that mere potential for abuse requires removal of atool from the toolbox. Instead, the

 potential for abuse demands stronger scrutiny. Thus, courts must conduct afact-specific inquiry

 in each case and determine—among other things—whether an appropriate set of circumstances

 are present, whether an entity is in compliance with statutory regulations, whether a valid

 reorganization purpose exists, and whether innocent third parties will be unduly prejudiced. After

 considering those factors in the context of this case, the Court determines that extension of the

 automatic stay to the Protected Parties is warranted. Given that this determination is limited to the

 unique facts of the case presently before the Court, this ruling will not open the floodgates to an

 unchecked, unregulated, or inherently abusive method of addressing liability.




                                                  53




                                                A192
       Case: 22-2003         Document: 46          Page: 300         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 184 Filed 02/25/22  Entered 02/25/22 10:10:35                 Desc Main
                                 Document    Page 54 of 54




 IV.    Conclusion

        For the reasons set forth above, the Court concludes that "unusual circumstances" are

 present warranting an extension of the automatic stay to the Protected Parties under § 362(a)(1)

 and (3). To the extent § 362(a) does not serve as an independent basis for extension of the stay to

 nondebtor parties, the Court determines that apreliminary injunction under § 105(a) extending the

 automatic stay is appropriate. The Court, thus, grants Debtor's Motion and resolves the instant

 adversary proceeding in Debtor's favor. However, the Court concludes that taking measures in

 smaller steps will ensure that the parties progress in good faith towards mediation and plan

 formation. The Court will revisit continuation of the automatic stay and preliminary injunction in

 120 days, on June 29, 2022, and similar periods thereafter.

        The Court understands that all sides are pointing fingers and suggesting that their

 adversaries will take advantage of these shorter periods of review and will endeavor to "run out

 the clock." Let's be clear, the only clock of import sits on the Court's desk in Chambers and shows

 1,869 days until retirement. The Court is confident that it can outlast either side's efforts to slow-

 walk the proceedings and will not countenance such conduct.

        The Court will enter aform of Order consistent with this Opinion.




                                                        Michael B. Kaplan, Chief Judge
                                                        U.S. Bankruptcy Court
                                                        District of New Jersey

 Dated: February 25, 2022




                                                  54




                                                A193
       Case: 22-2003               Document: 46            Page: 301            Date Filed: 06/30/2022

Case 21-03032-MBK                 Doc 187    Filed 03/04/22  Entered 03/04/2?,Q,•;59:23                    Desc Main
                                            Document     Page 1 Or 7 .• '•••.

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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  WOLLMUTH MAHER & DEUTSCH LLP                                                    Order Filed on March 4, 2022
  Paul R. DeFilippo, Esq.                                                         by Clerk
  500 Fifth Avenue                                                                U.S. Bankruptcy Court
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  ATTORNEYS FOR DEBTOR

  In re:                                                          Chapter 11

  LTL MANAGEMENT LLC,'                                            Case No.: 21-30589 (MBK)

                              Debtor.                             Judge: Michael B. Kaplan

  LTL MANAGEMENT LLC,

                     Plaintiff,
  V.
                                                                  Adv. No.: 21-3032 (MBK)
  THOSE PARTIES LISTED ON APPENDIX A TO
  COMPLAINT and JOHN AND JANE DOES 1-1000,

                     Defendants.

                      ORDER (I) DECLARING THAT AUTOMATIC STAY
                  APPLIES TO CERTAIN ACTIONS AGAINST NON-DEBTORS
                  AND (II) PRELIMINARILY ENJOINING CERTAIN ACTIONS

           The relief set forth on the following pages is hereby ORDERED.



DATED: March 4, 2022

                                                                           'Honorable Michael B. Kaplan
                                                                          United States Bankruptfy Judge



           The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
           501 George Street, New Brunswick, New Jersey 08933.




                                                        A194
      Case: 22-2003            Document: 46               Page: 302             Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 187       Filed 03/04/22  Entered 03/04/22 08:59:23                         Desc Main
                                         Document     Page 2of 7


 (Page 2)
 Debtor: LTL Management LLC
 Case No. 21-3032-MBK
 Caption: Order (I) Declaring that Automatic Stay Applies to Certain Actions Against
 Non-Debtors and (II) Preliminarily Enjoining Certain Actions

        This matter coming before the Court on the Complaintfor Declaratory and Irjunctive

 ReliEf (j) Declaring That the Automatic Stay ATplies to Certain Actions Against Non-Debtors or

 (1j) Preliminarily Enjoining Such Actions and (111) Granting aTemporary Restraining Order

 Pending aFinal Hearing [
                        Adv. Dkt. 1] (the "Complaint"), the Debtor's Motion for an Order

 (j) Declaring that the Automatic Stay ATplies to Certain Actions Against Non-Debtors or

 (1j) Preliminarily Enjoining Such Actions and (111) Granting aTemporary Restraining Order

 Pending aFinal Hearing [
                        Adv. Dkt. 2] (the "Motion ), both filed by the above- captioned
                                                                '   2




 plaintiff and debtor (the "Debtor");' the Court having considered (1) the submissions of the

 parties, including the Complaint, the Motion, the Debtor's supplemental memorandum of law,

 and the responses, objections and replies in respect of the Motion or the Complaint,' (ii) the

 arguments set forth on the record at ahearing held on February 18, 2022, and (iii) the evidence

 submitted by the parties, including declarations, testimony and exhibits filed with or presented to



        z       Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.
                For purposes of this Order only, the term "Enjoined Talc Claims" shall mean, collectively, any
                talc-related claims against the Debtor, including all claims relating in any way to talc or
                talc-containing materials that formerly were asserted against (or that could have been asserted
                against) the former Johnson & Johnson Consumer Inc. ("Old JJCI") on any theory of liability
                (whether direct, derivative, joint and several, successor liability, vicarious liability, fraudulent or
                voidable transfer or conveyance, alter ego or otherwise). For the avoidance of doubt, Enjoined
                Talc Claims include, without limitation, all talc personal injury claims and other talc-related
                claims allocated to the Debtor from Old JJCI in the documents implementing the 2021 Corporate
                Restructuring. The Enjoined Talc Claims do not include talc-related claims for which the
                exclusive remedy is provided under workers' compensation statutes and similar laws.
        3
                The Plaintiff in this adversary proceeding (the "Adversary Proceeding") is Debtor LTL
                Management LLC. The Defendants in the Adversary Proceeding are those parties listed on
                Appendix A to the Complaint, as amended [Adv. Pro. Dkt. 60], as well as John and Jane Does 1-
                1000. The Defendants listed on Appendix A are all named plaintiffs in talc-related lawsuits
                against the Debtor (or for which the Debtor is responsible or alleged responsible) as of the Petition
                Date who sought to hold, or may seek to hold, the Protected Parties liable for the Enjoined Talc
                Claims. The Protected Parties are listed in Appendix B to the Complaint. Defendants John and
                Jane Does 1-1000 are prospective plaintiffs who may at any time while the above-captioned
                chapter 11 case is pending seek to hold the Protected Parties liable for the Enjoined Talc Claims.
        a       See Adv. Dkts. 44, 45, 49, 50, 52, 58, 104, 128, 141, 142, 143, and 146.




                                                      A195
      Case: 22-2003           Document: 46          Page: 303         Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 187     Filed 03/04/22  Entered 03/04/22 08:59:23              Desc Main
                                      Document     Page 3of 7


 (Page 3)
 Debtor: LTL Management LLC
 Case No. 21-3032-MBK
 Caption: Order (I) Declaring that Automatic Stay Applies to Certain Actions Against
 Non-Debtors and (II) Preliminarily Enjoining Certain Actions

 the Court or the Bankruptcy Court for the Western District of North Carolina;' the Court having

 entered the Bridge Order Extending Termination Date cf Order Granting the Debtor's Request

for Preliminary Irjunctive Relhf [
                                 Adv. Dkt. 157] and having issued the Memorandum Opinion

 [Adv. Dkt. 184] (the "PI Opinion"); for the reasons set forth in the PI Opinion, which is

 incorporated herein by reference, IT IS HEREBY ORDERED THAT:

                 1.      The Motion is GRANTED and the Adversary Proceeding is resolved in

 favor of the Debtor. All objections to the relief granted herein are OVERRULED.

                 2.       The Defendants are prohibited and enjoined, pursuant to sections 105 and

 362 of the Bankruptcy Code, from commencing or continuing to prosecute any Enjoined Talc

 Claim against any of the Protected Parties, on any theory of liability, whether direct, derivative,

 joint and several, successor liability, vicarious liability, fraudulent or voidable transfer or

 conveyance, alter ego or otherwise, for the period this Order is effective pursuant to

 paragraph 15, below. This injunction includes, without limitation: (a) the pursuit of discovery

 from the Protected Parties or their officers, directors, employees or agents; (b) the enforcement

 of any discovery order against the Protected Parties; (c) further motions practice related to the

 foregoing; and (d) any collection activity on account of an Enjoined Talc Claim against any

 Protected Party or its officers, directors, employees or agents or its respective assets.

                 3.      In addition, and without limiting the foregoing, the Court finds and

 declares that the commencement or continued prosecution of any Enjoined Talc Claim by any

 Defendant against any of the Protected Parties while the Chapter 11 Case remains pending,




         s       See Adv. Dkt. 176.




                                                 A196
      Case: 22-2003          Document: 46          Page: 304        Date Filed: 06/30/2022

Case 21-03032-MBK           Doc 187    Filed 03/04/22  Entered 03/04/22 08:59:23              Desc Main
                                      Document     Page 4 of 7


 (Page 4)
 Debtor: LTL Management LLC
 Case No. 21-3032-MBK
 Caption: Order (I) Declaring that Automatic Stay Applies to Certain Actions Against
 Non-Debtors and (II) Preliminarily Enjoining Certain Actions

 including the actions listed in the last sentence of paragraph 2, above, would violate the

 automatic stay imposed by sections 362(a)(1) and 362(a)(3) of the Bankruptcy Code and

 therefore is prohibited.

                4.      This Order is entered without prejudice to the Debtor's right to request

 that the Court extend this Order to include other entities or persons not previously identified in

 Appendix A or Appendix B to the Complaint. In the event that the Debtor seeks to supplement

 either Appendix A or Appendix B, the Debtor shall file with the Court and serve anotice,

 together with aproposed order, setting forth any such modifications to Appendix A or

 Appendix B. The burden of proof for any modification of Appendix A or Appendix B is not

 affected by this Order. Parties shall have 14 days from the date of service of the notice to object

 to the modification(s) to Appendix A or Appendix B, and the Debtor shall have 7days from the

 service of such objection to file and serve aresponse. Absent atimely objection, the Debtor's

 proposed modifications to Appendix A or Appendix B shall be approved by order of the Court

 without the necessity of ahearing. For the avoidance of doubt, the inclusion of atalc-related

 claim on Appendix A is not an admission that such Defendant holds acurrently pending claim

 against either the Debtor or the Protected Parties.

                 5.     Notwithstanding anything to the contrary in this Order, Imerys Talc

 America, Inc. and its affiliates (collectively, the "Imerys Entities") or Cyprus Mines Corporation

 and its affiliates (collectively, the "Cyprus Entities") are not Defendants in this proceeding. The

 relief granted herein shall not apply to the Imerys Entities or the Cyprus Entities, and this Order

 and the PI Opinion shall not bind the Imerys Entities or the Cyprus Entities. The right of the




                                                A197
      Case: 22-2003          Document: 46         Page: 305         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 187     Filed 03/04/22  Entered 03/04/22 08:59:23             Desc Main
                                     Document     Page 5of 7


 (Page 5)
 Debtor: LTL Management LLC
 Case No. 21-3032-MBK
 Caption: Order (I) Declaring that Automatic Stay Applies to Certain Actions Against
 Non-Debtors and (II) Preliminarily Enjoining Certain Actions

 Debtor to seek to enjoin the Imerys Entities or the Cyprus Entities, and the right of the Imerys

 Entities or Cyprus Entities to oppose such relief, are hereby preserved in all respects.

                6.      Notwithstanding anything to the contrary in this Order, governmental units

 (as defined under section 101 of the Bankruptcy Code) are not Defendants in this proceeding.

 The relief granted herein, including any relief granted under this Order under section 105 of the

 Bankruptcy Code, shall not apply to restrict or enlarge the rights of the Debtor or any

 governmental unit under applicable bankruptcy law and all such rights are hereby preserved.

                7.      Any party subject to this Order may seek relief from any of the provisions

 of this Order for cause shown. This Order is without prejudice to the Debtor's or others' rights

 to seek relief pursuant to section 362 of the Bankruptcy Code.

                8.      Notwithstanding anything to the contrary in this Order, any party asserting

 Enjoined Talc Claims, without leave of the Court, may take reasonable steps to perpetuate

 the testimony of any person subject to this Order who is not expected to survive the duration of

 this Order or who otherwise is expected to be unable to provide testimony if such testimony is

 not perpetuated during the duration of this Order. Notice shall be provided to the Debtor by

 notifying counsel for the Debtor of the perpetuation of such testimony. The Debtor shall have

 the right to object to the notice on any grounds it would have if it were aparty to the underlying

 proceeding and not subject to the terms of this Order, and the Debtor may raise any such

 objection with the Court, except that the Debtor, Old JJCI and J&J waive objecting to the use of

 such testimony based on lack of notice or lack of opportunity to cross-examine. The use of such

 testimony in any appropriate jurisdiction shall be subject to the applicable procedural and

 evidentiary rules of such jurisdiction. All parties reserve and do not waive any and all objections




                                               A198
      Case: 22-2003         Document: 46          Page: 306         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 187    Filed 03/04/22  Entered 03/04/22 08:59:23             Desc Main
                                    Document     Page 6of 7


 (Page 6)
 Debtor: LTL Management LLC
 Case No. 21-3032-MBK
 Caption: Order (I) Declaring that Automatic Stay Applies to Certain Actions Against
 Non-Debtors and (II) Preliminarily Enjoining Certain Actions

 with respect to such testimony. Defendants or other individuals asserting Enjoined Talc Claims

 may not seek to perpetuate the testimony of representatives, including directors, officers,

 employees and agents of the Debtor or the Protected Parties without the consent of the Debtor or

 an order of the Court. Notwithstanding the forgoing, parties in lawsuits pending in the MDL

 who wish to perpetuate the testimony of any person subject to this Order who is not expected to

 survive the duration of this Order or who otherwise is expected to be unable to provide testimony

 if it is not perpetuated during the duration of this Order shall comply with the process outlined in

 the In Extremis Deposition Protocol entered on January 23, 2017 in the MDL.

                9.      Pursuant to Bankruptcy Rule 7065, the Debtor is relieved from posting

 any security in connection with this Order pursuant to Civil Rule 65(c).

                10.     This Order shall be immediately effective and enforceable upon its entry.

                11.     In accordance with section 108(c) of the Bankruptcy Code, this Order

 shall toll, as of November 10, 2021, any applicable non-bankruptcy law, any order entered in a

 non-bankruptcy proceeding, or any agreement that fixes aperiod under which an enjoined

 Defendant is required to commence or continue acivil action in acourt other than this Court on

 any Enjoined Talc Claim asserted against the Debtor or any of the Protected Parties until the later

 of. (a) the end of such period, including any suspension of such period occurring on or after the

 commencement of the case; or (b) 30 days after the termination or expiration of the preliminary

 injunction issued by this Order.

                12.     The automatic stay shall continue to be lifted solely to permit the

 applicable Defendants to proceed with and complete the following appeals, in each of which




                                               A199
      Case: 22-2003          Document: 46            Page: 307      Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 187     Filed 03/04/22  Entered 03/04/22 08:59:23            Desc Main
                                     Document     Page 7of 7


 (Page 7)
 Debtor: LTL Management LLC
 Case No. 21-3032-MBK
 Caption: Order (I) Declaring that Automatic Stay Applies to Certain Actions Against
 Non-Debtors and (II) Preliminarily Enjoining Certain Actions

 surety bonds have been issued in connection with the appeal: (a) Leavitt: (b) Olson; (c) Schmitz;

 (d) Barden (as to Barden, Etheridge, McNeill and Ronning); (e) Soskin; and (f) Prudencio.

                 13.    The personal injury claims (including pain and suffering damages) of the

 plaintiff in the Vanklive lawsuit shall be preserved even if the plaintiff subsequently dies (with

 no impairment of such plaintiff's personal injury damages, including pain and suffering

 damages). The Debtor, New JJCI, and J&J specifically consent and agree to this provision.

                 14.    The Debtor shall cause acopy of this Order to be served via e-mail,

 facsimile, hand delivery or overnight carrier on counsel for the known Defendants within three

 business days of its entry on the Court's docket.

                 15.    This Order shall be promptly filed in the Clerk of Court's office and

 entered into the record, and, except as the Court may otherwise determine, it shall remain

 effective for the period through and including 30 days after the effective date of aconfirmed plan

 of reorganization in the Chapter 11 Case that is no longer subject to appeal or discretionary

 review.

                 16.    The Court will revisit continuation of the automatic stay and preliminary

 injunction ordered herein in 120 days from entry of the PI Opinion, on June 29, 2022, and similar

 periods thereafter.

                 17.    The Court shall have exclusive jurisdiction over this Order and any and all

 matters arising from or relating to the implementation, interpretation or enforcement of this

 Order.




                                               A200
            Case: 22-2003          Document: 46           Page: 308         Date Filed: 06/30/2022

      Case 21-03032-MBK           Doc 187-1    Filed 03/04/22  Entered 03/04/22 08:59:23                 Desc
                                    Notice of Order Entry   Page 1 of 1
Form order — mcorder

                                  UNITED STATES BANKRUPTCY COURT



District of New Jersey
402 East State Street
Trenton, NJ 08608

In Re: LTL Management LLC
Debtor
                                                          Case No.: 21-30589—MBK
                                                          Chapter 11
LTL Management LLC
Plaintiff

V.


Those Parties Listed on Appendix A to the Complaint and
John and Jane Does 1-1000
Defendant

Adv. Proc. No. 21-03032—MBK                               Judge: Michael B. Kaplan




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on March 4, 2022, the court entered the following judgment or order on the court's
docket in the above—captioned case:

Document Number: 187 — 2, 157
ORDER (I) DECLARING THAT AUTOMATIC STAY APPLIES TO CERTAIN ACTIONS AGAINST
NON—DEBTORS AND (II) PRELIMINARY ENJOINING CERTAIN ACTIONS (related document:2 Motion for
Preliminary Injunction — Debtor's Motion for an Order (I) Declaring That the Automatic Stay Applies to Certain
Actions Against Non—Debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting aTemporary
Restraining Order Pending aFinal Hearing filed by Matthew L Tomsic on behalf of LTL Management LLC.
(Tomsic, Matthew) [Transferred from North Carolina Western on 11/17/2021.] filed by Plaintiff LTL Management
LLC, 157 BRIDGE ORDER EXTENDING TERMINATION DATE OF ORDER GRANTING THE DEBTORS
REQUEST FOR PRELIMINARY INJUNCTIVE RELIEF (related document: 102 Order Granting Motion For
Preliminary Injunction (Related Doc 2) (krt) [Transferred from North Carolina Western on 11/17/2021]). Service of
notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See BNC Certificate of
Notice. Signed on 1/15/2022. (dmi)). Service of notice of the entry of this order pursuant to Rule 9022 was made on
the appropriate parties. See BNC Certificate of Notice. Signed on 3/4/2022. (wir)

      Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: March 4, 2022
JAN: wir


                                                          Jeanne Naughton
                                                          Clerk




                                                      A201
      Case: 22-2003             Document: 46             Page: 309            Date Filed: 06/30/2022

Case 21-03032-MBK            Doc 189       Filed 03/07/22  Entered 03/07/22 17:01:06                    Desc Main
                                         Document      Page 1 of 71




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004 -
                                             1(b)

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 Attorneys for Aylstock, Witkin, Kreis & Overholiz,
 PLLC

  In re:                                                             Chapter 11

  LTL MANAGEMENT LLC,'                                               Case No.: 21-30589 (MBK)

                                     Debtor.                         Judge: Michael B. Kaplan




  LTL MANAGEMENT LLC,
                                                                     Adv. Pro. No. 21-03032 (MBK)
                                     Plaintiff,


                    V.



  THOSE PARTIES LISTED ON APPPENDIX A TO
  COMPLAINT and JOHN AND JANE DOES 1-1000,
                                     Defendants.



 ' The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501 George
   Street, New Brunswick, New Jersey 08933.




                                                      A202
      Case: 22-2003        Document: 46             Page: 310     Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 189     Filed 03/07/22  Entered 03/07/22 17:01:06        Desc Main
                                    Document      Page 2 of 71




                                      NOTICE OF APPEAL

         NOTICE IS HEREBY GIVEN that Aylstock, Witkin, Kreis & Overholtz, PLLC

 ("AWKO"), on behalf of more than three thousand holders of talc claims, hereby appeals,

 pursuant to 28 U.S.C. § 158(a)(1), from the Order (1) Declaring that Automatic Stay Applies to

 Certain Actions Against Non-Debtors and (11) Preliminarily Er.joining Certain Actions [
                                                                                       Adv.

 Docket No. 187] ("Order"), entered on March 7, 2022, and the related Memorandum Opinion

 [Adv. Docket No. 184] (the "Memorandum"), entered on February 25, 2022 and which the

 Bankruptcy Court referenced in the Order. Copies of the Order and the Memorandum are

 attached hereto as Exhibit A and Exhibit B respectively.

         Pursuant to Bankruptcy Rule 8006, AWKO intends to seek certification of the Order and

 Memorandum for direct review by the United States Court of Appeals for the Third Circuit under

 28 U.S.C. § 158(d)(2).

         Pursuant to Bankruptcy Rule 8003(a)(3) and in accordance with Official Form 417A, the

 names of all parties (other than AWKO) to the Orders and Memoranda and the names, addresses,

 and telephone numbers of their attorneys are:


     Party Name                         Role                Attorney Contact Information

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                                                            JONES DAY
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                                                            Brad B. Erens, Esq.
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                                                 A203
     Case: 22-2003       Document: 46        Page: 311       Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 189     Filed 03/07/22  Entered 03/07/22 17:01:06   Desc Main
                                 Document      Page 3 of 71




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                                           A204
     Case: 22-2003       Document: 46        Page: 312       Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 189     Filed 03/07/22  Entered 03/07/22 17:01:06   Desc Main
                                 Document      Page 4 of 71




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                                                       and

                                                       BAILEY GLASSER LLP




                                           A205
     Case: 22-2003        Document: 46        Page: 313        Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 189     Filed 03/07/22  Entered 03/07/22 17:01:06      Desc Main
                                 Document      Page 5 of 71




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                                                         UNITED STATES DEPARTMENT
    5.   United States Trustee       Party in Interest
                                                         OF JUSTICE
                                                         OFFICE OF THE UNITED STATES
                                                         TRUSTEE
                                                         ANDREW R. VARA




                                           A206
    Case: 22-2003    Document: 46        Page: 314       Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 189     Filed 03/07/22  Entered 03/07/22 17:01:06      Desc Main
                              Document      Page 6 of 71




                                                    UNITED STATES TRUSTEE,
                                                    REGIONS 3 & 9
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                                       A207
    Case: 22-2003       Document: 46         Page: 315         Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 189     Filed 03/07/22  Entered 03/07/22 17:01:06       Desc Main
                              Document      Page 7 of 71




 DATED: March 7, 2022               Respectfully submitted,


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     Case: 22-2003          Document: 46        Page: 316         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37          Desc Main
                                    Document      Page 1 of 19




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Russell Capone (admitted pro hac vice)               Kevin W. Barrett (admitted pro hac vice)
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  Proposed Co- Counsel to the                         Proposed Co- Counsel to the
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                                               A209
          Case: 22-2003           Document: 46               Page: 317            Date Filed: 06/30/2022

Case 21-03032-MBK              Doc 190        Filed 03/07/22  Entered 03/07/22 19:07:37                       Desc Main
                                            Document      Page 2of 19



     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,                                             Case No.: 21-30589 (MBK)

                              Debtor.                                Honorable Michael B. Kaplan



     LTL MANAGEMENT LLC,                                            Adv. Pro. No.: 21-03032 (MBK)

                              Plaintiff,

     V.


     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-
     1000,

                              Defendants.



                                           JOINT NOTICE OF APPEAL

              PLEASE TAKE NOTICE that the Official Committee of Talc Claimants II ("TCC II"),

 together with Patricia Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as estate representative

 of Dan Doyle, Katherine Tollefson, and Tonya Whetsel as estate representative of Brandon

 Whetsel, hereby appeal to the United States District Court for the District of New Jersey' pursuant

 to 28 U.S.C. § 158 and rules 8002 and 8003 of the Federal Rules of Bankruptcy Procedure, from

 the order (Adv. Pro. D.I. 187) (the "Order") (1) declaring that the automatic stay applies to certain

 actions against non-debtors and (ii) preliminarily enjoining certain actions, entered on March 4,

 2022 by the United States Bankruptcy Court for the District of New Jersey.

              PLEASE TAKE FURTHER NOTICE that acopy of the Order is attached hereto as

 Exhibit A.

              PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order appealed

 from and the names, addresses and telephone numbers of their respective attorneys are as follows:




 1Concurrently herewith, the appellants are filing amotion seeking direct certification of this appeal to the Third Circuit
 Court of Appeals pursuant to 28 U.S.C. § 152(d)(2).

                                                             2




                                                         A210
     Case: 22-2003        Document: 46       Page: 318       Date Filed: 06/30/2022

Case 21-03032-MBK       Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37    Desc Main
                                  Document      Page 3 of 19




  Party                                        Counsel

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                                            A211
     Case: 22-2003    Document: 46        Page: 319       Date Filed: 06/30/2022

Case 21-03032-MBK    Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37    Desc Main
                               Document      Page 4 of 19




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                                          4




                                        A212
     Case: 22-2003         Document: 46            Page: 320      Date Filed: 06/30/2022

Case 21-03032-MBK        Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37        Desc Main
                                   Document      Page 5 of 19




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                                             A213
     Case: 22-2003        Document: 46         Page: 321     Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37      Desc Main
                                 Document      Page 6 of 19




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                                           A214
     Case: 22-2003       Document: 46         Page: 322      Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37        Desc Main
                                 Document      Page 7 of 19




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                                          A215
    Case: 22-2003         Document: 46           Page: 323      Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37           Desc Main
                                 Document      Page 8 of 19




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                                           A216
     Case: 22-2003      Document: 46        Page: 324        Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 190     Filed 03/07/22  Entered 03/07/22 19:07:37      Desc Main
                                 Document      Page 9 of 19




 Date: March 7, 2022                             SHERMAN, SILVERSTEIN, KOHL,
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                                          A217
    Case: 22-2003     Document: 46     Page: 325        Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 190  Filed 03/07/22  Entered 03/07/22 19:07:37            Desc Main
                           Document     Page 10 of 19




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                                     A218
     Case: 22-2003        Document: 46         Page: 326       Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11        Desc Main
                                 Document      Page 1 of 10




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.
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                                              A219
      Case: 22-2003              Document: 46             Page: 327            Date Filed: 06/30/2022

Case 21-03032-MBK             Doc 201       Filed 03/10/22  Entered 03/10/22 19:38:11                     Desc Main
                                          Document      Page 2 of 10




  In Re:                                                       Chapter 11

  LTL MANAGEMENT, LLC,I                                        Case No.: 21-30589 (MBK)

                             Debtor.                           Honorable Michael B. Kaplan



  In Re:

  LTL MANAGEMENT, LLC,                                         Adv. Pro. No. 21-03032 (MBK)

                             Plaintiff,

  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT AND
  JOHN AND JANE DOES 1-1000,

                             Defendants.




                    NOTICE OF APPEAL AND STATEMENT OF ELECTION

 Part 1: Identify the Appellant(s)

           1.     Names(s) of appellant(s): The Official Committee of Talc Claimants L2




 I   The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501
     George Street, New Brunswick, New Jersey 08933.
 2   The Objection tf the 6,fzcial Committee tf Talc Claimants to Debtor's Motion for an Order (1) Declaring That
     the Automatic Stay Applies to Certain Actions Against Non-Debtors or (11) Preliminarily Er,joining Such Actions
     and (111) Granting aTemporarily Restraining Order Pending aFinal Hearing (      Dkt. No. 142) (the "Objection")
     was filed by the original Official Committee of Talc Claimants (the "Original TCC") on December 22, 2021. On
     December 23, 2021, the United States Trustee filed anotice (Dkt. No. 965) appointing the Official Committee of
     Talc Claimants I("TCC I") and the Official Committee of Talc Claimants II ("TCC II") in place of the Original
     TCC. By Stipulation and Order, entered January 21, 2022 (Dkt. 1226), all pleadings and motions filed by the
     Original TCC, including the Objection, were deemed to be filed by each of TCC Iand TCC II, and each of TCC
     Iand TCC II were permitted to prosecute all such pleadings and motions. On January 26, 2022, the Bankruptcy
     Court entered an order (Dkt. No. 1273) reinstating the Original TCC but staying the effect of its ruling through
     March 8, 2022. On March 8, 2022, the Court issued abench ruling staying the reinstatement of the Original TCC
     and extending the existence of TCC Iand TCC II through and including April 12, 2022. As such, TCC Iand
     TCC II have filed separate notices of appeal. Also during the March 8hearing, the parties agreed to stipulate that
     the filings by TCC Iand TCC II will be deemed to have filed by the Original TCC if the Original TCC is reinstated
     in the future.




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                                                       A220
     Case: 22-2003          Document: 46         Page: 328        Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11         Desc Main
                                     Document      Page 3 of 10




         2.     Position of appellant(s) in the adversary proceeding or bankruptcy case that

 is the subject of this appeal: Appellant is an interested party and an objector in the adversary

 proceeding.

 Part 2: Identify the subject of this appeal

         1.     Describe the judgment, order, or decree appealed from: Appellant, pursuant to

 28 U.S.C. § 158(a) and Federal Rule of Bankruptcy Procedure 8001(a), hereby gives notice of

 appeal to the United States District Court for the District of New Jersey from each and every part

 of the opinion and order of the United States Bankruptcy Court for the District of New Jersey as

 follows:

         (a)    the Memorandum Opinion granting LTL Management, LLC's motion and

         resolving the adversary proceeding in favor of LTL Management, LLC (Dkt. No. 184) (the

         "Memorandum Opinion", annexed hereto as Exhibit A); and

         (b)    the Order (1) Declaring That Automatic Stay Applies to Certain Actions Against

         Non-Debtors and (II) Preliminarily Enjoining Certain Actions (Dkt. No. 187) (the "Order",

         annexed hereto as Exhibit B).

         2.     State the date on which the judgment, order, or decree was entered:            The

 Memorandum Opinion was entered on February 25, 2022 and the Order was entered on March 4,

 2022.

 Part 3: Identify the other parties to the appeal:

 List the names of all parties to the judgment, order, or decree appealed from and the names,

 addresses, and telephone numbers of their attorneys:




                   Party                                         Attorneys




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                                               A221
     Case: 22-2003        Document: 46         Page: 329       Date Filed: 06/30/2022

Case 21-03032-MBK       Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11   Desc Main
                                  Document      Page 4 of 10




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                                           A222
     Case: 22-2003          Document: 46        Page: 330         Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11    Desc Main
                                    Document      Page 5 of 10




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                                            Fax: (214) 969-5100
  Defendants (See Exhibit C)                See Exhibit C


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  (see Exhibit D)

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                                             A223
     Case: 22-2003          Document: 46         Page: 331        Date Filed: 06/30/2022

Case 21-03032-MBK        Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11     Desc Main
                                   Document      Page 6 of 10




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  Schadeverzekeringsmaatschappij Maas
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  interest to policies subscribed in favor
  of Johnson & Johnson by N.V.
  Rotterdamse Assurantiekas, n/k/a De
  Ark); and Rheinland Versicherungen
  (as successor in interest only to the
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                                              A224
     Case: 22-2003          Document: 46       Page: 332        Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11   Desc Main
                                    Document      Page 7 of 10




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                                             A225
    Case: 22-2003    Document: 46        Page: 333       Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11    Desc Main
                              Document      Page 8 of 10




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     Case: 22-2003          Document: 46       Page: 334          Date Filed: 06/30/2022

Case 21-03032-MBK        Doc 201     Filed 03/10/22  Entered 03/10/22 19:38:11         Desc Main
                                   Document      Page 9 of 10




  Interested party: United States Trustee   THE OFFICE OF THE UNITED STATES
                                            TRUSTEE, ANDREW R. VARA,
                                            UNITED STATES TRUSTEE, REGIONS 3 & 9
                                            Mitchell B. Hausman, Esq.
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 Part 4: Not Applicable (
                        No BAP in this District)

 Part 5: Signature



  DATED this 10th day of March 2022.
                                                   Respectfully submitted,

                                                   GENOVA BURNS, LLC




                                                   By:    /
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                                                   Local Counsel to the Official Committee of
                                                   Talc Claimants I




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    Case: 22-2003     Document: 46     Page: 335      Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 201  Filed 03/10/22  Entered 03/10/22 19:38:11   Desc Main
                           Document     Page 10 of 10




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                                     A228
    Case: 22-2003     Document: 46     Page: 336      Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 202  Filed 03/11/22  Entered 03/11/22 10:01:09   Desc Main
                           Document     Page 1 of 671




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                                     A229
            Case: 22-2003           Document: 46                       Page: 337             Date Filed: 06/30/2022

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                         MMiTIWnt    REW2Badf677114

                                                                Appendix A
                                               List of Defendants and Their Counsel

            Claimant Name                    State Filed                     Docket Number                  Plaintiff Counsel
BONDURANT, LYNDA            NJ - USDC for the District of New Jersey   3:19-cv-14366         ALLAN BERGER AND ASSOCIATE'
BUBRIG, REBA                NJ - USDC for the District of New Jersey   3:21-cv-11386         ALLAN BERGER AND ASSOCIATE'
HOLLAND, LOIS               NJ - USDC for the District of New Jersey   3:19-cv-14372         ALLAN BERGER AND ASSOCIATE'
LEONARD, PHYLLIS            NJ - USDC for the District of New Jersey   3:20-cv-06131         ALLAN BERGER AND ASSOCIATE'
TRIPP, ARLENE               NJ - USDC for the District of New Jersey   3:19-cv-17898         ALLAN BERGER AND ASSOCIATE'
WILLIAMS, SHARON            NJ - USDC for the District of New Jersey   3:19-cv-15810         ALLAN BERGER AND ASSOCIATE'
DRENGACS, TERESA            NJ - USDC for the District of New Jersey   3:19-cv-17797         ALLEN & NOLTE PLLC
SIMPSON, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-17425         ALLEN & NOLTE PLLC
MANLA, JOSEPHINE            NJ - Superior Court - Atlantic County      AT L- L-003351-20     ALOIA LAW FIRM LLC
BELLANTIS, CATHERINE        NJ - USDC for the District of New Jersey   3:20-cv-09238         ANAPOL WEISS
BERNOUDY, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-15545         ANAPOL WEISS
CAMPBELL, TASHL4            NJ - USDC for the District of New Jersey   3:20-cv-15544         ANAPOL WEISS
GREENE, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-09260         ANAPOL WEISS
HUSETH, SANDRA              NJ - Superior Court- Atlantic County       ATL-L-1341-17         ANAPOLWEISS
KAMINSKY, DOROTHY           NJ - USDC for the District of New Jersey   3:19-cv-21750         ANAPOL WEISS
MCNEAL, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-15610         ANAPOL WEISS
MENDES, HOLLY               NJ - USDC for the District of New Jersey   3:20-cv-15536         ANAPOL WEISS
MILLIS, JOAN                NJ - USDC for the District of New Jersey   3:18-cv-06079         ANAPOL WEISS
ONOPA, JOAN                 NJ - USDC for the District of New Jersey   3:17-cv-04012         ANAPOL WEISS
OYLER, LISA                 NJ - USDC for the District of New Jersey   3:20-cv-13681         ANAPOL WEISS
PATTON, MARCELLA            NJ - USDC for the District of New Jersey   3:17-cv-07926         ANAPOL WEISS
SNEDEN, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-15541         ANAPOL WEISS
                                                                                             ANDREWS THORNTON HIGGINS RAZMARA,
CARPENTER, ROSEMARY         NJ - USDC for the District of New Jersey   3:19-cv-19786
                                                                                             LET
                                                                                             ANDREWS THORNTON HIGGINS RAZMARA,
KUREH, MAHA                 CA - Superior Court - Los Angeles County   BC628713
                                                                                             LET
                                                                                             ANDREWS THORNTON HIGGINS RAZMARA,
SILVA, KAMALA               CA - Superior Court - Los Angeles County   BC635962
                                                                                             LET
BARRAS, MARGARET            NJ - USDC for the District of New Jersey   3:18-cv-15967         ANDRUS WAGSTAFF, P.0
BELIZEARD, VALLERIE         NJ - USDC for the District of New Jersey   3:21-cv-04595         ANDRUS WAGSTAFF, P.0
BLASINI, NYDIA              NJ - USDC for the District of New Jersey   3:21-cv-16715         ANDRUS WAGSTAFF, P.0
BOWERS, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-14545         ANDRUS WAGSTAFF, P.0
BOYLAN, STEPHANIE           NJ - USDC for the District of New Jersey   3:21-cv-04461         ANDRUS WAGSTAFF, P.0
BURKE, LORA                 NJ - USDC for the District of New Jersey   3:21-cv-04591         ANDRUS WAGSTAFF, P.0
CAMPBELL, DORA              NJ - USDC for the District of New Jersey   3:19-cv-00655         ANDRUS WAGSTAFF, P.0
CHARLES, NORALEE            NJ - USDC for the District of New Jersey   3:21-cv-16416         ANDRUS WAGSTAFF, P.0
CHRISTIAN, NANETTE          NJ - USDC for the District of New Jersey   3:20-cv-18847         ANDRUS WAGSTAFF, P.0
DANIEL, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-18876         ANDRUS WAGSTAFF, P.0
DAVIS, RUTTTANNE            NJ - USDC for the District of New Jersey   3:18-cv-00498         ANDRUS WAGSTAFF, P.0
EDWARDS, LATASHA            NJ - USDC for the District of New Jersey   3:20-cv-14184         ANDRUS WAGSTAFF, P.0
ELMORE, DESIREE             NJ - USDC for the District of New Jersey   3:21-cv-14467         ANDRUS WAGSTAFF, P.0
HAACK, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-13695         ANDRUS WAGSTAFF, P.0
HERRERA, DELILAH            NJ - USDC for the District of New Jersey   3:21-cv-14291         ANDRUS WAGSTAFF, P.0
HORNE, EMILY                NJ - USDC for the District of New Jersey   3:17-cv-12625         ANDRUS WAGSTAFF, P.0
HUBBARD, GEMMA              NJ - USDC for the District of New Jersey   3:20-cv-18842         ANDRUS WAGSTAFF, P.0
JONES, MARGARET             IL - Circuit Court - Cook County           2021L003098           ANDRUS WAGSTAFF, P.0
LAFOND, VERBENLA            NJ - USDC for the District of New Jersey   3:21-cv-03558         ANDRUS WAGSTAFF, P.0
LAND, JENNA                 NJ - USDC for the District of New Jersey   3:18-cv-01902         ANDRUS WAGSTAFF, P.0
LEE, JILL                   NJ - USDC for the District of New Jersey   3:20-cv-14669         ANDRUS WAGSTAFF, P.0
LISTON, MARY                NJ - USDC for the District of New Jersey   3:19-cv-14590         ANDRUS WAGSTAFF, P.0
LYONS, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-04538         ANDRUS WAGSTAFF, P.0
MARTIN, JULIA               NJ - USDC for the District of New Jersey   3:17-cv-12630         ANDRUS WAGSTAFF, P.0
MAY, PENNY                  NJ - USDC for the District of New Jersey   3:18-cv-00251         ANDRUS WAGSTAFF, P.0
MCKENZIE, KATHY             NJ - USDC for the District of New Jersey   3:17-cv-12633         ANDRUS WAGSTAFF, P.0
NICHOLSON, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-15449         ANDRUS WAGSTAFF, P.0
OLSON, VANESSA              NJ - USDC for the District of New Jersey   3:20-cv-14188         ANDRUS WAGSTAFF, P.0
PLAISANCE, MARY             NJ - USDC for the District of New Jersey   3:20-cv-14547         ANDRUS WAGSTAFF, P.0
PLUNKETT, SHARI             NJ - USDC for the District of New Jersey   3:19-cv-07718         ANDRUS WAGSTAFF, P.0
RENTERIA, LETITIA           NJ - USDC for the District of New Jersey   3:21-cv-15482         ANDRUS WAGSTAFF, P.0
RICHARDSON, VICTORIA        NJ - USDC for the District of New Jersey   3:17-cv-12634         ANDRUS WAGSTAFF, P.0
SIMS, EMMA                  NJ - USDC for the District of New Jersey   3:21-cv-14204         ANDRUS WAGSTAFF, P.0
VINCENT, LETHA              NJ - USDC for the District of New Jersey   3:20-cv-14567         ANDRUS WAGSTAFF, P.0
WALLACE, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-07777         ANDRUS WAGSTAFF, P.0
WEAVER, EBONI               NJ- USDC for the District of New Jersey    3:17-cv-12635         ANDRUS WAGSTAFF, P.0
WEBER, PATRICIA             NJ - USDC for the District of New Jersey   3:17-cv-12636         ANDRUS WAGSTAFF, P.0
WELLS, SHANNON              NJ - USDC for the District of New Jersey   3:21-cv-16110         ANDRUS WAGSTAFF, P.0
WHITE, MONICA               NJ - USDC for the District of New Jersey   3:21-cv-14296         ANDRUS WAGSTAFF, P.0
WILLIS, TAMARA              NJ - USDC for the District of New Jersey   3:18-cv-01324         ANDRUS WAGSTAFF, P.0
YATES, JAIME                NJ - USDC for the District of New Jersey   3:19-cv-13974         ANDRUS WAGSTAFF, P.0
ABERCROMBIE, BETTY          NJ - USDC for the District of New Jersey   3:21-cv-10399         ARNOLD & ITKIN LEE
ABNEY, SHAMAE               NJ - USDC for the District of New Jersey   3:20-cv-19449         ARNOLD & ITKIN LEE
ACHENBACH, DORIS            NJ - USDC for the District of New Jersey   3:18-cv-11789         ARNOLD & ITKIN LEE
ACOSTA, WENDY               NJ - USDC for the District of New Jersey   3:21-cv-00812         ARNOLD & ITKIN LEE
ADAMS, ANGELA               NJ - USDC for the District of New Jersey   3:20-cv-15656         ARNOLD & ITKIN LEE
ADAMS, PRISCILLA            NJ - USDC for the District of New Jersey   3:20-cv-05974         ARNOLD & ITKIN LEE
AKERS, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-19725         ARNOLD & ITKIN LEE




                                                                Page 1of 670




                                                                    A230
          Case: 22-2003           Document: 46                       Page: 338             Date Filed: 06/30/2022

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         Claimant Name                     State Filed                     Docket Number                Plaintiff Counsel
ALBERTS, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-03656         ARNOLD & ITKIN LEE
ALEGRE, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-16783         ARNOLD & ITKIN LEE
ALEGRIA, MONICA           NJ - USDC for the District of New Jersey   3:20-cv-02948         ARNOLD & ITKIN LEE
ALKHAS, ANITA             NJ - USDC for the District of New Jersey   3:20-cv-09373         ARNOLD & ITKIN LEE
ALKHOURI, MADLAIN         NJ - USDC for the District of New Jersey   3:21-cv-10402         ARNOLD & ITKIN LEE
ALLBRIGHT, DIANE          NJ - USDC for the District of New Jersey   3:18-cv-08732         ARNOLD & ITKIN LEE
ALLEN, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-19736         ARNOLD & ITKIN LEE
AMBROS, KATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-16294         ARNOLD & ITKIN LEE
AMERSON, DEANDRA          CA - Superior Court - Los Angeles County   CGC-20-588782         ARNOLD & ITKIN LEE
AMEY, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-10626         ARNOLD & ITKIN LEE
ANDERSON, BRANDY          NJ - USDC for the District of New Jersey   3:20-cv-20052         ARNOLD & ITKIN LEE
ANDERSON, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-02528         ARNOLD & ITKIN LEE
ANDERSON, GEORGIA         NJ - USDC for the District of New Jersey   3:21-cv-15243         ARNOLD & ITKIN LEE
APONTE, NOEMI             NJ - USDC for the District of New Jersey   3:20-cv-12208         ARNOLD & ITKIN LEE
ARCHER, KELLY             NJ - USDC for the District of New Jersey   3:21-cv-09035         ARNOLD & ITKIN LEE
ARNOLD, GENIE             NJ - USDC for the District of New Jersey   3:20-cv-11129         ARNOLD & ITKIN LEE
ARNOLD, PHYLLIS           NJ - USDC for the District of New Jersey   3:19-cv-18654         ARNOLD & ITKIN LEE
ARNOLD, TERRI             NJ - USDC for the District of New Jersey   3:21-cv-01736         ARNOLD & ITKIN LEE
ARREOLA, YOLAND           NJ - USDC for the District of New Jersey   3:19-cv-18095         ARNOLD & ITKIN LEE
ARTESSA, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-14370         ARNOLD & ITKIN LEE
ASHLEY-JARMON, DESHAWI\   NJ - USDC for the District of New Jersey   3:20-cv-10869         ARNOLD & ITKIN LEE
ASKEW, DANIELLE           NJ - USDC for the District of New Jersey   3:21-cv-02022         ARNOLD & ITKIN LEE
ATWOOD, NORMA             NJ - USDC for the District of New Jersey   3:20-cv-19232         ARNOLD & ITKIN LEE
AUSTIN, JANIS             NJ - USDC for the District of New Jersey   3:20-cv-03323         ARNOLD & ITKIN LEE
AUSTIN, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-15108         ARNOLD & ITKIN LEE
BAGWELL, DORA             NJ - USDC for the District of New Jersey   3:20-cv-19249         ARNOLD & ITKIN LEE
BAILEY, BECKY             NJ - USDC for the District of New Jersey   3:21-cv-15290         ARNOLD & ITKIN LEE
BAILEY, CHRISSA           NJ - USDC for the District of New Jersey   3:20-cv-18223         ARNOLD & ITKIN LEE
BAILEY-WYCHE, SYLVIA      NJ - USDC for the District of New Jersey   3:21-cv-01359         ARNOLD & ITKIN LEE
BAKER, MEGHAN             NJ - USDC for the District of New Jersey   3:20-cv-11127         ARNOLD & ITKIN LEE
BALDUCCI, MARIAN AVANTS   NJ - USDC for the District of New Jersey   3:21-cv-15281         ARNOLD & ITKIN LEE
BANKS, LOREDA             NJ - USDC for the District of New Jersey   3:20-cv-06638         ARNOLD & ITKIN LEE
BARLEY, LESLIE            NJ - USDC for the District of New Jersey   3:20-cv-11873         ARNOLD & ITKIN LEE
BARNFIELD, NICOLE         NJ - USDC for the District of New Jersey   3:20-cv-11123         ARNOLD & ITKIN LEE
BARNHART, MARYANN         NJ - USDC for the District of New Jersey   3:20-cv-19542         ARNOLD & ITKIN LEE
BARRETT, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-20030         ARNOLD & ITKIN LEE
BASINGER, ELSA            NJ - USDC for the District of New Jersey   3:20-cv-08122         ARNOLD & ITKIN LEE
BATTS, TAMMIE             NJ - USDC for the District of New Jersey   3:21-cv-13261         ARNOLD & ITKIN LEE
BAZILE, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-14259         ARNOLD & ITKIN LEE
BEACH, CLAIRE             NJ - USDC for the District of New Jersey   3:20-cv-11131         ARNOLD & ITKIN LEE
BEAN, SCARLETT            NJ - USDC for the District of New Jersey   3:20-cv-08209         ARNOLD & ITKIN LEE
BEARD, KAY                NJ - USDC for the District of New Jersey   3:20-cv-00180         ARNOLD & ITKIN LEE
BEDENBAUGH, CHERYL        NJ - USDC for the District of New Jersey   3:20-cv-12724         ARNOLD & ITKIN LEE
BELL, ETHEL               NJ - USDC for the District of New Jersey   3:21-cv-10981         ARNOLD & ITKIN LEE
BELL, ETHEL               NJ - USDC for the District of New Jersey   3:20-cv-16980         ARNOLD & ITKIN LEE
BELLEW, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-16210         ARNOLD & ITKIN LEE
BENDELL, HANSINA          NJ - USDC for the District of New Jersey   3:20-cv-13715         ARNOLD & ITKIN LEE
BENTON, IRENE             NJ - USDC for the District of New Jersey   3:21-cv-10710         ARNOLD & ITKIN LEE
BERRY, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-12616         ARNOLD & ITKIN LEE
BESHEARS, DELORIS         NJ - USDC for the District of New Jersey   3:21-cv-01912         ARNOLD & ITKIN LEE
BETTS, RHONDA             CA - Superior Court - Los Angeles County   20STCV48090           ARNOLD & ITKIN LEE
BILLIE, ADELINE           NJ - USDC for the District of New Jersey   3:21-cv-15723         ARNOLD & ITKIN LEE
BIRCH, KIERSTEN           IL - Circuit Court - Cook County           2021 L000547          ARNOLD & ITKIN LEE
BLACKMON, CATINA          NJ - USDC for the District of New Jersey   3:21-cv-11820         ARNOLD & ITKIN LEE
BLAND, SHELIA             NJ - USDC for the District of New Jersey   3:21-cv-12036         ARNOLD & ITKIN LEE
BLATT, DEBORA             NJ - USDC for the District of New Jersey   3:21-cv-01054         ARNOLD & ITKIN LEE
BLEDSOE, HANNAH           NJ - USDC for the District of New Jersey   3:21-cv-07451         ARNOLD & ITKIN LEE
BLOUGH, BILLIE            NJ - USDC for the District of New Jersey   3:21-cv-03794         ARNOLD & ITKIN LEE
BLUE, KHELIA              NJ - USDC for the District of New Jersey   3:20-cv-12543         ARNOLD & ITKIN LEE
BODNAR, ROSE              NJ - USDC for the District of New Jersey   3:20-cv-00151         ARNOLD & ITKIN LEE
BOLDS, DOMINIQUE          NJ - USDC for the District of New Jersey   3:21-cv-16656         ARNOLD & ITKIN LEE
                          PA - Philadelphia County Court of Common
BONDA, JUDI                                                          201200816             ARNOLD & ITKIN LEE
                          Pleas
BORUFF, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-07418         ARNOLD & ITKIN LEE
BOSSALINA, DONNA          NJ - USDC for the District of New Jersey   3:20-cv-14242         ARNOLD & ITKIN LEE
BOTTS, DELIA              NJ - USDC for the District of New Jersey   3:21-cv-10463         ARNOLD & ITKIN LEE
BOUDREAUX, CHERYL         NJ - USDC for the District of New Jersey   3:21-cv-12288         ARNOLD & ITKIN LEE
BOWLSON, KENYATTA         NJ - USDC for the District of New Jersey   3:20-cv-19479         ARNOLD & ITKIN LEE
BOYCE, LINDA              NJ - Superior Court - Atlantic County      ATLdr000449-21        ARNOLD & ITKIN LEE
BOYD, JENNETTE            NJ - USDC for the District of New Jersey   3:20-cv-10881         ARNOLD & ITKIN LEE
BOYD, YVONNE              NJ - USDC for the District of New Jersey   3:21-cv-10468         ARNOLD & ITKIN LEE
BRADLEY- COMBS, LULA      NJ - USDC for the District of New Jersey   3:21-cv-10144         ARNOLD & ITKIN LEE
BRAITHWAITE, CATHY        NJ - USDC for the District of New Jersey   3:20-cv-01280         ARNOLD & ITKIN LEE
BRAND, STACEY             NJ - USDC for the District of New Jersey   3:20-cv-12445         ARNOLD & ITKIN LEE
BRANDON, SHANNON          NJ - USDC for the District of New Jersey   3:21-cv-16423         ARNOLD & ITKIN LEE
BRANTLEY, LORETTA         NJ - USDC for the District of New Jersey   3:20-cv-19912         ARNOLD & ITKIN LEE
BRAY, RUTH                NJ - USDC for the District of New Jersey   3:20-cv-09834         ARNOLD & ITKIN LEE
BREGEL, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-14801         ARNOLD & ITKIN LEE
BRESCIA, FRANCES          NJ - USDC for the District of New Jersey   3:20-cv-06629         ARNOLD & ITKIN LEE
BRILL, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-02151         ARNOLD & ITKIN LEE




                                                              Page 2of 670




                                                                  A231
   Case: 22-2003    Document: 46      Page: 339     Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 202-1   Filed 03/11/22 Entered 03/11/22 10:01:09   Desc
                           Exhibit D Page 1of 19




                      EXHIBIT D




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     Case: 22-2003     Document: 46      Page: 340   Date Filed: 06/30/2022

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Non-
   Debtor Affiliates

3Dintegrated ApS
Acclarent, Inc.
Actelion Ltd
Actelion Manufacturing GmbH
Actelion Pharmaceuticals Australia
   Pty. Limited
Actelion Pharmaceuticals Korea Ltd.
Actelion Pharmaceuticals Ltd
Actelion Pharmaceuticals Mexico
   S.A. De C.V.
Actelion Pharmaceuticals Trading
   (Shanghai) Co., Ltd.
Actelion Pharmaceuticals UK Limited
Actelion Pharmaceuticals US, Inc.
Actelion Registration Limited
Actelion Treasury Unlimited Company
Akros Medical, Inc.
Albany Street LLC
ALZA Corporation
Alza Land Management, Inc.
AMO (Hangzhou) Co., Ltd.
AMO (Shanghai) Medical Devices
   Trading Co., Ltd.
AMO ASIA LIMITED
AMO Australia Pty Limited
AMO Canada Company
AMO Denmark ApS
AMO Development, LLC
AMO France
AMO Germany GmbH
AMO Groningen B.V.
AMO International Holdings
AMO Ireland
AMO Ireland Finance Unlimited Company
AMO Italy SRL
AMO Japan K.K.
AMO Manufacturing Spain S.L.
AMO Manufacturing USA, LLC
AMO Netherlands BV
AMO Nominee Holdings, LLC
AMO Norway AS
AMO Puerto Rico Manufacturing, Inc.
AMO Sales and Service, Inc.
AMO Singapore Pte. Ltd.




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     Case: 22-2003      Document: 46        Page: 341   Date Filed: 06/30/2022

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AMO Spain Holdings, LLC
AMO Switzerland GmbH
AMO U.K. Holdings, LLC
AMO United Kingdom, Ltd.
AMO Uppsala AB
AMO US Holdings, Inc.
AMO USA Sales Holdings, Inc.
AMO USA, LLC
Animas Diabetes Care, LLC
Animas LLC
Animas Technologies LLC
AorTx, Inc.
Apsis
Aragon Pharmaceuticals, Inc.
Asia Pacific Holdings, LLC
Atrionix, Inc.
AUB Holdings LLC
Auris Health, Inc.
Backsvalan 2Aktiebolag
Backsvalan 6Handelsbolag
Beijing Dabao Cosmetics Co., Ltd.
BeneVir BioPharm, Inc.
Berna Rhein B.V.
BioMedical Enterprises, Inc.
Biosense Webster (Israel) Ltd.
Biosense Webster, Inc.
C Consumer Products Denmark ApS
Calibra Medical LLC
Campus-Foyer Apotheke GmbH
Carlo Erba OTC S.r.l.
Centocor Biologics, LLC
Centocor Research & Development, Inc.
ChromaGenics B.V.
Ci:Labo Customer Marketing Co., Ltd.
Ci:z. Labo Co., Ltd.
Cilag AG
Cilag GmbH International
Cilag Holding AG
Cilag Holding Treasury Unlimited Company
Cilag-Biotech, S.L.
CNA Development GmbH
Codman & Shurtleff, Inc.
Coherex Medical, Inc.
ColBar LifeScience Ltd.
Company Store.com, Inc.
Cordis de Mexico, S.A. de C.V.




NAI-1522309200




                                           A234
     Case: 22-2003     Document: 46       Page: 342   Date Filed: 06/30/2022

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Cordis International Corporation
Corimmun GmbH
CoTherix Inc.
CSATS, Inc.
Darlain Trading S.A.
Debs-Vogue Corporation
   (Proprietary) Limited
DePuy France
DePuy Hellas SA
DePuy International Limited
DePuy Ireland Unlimited Company
DePuy Mexico, S.A. de C.V.
DePuy Mitek, LLC
DePuy Orthopaedics, Inc.
DePuy Products, Inc.
DePuy Spine, LLC
DePuy Synthes Gorgan Limited
DePuy Synthes Institute, LLC
DePuy Synthes Leto SARL
DePuy Synthes Products, Inc.
DePuy Synthes Sales, Inc.
DePuy Synthes, Inc.
Dr. Ci:Labo Co., Ltd.
DR. CL•LABO COMPANY LIMITED
Dutch Holding LLC
ECL7, LLC
EES Holdings de Mexico,
    S. de R.L. de C.V.
EES, S.A. de C.V.
EIT Emerging Implant Technologies GmbH
Ethicon Biosurgery Ireland
Ethicon Endo- Surgery (Europe) GmbH
Ethicon Endo- Surgery, Inc.
Ethicon Endo- Surgery, LLC
Ethicon Holding Sarl
Ethicon Ireland Unlimited Company
Ethicon LLC
Ethicon PR Holdings Unlimited Company
Ethicon Sarl
Ethicon US, LLC
Ethicon Women's Health & Urology Sarl
Ethicon, Inc.
Ethnor (Proprietary) Limited
Ethnor del Istmo S.A.
Ethnor Farmaceutica, S.A.
Ethnor Guatemala, Sociedad Anomina




NAI-1522309200




                                         A235
     Case: 22-2003       Document: 46          Page: 343   Date Filed: 06/30/2022

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Finsbury (Development) Limited
Finsbury (Instruments) Limited
Finsbury Medical Limited
Finsbury Orthopaedics International Limited
Finsbury Orthopaedics Limited
FMS Future Medical System SA
GH Biotech Holdings Limited
Global Investment Participation B.V.
GMED Healthcare BV
Guangzhou Bioseal Biotech Co., Ltd.
Hansen Medical Deutschland GmbH
Hansen Medical International, Inc.
Hansen Medical UK Limited
Hansen Medical, Inc.
Healthcare Services (Shanghai) Ltd.
I.D. Acquisition Corp.
Innomedic Gesellschaft fur innovative
   Medizintechnik and Informatik mbH
Innovalens B.V.
Innovative Surgical Solutions, LLC
J & JCompany West Africa Limited
J&J Pension Trustees Limited
J.C. General Services BV
Janssen Alzheimer Immunotherapy
   (Holding) Limited
Janssen Biologics (Ireland) Limited
Janssen Biologics B.V.
Janssen BioPharma, Inc.
Janssen Biotech, Inc.
Janssen Cilag Farmaceutica S.A.
Janssen Cilag S.p.A.
Janssen Cilag SPA
Janssen Cilag, C.A.
Janssen de Mexico, S. de R.L. de C.V.
Janssen Development Finance
   Unlimited Company
Janssen Diagnostics, LLC
Janssen Egypt LLC
Janssen Farmaceutica Portugal Lda
Janssen Global Services, LLC
Janssen Group Holdings Limited
Janssen Holding GmbH
Janssen Inc.
Janssen Irish Finance Company UC
Janssen Korea Ltd.
Janssen Oncology, Inc.




NAI-1522309200




                                              A236
     Case: 22-2003       Document: 46         Page: 344       Date Filed: 06/30/2022

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Janssen Ortho LLC
Janssen Pharmaceutica
   (Proprietary) Limited
Janssen Pharmaceutica NV
Janssen Pharmaceutica S.A.
Janssen Pharmaceutical
Janssen Pharmaceutical K.K.
Janssen Pharmaceutical Sciences
   Unlimited Company
Janssen Pharmaceuticals, Inc.
Janssen Products, LP
Janssen R&D Ireland
Janssen Research & Development, LLC
Janssen Sciences Ireland
   Unlimited Company
Janssen Scientific Affairs, LLC
Janssen Supply Group, LLC
Janssen Vaccines & Prevention B.V.
Janssen Vaccines Corp.
Janssen-Cilag
Janssen-Cilag (New Zealand) Limited
Janssen-Cilag A/S
Janssen-Cilag AG
Janssen-Cilag Aktiebolag
Janssen-Cilag AS
Janssen-Cilag B.V.
Janssen-Cilag de Mexico S. de R.L. de C.V.
Janssen-Cilag Farmaceutica Lda.
Janssen-Cilag Farmaceutica Ltda.
Janssen-Cilag GmbH
Janssen-Cilag International NV
Janssen-Cilag Kft.
Janssen-Cilag Limited
Janssen-Cilag Limited
Janssen-Cilag Manufacturing, LLC
Janssen-Cilag NV
Janssen-Cilag OY
Janssen-Cilag Pharma GmbH
Janssen-Cilag Pharmaceutical S.A.C.I.
Janssen-Cilag Polska, Sp. zo.o.
Janssen-Cilag Pty Ltd
Janssen-Cilag S.A.
Janssen-Cilag s.r.o.
Janssen-Cilag, S.A.
Janssen-Cilag, S.A. de C.V.
Janssen-Pharma, S.L.




NAI-1522309200




                                             A237
     Case: 22-2003       Document: 46        Page: 345   Date Filed: 06/30/2022


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J- C Health Care Ltd.
Jevco Holding, Inc.
JJ Surgical Vision Spain, S.L.
JJC Acquisition Company B.V.
JJHC, LLC
JJSV Belgium BV
JJSV Manufacturing Malaysia SDN. BHD.
JJSV Norden AB
JJSV Produtos Oticos Ltda.
JNJ Global Business Services s.r.o.
JNJ Holding EMEA B.V.
JNJ International Investment LLC
JNJ Irish Investments ULC
Johnson & Johnson
Johnson & Johnson - Societa' Per Azioni
Johnson & Johnson (Angola), Limitada
Johnson & Johnson (China) Investment Ltd.
Johnson & Johnson (Egypt) S.A.E.
Johnson & Johnson (Hong Kong) Limited
Johnson & Johnson (Ireland) Limited
Johnson & Johnson (Jamaica) Limited
Johnson & Johnson (Kenya) Limited
Johnson & Johnson (Middle East) Inc.
Johnson & Johnson (Mozambique),
    Limitada
Johnson & Johnson (Namibia)
   (Proprietary) Limited
Johnson & Johnson (New Zealand) Limited
Johnson & Johnson (Philippines), Inc.
Johnson & Johnson (Private) Limited
Johnson & Johnson (Thailand) Ltd.
Johnson & Johnson (Trinidad) Limited
Johnson & Johnson (Vietnam) Co., Ltd
Johnson & Johnson AB
Johnson & Johnson AG
Johnson & Johnson Belgium
    Finance Company BV
Johnson & Johnson Bulgaria EOOD
Johnson & Johnson China Ltd.
Johnson & Johnson Consumer
    (Hong Kong) Limited
Johnson & Johnson Consumer
    (Thailand) Limited
Johnson & Johnson Consumer B.V.
Johnson & Johnson Consumer
    Holdings France




NAI-1522309200




                                            A238
     Case: 22-2003      Document: 46         Page: 346   Date Filed: 06/30/2022


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Johnson & Johnson Consumer Inc.
Johnson & Johnson Consumer NV
Johnson & Johnson Consumer
   Saudi Arabia Limited
Johnson & Johnson Consumer Services
   EAME Ltd.
Johnson & Johnson d.o.o.
Johnson & Johnson de Argentina
   S.A.C. e.1.
Johnson & Johnson de Chile Limitada
Johnson & Johnson de Chile S.A.
Johnson & Johnson de Colombia S.A.
Johnson & Johnson de Costa Rica, S.A.
Johnson & Johnson de Mexico, S.A. de C.V.
Johnson & Johnson de Uruguay S.A.
Johnson & Johnson de Venezuela, S.A.
Johnson & Johnson del Ecuador, S.A.
Johnson & Johnson Del Paraguay, S.A.
Johnson & Johnson del Peru S.A.
Johnson & Johnson do Brasil Industria E
   Comercio de Produtos Para Saude Ltda.
Johnson & Johnson Dommicana, S.A.S.
Johnson & Johnson Enterprise
   Innovation Inc.
Johnson & Johnson European
   Treasury Company
Johnson & Johnson Finance Corporation
Johnson & Johnson Finance Limited
Johnson & Johnson Financial
   Services GmbH
Johnson & Johnson for Export and
   Import LLC
Johnson & Johnson Foundation Scotland
   (NON-PROFIT)
Johnson & Johnson Gateway, LLC
Johnson & Johnson Gesellschaft m.b.H.
Johnson & Johnson GmbH
Johnson & Johnson Guatemala, S.A.
Johnson & Johnson Health and
   Wellness Solutions, Inc.
Johnson & Johnson Health Care
   Systems Inc.
Johnson & Johnson Hellas Commercial and
   Industrial S.A.
Johnson & Johnson Hellas Consumer
   Products Commercial Societe Anonyme




NAI-1522309200




                                            A239
     Case: 22-2003      Document: 46         Page: 347        Date Filed: 06/30/2022

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Johnson & Johnson Hemisferica S.A.
Johnson & Johnson Holding GmbH
Johnson & Johnson Holdings K.K.
Johnson & Johnson Inc.
Johnson & Johnson Industrial Ltda.
Johnson & Johnson Innovation - JJDC, Inc.
Johnson & Johnson Innovation Limited
Johnson & Johnson Innovation LLC
Johnson & Johnson International
Johnson & Johnson International
   (Singapore) Pte. Ltd.
Johnson & Johnson International Financial
   Services Company
Johnson & Johnson Japan Inc.
Johnson & Johnson K.K.
Johnson & Johnson Kft.
Johnson & Johnson Korea Ltd.
Johnson & Johnson Korea Selling &
   Distribution LLC
Johnson & Johnson Limitada
Johnson & Johnson Limited
Johnson & Johnson LLC
Johnson & Johnson Luxembourg Finance
   Company Sarl
Johnson & Johnson Management Limited
Johnson & Johnson Medical (China) Ltd.
Johnson & Johnson Medical
   (Proprietary) Ltd
Johnson & Johnson Medical (Shanghai) Ltd.
Johnson & Johnson Medical (Suzhou) Ltd.
Johnson & Johnson Medical B.V.
Johnson & Johnson Medical Devices &
   Diagnostics Group - Latin America,
   L.L.C.
Johnson & Johnson Medical GmbH
Johnson & Johnson Medical Korea Ltd.
Johnson & Johnson Medical Limited
Johnson & Johnson Medical Mexico, S.A.
   de C.V.
Johnson & Johnson Medical NV
Johnson & Johnson Medical
   Products GmbH
Johnson & Johnson Medical Pty Ltd
Johnson & Johnson Medical S.A.
Johnson & Johnson Medical S.p.A.
Johnson & Johnson Medical SAS




NAI-1522309200




                                            A240
     Case: 22-2003       Document: 46        Page: 348      Date Filed: 06/30/2022


                              DoEmhiWbiID    Page 10,lbbiL914




Johnson & Johnson Medical
   Saudi Arabia Limited
Johnson & Johnson Medical Servicios
   Profesionales S. de R.L. de C.V.
Johnson & Johnson Medical Taiwan Ltd.
Johnson & Johnson Medical, S.C.S.
Johnson & Johnson Medikal Sanayi ve
   Ticaret Limited Sirketi
Johnson & Johnson Middle East FZ-LLC
Johnson & Johnson Morocco
   Societe Anonyme
Johnson & Johnson Nordic AB
Johnson & Johnson Pacific Pty Limited
Johnson & Johnson Pakistan
   (Private) Limited
Johnson & Johnson Panama, S.A.
Johnson & Johnson Personal Care
   (Chile) S.A.
Johnson & Johnson Poland Sp. zo.o.
Johnson & Johnson Private Limited
Johnson & Johnson Pte. Ltd.
Johnson & Johnson Pty. Limited
Johnson & Johnson Research Pty Ltd
Johnson & Johnson Romania S.R.L.
Johnson & Johnson S.E. d.o.o.
Johnson & Johnson S.E., Inc.
Johnson & Johnson Sante Beaute France
Johnson & Johnson SDN. BHD.
Johnson & Johnson Services, Inc.
Johnson & Johnson Servicios Corporativos,
   S. de R.L. de C.V.
Johnson & Johnson Surgical Vision India
   Private Limited
Johnson & Johnson Surgical Vision, Inc.
Johnson & Johnson Taiwan Ltd.
Johnson & Johnson UK Treasury
   Company Limited
Johnson & Johnson Ukraine LLC
Johnson & Johnson Urban Renewal
   Associates
Johnson & Johnson Vision Care
   (Shanghai) Ltd.
Johnson & Johnson Vision Care Ireland
   Unlimited Company
Johnson & Johnson Vision Care, Inc.
Johnson & Johnson, S.A.




NAI-1522309200




                                            A241
     Case: 22-2003      Document: 46         Page: 349     Date Filed: 06/30/2022

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Johnson & Johnson, S.A. de C.V.
Johnson & Johnson, s.r.o.
Johnson & Johnson, s.r.o.
Johnson and Johnson (Proprietary) Limited
Johnson and Johnson Sihhi Malzeme Sanayi
   Ve Ticaret Limited Sirketi
JOM Pharmaceutical Services, Inc.
La Concha Land Investment Corporation
Latam International Investment Company
   Unlimited Company
Lifescan
McNeil AB
McNeil Consumer Pharmaceuticals Co.
McNeil Denmark ApS
McNeil Healthcare (Ireland) Limited
McNeil Healthcare (UK) Limited
McNeil Healthcare LLC
McNeil Iberica S.L.U.
McNeil LA LLC
McNEIL MMP, LLC
McNeil Nutritionals, LLC
McNeil Panama, LLC
McNeil Products Limited
McNeil Sweden AB
MDS Co. Ltd.
Medical Device Business Services, Inc.
Medical Devices & Diagnostics Global
   Services, LLC
Medical Devices International LLC
Medical Industrial do Brasil Ltda.
Medos International Sarl
Medos Sarl
MegaDyne Medical Products, Inc.
Menlo Care De Mexico, S.A. de C.V.
Mentor B.V.
Mentor Deutschland GmbH
Mentor Medical Systems B.V.
Mentor Partnership Holding
   Company I, LLC
Mentor Texas GP LLC
Mentor Texas L.P.
Mentor Worldwide LLC
Micrus Endovascular LLC
Middlesex Assurance Company Limited
Momenta Ireland Limited
Momenta Pharmaceuticals, Inc.




NAI-1522309200




                                            A242
     Case: 22-2003        Document: 46        Page: 350    Date Filed: 06/30/2022

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NeoStrata Company, Inc.
NeoStrata UG (haftungsbeschrankt)
Netherlands Holding Company
Neuravi Inc.
Neuravi Limited
NeuWave Medical, Inc.
Novira Therapeutics, LLC
NuVera Medical, Inc.
Obtech Medical Mexico, S.A. de C.V.
OBTECH Medical Sarl
OGX Beauty AU Pty Ltd
OGX Beauty Limited
OMJ Holding GmbH
OMJ Ireland Unlimited Company
OMJ Pharmaceuticals, Inc.
Omrix Biopharmaceuticals Ltd.
Omrix Biopharmaceuticals NV
Omrix Biopharmaceuticals, Inc.
Ortho Biologics LLC
Ortho Biotech Holding LLC
Ortho-McNeil Pharmaceutical, LLC
Orthotaxy
Patriot Pharmaceuticals, LLC
Peninsula Pharmaceuticals, LLC
Penta Pty. Limited
Percivia LLC
Perouse Plastic
Pharmadirect Ltd.
Pharmedica Laboratories (Proprietary)
   Limited
PMC Holdings G.K.
Princeton Laboratories, Inc.
Productos de Cuidado Personal yde La
   Salud de Bolivia S.R.L.
Proleader S.A.
PT Integrated Healthcare Indonesia
PT. Johnson & Johnson Indonesia
Pulsar Vascular, Inc.
Regency Urban Renewal Associates
RespiVert Ltd.
RoC International
Royalty A&M LLC
Rutan Realty LLC
Scios LLC
Sedona Enterprise Co., Ltd.
Sedona Singapore International Pte. Ltd.




NAI-1522309200




                                             A243
     Case: 22-2003      Document: 46        Page: 351   Date Filed: 06/30/2022

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Sedona Thai International Co., Ltd.
Serhum S.A. de C.V.
Shanghai Elsker For Mother & Baby
    Co., Ltd
Shanghai Johnson & Johnson Ltd.
Shanghai Johnson & Johnson Pharmaceuticals Ltd.
Sightbox, LLC
Sodiac ESV
Spectrum Vision Limited Liability Company
Spectrum Vision Limited Liability Company
Spectrum Vision Limited Liability
   Partnership
Spine Solutions GmbH
SterilMed, Inc.
Sterilmed, Inc.
Surgical Process Institute Deutschland
    GmbH
Synthes Costa Rica S.C.R., Limitada
SYNTHES GmbH
Synthes GmbH
Synthes Holding AG
Synthes Holding Limited
SYNTHES Medical Immobilien GmbH
Synthes Medical Surgical Equipment &
    Instruments Trading LLC
Synthes Produktions GmbH
Synthes Proprietary Limited
Synthes S.M.P., S. de R.L. de C.V.
Synthes Tuttlingen GmbH
Synthes USA Products, LLC
Synthes USA, LLC
Synthes, Inc.
TARIS Biomedical LLC
TearScience, Inc.
The Anspach Effort, LLC
The Vision Care Institute, LLC
Tibotec, LLC
Torax Medical, Inc.
TriStrata, Incorporated
UAB " Johnson & Johnson"
Vania Expansion
Verb Surgical Inc.
Vision Care Finance Unlimited Company
Vogue International LLC
Vogue International Trading, Inc.
WH4110 Development Company, L.L.C.




NAI-1522309200




                                         A244
     Case: 22-2003        Document: 46         Page: 352         Date Filed: 06/30/2022

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Xian Janssen Pharmaceutical Ltd.
X01 Limited
Zarbee's, Inc.


Retailers and Indemnified Parties

7-Eleven
7-Eleven, Inc.
Acme Markets, Inc.
Ahold Delhaize USA, Inc.
Albertsons Companies, Inc.
Alpha Beta Company
Associated Wholesaler Grocers, Inc.
Bartell Drug Company
Bashas', Inc.
Bausch Health US, LLC
Bausch Health Americas, Inc.
Bausch Health Companies Inc.
BCW LLC
Best Market of Astoria, Inc.
BI-LO, LLC
Bi-Mart Corporation
C&S Wholesale Grocers
C&S Wholesale Grocers, Inc.
Classic Pharmacy, Inc.
Cosentino Enterprises, Inc.
Cosentino Group, Inc.
Cosentino Price Chopper
Cosentino's Food Stores
Costco Wholesale Corporation
CVS Health Corporation
CVS Pharmacy, Inc.
Demoulas Super Markets, Inc.
Dierbergs Markets, Inc.
Discount Drug Mart, Inc.
Dollar Tree Stores, Inc.
DRI I, Inc.
Duane Reade, Inc.
Eckerd Corporation of Florida, Inc.
Family Dollar Stores
Fleming Companies, Inc.
Food 4Less of California
Food 4Less of Southern California, Inc.
Foodland
Foodland Super Market, LTD
Foot Locker Specialties, Inc., individually and as successor-in-interest to F.W. Woolworth Co.




NAI-1522309200




                                            A245
     Case: 22-2003       Document: 46       Page: 353     Date Filed: 06/30/2022

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                             DoEmhi6biID    Page 15(bbiL914




Foot Locker Specialty, Inc.
Foot Locker, Inc./Woolworth Corporation
Four B Corporation d/b/a Balls Food Stores
Fred Meyer Stores, Inc.
Fruth Pharmacy, Inc.
Gerlands Food Fair, LLC
Gerlands, LLC
Gerlands, LLC/Lewis Food Town, Inc.
Giant Eagle, Inc.
Giant Food of Maryland, LLC
Giant Food Stores, LLC
Grocery Outlet Holding Corporation
Grocery Outlet Inc.
Grocery Outlet, Inc.
HAC, Inc.
H-E-B, LP
Hughes Markets, Inc.
Hy-Vee, Inc.
Jewel Food Stores
Jewel Osco
Jewel Osco Southwest
K&B Corporation
K&B Louisiana Corporation
Kings Park Slope, Inc.
Kings Pharmacy
Kings Pharmacy Holdings, LLC
Kings Third Ave. Pharmacy, Inc.
Knorr Street ShopRite, Inc.
La Luz Market, LTD. Co.
Lewis Food Town, Inc.
Longs Drug Stores California, L.L.0
Longs Drug Stores of Southern California, L.L.C.
Longs Drug Stores, L.L.C.
Lucky Stores, Inc.
Marc Glassman Inc.
Marc Glassman, Inc. d/b/a Marc's Store & Pharmacy
MBF Healthcare Holdings, Inc.
MBF Healthcare Management, LLC
Meijer, Inc.
MMG Equity Partners
Navarro Discount Pharmacies No. 5, LLC
Navarro Discount Pharmacies, LLC
Owens & Minor Distribution, Inc.
Owens & Minor, Inc.
Piggly Wiggly Carolina Co.
Piggly Wiggly Carolina Co., Inc.




NAI-1522309200




                                           A246
     Case: 22-2003       Document: 46        Page: 354       Date Filed: 06/30/2022


                              DoEmhi6biID    Page If]obiL914




Piggly Wiggly Companies, Inc.
Piggly Wiggly, LLC
Piggly Wiggly, LLC (subsidiary of C&S Wholesale Grocers)
PTI
PTI Royston LLC, aGeorgia Limited Liability Co., d/b/a Pharma Tech Industries
PTI Union, LLC d/b/a Pharma Tech Industries
Publix Super Markets, Inc.
Raley's
Ralphs Grocery Company
Randall's Food & Drug LP
Randall's Food Markets, Inc.
Rite Aid
Rite Aid Corporation
Rite Aid Hdqtrs. Corp.
Rite Aid of New York City, Inc.
Rite Aid of New York, Inc.
Rite Aid of Pennsylvania, Inc.
Rite Aid of South Carolina, Inc.
Rouse's Enterprises, L.L.C.
Rouse's Enterprises, L.L.C. d/b/a Rouses Market
Safeway Inc.
Save Mart Supermarkets, Inc.
Save Mart Supermarkets, Inc./Lucky Stores
Schnuck Markets
Schnuck Markets, Inc.
Sedano's Market, Inc.
Shanti Pharmacy Corp.
Shaw's Supermarkets, Inc.
Shop-Rite Supermarkets, Inc. a/k/a Shop Rite of Knorr Street
Smith Food and Drug Center, Inc.
Southeastern Grocers, Inc.
Star Markets Company, Inc.
Stater Bros. Markets
Super Center Concepts, Inc. d/b/a Superior Grocers
Superior Grocers
SuperValu, Inc.
T. Levy Associates, d/b/a Beauty Land Enterprises
T. Levy Associates, Inc. d/b/a Beauty Land Enterprises/Beautyland
Target Corporation
The Bartell Drug Company
The Kroger Company
The Stop & Shop Supermarket Company LLC
The Voris Companies, Inc.
Thrifty Payless, Inc.
Thrifty White Drug
Tops Holding, LLC




NAI-1522309200




                                            A247
     Case: 22-2003       Document: 46         Page: 355   Date Filed: 06/30/2022


                              DoEmhi6biID     Page IMUL914




Valeant Pharmaceuticals International
Valeant Pharmaceuticals International, Inc.
Valeant Pharmaceuticals North America LLC
Wakefern Food Corp.
Walgreen Co.
Walgreen Eastern Co., Inc.
Walgreen Pharmacy Strategies, LLC
Walgreens Boots Alliance, Inc.
Walmart Inc.
Wegmans Food Markets, Inc.
Winn-Dixie Stores, Inc.
Woolworth Corporation

Insurers
A.G. Securitas
ACE Property & Casualty Insurance
   Company
Aetna Casualty and Surety Company
Affiliated FM Ins. Company
AIG Europe S.A.
AIG Property and Casualty Company
AIU Ins. Company
Allianz Ins. Company
Allianz Global Risks US Insurance
   Company
Allstate Insurance Company
American Centennial Ins. Company
American Motorists Ins. Company
American Re-Insurance Company
Arrowood Indemnity Company
ASR Schadeverzekering N.V.
Assurances Generales De France
Assurantiekantoor VanWijk & Co.
Atlanta International Insurance Company
Birmingham Fire Ins. Company of
   Pennsylvania
Central National Ins. Company of Omaha
Century Indemnity Company
Champion Dyeing Allocation Year
Chubb
City Ins. Company
Colonia Versicherungs AG, Koln
Continental Insurance Company
Darag Deutsche Versicherungs-Und
   Riickversicherungs-AG
Drake Ins. Company of New York




NAI-1522309200




                                            A248
     Case: 22-2003       Document: 46        Page: 356    Date Filed: 06/30/2022

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                              DoEmhi6biID    Page 1@3)bt914




Employers Ins. Company of Wausau
Employers Ins. of Wausau
Employers Mutual Casualty Company
Eurinco Allgememe
    Versicherungs AG, Dusseldorf
Everest Reinsurance Company
Fireman's Fund Ins. Company
First State Ins. Company
GAP
Gibraltar Casualty Company
Granite State Ins. Company
Great American
Great Northern Ins. Company
Great Southwest Fire Ins. Company
Groupe Drouot
Harbor Ins. Company
Hartford Accident and Indemnity Company
Home Ins. Company
Ideal Mutual Ins. Company
Industrial Indemnity Company
Ins. Company of North America
Ins. Company of the State of Pennsylvania
Ins. Corporation of Singapore Limited
Integrity Ins. Company
International Ins. Company
International Surplus Lines Ins. Company
Lexington Ins. Company
London Guarantee and Accident
    Company of N.Y.
L'Union Atlantique S.A. d'Assurances
Mead Reinsurance Corporation
Middlesex Assurance Company
Midland Ins. Company
Midstates Reinsurance Corp.
Mission Ins. Company
Mission National Ins. Company
Munich Reinsurance America, Inc.
Mutual Fire, Marine, & Inland Ins.
    Company
N.V. De Ark
N.V. Rotterdamse Assurantiekas
N.V. Schadeverzekeringsmaatschappij
    Maas Lloyd
National Casualty Company
National Union Fire Ins. Company of
    Pittsburgh, PA




NAI-1522309200




                                            A249
     Case: 22-2003      Document: 46       Page: 357     Date Filed: 06/30/2022


                            DoEmhi6biID    Page 114bbiL914




Nationwide
New Hampshire Ins. Company
North River Ins. Company
Northbrook Excess and Surplus
   Ins. Company
Northeastern Fire Ins. Company
    of Pennsylvania
Pacific Employers Ins. Company
Pro Sight
Prudential Reinsurance Company
Puritan Insurance Company
Republic Indemnity Company of America
Republic Ins. Company
Republic Western Ins. Company
Repwest Insurance Company
Resolute Management Inc.
Rheinland Versicherungen
Rheinland Verzekeringen
Riverstone Insurers
Royal Belge I.R., S.A. d'Assurances
Royal Indemnity Company
Royal Ins. Company
Safety Mutual Casualty Corporation
Safety National Casualty Corporation
Seguros La Republica SA
Sentry Insurance A Mutual Company
Southern American Ins. Company
Starr Indemnity & Liability Company
TIG Insurance Company
Transamerica Premier Insurance Company
Transit Casualty Company
Travelers Casualty and Surety Company
UAP
Union Atlantique d'Assurances S.A.
Union Indemnity Ins. Company
    of New York
Westchester Fire Insurance Company
Westport Insurance Corporation
XL Ins. Company




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                                          A250
     Case: 22-2003           Document: 46          Page: 358        Date Filed: 06/30/2022

Case 21-03032-MBK         Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57            Desc Main
                                    Document      Page 1 of 20




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                 A251
       Case: 22-2003             Document: 46              Page: 359            Date Filed: 06/30/2022

Case 21-03032-MBK             Doc 210       Filed 03/16/22  Entered 03/16/22 18:45:57                  Desc Main
                                          Document      Page 2of 20



   In re:                                                          Chapter 11

   LTL MANAGEMENT LLC,                                             Case No.: 21-30589 (MBK)

                             Debtor.                               Honorable Michael B. Kaplan



  LTL MANAGEMENT LLC,                                             Adv. Pro. No.: 21-03032 (MBK)

                             Plaintiff,

  V.


  THOSE PARTIES LISTED ON APPENDIX A TO
  COMPLAINT and JOHN AND JANE DOES 1-
  1000,

                             Defendants.



                               AMENDED JOINT NOTICE OF APPEAL

            PLEASE TAKE NOTICE that the Official Committee of Talc Claimants II ("TCC II"),

 together with Patricia Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as estate representative

 of Dan Doyle, Katherine Tollefson, and Tonya Whetsel as estate representative of Brandon

 Whetsel, Giovanni Sosa, and Jan Deborah Michelson-Boyle, hereby appeal to the United States

 District Court for the District of New Jersey pursuant to 28 U.S.C. § 158 and rules 8002 and 8003

 of the Federal Rules of Bankruptcy Procedure, from the order (Adv. Pro. D.I. 187) (the "Order")

 (1) declaring that the automatic stay applies to certain actions against non-debtors and (ii)

 preliminarily enjoining certain actions, entered on March 4, 2022 by the United States Bankruptcy

 Court for the District of New Jersey.'

            PLEASE TAKE FURTHER NOTICE that acopy of the Order is attached hereto as

 Exhibit A.

            PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order appealed

 from and the names, addresses and telephone numbers of their respective attorneys are as follows:



 'This filing is an amendment to the notice of appeal originally filed on March 7, 2022 at D.I. 190.


                                                           2




                                                       A252
     Case: 22-2003        Document: 46       Page: 360       Date Filed: 06/30/2022

Case 21-03032-MBK       Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57    Desc Main
                                  Document      Page 3 of 20




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                                            A253
     Case: 22-2003    Document: 46        Page: 361       Date Filed: 06/30/2022

Case 21-03032-MBK    Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57   Desc Main
                               Document      Page 4 of 20




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                                        A254
     Case: 22-2003         Document: 46            Page: 362      Date Filed: 06/30/2022

Case 21-03032-MBK        Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57          Desc Main
                                   Document      Page 5 of 20




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                                             A255
     Case: 22-2003       Document: 46          Page: 363      Date Filed: 06/30/2022

Case 21-03032-MBK       Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57     Desc Main
                                  Document      Page 6 of 20




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                                               6




                                           A256
     Case: 22-2003        Document: 46      Page: 364       Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57       Desc Main
                                 Document      Page 7 of 20




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                                           A257
     Case: 22-2003       Document: 46          Page: 365      Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57         Desc Main
                                 Document      Page 8 of 20




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                                          A258
    Case: 22-2003         Document: 46           Page: 366       Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 210     Filed 03/16/22  Entered 03/16/22 18:45:57           Desc Main
                                 Document      Page 9of 20




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                                                 9




                                           A259
     Case: 22-2003        Document: 46     Page: 367        Date Filed: 06/30/2022

Case 21-03032-MBK       Doc 210  Filed 03/16/22  Entered 03/16/22 18:45:57       Desc Main
                               Document     Page 10 of 20




 Date: March 16, 2022                           SHERMAN, SILVERSTEIN, KOHL,
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                                         A260
    Case: 22-2003     Document: 46     Page: 368        Date Filed: 06/30/2022

Case 21-03032-MBK   Doc 210  Filed 03/16/22  Entered 03/16/22 18:45:57            Desc Main
                           Document     Page 11 of 20




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                                     A261
            Case: 22-2003             Document: 46            Page: 369       Date Filed: 06/30/2022

      Case 21-03032-MBK            Doc 231          Filed 04/04/22  Entered 04/04/2?=-o lor
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                                                   Document     Page 1 of 5 ,/.• ,•• •J.

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                                                  Order Filed on April 4, 2022
                                                                                  by Clerk
                                                                                  U.S. Bankruptcy Court
                                                                                  District of New Jersey


                                                                  Case No.:                          21-30589

                                                                  Adv. No.:                          21-03032




 In Re:                                                           Hearing Date:

                                                                  Judge:                       Michael B. Kaplan



 LTL MANAGEMENT, LLC



                                    Plaintiff(s)

 V.

 THOSE PARTIES LISTED ON
 APPENDIX A TO COMPLAINT AND
 JOHN AND JANE DOES 1-1000
                                    Defendant(s)



                                ORDER CERTIFYING DIRECT APPEAL TO THE

           UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT OF ORDER

            EXTENDING AUTOMATIC STAY AND ISSUING PRELIMINARY INJUNCTION




                          The relief set forth on the following pages, is hereby ORDERED.

DATED: April 4, 2022
                                                                               ld-jp16 - ••
                                                                              onombfe• Michael S. i•glan
                                                                           United States Bankruptcy Judge




                                                           A262
     Case: 22-2003        Document: 46         Page: 370       Date Filed: 06/30/2022

Case 21-03032-MBK      Doc 231    Filed 04/04/22  Entered 04/04/22 13:06:18         Desc Main
                                 Document     Page 2 of 5




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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      Case: 22-2003              Document: 46             Page: 371            Date Filed: 06/30/2022

Case 21-03032-MBK             Doc 231      Filed 04/04/22  Entered 04/04/22 13:06:18                      Desc Main
                                          Document     Page 3 of 5
 Page:            2

 Debtor:          LTL Management, LLC

 Case No.:        21-30589(MBK)

 Caption:         Order Certifying Direct Appeal to the United States Court of Appeals for the Third
                  Circuit of Order Extending Automatic Stay and Issuing Preliminary Injunction




  In Re:                                                    Chapter 11

  LTL MANAGEMENT, LLC, 1                                    Case No.: 21-30589 (MBK)

                             Debtor.                        Honorable Michael B. Kaplan



  In Re:

  LTL MANAGEMENT, LLC,                                      Adv. Pro. No. 21-03032 (MBK)

                            Plaintiff,

  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT AND
  JOHN AND JANE DOES 1-1000,

                             Defendants.




           [PROPOSED] ORDER CERTIFYING DIRECT APPEAL TO THE
     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT OF ORDER
     EXTENDING AUTOMATIC STAY AND ISSUING PRELIMINARY INJUNCTION

           The relief set forth on the following pages is hereby ORDERED.




 1   The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501
     George Street, New Brunswick, New Jersey 08933.



                                                          2




                                                      A264
      Case: 22-2003          Document: 46         Page: 372         Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 231     Filed 04/04/22  Entered 04/04/22 13:06:18          Desc Main
                                      Document     Page 4 of 5
 Page:            3

 Debtor:          LTL Management, LLC

 Case No.:        21-30589(MBK)

 Caption:         Order Certifying Direct Appeal to the United States Court of Appeals for the Third
                  Circuit of Order Extending Automatic Stay and Issuing Preliminary Injunction




           Upon consideration of the Request cf Cjficial Committee cf Talc Claimants Ifor Order

 Certfying Direct Appeal to the United States Court cfAppeals for the Third Circuit (
                                                                                    the "TCC I

 Request") (Adv. Proc. Dkt. 205); the Motion cf 6,ficial Committee cf Talc Claimants H, Patricia

 Cook, Evan Plotkin, Randy Derouen, Kristie Doyle as Estate Representative cf Dan Doyle,

 Katherine Tolhfson, Jan Deborah Michelson-Boyle, Giovanni Sosa, and Tonya Whetsel as Estate

 Representative cf Brandon Whetsel, for Certfication cf Direct Appeal to the United States Court

 cf Appeals for the Third Circuit (
                                  the "TCC II Motion") (Adv. Proc. Dkt. 191); the Motion cf

 Aylstock, Witkin, Kreis & Overholtz, PLLCfor Certfication cfDirectAppeal to the United States

 Court cf Appeals for the Third Circuit (
                                        the "AWKO Motion") (Adv. Proc. Dkt. 206); and the

 Request c
         fArnold & Itkin LLP for Certfication cf Direct c
                                                        fAppeal to the United States Court cf

 Appeals for the Third Circuit (
                               the "A&I Request") (Ch. 11 Case Dkt. 1720) (collectively, the

 "Stay/PI Certification Requests"); and all papers filed in support of and in opposition to the PI

 Certification Requests, including the Debtor's Omnibus Oljection to Motions for Certfication cf

 Direct Appeal (
               the "Objection") and all reply briefs filed in further support of the PI Certification

 Requests (Adv. Proc. Dkts. 221, 224, 225, 226; Ch. 11 Case Dkt. 1884); and the hearing on the PI

 Certification Requests held on March 30, 2022 (the "Hearing"); and all prior proceedings herein;

 the Court hereby finds as follows:




                                                  3




                                               A265
      Case: 22-2003           Document: 46        Page: 373        Date Filed: 06/30/2022

Case 21-03032-MBK          Doc 231    Filed 04/04/22  Entered 04/04/22 13:06:18           Desc Main
                                     Document     Page 5 of 5
 Page:            4

 Debtor:          LTL Management, LLC

 Case No.:        21-30589(MBK)

 Caption:         Order Certifying Direct Appeal to the United States Court of Appeals for the Third
                  Circuit of Order Extending Automatic Stay and Issuing Preliminary Injunction




           For the reasons set forth by the Court on the record during the March 30, 2022 Hearing

 (Adv. Proc. Dkt. 230 at 70:2-76:17), which portions of the record are incorporated herein by

 reference, the Court finds that the conditions of 28 U.S.C. § 158(d)(2) have been met, and

           IT IS THEREFORE HEREBY ORDERED THAT:

           1.     The Stay/PI Certification Requests are GRANTED.

           2.     Pursuant to 28 U.S.C. § 158(d)(2) and Rule 8006 of the Federal Rules of

 Bankruptcy Procedure, the P1/Stay Memorandum Opinion (
                                                      Adv. Proc. Dkt. 184) and the Order (1)

 Declaring that Automatic Stay Applies to Certain Actions Against Non-Debtors and (11)

 Preliminarily Erjoining Certain Actions (
                                         Adv. Proc. Dkt. 187) are hereby certified for direct

 appeal to the United States Court of Appeals for the Third Circuit.

 Dated: April         12022




                                        HONORABLE MICHAEL B. KAPLAN
                                        UNITED STATES BANKRUPTCY JUDGE




                                                  4




                                               A266
            Case: 22-2003          Document: 46            Page: 374          Date Filed: 06/30/2022

      Case 21-03032-MBK            Doc 231-1    Filed 04/04/22  Entered 04/04/22 13:06:18                  Desc
                                     Notice of Order Entry   Page 1 of 1
Form order — mcorder

                                   UNITED STATES BANKRUPTCY COURT



District of New Jersey
402 East State Street
Trenton, NJ 08608

In Re: LTL Management LLC
Debtor
                                                            Case No.: 21-30589—MBK
                                                            Chapter 11
LTL Management LLC
Plaintiff

V.


Those Parties Listed on Appendix A to the Complaint and
John and Jane Does 1-1000
Defendant

Adv. Proc. No. 21-03032—MBK                                 Judge: Michael B. Kaplan




                                      NOTICE OF JUDGMENT OR ORDER
                                        Pursuant to Fed. R. Bankr. P. 9022

        Please be advised that on April 4, 2022, the court entered the following judgment or order on the court's docket
in the above—captioned case:

Document Number: 231 — 191, 205, 206
ORDER CERTIFYING DIRECT APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE THIRD
CIRCUIT OF ORDER EXTENDING AUTOMATIC STAY AND ISSUING PRELIMINARY INJUNCTION(related
document: 191 Motion for Request for Certification of Direct Appeal to Circuit Court Filed by Official Committee of
Talc Claimants ILHearing scheduled for 3/30/2022 at 10:00 AM at MBK — Courtroom 8, Trenton. (Attachments: # 1
Brief # 2Proposed Order) filed by Creditor Committee Official Committee of Talc Claimants II, 205 Motion for
Request for Certification of Direct Appeal to Circuit Court Filed by Official Committee of Talc Claimants LHearing
scheduled for 3/30/2022 at 10:00 AM at MBK — Courtroom 8, Trenton. (Attachments: # 1Request of Official
Committee of Talc Claimants Ifor Order Certifying Direct Appeal of the Motion to Dismiss and Preliminary
Injunction Opinions and Orders to the United States Court of Appeals for the Third Circuit # 2Proposed Order for
Direct Appeal to the United States Court of Appeals for the Third Circuit) filed by Creditor Committee Official
Committee of Talc Claimants I, 206 Motion re: to Certify direct Appeal to the United States Court of Appeals for the
Third Circuit Filed by Aylstock, Witkin, Kreis & Overholtz, PLLC.Hearing scheduled for 3/30/2022 at 10:00 AM at
MBK — Courtroom 8, Trenton. filed by Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC). Service of
notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See BNC Certificate of
Notice. Signed on 4/4/2022. (bwj)

      Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: April 4, 2022
JAN: bwj


                                                            Jeanne Naughton
                                                            Clerk




                                                        A267
  Case: 22-2003       Document: 46      Page: 375      Date Filed: 06/30/2022

     Case: 22-8015     Document: 12-1     Page: 1    Date Filed: 05/11/2022




     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                                                 DCO-071
                                  No. 22-8015


                        In re: LTL MANAGEMENT LLC,
                                                      Debtor


LTL MANAGEMENT LLC v. THOSE PARTIES LISTED ON APPENDIX A TO THE
            COMPLAINT AND JOHN AND JANE DOES 1-1000


          THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I,
                                                                Petitioner


                     (N.J. Bk. Nos. 21-ap-03032, 21-bk-30589;
                  D.N.J. Nos. 3-22-cv-01339, 3-22-cv-01350)




                                  No. 22-8016


                           In re: LTL MANAGEMENT LLC,
                                                         Debtor


     LTL MANAGEMENT LLC v. THOSE PARTIES LISTED ON APPENDIX A
        TO THE COMPLAINT AND JOHN AND JANE DOES 1-1000


             PATRICIA COOK; RANDY DEROUEN; JAN DEBORAH
     MICHELSON-BOYLE; EVAN PLOTKIN; GIOVANNI SOSA; KATHERINE
    TOLLEFSON; KRISTIE DOYLE, as Estate Representative of Dan Doyle;
       TONYA WHETSEL, as Estate Representative of Brandon Whetsel; THE
            OFFICIAL COMMITTEE OF TALC CLAIMANTS II,
                                                          Petitioners


                        (N.J. Bk. Nos. 21-ap-03032, 21-bk-30589;
             D.N.J. Nos. 3-22-cv-01289, 3-22-cv-01296, 3-22-cv-01303)




                                     A268
    Case: 22-2003      Document: 46        Page: 376      Date Filed: 06/30/2022

       Case: 22-8015     Document: 12-1      Page: 2    Date Filed: 05/11/2022




                                      No. 22-8020


                             In re: LTL MANAGEMENT LLC,
                                                            Debtor


      ARNOLD & ITKIN LLP, on behalf of Approximately 7,000 Talc Personal Injury
                Claimants who are represented by Arnold & Itkin LLP,
                                                              Petitioner


                   (N.J. Bk. No. 21-bk-30589; D.N.J. No. 3-22-cv-01387)



                                      No. 22-8021


                             In re: LTL MANAGEMENT LLC,
                                                            Debtor


       LTL MANAGEMENT LLC v. THOSE PARTIES LISTED ON APPENDIX A
           TO THE COMPLAINT AND JOHN AND JANE DOES 1-1000


                   AYLSTOCK WITKIN KREIS & OVERHOLTZ PLLC,
                                                              Petitioner


 (N.J. Bk. Nos. 21-ap-03032, 21-bk-30589; D.N.J. Nos. 3-22-cv-01290, 3-22-cv-01292)



Present: JORDAN, PORTER and MATEY, Circuit Judges


      1. Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2) filed
         by Petitioner Official Committee of Talc Claimants Iin 22-8015.


      2. Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2) filed
         by Petitioners Patricia Cook, Randy Derouen, Kristie Doyle, Jan Deborah
         Michelson- Boyle, Evan Plotkin, Giovanni Sosa, Katherine Tollefson, Kristie
         Doyle, as Estate Representative of Dan Doyle, Tonya Whetsel, as Estate
         Representative of Brandon Whetsel, and The Official Committee of Talc
         Claimants II in 22-8016.


      3. Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2) filed
         by Petitioner Arnold & Itkin LLP, on behalf of Approximately 7,000 Talc
         Personal Injury Complaints who are represented by Arnold & Itkin LLP
         in 22-8020.




                                        A269
    Case: 22-2003         Document: 46        Page: 377             Date Filed: 06/30/2022

          Case: 22-8015     Document: 12-1       Page: 3         Date Filed: 05/11/2022




         4. Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2) filed
            by Petitioner Alystock Witkin Kreis & Overholtz PLLC in 22-8021.


         5. Consolidated Answer in Opposition to Petitions for Direct Appeal under 28
            U.S.C. Section 158(d)(2) by Respondent LTL Management LLC.




                                                               Respectfully,
                                                               Clerk/CND


                                           ORDER
The foregoing Petitions are GRANTED.



                                                   By the Court,



                                                   s/David J. Porter
                                                   Circuit Judge


Dated:         May 11, 2022

                                                          11
CND/cc:        All Counsel of Record



                                                                              o•
                                              A True Copy: r- 'b.rs,i a• s•




                                              Patricia S. Dodszuweit, Clerk




                                           A270
      Case: 22-2003        Document: 46          Page: 378        Date Filed: 06/30/2022

         Case: 22-8015       Document: 12-2        Page: 1      Date Filed: 05/11/2022




      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                            NOTICE

GRANT OF PERMISSION FOR LEAVE TO APPEAL PURSUANT TO 28 U.S.C.
SECTION 158(d)(2)(A)

The Court of Appeals has granted apetition for leave to appeal in this matter. Appellant(s) must
pay the $207.00 docketing fee in the bankruptcy court for each notice of appeal that they wish to
have docketed in the Court of Appeals within 14 days after the entry of the order granting
permission for leave to appeal. If the United States government is the appellant, an additional fee
by the government is not required. Fed. R. App. P.S.

A new notice of appeal does not need to be filed. A copy of the Court's order granting permission
for leave to appeal serves as the notice of appeal and has been forwarded to the appropriate court.

The entry of date of the order granting permission to appeal serves as the date of filing of the
notice of appeal for calculating time under Fed. R. App. P. 5(d)(1). Appellant(s) shall notify the
Court of Appeals by filing anotification through ECF in the current case that the filing fee
has been paid.

Upon receipt of the notice from Appellant(s), the appeal will be opened on the general docket.
All future filings regarding the appeal will be entered under the new docket number.

Very truly yours,
Patricia S. Dodszuweit, Clerk

By: s/Cara
Case Manager
267-299-4210

cc:    Arthur J. Abramowitz, Esq.
       Jerome H. Block, Esq.
       Charles W. Branham III, Esq.
       Lisa N. Busch, Esq.
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       Caitlin K. Cahow, Esq.
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       Melanie L. Cyganowski, Esq.
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       Jeffrey M. Dine, Esq.
       Karen B. Dine, Esq.
       Sharon LDwoskin, Esq.
       Brad B. Erens, Esq.
       Angelo J. Genova, Esq.




                                              A271
Case: 22-2003      Document: 46      Page: 379    Date Filed: 06/30/2022

   Case: 22-8015    Document: 12-2    Page: 2    Date Filed: 05/11/2022




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 Mr. William T. Walsh
 Michael S. Winograd, Esq.
 Paul J. Winterhalter, Esq.
 Honorable Freda L. Wolfson




                                  A272
